Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 1 of 281 - Page ID#:
                                    1634




                       EXHIBIT A
 Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 2 of 281 - Page ID#:
                                     1635




Transcript of Craige Roberts, Ph.D.
                            Date: December 7, 2021
         Case: Sandmann, et al. -v- NBCUniversal Media, LLC, et al.




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                                    1636
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 3 of 281 - Page ID#:




                                                                                     1              UNITED STATES DISTRICT COURT
                                                                                                     EASTERN DISTRICT OF KENTUCKY
                                                                                     2             NORTHERN DIVISION AT COVINGTON
                                                                                     3
                                                                                     4    -------------------------------X
                                                                                     5    NICHOLAS SANDMANN, by and       :
                                                                                          Through his parents and natural
                                                                                     6    Guardians, TED SANDMANN and     :
                                                                                          JULIE SANDMANN,
                                                                                     7                      Plaintiff,    : Case No.
                                                                                                       V                    19-CV-00056-WOB-CJS
                                                                                     8    NBCUNIVERSAL MEDIA, LLC,        :
                                                                                                            Defendant.
                                                                                     9                                    :
                                                                                     10   ------------------------------ X
                                                                                     11   NICHOLAS SANDMANN, by and       :
                                                                                          Through his parents and natural
                                                                                     12   Guardians, TED SANDMANN and     :
                                                                                          JULIE SANDMANN,
                                                                                     13                    Plaintiff,     : Case No.
                                                                                                        V                   20-CV-00023-WOB-CJS
                                                                                     14                                   :
                                                                                          THE NEW YORK TIMES COMPANY
                                                                                     15   D/B/A THE NEW YORK TIMES,       :
                                                                                                           Defendant.
                                                                                     16
                                                                                          -----------------------------    X
                                                                                     17
                                                                                          NICHOLAS SANDMANN, by and       :
                                                                                     18   Through his parents and natural
                                                                                          Guardians, TED SANDMANN and     :
                                                                                     19   JULIE SANDMANN,
                                                                                                             Plaintiff, : Case No.
                                                                                     20                 V                   20-CV-00024-WOB-CJS
                                                                                                                          :
                                                                                     21   CBS NEWS, INC., et al.,
                                                                                                             Defendants. :
                                                                                     22
                                                                                          ------------------------------ X
                                                                                     23   Job No.: 416134
                                                                                     24   Pages 1 - 224
                                                                                     25   Reported by:    Lisa M Barrett
                                                                                                          Transcript of Craige Roberts, Ph.D.
                                    1637
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 4 of 281 - Page ID#:

                                                                                                           Conducted on December 7, 2021            2

                                                                                     1    (continued caption)
                                                                                     2    ------------------------------- X
                                                                                     3    NICHOLAS SANDMANN, by and       :
                                                                                          through his parents and natural
                                                                                     4    Guardians, TED SANDMANN and     :
                                                                                          JULIE SANDMANN,
                                                                                     5                      Plaintiff,    : Case No.
                                                                                                              V             2:20-CV-00025-WOB-CJS
                                                                                     6                                    :
                                                                                          ABC NEWS, INC., et al.,
                                                                                     7                      Defendants.   :
                                                                                     8    ------------------------------- X
                                                                                     9    NICHOLAS SANDMANN, by and       :
                                                                                          Through his parents and natural
                                                                                     10   Guardians, TED SANDMANN and     :
                                                                                          JULIE SANDMANN,
                                                                                     11                     Plaintiff,    : Case No.
                                                                                                    V                       2:20-CV-00026-WOB-CJS
                                                                                     12
                                                                                          GANNETT CO.,INC. AND GANNETT        :
                                                                                     13   SATELLITE INFORMATION NETWORK,
                                                                                          LLC,
                                                                                     14                      Defendants.      :
                                                                                     15   ------------------------------- X
                                                                                     16   NICHOLAS SANDMANN, by and       :
                                                                                          Through his parents and natural
                                                                                     17   Guardians, TED SANDMANN and     :
                                                                                          JULIE SANDMANN,
                                                                                     18                     Plaintiff     : Case No.
                                                                                                    V                       2:20-CV-00027-WOB-CJS
                                                                                     19                                   :
                                                                                          ROLLING STONE, LLC, et al.,
                                                                                     20                     Defendants.   :
                                                                                     21   ------------------------------- X
                                                                                     22           Deposition of CRAIGE ROBERTS, Ph.D.
                                                                                     23           Conducted in-person and virtually
                                                                                     24        Tuesday, December 7, 2021 at 9:30 a.m.
                                                                                     25

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                                    1638
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 5 of 281 - Page ID#:

                                                                                                            Conducted on December 7, 2021        3

                                                                                     1                Deposition of CRAIGE ROBERTS, Ph.D.,
                                                                                     2    conducted in-person and virtually,
                                                                                     3
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                                                                                     21
                                                                                     22               Pursuant to Notice, before Lisa M
                                                                                     23   Barrett, Notary Public for the State of
                                                                                     24   Maryland.
                                                                                     25


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                                    1639
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 6 of 281 - Page ID#:

                                                                                                           Conducted on December 7, 2021        4

                                                                                     1                 A P P E A R A N C E S:
                                                                                     2    Tuesday, December 7, 2021:
                                                                                     3    ON BEHALF OF THE PLAINTIFF:
                                                                                     4              TODD V. McMURTRY, ESQUIRE
                                                                                     5              WILL HUBER, ESQUIRE
                                                                                     6              HEMMER DEFRANK WESSELS, PLLA
                                                                                     7              250 Grandview Drive, Suite 500
                                                                                     8              Ft. Mitchell, Kentucky 41017
                                                                                     9              859.344.1188
                                                                                     10   ON BEHALF OF THE DEFENDANTS ABC NEWS, INC.,
                                                                                          ABC NEWS INTERACTIVE, INC. AND THE WALT DISNEY
                                                                                     11   COMPANY:
                                                                                     12             MEENAKSHI KRISHNAN, ESQUIRE
                                                                                     13             DAVIS WRIGHT TREMAINE, LLP
                                                                                     14             1301 K Street, Northwest,
                                                                                     15             Suite 500 Washington, DC 20005
                                                                                     16             202.973.4499
                                                                                     17   ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
                                                                                          VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
                                                                                     18
                                                                                     19             JESSICA LAURIN MEEK, ESQUIRE
                                                                                     20             DENTONS BINGHAM GREENBAUM, LLP
                                                                                     21             10 West Market Street, Suite 2700
                                                                                     22             Indianapolis, Indiana 46204
                                                                                     23             317.635.8900
                                                                                     24
                                                                                     25           A P P E A R A N C E S (Continued)


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                                    1640
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 7 of 281 - Page ID#:

                                                                                                           Conducted on December 7, 2021        5

                                                                                     1    ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
                                                                                          VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
                                                                                     2
                                                                                     3              NATALIE J. SPEARS, ESQUIRE
                                                                                     4              DENTONS US, LLP
                                                                                     5              233 South Wacker Drive Suite 5900
                                                                                     6              Chicago, Illinois 60606
                                                                                     7              312.876.8000
                                                                                     8
                                                                                     9    ON BEHALF OF THE DEFENDANT ROLLING STONE, LLC
                                                                                          AND PENSKE MEDIA CORPORATION:
                                                                                     10
                                                                                     11              KEVIN T. SHOOK, ESQUIRE
                                                                                     12              RYAN GOELLNER, ESQUIRE
                                                                                     13              FROST BROWN TODD, LLC
                                                                                     14              10 West Broad Street
                                                                                     15              Columbus, Ohio 43215
                                                                                     16              615.565.1222
                                                                                     17
                                                                                          ON BEHALF OF THE DEFENDANTS GANNETT CO., INC.
                                                                                     18   AND GANNETT SATELLITE INFORMATION NETWORK, LLC:
                                                                                     19             MICHAEL P. ABATE, ESQUIRE
                                                                                     20             KAPLAN JOHNSON
                                                                                     21             ABATE & BIRD, LLP
                                                                                     22             710 West Main Street 4th Floor
                                                                                     23             Louisville, Kentucky 40202
                                                                                     24             502.540.8280
                                                                                     25          A P P E A R A N C E S:      (Continued)


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                                    1641
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 8 of 281 - Page ID#:

                                                                                                             Conducted on December 7, 2021           6

                                                                                     1    ON BEHALF OF THE DEFENDANTS GANNETT CO., INC.
                                                                                          AND GANNETT SATELLITE INFORMATION NETWORK, LLC:
                                                                                     2
                                                                                     3               MICHAEL J. GRYGIEL, ESQUIRE
                                                                                     4               GREENBERG TRAURIG, LLP
                                                                                     5               54 State Street 6th Floor Albany,
                                                                                     6               New York 12207
                                                                                     7               518.689.1400
                                                                                     8    ON BEHALF OF THE DEFENDANTS NBCUNIVERSAL MEDIA, LLC
                                                                                          AND THE NEW YORK TIMES COMPANY D/B/A
                                                                                     9    THE NEW YORK TIMES:
                                                                                     10             DARREN W. FORD, ESQUIRE
                                                                                     11             GRAYDON HEAD & RITCHEY, LLP
                                                                                     12             2400 Chamber Center Drive, Suite 300
                                                                                     13             Ft. Mitchell, Kentucky 41017
                                                                                     14             859.578.3071
                                                                                     15
                                                                                     16   Also present:    David Hernandez, Videographer,
                                                                                     17                   Socrates Matthews, Planet Depos AV Technician
                                                                                     18
                                                                                     19
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                                    1642
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 9 of 281 - Page ID#:

                                                                                                             Conducted on December 7, 2021               7

                                                                                     1                       C O N T E N T S
                                                                                     2
                                                                                     3    EXAMINATION OF CRAIGE ROBERTS, Ph.D.                    PAGE
                                                                                     4    By MS. SPEARS:                                           12
                                                                                     5                       E X H I B I T S
                                                                                     6
                                                                                     7    EXHIBIT               DESCRIPTION                       PAGE
                                                                                     8
                                                                                     9    Exhibit A    Expert Report of Craige                     47
                                                                                                       Roberts, Ph.D
                                                                                     10
                                                                                     11   Exhibit B    Document entitled: Craig                    223
                                                                                                       Roberts, Sandmann
                                                                                     12                deposition notes, December
                                                                                                       7, 2021
                                                                                     13
                                                                                     14
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                                     1643
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 10 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021           8

                                                                                      1    --- Commencing at 9:59 a.m.
                                                                                      2                REMOTE TECHNICIAN:        Thank you to              09:59:03
                                                                                      3    everyone for attending this proceeding remotely                 09:59:28
                                                                                      4    which we anticipate will run smoothly.                          09:59:30
                                                                                      5                Please remember to speak slowly and do              09:59:32
                                                                                      6    your best not to talk over one another.                         09:59:34
                                                                                      7                Please be aware that we are recording               09:59:36
                                                                                      8    this proceeding for back up purposes.            Any            09:59:38
                                                                                      9    off-the-record discussions should be had away from              09:59:40
                                                                                      10   the computer.                                                   09:59:42
                                                                                      11               Please remember to mute your mic for                09:59:43
                                                                                      12   those conversations.      Please have your video                09:59:45
                                                                                      13   enabled to help the reporter identify who is                    09:59:46
                                                                                      14   speaking.                                                       09:59:48
                                                                                      15               If you are unable to connect with video             09:59:49
                                                                                      16   and are connecting via phone, please identify                   09:59:51
                                                                                      17   yourself each time before speaking.           I apologize       09:59:54
                                                                                      18   in advance for any technical-related                            09:59:56
                                                                                      19   interruptions.     Thank you.                                   09:59:59
                                                                                      20               THE VIDEOGRAPHER:       Here begins number 1        10:00:01
                                                                                      21   for the videotape deposition of Craige Roberts in               10:00:03
                                                                                      22   the matter of --                                                10:00:08
                                                                                      23               MS. SPEARS:     I'll read the matters               10:00:11
                                                                                      24   listed here.     This is the video-recorded                     10:00:12
                                                                                      25   deposition of Nicholas Sandmann in the matter of                10:00:14


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                                     1644
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 11 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021            9

                                                                                      1    Nicholas Sandmann et al. versus NBCUniversal Media               10:00:20
                                                                                      2    LLC.   Case number 19-CV-00056-WOB-CJS.                          10:00:20
                                                                                      3                In the case of Nicholas Sandmann versus              10:00:26
                                                                                      4    the New York Times.     Case Number                              10:00:30
                                                                                      5    20-CV-00023-WOB-CJS.      In the matter of Nicholas              10:00:30
                                                                                      6    Sandmann versus CBS News, Inc., et al.            Case           10:00:36
                                                                                      7    Number 20-CV-00024-WOB-CJS.                                      10:00:36
                                                                                      8                In the matter of Nicholas Sandmann                   10:00:57
                                                                                      9    versus Nicholas Sandmann, et al. versus ABC News,                10:01:01
                                                                                      10   Incorporated, et al., Case Number                                10:01:01
                                                                                      11   2:20-CV-00025-WOB-CJ.                                            10:01:01
                                                                                      12               In the matter of Nicholas Sandmann                   10:01:01
                                                                                      13   versus Rolling Stone, LLC, et al.          Case Number           10:01:01
                                                                                      14   2:20-CV-00027-WOB-CJS.                                           10:01:01
                                                                                      15               THE VIDEOGRAPHER:       Today's date it's            10:01:12
                                                                                      16   December 7th --                                                  10:01:12
                                                                                      17                     -- (overspeaking) --                           10:01:14
                                                                                      18               MS. SPEARS:     One more.      Sorry, it's not       10:01:16
                                                                                      19   on the caption here.      But in the matter of                   10:01:16
                                                                                      20   Nicholas Sandmann versus Gannett Company Inc., et                10:01:18
                                                                                      21   al. and that's case number 20-CV-00026-WOB-CJS.                  10:01:22
                                                                                      22               THE VIDEOGRAPHER:       Today's date is              10:01:32
                                                                                      23   December 7th, 2021 and the time is 10:01 a.m.                    10:01:33
                                                                                      24               The videographer today is David                      10:01:37
                                                                                      25   Hernandez representing Planet Depos.                             10:01:37


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                                     1645
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 12 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021              10

                                                                                      1                  This video deposition is taking place                 10:01:42
                                                                                      2    at Dentons US LLP at 1221 Avenue of the Americas,                   10:01:45
                                                                                      3    New York.                                                           10:01:50
                                                                                      4                  Will counsel please identify themself                 10:01:51
                                                                                      5    and state whom they represent.                                      10:01:52
                                                                                      6                  MR. FORD:     Good morning, this is Darren            10:01:57
                                                                                      7    Ford.    I'm sorry, go ahead, Natalie.                              10:01:58
                                                                                      8                  MS. SPEARS:     Go ahead, Darren.                     10:02:02
                                                                                      9                  MR. FORD:     Oh, this is Darren Ford                 10:02:04
                                                                                      10   representing New York Times Company and                             10:02:05
                                                                                      11   NCBUniversal Media LLC.                                             10:02:08
                                                                                      12                 MR. HUBER:     Will Huber for the                     10:02:12
                                                                                      13   plaintiff, Nicholas Sandmann.                                       10:02:14
                                                                                      14                 MR. SHOOK:     Good morning, this is Kevin            10:02:16
                                                                                      15   Shook.     I'm with Frost Brown Todd, LLC.                          10:02:19
                                                                                      16                 With me today Ryan Goellner also with                 10:02:22
                                                                                      17   Frost Brown Todd LLC.        We represent Rolling Stone.            10:02:23
                                                                                      18                 MS. KRISHNAN:     Good morning.      Meenakshi        10:02:29
                                                                                      19   Krishnan representing ABC.                                          10:02:31
                                                                                      20                 MR. ABATE:     Michael Abate with Kaplan,             10:02:36
                                                                                      21   Johnson Abate and Bird, co-counsel for Gannett Co.                  10:02:38
                                                                                      22   Inc. and Gannett Satellite Information Network on                   10:02:40
                                                                                      23   behalf of USA Today.                                                10:02:44
                                                                                      24                 This is Michael Grygiel, Greenberg                    10:02:46
                                                                                      25   Traurig.     Co-counsel with Mr. Abate for the                      10:02:47


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                                     1646
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 13 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021          11

                                                                                      1    Gannett Company and Gannett Satellite Information                 10:02:47
                                                                                      2    Network as the publisher of USA Today.                            10:02:47
                                                                                      3                 MR. SIEGEL:      And Nathan Siegel also              10:02:56
                                                                                      4    representing ABC.                                                 10:02:56
                                                                                      5                 MR. McMURTRY:       Todd McMurtry, here for          10:02:59
                                                                                      6    the plaintiff, Nicholas Sandmann.                                 10:02:59
                                                                                      7                 MS. SPEARS:      And good morning,                   10:02:59
                                                                                      8    everybody.    This is Nathalie Spears.           I am here        10:02:59
                                                                                      9    with my colleague Jessie Meek, representing the                   10:02:59
                                                                                      10   CBS defendants.                                                   10:02:59
                                                                                      11                THE VIDEOGRAPHER:        The Court Reporter          10:03:19
                                                                                      12   is Lisa Barrett.      Would the Reporter please swear             10:03:20
                                                                                      13   in the witness.                                                   10:03:22
                                                                                      14       (Oath Stipulation read by Court Reporter)                     10:03:22
                                                                                      15         CRAIGE ROBERTS Ph.D, having been duly                       10:03:22
                                                                                      16                sworn testified as follows:                          10:03:22
                                                                                      17   BY MS. SPEARS:                                                    10:04:37
                                                                                      18         Q      Can you please state your name for the               10:04:38
                                                                                      19   record.                                                           10:04:39
                                                                                      20         A      Craige Roberts.                                      10:04:41
                                                                                      21         Q      And that is spelled C-R-A --                         10:04:42
                                                                                      22         A      C-R-A-I-G-E.                                         10:04:46
                                                                                      23         Q      Okay.    I wasn't sure if that was going             10:04:48
                                                                                      24   to be pronounced "Craige" or "Craig," but it's                    10:04:50
                                                                                      25   "Craig".                                                          10:04:55


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                                     1647
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 14 of 281 - Page ID#:

                                                                                                                  Conducted on December 7, 2021         12

                                                                                      1          A       Correct.                                            10:04:55
                                                                                      2          Q       Is that a family name?                              10:04:55
                                                                                      3          A       Great grandmother.                                  10:04:57
                                                                                      4          Q       Great grandmother.         Okay.    Have you        10:04:59
                                                                                      5    been deposed before?                                              10:04:59
                                                                                      6          A       I have.                                             10:04:59
                                                                                      7          Q       Okay and so you understand the rules,               10:05:13
                                                                                      8    they're a little bit different here as you've --                  10:05:13
                                                                                      9                     -- (overspeaking) --                             10:05:13
                                                                                      10         A       Yeah.     They're a little different.               10:05:13
                                                                                      11   That's fine.                                                      10:05:13
                                                                                      12    (Court reporter interjection re overspeaking.)                   10:05:13
                                                                                      13   BY MS. SPEARS:                                                    10:05:14
                                                                                      14         Q       Thank you.      That's one of the rules, so         10:05:14
                                                                                      15   thank you for stating that.                                       10:05:15
                                                                                      16                 If you need a break at any time please              10:05:16
                                                                                      17   let me know.     If you don't understand one of my                10:05:18
                                                                                      18   questions, please let me know, otherwise the                      10:05:20
                                                                                      19   record will assume and I will assume that you have                10:05:22
                                                                                      20   understood.                                                       10:05:25
                                                                                      21                    -- (overspeaking) --                             10:05:25
                                                                                      22         A       Understood.                                         10:05:26
                                                                                      23         Q       And nods of the head also don't work in             10:05:28
                                                                                      24   depositions, so you have to say "yes" or "no."                    10:05:30
                                                                                      25         A       I'm trying just not to overlap what                 10:05:31


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                                     1648
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 15 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021             13

                                                                                      1    you're saying.       Okay.   That's fine.       I understand.        10:05:33
                                                                                      2          Q      Great.     All right.      Where do you live            10:05:36
                                                                                      3    currently?                                                           10:05:38
                                                                                      4          A      I live here in New York City.             Do you        10:05:39
                                                                                      5    want the address?                                                    10:05:42
                                                                                      6          Q      Sure.                                                   10:05:43
                                                                                      7          A      501 West 123rd Street, Apartment 20F,                   10:05:44
                                                                                      8    New York, 10027.                                                     10:05:45
                                                                                      9          Q      And how long have you lived here?                       10:05:49
                                                                                      10         A      I've lived in the city for five years,                  10:05:50
                                                                                      11   but at that address for three.                                       10:05:52
                                                                                      12         Q      And by way of background, where were                    10:05:55
                                                                                      13   you born?                                                            10:05:58
                                                                                      14         A      Terre Haute, Indiana.                                   10:05:58
                                                                                      15         Q      And did you grow up there?                              10:06:19
                                                                                      16         (Court reporter interjection re audio)                         10:06:19
                                                                                      17         A      Is that better?        Hello. I didn't hear             10:06:19
                                                                                      18   what she said.                                                       10:06:19
                                                                                      19   BY MS. SPEARS:                                                       10:06:23
                                                                                      20         Q      Is she close enough because I do want                   10:06:30
                                                                                      21   to make sure that we're good to go here and we                       10:06:32
                                                                                      22   don't have continuing issues.           So don't be shy on           10:06:35
                                                                                      23   the court reporting side.         Does that sound better?            10:06:40
                                                                                      24                (Court reporter clarification.)                         10:06:42
                                                                                      25         A      I'll tell you again.          I was born in             10:06:48


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                                     1649
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 16 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021         14

                                                                                      1    Terre Haute, Indiana.        Can you hear me now?                10:06:50
                                                                                      2                  COURT REPORTER:       Yes.                         10:06:57
                                                                                      3    BY MS. SPEARS:                                                   10:06:57
                                                                                      4             Q    Okay, great.      And that's where you grew        10:06:58
                                                                                      5    up?                                                              10:07:01
                                                                                      6             A    I did.                                             10:07:02
                                                                                      7             Q    And where's Terre Haute in Indiana?                10:07:04
                                                                                      8             A    Terre Haute is on the western border of            10:07:04
                                                                                      9    Indiana with Illinois, about 200 miles due south                 10:07:04
                                                                                      10   of Chicago.                                                      10:07:07
                                                                                      11            Q    And did you go to high school in Terre             10:07:08
                                                                                      12   Haute?                                                           10:07:10
                                                                                      13            A    I did.    Wiley High School.                       10:07:13
                                                                                      14            Q    What high school is that?                          10:07:13
                                                                                      15            A    Wiley.    No longer exists.        My great        10:07:13
                                                                                      16   grandfather went there so...                                     10:07:17
                                                                                      17            Q    Was it a public high school?                       10:07:19
                                                                                      18            A    Yes.                                               10:07:21
                                                                                      19            Q    You went to University in Indiana, as              10:07:21
                                                                                      20   well?                                                            10:07:25
                                                                                      21            A    I did.                                             10:07:25
                                                                                      22            Q    And where did you study?                           10:07:26
                                                                                      23            A    Indiana University as part of the                  10:07:27
                                                                                      24   undergraduate.                                                   10:07:29
                                                                                      25            Q    And what was your undergraduate degree?            10:07:30


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                                     1650
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 17 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021        15

                                                                                      1          A       My degree was in theater.                         10:07:32
                                                                                      2          Q       And when did you graduate?                        10:07:34
                                                                                      3          A       I graduated in 1978, my undergraduate.            10:07:37
                                                                                      4          Q       Did you attend graduate school?                   10:07:45
                                                                                      5          A       Yes, I did.                                       10:07:47
                                                                                      6          Q       Where?                                            10:07:48
                                                                                      7          A       I studied for another year at Indiana             10:07:48
                                                                                      8    University.     Then I went to the University of                10:07:52
                                                                                      9    Massachusetts in Amherst for my Ph D.                           10:07:54
                                                                                      10         Q       And when you studied another year at              10:07:57
                                                                                      11   Indiana University, what did you study?                         10:07:59
                                                                                      12         A       I was studied linguistics at that time.           10:08:01
                                                                                      13         Q       Okay, and that was part of graduate               10:08:04
                                                                                      14   training?                                                       10:08:06
                                                                                      15         A       Yes.     That was working towards a               10:08:06
                                                                                      16   Master's degree, but the Master's really didn't                 10:08:08
                                                                                      17   matter for my graduate education, so much as the                10:08:11
                                                                                      18   classwork that I took there.                                    10:08:16
                                                                                      19                 So, when I was admitted to University             10:08:17
                                                                                      20   of Massachusetts of Amherst, I went there the                   10:08:20
                                                                                      21   following year and didn't complete the Master's.                10:08:23
                                                                                      22         Q       So the year that you did in 1979 to               10:08:29
                                                                                      23   '80 at Indiana State, that was part of your                     10:08:31
                                                                                      24   training in linguistics?                                        10:08:36
                                                                                      25         A       Yes, at the time while I was taking               10:08:37


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                                     1651
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 18 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021            16

                                                                                      1    coursework there I also had studied lexicography,                10:08:39
                                                                                      2    dictionary making and I worked as a research                     10:08:46
                                                                                      3    assistant on the dictionary of Haitian Creole,                   10:08:49
                                                                                      4    French and English under Professor Arthur                        10:08:49
                                                                                      5    (inaudible).                                                     10:08:53
                                                                                      6          Q     And what is lexicography?                            10:08:54
                                                                                      7          A     Lexicography is the study of how to                  10:08:57
                                                                                      8    make dictionaries.                                               10:08:59
                                                                                      9          Q     And how did you get interested in                    10:09:01
                                                                                      10   lexicography?                                                    10:09:03
                                                                                      11         A     Well, that's a long story.          But I had        10:09:05
                                                                                      12   been living in New York prior to -- I took some                  10:09:07
                                                                                      13   time off.   After my junior year of college, I came              10:09:10
                                                                                      14   here and lived.                                                  10:09:14
                                                                                      15               I thought I might be interested in the               10:09:15
                                                                                      16   arts, but instead I got interested in linguistics                10:09:17
                                                                                      17   and met someone who was a very famous collector                  10:09:19
                                                                                      18   and seller of dictionaries and got very interested               10:09:27
                                                                                      19   in that work and she told me, you know, there's a                10:09:31
                                                                                      20   place where people pay to do that instead of being               10:09:33
                                                                                      21   an expensive hobby, so I went to graduate school.                10:09:36
                                                                                      22         Q     And what interested you about                        10:09:43
                                                                                      23   lexicography?                                                    10:09:45
                                                                                      24         A     I'd always been interested in meaning                10:09:46
                                                                                      25   and I realized that there was a way to study                     10:09:50


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                                     1652
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 19 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021                17

                                                                                      1    meaning in a more systematic way that touched on                      10:09:53
                                                                                      2    deeper issues about -- philosophical issues about                     10:09:55
                                                                                      3    meaning in a way that could be conveyed.                              10:09:59
                                                                                      4          Q     Then you went to University of                            10:10:07
                                                                                      5    Massachusetts at Amherst?                                             10:10:09
                                                                                      6          A     Yes.                                                      10:10:11
                                                                                      7          Q     And you studied linguistics there?                        10:10:12
                                                                                      8          A     Yes.   At the time U Mass Amherst --                      10:10:14
                                                                                      9    well still it's one of the top universities in the                    10:10:18
                                                                                      10   world to study in my area.        Not just linguistics                10:10:21
                                                                                      11   but linguistic semantics, the study of meaning.                       10:10:23
                                                                                      12   And at the time my advisor there Barbara H Partee                     10:10:24
                                                                                      13   was and still is one of the top people in the                         10:10:30
                                                                                      14   field, so I wanted to work with her.                                  10:10:33
                                                                                      15         Q     Let's back up there a little bit.             Tell        10:10:35
                                                                                      16   me what is linguistics.                                               10:10:36
                                                                                      17         A     Linguistics is a scientific study of                      10:10:39
                                                                                      18   language.   It's a very large field, not in terms                     10:10:41
                                                                                      19   of number of people in it, but in terms of the                        10:10:44
                                                                                      20   range of issues that people study.           Everything               10:10:46
                                                                                      21   from the history of languages, from the grammars                      10:10:48
                                                                                      22   of particular languages.       But in modern                          10:10:53
                                                                                      23   linguistics we are more interested in how people                      10:10:57
                                                                                      24   learn and convey linguistic meaning to each other.                    10:11:03
                                                                                      25               That's a complicated subject and I                        10:11:10


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                                     1653
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 20 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021               18

                                                                                      1    wanted to study not just sound patterns or syntax                    10:11:14
                                                                                      2    or grammar but meaning.       How we convey meaning.                 10:11:18
                                                                                      3          Q    What types of questions do linguists                      10:11:22
                                                                                      4    have special expertise to answer?                                    10:11:27
                                                                                      5                     -- (overspeaking) --                                10:11:30
                                                                                      6          A    Well, it depends on the linguist.               I         10:11:30
                                                                                      7    wouldn't be here -- I purport to have no special                     10:11:33
                                                                                      8    knowledge about historical grammar, how language                     10:11:36
                                                                                      9    has changed or the relationships between different                   10:11:38
                                                                                      10   languages historically.       That's not my expertise.               10:11:41
                                                                                      11   But in my particular case we -- I am able to bring                   10:11:43
                                                                                      12   evidence to bear about the plain meaning of                          10:11:50
                                                                                      13   expressions of a variety of languages but English                    10:11:54
                                                                                      14   in particular.                                                       10:12:00
                                                                                      15         Q    Does the type of linguistic study you                     10:12:00
                                                                                      16   consider yourself an expert in, have a name?                         10:12:04
                                                                                      17         A    Semantics.      Formal semantics.                         10:12:10
                                                                                      18         Q    What is semantics?                                        10:12:11
                                                                                      19         A    Semantics is the study of meaning in                      10:12:13
                                                                                      20   linguistics.                                                         10:12:16
                                                                                      21         Q    How is semantics different from                           10:12:16
                                                                                      22   linguistics?                                                         10:12:20
                                                                                      23         A    It's a subfield of linguistics.               As I        10:12:21
                                                                                      24   said, linguistics is complex.         There's historical             10:12:24
                                                                                      25   linguistics, cycle linguistics, phonology.               The         10:12:27


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                                     1654
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 21 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021        19

                                                                                      1    study of the sound patterns.         Semantics is the          10:12:29
                                                                                      2    study of meaning.      I can tell you more about the           10:12:31
                                                                                      3    study, if you are interested.                                  10:12:34
                                                                                      4          Q     So, when you were you refer to yourself            10:12:37
                                                                                      5    as a linguist, do you refer to yourself as a                   10:12:39
                                                                                      6    semantics linguist?                                            10:12:43
                                                                                      7          A     No, if you are saying you are a                    10:12:45
                                                                                      8    physicist, then you can study particle physics or              10:12:47
                                                                                      9    nuclear physics or, you know, a variety of other               10:12:53
                                                                                      10   subfields in which your expertise would primarily              10:12:56
                                                                                      11   lie and mine is semantics within the -- I'm a                  10:12:59
                                                                                      12   linguist who studies semantics so you can say I'm              10:13:03
                                                                                      13   a semanticist or a formal semanticist.                         10:13:05
                                                                                      14         Q     Okay, and what kinds of data or                    10:13:11
                                                                                      15   information do linguists who specialize in                     10:13:11
                                                                                      16   semantics rely upon when you undertake an                      10:13:16
                                                                                      17   analysis?                                                      10:13:19
                                                                                      18         A     Well, we are scientists so we have                 10:13:20
                                                                                      19   certain empirical methodologies that we use to                 10:13:22
                                                                                      20   study the ways in which we convey meaning.                     10:13:27
                                                                                      21               So that, itself, is (phone sounds.)                10:13:30
                                                                                      22         Q     Sorry.     The telephone just went off in          10:13:38
                                                                                      23   the room, but you can pick up where you left off.              10:13:39
                                                                                      24         A     Yeah.    So, for example, you might say            10:13:42
                                                                                      25   that the meaning of a sentence that I utter is a               10:13:45


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                                     1655
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 22 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021             20

                                                                                      1    function of several factors.                                         10:13:49
                                                                                      2                    Primarily the meanings of the words                  10:13:51
                                                                                      3    that I utter, but also the syntactic structure.                      10:13:53
                                                                                      4    As I said in my report, John loves Mary means                        10:13:57
                                                                                      5    something very different than Mary loves John, so                    10:14:01
                                                                                      6    you have to know that John's the subject of one,                     10:14:03
                                                                                      7    the object of the other, etcetera, so you have to                    10:14:06
                                                                                      8    know the meanings of the words.                                      10:14:07
                                                                                      9                    The syntactic structure in which they                10:14:10
                                                                                      10   obtain in that utterance and the way in which                        10:14:13
                                                                                      11   syntax puts the meanings of words together to                        10:14:16
                                                                                      12   compose more complex meanings.           And then in                 10:14:20
                                                                                      13   addition you have to look at various contextual                      10:14:23
                                                                                      14   factors.       In particular, if there's a pronoun or                10:14:26
                                                                                      15   ellipsis in the sentence, we study the ways in                       10:14:30
                                                                                      16   which people rely and really treat the meaning of                    10:14:34
                                                                                      17   "he."       We say "He looks hungry," that means                     10:14:37
                                                                                      18   something very different if I've been talking                        10:14:39
                                                                                      19   about John versus a male alligator.             Right.     It        10:14:40
                                                                                      20   depends on the question under discussion and the                     10:14:45
                                                                                      21   context of utterance and --                                          10:14:47
                                                                                      22           Q       So, let me stop you there for a second.              10:14:49
                                                                                      23   So my question there was:         What kind of data or               10:14:51
                                                                                      24   information do you rely on?          You mention the                 10:14:54
                                                                                      25   meaning of words, syntactic structure.                               10:14:56


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                                     1656
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 23 of 281 - Page ID#:

                                                                                                                    Conducted on December 7, 2021        21

                                                                                      1                           -- (overspeaking) --                        10:14:59
                                                                                      2                    What type of data?                                 10:15:00
                                                                                      3                            -- (inaudible) --                          10:15:00
                                                                                      4            A       What data do we work on?                           10:15:01
                                                                                      5            Q       Yes.                                               10:15:03
                                                                                      6            A       In the case of lexicography, this I                10:15:03
                                                                                      7    studied -- it's an old study, I studied this with                  10:15:07
                                                                                      8    Professor Edward Gates, who was a lexicographer                    10:15:10
                                                                                      9    that worked for Merriam-Webster Company in                         10:15:14
                                                                                      10   Springfield, Massachusetts.             And classical              10:15:17
                                                                                      11   lexicographic procedure consists in finding usages                 10:15:21
                                                                                      12   of the term that you are studying in, collecting                   10:15:25
                                                                                      13   those from a wide variety of sources, literature,                  10:15:27
                                                                                      14   newspaper reporting, essays.                                       10:15:32
                                                                                      15                   Today we use radio programs, television            10:15:35
                                                                                      16   programs and the web, of course, to collect all                    10:15:37
                                                                                      17   these usages.                                                      10:15:42
                                                                                      18                   They used to have shoeboxes full of                10:15:43
                                                                                      19   them.       Huge rooms full of shoeboxes of collections            10:15:45
                                                                                      20   of usages.       These are ordinary usages by people               10:15:46
                                                                                      21   who are native speakers of the language under                      10:15:52
                                                                                      22   study and then the lexicographer attempts to                       10:15:54
                                                                                      23   organize these into different possible sentences,                  10:15:59
                                                                                      24   looking at context and evidence interpretation in                  10:16:02
                                                                                      25   those passages in which they occur.                                10:16:05


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                                     1657
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 24 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021        22

                                                                                      1                 And then they develop sensors or                10:16:07
                                                                                      2    dictionary definitions, some people call them.               10:16:12
                                                                                      3    Now a dictionary definition then is a reflection             10:16:14
                                                                                      4    of one of the meanings that ordinary people take             10:16:17
                                                                                      5    the given term to have.                                      10:16:22
                                                                                      6          Q      Okay, so what you just described                10:16:25
                                                                                      7    essentially as what lexicographers do, putting               10:16:27
                                                                                      8    together dictionaries, correct?                              10:16:31
                                                                                      9          A      I talked to you about the data that             10:16:32
                                                                                      10   they use.                                                    10:16:33
                                                                                      11         Q      Yeah, they use data to put together             10:16:33
                                                                                      12   dictionaries.                                                10:16:35
                                                                                      13         A      Right.                                          10:16:36
                                                                                      14         Q      So dictionaries are one form of                 10:16:37
                                                                                      15   data that --                                                 10:16:39
                                                                                      16         A      One form.                                       10:16:39
                                                                                      17         Q      -- linguists use.                               10:16:40
                                                                                      18         A      Right.                                          10:16:43
                                                                                      19         Q      What other data or is dictionary the            10:16:43
                                                                                      20   main data?                                                   10:16:44
                                                                                      21         A      Well, no.   I mean, as I said there are         10:16:45
                                                                                      22   three prongs at least, major parts of the meaning            10:16:47
                                                                                      23   of a sentence I might utter.                                 10:16:49
                                                                                      24                    -- (overspeaking) --                        10:16:52
                                                                                      25         Q      Okay, so what other data?                       10:16:52


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                                     1658
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 25 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021        23

                                                                                      1          A     So, the second prong is the syntactic             10:16:54
                                                                                      2    structure and linguists have been studying syntax             10:16:59
                                                                                      3    for centuries.     But in particular, since the               10:17:02
                                                                                      4    advent of generative grammar in the 1950s,                    10:17:05
                                                                                      5    enormous progress has been made to study the many             10:17:09
                                                                                      6    and sometimes very complex and tactic structures              10:17:12
                                                                                      7    of a language, and the evidence that people draw              10:17:15
                                                                                      8    on again are texts and usages that are found in               10:17:18
                                                                                      9    the plain language of the speakers of the                     10:17:22
                                                                                      10   language.   In other words --                                 10:17:25
                                                                                      11                    -- (overspeaking) --                         10:17:27
                                                                                      12         Q     Which you would find in dictionaries.             10:17:27
                                                                                      13         A     No, dictionaries do not record                    10:17:30
                                                                                      14   syntactic structure.      You would go to -- I mean           10:17:32
                                                                                      15   the grammarians, the syntacticians in this case,              10:17:36
                                                                                      16   draw on actual usage.      They find the uses that            10:17:40
                                                                                      17   people make that are -- that other people who are             10:17:44
                                                                                      18   native speakers say, now that's sensible, that                10:17:48
                                                                                      19   sounds like English.      So now you'll find people --        10:17:51
                                                                                      20   this is more recent because of the advent of                  10:17:55
                                                                                      21   crowd-sourcing on the web, they use tools like                10:17:59
                                                                                      22   Mechanical Turk.     It's a very commonly used one to         10:18:03
                                                                                      23   do linguistic research on the web and get native              10:18:07
                                                                                      24   speakers to give judgments about whether they                 10:18:12
                                                                                      25   think a particular structure of a certain word and            10:18:15


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                                     1659
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 26 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021               24

                                                                                      1    the syntactic structure sounds like English.               Does        10:18:17
                                                                                      2    it sound fine or not and, if so, what does it                          10:18:20
                                                                                      3    mean?                                                                  10:18:22
                                                                                      4                    So, now we use -- we can use                           10:18:23
                                                                                      5    crowd-sourcing, but that's a relatively recent                         10:18:26
                                                                                      6    tool.       Just like lexicographers, syntacticians                    10:18:29
                                                                                      7    have been studying the actual usages that you find                     10:18:33
                                                                                      8    in both spoken and written English by native                           10:18:36
                                                                                      9    speakers and studying what the native speakers                         10:18:42
                                                                                      10   take them to mean and what the structures are                          10:18:42
                                                                                      11   listed in English.          So it's listed in English to               10:18:44
                                                                                      12   say John has an apple, but now John has apple of                       10:18:46
                                                                                      13   ... meaning --                                                         10:18:53
                                                                                      14                       --(overspeaking) --                                10:18:54
                                                                                      15           Q       Okay, so dictionary's syntactic                        10:18:55
                                                                                      16   structure --                                                           10:18:56
                                                                                      17           A       Syntax --                                              10:18:57
                                                                                      18                      -- (overspeaking) --                                10:18:58
                                                                                      19           Q       -- is the second thing --                              10:18:58
                                                                                      20                       -- (overspeaking) --                               10:18:59
                                                                                      21           A       -- semantics --                                        10:18:59
                                                                                      22           Q       And what is -- yeah.       You have to wait            10:19:00
                                                                                      23   until I'm done.                                                        10:19:03
                                                                                      24                   Thank you, Mr. McMurtry.                               10:19:04
                                                                                      25                   So, in considering data that linguists                 10:19:06


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                                     1660
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 27 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021              25

                                                                                      1    would use we talked about number one,                              10:19:08
                                                                                      2    dictionaries, two syntactic structures and                         10:19:12
                                                                                      3    resources that talk about syntactic structure.                     10:19:15
                                                                                      4    Anything else?                                                     10:19:17
                                                                                      5          A      So I was not quite finished with the                  10:19:18
                                                                                      6    syntax.    The results of all this study is -- are                 10:19:20
                                                                                      7    recorded in grammars by sophisticated linguistic                   10:19:21
                                                                                      8    syntacticians.    And they're excellent grammars of                10:19:27
                                                                                      9    English starting -- well, actually starting in the                 10:19:32
                                                                                      10   early -- late 19 -- early 20th century, but                        10:19:33
                                                                                      11   certainly starting in the 1950s.         And these are --          10:19:36
                                                                                      12   these are books that gather that information,                      10:19:40
                                                                                      13   compile it and talk about underlying relationships                 10:19:45
                                                                                      14   between these different syntactic structures.           And        10:19:47
                                                                                      15   that's what a generative grammar is.          A generative         10:19:51
                                                                                      16   grammar is a set of recursive rules that aims to                   10:19:54
                                                                                      17   generate all and only the grammatical licit (?)                    10:19:58
                                                                                      18   sentences of the language, so you find that in                     10:20:02
                                                                                      19   grammar.                                                           10:20:04
                                                                                      20                That's not the sort of thing that most                10:20:05
                                                                                      21   ordinary people read, but it's used by people, for                 10:20:06
                                                                                      22   example, who are making natural language                           10:20:09
                                                                                      23   understanding tools for computers, for human                       10:20:11
                                                                                      24   computer interface.    So that's the second kind of                10:20:16
                                                                                      25   tool and the second kind of data that I can draw                   10:20:19


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                                     1661
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 28 of 281 - Page ID#:

                                                                                                             Conducted on December 7, 2021           26

                                                                                      1    on.                                                            10:20:21
                                                                                      2                The third kind are semantic judgments.             10:20:21
                                                                                      3    So, as I said, when you use Mechanical Turk, you               10:20:23
                                                                                      4    might be exploring what sounds like elicit,                    10:20:29
                                                                                      5    meaning grammatical sentence of the language you               10:20:34
                                                                                      6    are studying, say English here, but you might also             10:20:36
                                                                                      7    ask, what does this mean and by exploring the                  10:20:39
                                                                                      8    meanings of sentence in this way and what the                  10:20:42
                                                                                      9    entailments are, people like me make judgments                 10:20:45
                                                                                      10   about the ways in which the meanings of the words              10:20:48
                                                                                      11   interact with the syntactic structure to compose a             10:20:53
                                                                                      12   more complex meaning to the meaning of the                     10:20:58
                                                                                      13   sentence.                                                      10:21:02
                                                                                      14         Q     Anything else or that's the primary?               10:21:03
                                                                                      15         A     No, besides that we study the ways that            10:21:04
                                                                                      16   context influences interpretation so one of the                10:21:06
                                                                                      17   things I'm most well known for is my work on the               10:21:09
                                                                                      18   question under discussion.                                     10:21:13
                                                                                      19               If you Google "question under                      10:21:14
                                                                                      20   discussion" Craige Roberts will come up.           So I        10:21:15
                                                                                      21   study the ways in which we encode the kinds of                 10:21:19
                                                                                      22   factors in context, this utterance -- the context              10:21:25
                                                                                      23   that we have in this discourse, the kinds of                   10:21:32
                                                                                      24   factors that come to bear on resolving                         10:21:35
                                                                                      25   context-sensitive expressions in an utterance.                 10:21:38


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                                     1662
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 29 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021          27

                                                                                      1                And context-sensitive expressions, as I              10:21:41
                                                                                      2    said, include things like pronouns and ellipses,                 10:21:43
                                                                                      3    etcetera.                                                        10:21:46
                                                                                      4          Q     Thank you.      Anything else in terms of            10:21:48
                                                                                      5    data or those are the main things?                               10:21:50
                                                                                      6          A     That's the data for evidence about the               10:21:51
                                                                                      7    way that meaning is composed as a function of the                10:21:53
                                                                                      8    parts in the context in -- yeah.                                 10:21:57
                                                                                      9          Q     So, the -- just getting back to my                   10:21:58
                                                                                      10   initial question, the kinds of data that linguists               10:22:00
                                                                                      11   rely on when they undertake an analysis, those are               10:22:06
                                                                                      12   the types that we just talked about.            Those are        10:22:10
                                                                                      13   the kinds of data, correct?                                      10:22:11
                                                                                      14         A     The primary kinds of data, yes.                      10:22:12
                                                                                      15         Q     Okay.     And as a linguist when you                 10:22:16
                                                                                      16   write -- you've written a lot, I take it.                        10:22:18
                                                                                      17         A     I have.                                              10:22:21
                                                                                      18         Q     I've looked at your CV, correct?                     10:22:21
                                                                                      19         A     Yes.                                                 10:22:23
                                                                                      20         Q     And when you write, you're careful                   10:22:23
                                                                                      21   about words you use and the meanings they have .                 10:22:25
                                                                                      22                  -- (overspeaking) --                              10:22:28
                                                                                      23         A     I am --                                              10:22:28
                                                                                      24         Q     -- as a linguist; right?                             10:22:28
                                                                                      25         A     Yes.                                                 10:22:30


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                                     1663
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 30 of 281 - Page ID#:

                                                                                                                   Conducted on December 7, 2021        28

                                                                                      1                   MR. McMURTRY:       Let her finish her             10:22:31
                                                                                      2    question first.                                                   10:22:31
                                                                                      3                   THE WITNESS:       I'm sorry.                      10:22:31
                                                                                      4                   MR. McMURTRY:       Yeah, it's --                  10:22:31
                                                                                      5                          -- (overspeaking) --                        10:22:31
                                                                                      6                   THE WITNESS:       I don't intend to foul          10:22:31
                                                                                      7    up.   Sorry.                                                      10:22:31
                                                                                      8    BY MS. SPEARS:                                                    10:22:31
                                                                                      9           Q       Thank you.      So, you also talk about, in        10:22:40
                                                                                      10   your report, pragmatics.           What is -- that you            10:22:48
                                                                                      11   specialize in pragmatics as well, correct?                        10:22:52
                                                                                      12          A       Yes.                                               10:22:54
                                                                                      13          Q       What is pragmatics?                                10:22:55
                                                                                      14          A       Pragmatics is the study of the way in              10:22:58
                                                                                      15   which context influences interpretation.                          10:23:00
                                                                                      16          Q       And what is -- when you use it in that             10:23:03
                                                                                      17   way, what is context?                                             10:23:08
                                                                                      18          A       Context, it could be -- it depends on              10:23:12
                                                                                      19   the theory that you look at, the way in which it's                10:23:15
                                                                                      20   defined, actually.         This is a technical debate             10:23:18
                                                                                      21   within the field.         I have a theory of context.             10:23:21
                                                                                      22   Loosely and formally, you could say that the                      10:23:26
                                                                                      23   context is the information that interlocutors                     10:23:28
                                                                                      24   share in the course of a discourse and hence                      10:23:33
                                                                                      25   information that might potentially be drawn upon                  10:23:35


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                                     1664
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 31 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021        29

                                                                                      1    to help resolve context sensitive aspects of the                10:23:37
                                                                                      2    meaning of them.                                                10:23:41
                                                                                      3          Q      When you say "interlocutors," what do              10:23:43
                                                                                      4    you mean by that?                                               10:23:44
                                                                                      5          A      Interlocutors in a discourse are people            10:23:46
                                                                                      6    that are speaking with each other.                              10:23:48
                                                                                      7          Q      And why is context important to                    10:23:50
                                                                                      8    linguists?                                                      10:23:53
                                                                                      9          A      As I said, there are many                          10:23:55
                                                                                      10   context-sensitive expressions in a language and                 10:23:56
                                                                                      11   also other ways in which context comes to bear.                 10:24:00
                                                                                      12                Would you like me to give an example               10:24:02
                                                                                      13   besides pronouns and ellipses?                                  10:24:04
                                                                                      14         Q      Sure.                                              10:24:08
                                                                                      15         A      Yeah.    So if I say to you, John only             10:24:08
                                                                                      16   introduced Sue to Bill, that could be true in a                 10:24:13
                                                                                      17   context in which it would be false that John only               10:24:16
                                                                                      18   introduced Sue to Bill.                                         10:24:20
                                                                                      19                I'll say the two utterances again.                 10:24:24
                                                                                      20   John only introduced Sue to Bill, versus John only              10:24:26
                                                                                      21   introduced Sue to Bill.                                         10:24:31
                                                                                      22                So suppose that there's several people             10:24:33
                                                                                      23   at a party and John introduced several different                10:24:35
                                                                                      24   people to Bill.      Then -- but the only person that           10:24:39
                                                                                      25   Sue met was Bill.       One of those will be true.              10:24:46


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                                     1665
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 32 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021        30

                                                                                      1    John only introduced Sue to Bill but the other one              10:24:52
                                                                                      2    was false.                                                      10:24:57
                                                                                      3                 John only introduced Sue to Bill                   10:24:57
                                                                                      4    because Bill met several people.            So all I did        10:25:00
                                                                                      5    there was I put emphasis on one of the different                10:25:04
                                                                                      6    objects, Sue versus Bill.                                       10:25:08
                                                                                      7          Q      So in that example you gave, that is an            10:25:10
                                                                                      8    example of how context --                                       10:25:12
                                                                                      9                       -- (overspeaking) --                         10:25:15
                                                                                      10         A      And --                                             10:25:17
                                                                                      11                      -- (overspeaking) --                         10:25:17
                                                                                      12         Q      Hold on.     I have to finish the                  10:25:17
                                                                                      13   question.    So that's an example of the way in                 10:25:19
                                                                                      14   which context can impact meaning when it's spoken               10:25:22
                                                                                      15   by somebody by virtue of how they emphasize a                   10:25:25
                                                                                      16   certain word, correct?                                          10:25:28
                                                                                      17         A      No.                                                10:25:29
                                                                                      18         Q      No.                                                10:25:30
                                                                                      19         A      You misunderstood, but you didn't let              10:25:30
                                                                                      20   me finish.                                                      10:25:32
                                                                                      21         Q      Okay.                                              10:25:33
                                                                                      22         A      So what I did was give you the                     10:25:33
                                                                                      23   utterances but my point was that the emphasis on                10:25:35
                                                                                      24   the accent on "Bill" versus "Sue" is said in the                10:25:40
                                                                                      25   theory, actually, the theory based on my work to                10:25:45


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                                     1666
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 33 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021             31

                                                                                      1    be a reflection of which alternatives are under                    10:25:48
                                                                                      2    consideration and that reflects the question under                 10:25:51
                                                                                      3    discussion.                                                        10:25:53
                                                                                      4                  So, if I put it -- so that is a                      10:25:54
                                                                                      5    contextual factor.     So if the question is: Who did              10:25:57
                                                                                      6    Bill introduce to Sue?      Who did Bill introduce to              10:26:02
                                                                                      7    Sue?   John only introduced -- I'm sorry, who did                  10:26:06
                                                                                      8    John -- my names confused.                                         10:26:11
                                                                                      9                  Who did John introduce to Sue?             By        10:26:13
                                                                                      10   saying:     John only introduced Bill to Sue, that's               10:26:16
                                                                                      11   an appropriate answer to that question.                            10:26:19
                                                                                      12                 Notice if I say:     Who did John                    10:26:21
                                                                                      13   introduce to Bill?     And I say John only introduced              10:26:23
                                                                                      14   Sue to Bill, that would be an odd answer to that                   10:26:29
                                                                                      15   question.     So there's a correlation between which               10:26:32
                                                                                      16   words I put the emphasis on among the objects and                  10:26:36
                                                                                      17   the question under discussion.         And that's one way          10:26:40
                                                                                      18   that you can see that which question's under                       10:26:42
                                                                                      19   discussion and that is a contextual factor.                        10:26:45
                                                                                      20                 It has a bearing both on the felicity                10:26:47
                                                                                      21   of the accent placement and which of the                           10:26:50
                                                                                      22   utterances is appropriate, answers that question                   10:26:54
                                                                                      23   and hence which is true.       Which is false.                     10:26:55
                                                                                      24          Q      So, I may be a little confused now.                  10:27:00
                                                                                      25                     -- (overspeaking) --                             10:27:02


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                                     1667
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 34 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021        32

                                                                                      1          A      That's a complex question.                       10:27:03
                                                                                      2                      -- (overspeaking) --                        10:27:04
                                                                                      3          Q      But let me ask you -- that's a complex           10:27:04
                                                                                      4    question whether --                                           10:27:07
                                                                                      5                      -- (overspeaking) --                        10:27:07
                                                                                      6          A      No, let me --                                    10:27:08
                                                                                      7          Q      Whether Bill --                                  10:27:09
                                                                                      8          A      No   -- (overspeaking) --                        10:27:09
                                                                                      9          Q      -- only introduced John to Sue, is it?           10:27:09
                                                                                      10         A      Oh, it's difficult to explain, but               10:27:12
                                                                                      11   native speakers have no problems with it at all.              10:27:14
                                                                                      12   That's the interesting thing.                                 10:27:18
                                                                                      13         Q      An average person can understand that            10:27:19
                                                                                      14   type of --                                                    10:27:21
                                                                                      15                     -- (overspeaking) --                        10:27:21
                                                                                      16         A      Oh, yeah, yeah --                                10:27:22
                                                                                      17                     -- (overspeaking) --                        10:27:22
                                                                                      18         Q      -- sentence structure.                           10:27:22
                                                                                      19         A      -- not explanation.       They understand        10:27:22
                                                                                      20   the English.                                                  10:27:24
                                                                                      21         Q      Right.                                           10:27:26
                                                                                      22         A      And the difference is which English              10:27:26
                                                                                      23   utterance is felicitous and what the two                      10:27:28
                                                                                      24   in-utterances mean.                                           10:27:30
                                                                                      25         Q      And so I mean, boiling that down what            10:27:32


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                                     1668
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 35 of 281 - Page ID#:

                                                                                                                     Conducted on December 7, 2021         33

                                                                                      1    you are essentially saying is that context can                       10:27:35
                                                                                      2    impact the way in which a word is used in the                        10:27:37
                                                                                      3    sentence or the way in which an accent on a                          10:27:41
                                                                                      4    certain word is used in a sentence, correct?                         10:27:45
                                                                                      5             A       That would be reduction beyond -- no,               10:27:48
                                                                                      6    that's not what I'm -- so --                                         10:27:51
                                                                                      7             Q       Okay.                                               10:27:53
                                                                                      8             A       What I mean is -- may I?                            10:27:54
                                                                                      9             Q       Sure.                                               10:27:55
                                                                                      10            A       Let me try again.        I meant that given         10:27:56
                                                                                      11   the whole utterance, and I'm going to say it now                     10:27:59
                                                                                      12   without accent:          John only introduced Sue to Bill.           10:28:01
                                                                                      13   Okay?        That's the utterance.                                   10:28:07
                                                                                      14                    How you can understand that, one way I              10:28:09
                                                                                      15   could say it which reflects one kind of question                     10:28:11
                                                                                      16   under discussion, could be true and it's not a                       10:28:15
                                                                                      17   function of the words.            The same words are in both         10:28:18
                                                                                      18   the sentences, whether I put accent on Bill or                       10:28:21
                                                                                      19   Sue.     So it's not the words.           The accent reflects        10:28:24
                                                                                      20   the context and the context tells you what we call                   10:28:27
                                                                                      21   the truth conditions, when it's true and when it's                   10:28:32
                                                                                      22   false.        And one of those accents as a function of              10:28:35
                                                                                      23   the question under discussion that it reflects,                      10:28:39
                                                                                      24   can yield something that's true while the other                      10:28:43
                                                                                      25   accent could be false, given the same actual                         10:28:45


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                                     1669
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 36 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021           34

                                                                                      1    circumstances in which we assess it's true.                      10:28:48
                                                                                      2          Q    Okay, and context can also be the                     10:28:51
                                                                                      3    situation in which the statements are made,                      10:28:56
                                                                                      4    correct?                                                         10:28:58
                                                                                      5          A    Yes, in fact, that's what I said.                     10:28:58
                                                                                      6          Q    External to the words themselves,                     10:29:01
                                                                                      7    correct?                                                         10:29:03
                                                                                      8          A    Yes, that's right, as long as we have                 10:29:03
                                                                                      9    access to it as interlocutors, okay?           And that's        10:29:06
                                                                                      10   one reason why I said the information available to               10:29:10
                                                                                      11   the interlocutors.                                               10:29:12
                                                                                      12              So if the context of utterance is one                 10:29:14
                                                                                      13   in which you have access to information that I                   10:29:18
                                                                                      14   don't, that access that we don't -- that                         10:29:20
                                                                                      15   information we don't share will not be part of                   10:29:23
                                                                                      16   what I, as the person listening to you, take into                10:29:26
                                                                                      17   consideration in interpreting what you've said.                  10:29:31
                                                                                      18              It's only shared context that is                      10:29:33
                                                                                      19   brought to bear on meaning in a licit way, in                    10:29:36
                                                                                      20   interaction.                                                     10:29:41
                                                                                      21         Q    Right.     Okay. So -- or I should say                10:29:45
                                                                                      22   "understood."                                                    10:29:47
                                                                                      23              Let's go back to talking about your                   10:29:48
                                                                                      24   employment history.                                              10:29:52
                                                                                      25         A    Yeah.                                                 10:29:53


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                                     1670
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 37 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021                35

                                                                                      1            Q   So, I just want to wrap that up.            You          10:29:53
                                                                                      2    did a postdoctoral fellowship after your graduate                    10:29:58
                                                                                      3    work, correct?                                                       10:30:03
                                                                                      4            A   It's a post doctoral fellowship.            I was        10:30:04
                                                                                      5    for two years at the Center for the Study of                         10:30:07
                                                                                      6    Language and Information at Stanford University,                     10:30:10
                                                                                      7    which is one of the first institutions for                           10:30:11
                                                                                      8    cognitive science.    The study -- the                               10:30:14
                                                                                      9    inter-disciplinary study of --                                       10:30:16
                                                                                      10                    -- (overspeaking) --                                10:30:20
                                                                                      11           A   -- language.                                             10:30:20
                                                                                      12           Q   Okay, then after that, what did you do?                  10:30:20
                                                                                      13           A   I accepted a position at Ohio State                      10:30:22
                                                                                      14   University in the linguistics department.                            10:30:24
                                                                                      15           Q   And from what years to what years were                   10:30:29
                                                                                      16   you at the Ohio State University?                                    10:30:32
                                                                                      17           A   I went there in 1988 and I retired in                    10:30:35
                                                                                      18   2016.                                                                10:30:37
                                                                                      19           Q   And you taught undergraduate and                         10:30:38
                                                                                      20   graduate courses at Ohio State?                                      10:30:42
                                                                                      21           A   I did.                                                   10:30:45
                                                                                      22           Q   And on your resume it says you taught                    10:30:46
                                                                                      23   undergraduate and graduate courses and seminars in                   10:30:50
                                                                                      24   syntax, semantics and pragmatics.         What does                  10:30:54
                                                                                      25   syntax mean?                                                         10:31:00


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                                     1671
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 38 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021          36

                                                                                      1          A       I mentioned that before.          That's the        10:31:01
                                                                                      2    study of what, in a given language -- which ways                  10:31:03
                                                                                      3    of putting words together is deemed grammatical                   10:31:06
                                                                                      4    for that language.                                                10:31:10
                                                                                      5          Q       You are a visiting professor at the                 10:31:12
                                                                                      6    University of Amsterdam and the University of                     10:31:14
                                                                                      7    Michigan?                                                         10:31:16
                                                                                      8          A       Yes.                                                10:31:17
                                                                                      9          Q       Correct.    In philosophy; is that                  10:31:18
                                                                                      10   correct?                                                          10:31:21
                                                                                      11         A       That's the department I was in at                   10:31:21
                                                                                      12   Michigan.                                                         10:31:23
                                                                                      13         Q       And did you teach philosophy?                       10:31:23
                                                                                      14         A       I taught a seminar on philosophy of                 10:31:25
                                                                                      15   language.     Philosophy of language.                             10:31:28
                                                                                      16         Q       And how does philosophy relate to                   10:31:30
                                                                                      17   linguistics?                                                      10:31:34
                                                                                      18         A       Well, remember, I mentioned I was at a              10:31:34
                                                                                      19   cognitive science center as my post-doc at                        10:31:36
                                                                                      20   Stanford.     And cogni-science brings together                   10:31:40
                                                                                      21   several fields that have -- that study things                     10:31:44
                                                                                      22   about human cognition generally but language in                   10:31:44
                                                                                      23   particular.     And those fields are linguistics, of              10:31:48
                                                                                      24   course, but also philosophy because there are                     10:31:50
                                                                                      25   people who have studied language in philosophy for                10:31:52


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                                     1672
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 39 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021            37

                                                                                      1    centuries and psychology and computer science                     10:31:56
                                                                                      2    because of competition linguistics and sociology.                 10:32:01
                                                                                      3    Sometimes anthropology.                                           10:32:04
                                                                                      4               So, in particular, the people who                      10:32:09
                                                                                      5    study -- I said I was a formal semanticist and we                 10:32:11
                                                                                      6    use logical tools to capture the ways that                        10:32:17
                                                                                      7    different languages encode meaning.           This is very        10:32:21
                                                                                      8    useful as a way of capturing the meaning,                         10:32:26
                                                                                      9    independent of a language in which you are doing                  10:32:30
                                                                                      10   the analysis, okay?     And it's very helpful if                  10:32:32
                                                                                      11   you're, for example, a computational linguist.                    10:32:36
                                                                                      12         Q    Well, let me stop you there for a                      10:32:41
                                                                                      13   second because I just want to -- at a high-level,                 10:32:44
                                                                                      14   how does philosophy relate to linguistics?                        10:32:46
                                                                                      15         A    I'm trying to explain to you.                          10:32:49
                                                                                      16         Q    Okay.                                                  10:32:51
                                                                                      17         A    Okay, so philosophers are interested in                10:32:51
                                                                                      18   a variety of things including thought and language                10:32:54
                                                                                      19   and the way that language reflects thought.                       10:32:56
                                                                                      20              So for 200 years philosophers have                     10:32:58
                                                                                      21   studied the way in which they think that language                 10:33:01
                                                                                      22   relates to thought and as a consequence, they have                10:33:04
                                                                                      23   studied -- especially logicians are very                          10:33:07
                                                                                      24   interested in expressions like the word "the" or                  10:33:11
                                                                                      25   the word "every," etcetera.        So they have very              10:33:14


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                                     1673
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 40 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021        38

                                                                                      1    detailed analyses of these words and they have had              10:33:18
                                                                                      2    a bearing on the analyses that linguistics --                   10:33:21
                                                                                      3    linguists take into consideration, so we interact               10:33:26
                                                                                      4    with people who have a common interest in                       10:33:30
                                                                                      5    academia.                                                       10:33:31
                                                                                      6          Q       You developed and taught a class called           10:33:32
                                                                                      7    "Language in the Law"?                                          10:33:36
                                                                                      8          A       Yes.                                              10:33:37
                                                                                      9          Q       In 2005 to 2016?                                  10:33:37
                                                                                      10         A       Yes.                                              10:33:38
                                                                                      11         Q       What was the focus of that course?                10:33:42
                                                                                      12         A       That was an advanced undergraduate                10:33:44
                                                                                      13   course for students who were interested in going                10:33:44
                                                                                      14   into the law, law enforcement related to fields.                10:33:46
                                                                                      15                 It was a writing course so it was a               10:33:50
                                                                                      16   very demanding course for the students and it was               10:33:52
                                                                                      17   a course in which we tried to talk -- first of                  10:33:57
                                                                                      18   all, give them some basic information about the                 10:33:59
                                                                                      19   way that "we" is understood by native speakers and              10:34:02
                                                                                      20   how you might bring that information to bear on                 10:34:03
                                                                                      21   assessing the plain meaning of some -- of a given               10:34:15
                                                                                      22   expression.                                                     10:34:17
                                                                                      23                 Then we looked at case law and some of            10:34:19
                                                                                      24   the sort of standard ways in which attorneys                    10:34:22
                                                                                      25   approached language and tried to think about how                10:34:28


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                                     1674
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 41 of 281 - Page ID#:

                                                                                                            Conducted on December 7, 2021             39

                                                                                      1    linguistic tools could be useful in assessing                   10:34:39
                                                                                      2    meaning in contentious cases.                                   10:34:44
                                                                                      3          Q    What law did you look at for that                    10:34:46
                                                                                      4    course?                                                         10:34:48
                                                                                      5          A    I would have look at my notes.             If        10:34:48
                                                                                      6    you'd like, I can do that at my computer here.                  10:34:51
                                                                                      7          Q    That's all right --                                  10:34:53
                                                                                      8                   -- (overspeaking) --                             10:34:53
                                                                                      9          A    -- of course it is.                                  10:34:53
                                                                                      10                  -- (overspeaking) --                             10:34:54
                                                                                      11         Q    -- just what you recall sitting here.                10:34:54
                                                                                      12         A    I -- for example, one of the books I                 10:34:56
                                                                                      13   used a lot was a book by Larry Solan called "The                10:34:57
                                                                                      14   Language of Judges." Larry Solan is an                          10:35:01
                                                                                      15   interesting -- I think he's a Professor at                      10:35:05
                                                                                      16   Brooklyn, was it?    I can't remember.      John J.             10:35:06
                                                                                      17   College or Brooklyn College, one of these places                10:35:08
                                                                                      18   here in New York, but he has a Ph D. in                         10:35:08
                                                                                      19   linguistics actually from the same school that I                10:35:08
                                                                                      20   went to, University of Massachusetts in Amherst                 10:35:16
                                                                                      21   and he's taught language in the law for a long                  10:35:18
                                                                                      22   time --                                                         10:35:21
                                                                                      23         Q    Any specific area of law?                            10:35:22
                                                                                      24         A    Well --                                              10:35:23
                                                                                      25         Q    Or is he just focused on writing and                 10:35:24


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                                     1675
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 42 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021        40

                                                                                      1    language?                                                      10:35:28
                                                                                      2          A     I'm sorry, I don't understand the                  10:35:29
                                                                                      3    question.                                                      10:35:30
                                                                                      4          Q     Sure.    My question I was trying to get           10:35:30
                                                                                      5    at is were you, in your class "Language and the                10:35:32
                                                                                      6    Law" were you focused on any specific area?                    10:35:35
                                                                                      7          A     No, we looked pretty broadly at the                10:35:39
                                                                                      8    variety of the kinds of cases.                                 10:35:42
                                                                                      9                I'm not sure what the question is                  10:35:44
                                                                                      10   trying to get at.      Sorry.                                  10:35:45
                                                                                      11         Q     So is it criminal law or civil law?                10:35:46
                                                                                      12         A     Yeah, both.                                        10:35:49
                                                                                      13         Q     Both?                                              10:35:51
                                                                                      14         A     Yeah.                                              10:35:53
                                                                                      15         Q     Did you teach anything about defamation            10:35:53
                                                                                      16   law in your class?                                             10:35:56
                                                                                      17         A     Not particularly.        I think we might          10:35:59
                                                                                      18   have looked at one or two cases in which                       10:36:01
                                                                                      19   defamation was an issue, but that wasn't one of                10:36:04
                                                                                      20   the focuses.                                                   10:36:06
                                                                                      21         Q     From 2016 to 2019, you were a visiting             10:36:07
                                                                                      22   Professor at NYU in the linguistics department; is             10:36:09
                                                                                      23   that correct?                                                  10:36:13
                                                                                      24         A     Yes.                                               10:36:14
                                                                                      25         Q     And you said you -- have you retired               10:36:14


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                                     1676
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 43 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021          41

                                                                                      1    from there or what's your --                                     10:36:18
                                                                                      2                    -- (overspeaking) --                             10:36:20
                                                                                      3          Q      -- status?                                          10:36:20
                                                                                      4          A       -- (overspeaking) -- linguistics                   10:36:21
                                                                                      5    professors don't retire.                                         10:36:23
                                                                                      6                 They are just hired -- they are not                 10:36:24
                                                                                      7    even hired for long term.        It's just, you know,            10:36:25
                                                                                      8    for a semester or a year, yeah, and they only                    10:36:27
                                                                                      9    hired me to teach one course.                                    10:36:30
                                                                                      10         Q      Okay, and what did you teach?                       10:36:31
                                                                                      11         A      I taught a course on indexicality.                  10:36:33
                                                                                      12         Q      What's indexicality?                                10:36:38
                                                                                      13         A      Indexi -- indexicals are a certain                  10:36:40
                                                                                      14   class of context-sensitive expressions that                      10:36:43
                                                                                      15   include:    I, you, we, here, now, yesterday,                    10:36:46
                                                                                      16   tomorrow.    And they are sensitive to context in a              10:36:49
                                                                                      17   very particular way and I've been developing a                   10:36:52
                                                                                      18   novel theory of the relationship between those                   10:36:55
                                                                                      19   expressions and context.                                         10:36:58
                                                                                      20         Q      The -- strike that.        You are currently        10:37:03
                                                                                      21   Professor Emerita at OSU?                                        10:37:07
                                                                                      22         A      Yes.                                                10:37:12
                                                                                      23         Q      What does that mean?                                10:37:12
                                                                                      24         A      It means I'm not just retired, but I'm              10:37:13
                                                                                      25   still eligible to serve on graduate committees.                  10:37:15


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                                     1677
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 44 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021             42

                                                                                      1    I have access to university resources from my                       10:37:18
                                                                                      2    research.                                                           10:37:21
                                                                                      3                 It's an honored position, you know, a                  10:37:24
                                                                                      4    position of respect that says I'm still an active                   10:37:28
                                                                                      5    member of the research community, even though I                     10:37:31
                                                                                      6    retired from teaching.                                              10:37:33
                                                                                      7          Q      And do you hold any other current                      10:37:40
                                                                                      8    positions, teaching positions?                                      10:37:41
                                                                                      9          A      Not teaching positions.          I actually            10:37:43
                                                                                      10   have just have received an invitation to be a                       10:37:45
                                                                                      11   Research Scholar at Barnard College starting in                     10:37:48
                                                                                      12   January of 2022.                                                    10:37:52
                                                                                      13         Q      You also list you are an affiliate of                  10:37:55
                                                                                      14   Rutgers --                                                          10:37:58
                                                                                      15         A      Yes.                                                   10:37:59
                                                                                      16         Q      -- for Cognitive Science?          What's that?        10:37:59
                                                                                      17         A      The cognitive science is an                            10:38:01
                                                                                      18   interdisciplinary study of a variety of things                      10:38:02
                                                                                      19   having to do with human cognition, but as I said,                   10:38:05
                                                                                      20   in particular they're interested in language.                       10:38:07
                                                                                      21   Because I have a long history of working in an                      10:38:09
                                                                                      22   interdisciplinary way with psychologists,                           10:38:12
                                                                                      23   philosophers and computer scientists, when I moved                  10:38:17
                                                                                      24   here I knew the people well at Rutgers and they                     10:38:20
                                                                                      25   invited me to be part of their cognitive science                    10:38:23


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                                     1678
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 45 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021          43

                                                                                      1    center.                                                         10:38:25
                                                                                      2          Q       And what does it mean to be an                    10:38:27
                                                                                      3    affiliate?                                                      10:38:28
                                                                                      4          A       I have -- they don't give me any money.           10:38:29
                                                                                      5    This is all for glory and -- but they deem me --                10:38:32
                                                                                      6    it's really a way of saying that I'm a respected                10:38:36
                                                                                      7    member of the community.       I'm a resource that they         10:38:40
                                                                                      8    would like their faculty and students to draw on.               10:38:42
                                                                                      9                  For example, even though it's not                 10:38:45
                                                                                      10   official anymore, I am still an affiliate at NYU.               10:38:47
                                                                                      11   I go to courses and seminars there all the time.                10:38:50
                                                                                      12   I'm on committees for graduate students.             I'm        10:38:53
                                                                                      13   writing letters for one of them right now.                      10:38:56
                                                                                      14         Q       Okay, so is this basically -- have we             10:38:59
                                                                                      15   gone through your basic employment and teaching                 10:39:02
                                                                                      16   history.     Have I left anything out?                          10:39:04
                                                                                      17         A       Many other things but that'll do.                 10:39:07
                                                                                      18         Q       Any other important positions you've              10:39:11
                                                                                      19   held that I've left out.                                        10:39:12
                                                                                      20         A       Those are my principle positions, yes.            10:39:14
                                                                                      21         Q       And obviously with all of your                    10:39:16
                                                                                      22   extensive research and training as a linguist and               10:39:18
                                                                                      23   you've gone through, even in your answers very                  10:39:23
                                                                                      24   deeply into, you know, the thought process here,                10:39:25
                                                                                      25   when you are reading something in everyday life                 10:39:28


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                                     1679
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 46 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021            44

                                                                                      1    does your training sort of impact how you read or                  10:39:31
                                                                                      2    interpret things?                                                  10:39:35
                                                                                      3          A     No, not unless there's an issue that                   10:39:37
                                                                                      4    comes up.   So, may I explain?         If I was reading            10:39:39
                                                                                      5    and I'm an avid reader, I read constantly, I just                  10:39:43
                                                                                      6    read like you do.      I'm looking for content.                    10:39:46
                                                                                      7                If it's beautiful, I'm reading poetry                  10:39:48
                                                                                      8    and I'm impressed and moved by the form.              When         10:39:50
                                                                                      9    something doesn't work, then probably more likely                  10:39:54
                                                                                      10   than you, I'm more likely than you to stop and                     10:39:57
                                                                                      11   think about why it doesn't work, what was                          10:39:59
                                                                                      12   infelicitous or seemed out of place or                             10:40:03
                                                                                      13   ungrammatical, but that's because I have that                      10:40:09
                                                                                      14   training to look at that.                                          10:40:11
                                                                                      15         Q     Yeah, I would think that in reading                    10:40:13
                                                                                      16   things, just given your background, what you do                    10:40:14
                                                                                      17   for a living that's a prism through which you are                  10:40:17
                                                                                      18   constantly looking, right?                                         10:40:19
                                                                                      19         A     Not really.      That would kind of spoil              10:40:20
                                                                                      20   it for me, no.      And I don't like Scrabble.            I        10:40:22
                                                                                      21   don't like word games.                                             10:40:24
                                                                                      22         Q     Do you -- you said you're an avid                      10:40:28
                                                                                      23   reader.                                                            10:40:31
                                                                                      24         A     Yeah.                                                  10:40:32
                                                                                      25         Q     How often do you read and watch the                    10:40:32


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                                     1680
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 47 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021            45

                                                                                      1    news?                                                              10:40:34
                                                                                      2            A    Umm... I read the news every day.            I        10:40:36
                                                                                      3    mostly read the news.       I look at things online, as            10:40:40
                                                                                      4    well, videos, etcetera, yeah.                                      10:40:43
                                                                                      5            Q    Are there particular newspapers that                  10:40:48
                                                                                      6    you subscribe to?                                                  10:40:50
                                                                                      7            A    New York Times and Washington Post.                   10:40:52
                                                                                      8            Q    Any others?                                           10:40:54
                                                                                      9            A    Not subscribe.                                        10:40:55
                                                                                      10           Q    Are there particular news programs that               10:40:56
                                                                                      11   you watch regularly?                                               10:41:01
                                                                                      12           A    I don't watch the news.          I look at            10:41:02
                                                                                      13   streaming.    If there's an article either in the                  10:41:05
                                                                                      14   New York Times or the Washington Post or if one of                 10:41:10
                                                                                      15   my friends might post something on Facebook from                   10:41:12
                                                                                      16   The Guardian or some other local newspaper that                    10:41:16
                                                                                      17   they read and it looks like an interesting story,                  10:41:21
                                                                                      18   I'll go there and if there's a video or streaming                  10:41:23
                                                                                      19   I'll watch that.                                                   10:41:26
                                                                                      20           Q    Do you watch TV?                                      10:41:27
                                                                                      21           A    No.                                                   10:41:28
                                                                                      22           Q    Do you have any special expertise in                  10:41:33
                                                                                      23   video analysis?                                                    10:41:35
                                                                                      24           A    No.                                                   10:41:37
                                                                                      25           Q    Do you have any special expertise in                  10:41:42


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                                     1681
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 48 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021           46

                                                                                      1    reconstructing events through analysis and videos?                10:41:44
                                                                                      2            A   No.                                                   10:41:48
                                                                                      3            Q   Let's go to your -- I want to mark your               10:41:48
                                                                                      4    expert report and I have a copy here.             We are          10:41:56
                                                                                      5    going to mark it as Exhibit A to this deposition.                 10:41:58
                                                                                      6                (Exhibit A was marked for                             10:42:01
                                                                                      7    identification.)                                                  10:42:01
                                                                                      8    BY MS. SPEARS:                                                    10:42:12
                                                                                      9            Q   I'm marking Exhibit A to the deposition               10:42:12
                                                                                      10   and that is a copy of Plaintiff's 26(a)2                          10:42:15
                                                                                      11   disclosures, Phase I followed by Exhibit A to that                10:42:22
                                                                                      12   disclosure which is a report dated November 10th,                 10:42:29
                                                                                      13   2021; do you recognize this?                                      10:42:35
                                                                                      14           A   Yes, I do.                                            10:42:37
                                                                                      15           Q   Is this the report you wrote in this                  10:42:38
                                                                                      16   case?                                                             10:42:41
                                                                                      17           A   Yes.                                                  10:42:41
                                                                                      18           Q   I should say "in these cases"?                        10:42:42
                                                                                      19           A   Yes, that's right.                                    10:42:44
                                                                                      20                     -- (indiscernible) --                           10:42:48
                                                                                      21           Q   If you would look at page 2 to 3 of                   10:42:48
                                                                                      22   your report, so it starts in sort of a letter form                10:42:51
                                                                                      23   on page 1, "Dear Mr. McMurtry."           Do you see that?        10:43:03
                                                                                      24           A   Yes.                                                  10:43:06
                                                                                      25           Q   And if you go to page -- the appendix                 10:43:07


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                                     1682
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 49 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021             47

                                                                                      1    of the report, essentially.                                        10:43:13
                                                                                      2          A    Sure.                                                   10:43:16
                                                                                      3          Q    It's actually page 1 of the appendix                    10:43:26
                                                                                      4    which is at the back.      It says November of 2021,               10:43:29
                                                                                      5    Craige Roberts' brief.                                             10:43:30
                                                                                      6          A    Sorry, are you talking about page 16?                   10:43:31
                                                                                      7          Q    No, it's page 1.                                        10:43:33
                                                                                      8          A    Oh, my CV.      Is that what you are                    10:43:35
                                                                                      9    talking about?                                                     10:43:38
                                                                                      10         Q    Mm-hmm.     Your CV.                                    10:43:39
                                                                                      11         A    Yes.                                                    10:43:43
                                                                                      12         Q    So that we're on the same page, it's                    10:43:43
                                                                                      13   your CV brief.                                                     10:43:45
                                                                                      14         A    Yeah.                                                   10:43:47
                                                                                      15         Q    CV November 2021, page 1.                               10:43:47
                                                                                      16         A    Yes.                                                    10:43:51
                                                                                      17         Q    It's at the back of your report.              Do        10:43:52
                                                                                      18   you see that?                                                      10:43:53
                                                                                      19         A    Yes.                                                    10:43:54
                                                                                      20         Q    You list several publications here,                     10:43:55
                                                                                      21   starting on page 2 and over to page 3.                             10:43:59
                                                                                      22              In any of these publications -- you can                 10:44:06
                                                                                      23   take a minute to look --                                           10:44:08
                                                                                      24         A    Yeah.                                                   10:44:09
                                                                                      25         Q    -- did you analyze videos of live                       10:44:10


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                                     1683
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 50 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021           48

                                                                                      1    action or events to determine the veracity of                      10:44:13
                                                                                      2    statements?                                                        10:44:16
                                                                                      3            A     No.                                                  10:44:17
                                                                                      4            Q     Do any of those publications discuss                 10:44:17
                                                                                      5    how to approach a video analysis review, such as                   10:44:20
                                                                                      6    how to review videos of live events?                               10:44:24
                                                                                      7            A     No.                                                  10:44:26
                                                                                      8            Q     Page 2, down at the very first list                  10:44:27
                                                                                      9    under books, it says "Haitian Creole English                       10:44:32
                                                                                      10   French Dictionary."       I think you mentioned that               10:44:36
                                                                                      11   when you were speaking earlier, correct?                           10:44:39
                                                                                      12           A     Yes.                                                 10:44:41
                                                                                      13           Q     I assume that provides translations                  10:44:42
                                                                                      14   between Haitian, Creole, English or French?                        10:44:44
                                                                                      15           A     Correct.                                             10:44:47
                                                                                      16           Q     Do you speak Haitian Creole and French?              10:44:49
                                                                                      17           A     Yes.                                                 10:44:52
                                                                                      18           Q     Do you speak any other languages?                    10:44:53
                                                                                      19           A     Not well.                                            10:44:55
                                                                                      20           Q     Do you speak Haitian Creole and French               10:44:57
                                                                                      21   well?                                                              10:45:01
                                                                                      22           A     French pretty well, yes.          Haitian not        10:45:01
                                                                                      23   as well because I haven't had occasion to use it                   10:45:05
                                                                                      24   much since I did the dictionary.                                   10:45:07
                                                                                      25           Q     And that was in 1981?                                10:45:09


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                                     1684
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 51 of 281 - Page ID#:

                                                                                                                  Conducted on December 7, 2021             49

                                                                                      1             A    I worked on the dictionary from '78 to                  10:45:11
                                                                                      2    '80, when I was first an undergraduate and then a                     10:45:15
                                                                                      3    graduate assistant at Indiana University on the                       10:45:17
                                                                                      4    dictionary project.                                                   10:45:19
                                                                                      5                  I wrote an article that was a                           10:45:23
                                                                                      6    dictionary procedure article which was one of my                      10:45:25
                                                                                      7    first published articles, but I didn't include it                     10:45:28
                                                                                      8    here that was a procedures manual for the                             10:45:31
                                                                                      9    dictionary.                                                           10:45:35
                                                                                      10            Q    That's okay.       You know, I just wanted              10:45:36
                                                                                      11   to establish the timeframe.                                           10:45:37
                                                                                      12            A    Okay.                                                   10:45:39
                                                                                      13            Q    If we have more time I could hear more                  10:45:39
                                                                                      14   about the Haitian Creole dictionary, but I'm going                    10:45:41
                                                                                      15   to pass.                                                              10:45:44
                                                                                      16                 So I take it you speak French as a                      10:45:49
                                                                                      17   foreign language, obviously; you're a native                          10:45:52
                                                                                      18   English speaker, correct?                                             10:45:56
                                                                                      19            A    Correct.                                                10:45:57
                                                                                      20            Q    Are you able to distinguish languages                   10:45:57
                                                                                      21   from other human sounds?                                              10:46:00
                                                                                      22            A    It depends on the language.            I think I        10:46:01
                                                                                      23   could always tell if it was a human language from                     10:46:03
                                                                                      24   various things, but that's a weird question.                          10:46:05
                                                                                      25   Sorry.                                                                10:46:08


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                                     1685
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 52 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021           50

                                                                                      1          Q     That's okay.      I've been accused of               10:46:10
                                                                                      2    asking weird questions before.         Page 3.     You --        10:46:12
                                                                                      3    the second one down has domain selection and                     10:46:17
                                                                                      4    dynamic semantics in quantification and natural                  10:46:20
                                                                                      5    language.   What is natural language?                            10:46:26
                                                                                      6          A     Natural language is -- it's in                       10:46:28
                                                                                      7    contraposition to artificial languages which would               10:46:32
                                                                                      8    be languages like logic, which is a kind of                      10:46:35
                                                                                      9    language or a computer languages.                                10:46:38
                                                                                      10         Q     I see.    Down a little bit further,                 10:46:39
                                                                                      11   midway on page 3, I see a publication of yours                   10:46:42
                                                                                      12   entitled "Domain selection" in --                                10:46:46
                                                                                      13         A     That's the same one.                                 10:46:52
                                                                                      14         Q     Oh, that's the same one.          Sorry.             10:46:52
                                                                                      15   "Discourse Context and Dynamic interpretation."                  10:46:52
                                                                                      16         A     Yes.                                                 10:46:54
                                                                                      17         Q     What's discourse context?                            10:46:55
                                                                                      18         A     As I said -- I mean, there's a lot of                10:46:57
                                                                                      19   kinds of context in the world, but I'm talking                   10:47:01
                                                                                      20   about the context that bears on the interpretation               10:47:03
                                                                                      21   of language, so we call that discourse context                   10:47:05
                                                                                      22   because it's the context in which a discourse                    10:47:08
                                                                                      23   takes place between interlocutors.           I wasn't            10:47:10
                                                                                      24   speaking specifically of the kind of context                     10:47:18
                                                                                      25   that's relevant for interpretation of language.                  10:47:19


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                                     1686
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 53 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021                  51

                                                                                      1          Q      What does dynamic interpretation mean?                       10:47:24
                                                                                      2          A      Yeah.    Context changes in the course of                    10:47:28
                                                                                      3    interpretation of a single complex sentence                               10:47:31
                                                                                      4    sometimes.    I could give you examples and so you                        10:47:35
                                                                                      5    call that dynamic context.          The context that                      10:47:37
                                                                                      6    changes while the sentence is being spoken.                  I            10:47:39
                                                                                      7    could give you a simple example.            I could say                   10:47:43
                                                                                      8    "Give me a copy of that," pointing in one                                 10:47:46
                                                                                      9    direction; that, pointing in another direction                            10:47:49
                                                                                      10   and; that, pointing in a third direction.                  And the        10:47:52
                                                                                      11   context in which I'm pointing -- the context                              10:47:55
                                                                                      12   includes my pointing and the information that you                         10:47:57
                                                                                      13   get from the pointing about what I'm pointing at                          10:48:01
                                                                                      14   in that, you know, visual context.                                        10:48:04
                                                                                      15                So there the context has changed                             10:48:05
                                                                                      16   because one point when I said "that" I was                                10:48:07
                                                                                      17   pointing in one direction.          Another point, I'm                    10:48:10
                                                                                      18   pointing in different and then a third.              So that's            10:48:12
                                                                                      19   a dynamic context, but there are many more complex                        10:48:14
                                                                                      20   ways in which a complex syntactic structure leads                         10:48:19
                                                                                      21   to the possibility of updating contextual                                 10:48:22
                                                                                      22   information in the course of interpretation and                           10:48:25
                                                                                      23   that's one of my areas of expertise.                                      10:48:27
                                                                                      24         Q      By the way, you mentioned earlier that                       10:48:32
                                                                                      25   there was a technical debate in your field related                        10:48:34


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                                     1687
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 54 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021            52

                                                                                      1    to some -- some of the works you've -- or some of                   10:48:38
                                                                                      2    the specialities that you focused on.              What were        10:48:44
                                                                                      3    you referencing?                                                    10:48:46
                                                                                      4             A   Well, for example, I told you I'm                      10:48:47
                                                                                      5    teaching a course on indexicality, and there's a                    10:48:48
                                                                                      6    famous theory of indexicality due to a                              10:48:54
                                                                                      7    philosopher -- you don't need to know all                           10:48:57
                                                                                      8    the details Caplan in the '80s.            And I'm arguing          10:48:58
                                                                                      9    that if you looked across the wide variety of                       10:49:01
                                                                                      10   human languages, there's empirical evidence from                    10:49:03
                                                                                      11   those languages that his theory makes the wrong                     10:49:07
                                                                                      12   predictions in a number of cases and so is                          10:49:10
                                                                                      13   inadequate, so I have a better theory to offer.                     10:49:11
                                                                                      14            Q   Are there any theories of yours in                     10:49:15
                                                                                      15   linguistics that are the subject of debate in your                  10:49:19
                                                                                      16   field?                                                              10:49:21
                                                                                      17            A   Sure.    Of course.      If you are an                 10:49:29
                                                                                      18   interested theorist, there are.            So mine, I have a        10:49:29
                                                                                      19   theory about "the." I'm actually you're at the                      10:49:32
                                                                                      20   table with one of the world's foremost experts on                   10:49:32
                                                                                      21   the English word "the" which is the most common                     10:49:32
                                                                                      22   word in English language.         And there's a ferocious           10:49:32
                                                                                      23   debate going back to Russell and Whitehead and                      10:49:42
                                                                                      24   Frega (?) in the late 19th, early 20th century                      10:49:45
                                                                                      25   about the meaning of "the."          And I have a stance            10:49:46


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                                     1688
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 55 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021          53

                                                                                      1    about that which is still controversial.                        10:49:48
                                                                                      2          Q       Anything else in your work that is                10:49:50
                                                                                      3    controversial?                                                  10:49:52
                                                                                      4          A       Oh, controversial.      I mean, I told you        10:49:54
                                                                                      5    my work on the question under discussion's very,                10:49:56
                                                                                      6    very influential.     There's a large -- if you go to           10:49:58
                                                                                      7    my web page, there's a large bibliography, you can              10:50:02
                                                                                      8    link from there that goes to about half of the                  10:50:06
                                                                                      9    work that's been written about the question under               10:50:08
                                                                                      10   discussion.                                                     10:50:11
                                                                                      11         Q       Can you tell me just briefly what is              10:50:11
                                                                                      12   the debate about your theory of the question under              10:50:13
                                                                                      13   discussion?                                                     10:50:15
                                                                                      14         A       Whether I have the right theory of the            10:50:16
                                                                                      15   question under discussion.        I characterize it in a        10:50:19
                                                                                      16   certain, very precise formal way, which I could                 10:50:22
                                                                                      17   give you a lecture about, if you wanted.                        10:50:25
                                                                                      18         Q       No thanks.                                        10:50:28
                                                                                      19         A       I don't think you want it, but, but is            10:50:28
                                                                                      20   that the right way to do it.                                    10:50:30
                                                                                      21                 So one of the students that I'm writing           10:50:32
                                                                                      22   letters for now has an alternative to one aspect                10:50:35
                                                                                      23   of my theory which I think improves on it but, of               10:50:37
                                                                                      24   course, in science, and I'm a scientists, we have               10:50:40
                                                                                      25   a hypothesis not because we think we're always                  10:50:43


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                                     1689
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 56 of 281 - Page ID#:

                                                                                                             Conducted on December 7, 2021          54

                                                                                      1    right, but because we think that's the best                   10:50:48
                                                                                      2    explanation we have to give at this point.                    10:50:50
                                                                                      3                If new data comes to bear, we revise              10:50:52
                                                                                      4    our hypothesis, so in that sense, all theory is               10:50:54
                                                                                      5    always, in science, up for revision.                          10:50:57
                                                                                      6                The virtue of a good theory is its                10:51:03
                                                                                      7    clarity so that we can understand exactly what it             10:51:05
                                                                                      8    predicts.                                                     10:51:08
                                                                                      9           Q    On page 5 of your CV, in a couple of              10:51:09
                                                                                      10   talks you've given on character assassination?                10:51:17
                                                                                      11          A    Mm-hmm.                                           10:51:21
                                                                                      12          Q    What are those?                                   10:51:21
                                                                                      13          A    It's a joke.     It's a linguistic joke.          10:51:22
                                                                                      14               I told you about the guy's name Caplan,           10:51:25
                                                                                      15   whose work on indexicality is the most influential            10:51:28
                                                                                      16   and famous in the field and he calls the meaning              10:51:33
                                                                                      17   of an indexical its character.       It's a technical         10:51:37
                                                                                      18   term, has a very specific meaning in that theory.             10:51:40
                                                                                      19   And so I called my talk -- I called my work                   10:51:43
                                                                                      20   character assassination because I'm dissing his               10:51:45
                                                                                      21   theory of character.                                          10:51:49
                                                                                      22          Q    Got it.    So, that's helpful.       Thank        10:51:50
                                                                                      23   you.   It's funny as well.                                    10:51:52
                                                                                      24          A    (Laughter)                                        10:51:56
                                                                                      25          Q    You have a talk towards the bottom of             10:51:56


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                                     1690
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 57 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021          55

                                                                                      1    page 5, "OSU Pragmatics Group Slurs" from very --                 10:52:02
                                                                                      2             A   Yeah.                                                10:52:11
                                                                                      3             Q   Well, a year ago.                                    10:52:12
                                                                                      4             A   Yeah.                                                10:52:12
                                                                                      5             Q   Very recently.       What's this group               10:52:14
                                                                                      6    about?                                                            10:52:16
                                                                                      7             A   The OSU Pragmatics Group is something I              10:52:16
                                                                                      8    started when I was there.         It's a working group            10:52:19
                                                                                      9    for non-credit for graduate students who are                      10:52:22
                                                                                      10   interested in pragmatics, and it's very important                 10:52:24
                                                                                      11   for their professional development.                               10:52:26
                                                                                      12            Q   And what's the slurs --                              10:52:28
                                                                                      13                    -- (overspeaking) --                             10:52:29
                                                                                      14            A   So I was -- I was attending by Zoom and              10:52:29
                                                                                      15   their subject of that discussion is slurs, which                  10:52:32
                                                                                      16   are offensive terms in natural language.               And        10:52:38
                                                                                      17   I have some things to say about the meaning of                    10:52:42
                                                                                      18   slurs and how I think they come to bear and bear                  10:52:45
                                                                                      19   on the truth condition of the utterance, that is                  10:52:53
                                                                                      20   to say whether it's true or false.                                10:52:56
                                                                                      21            Q   And do slurs have universal meaning?                 10:52:58
                                                                                      22            A   No, they are very particular to the                  10:53:00
                                                                                      23   group that uses them, I would say.                                10:53:02
                                                                                      24            Q   And does the perspective of the                      10:53:05
                                                                                      25   listener or the interlocutor hearing the slur also                10:53:08


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                                     1691
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 58 of 281 - Page ID#:

                                                                                                                   Conducted on December 7, 2021               56

                                                                                      1    matter?                                                                  10:53:11
                                                                                      2            A       Well, yes, I said "the group."               So          10:53:12
                                                                                      3    if --       if we're in crowd in a certain ethnic group                  10:53:13
                                                                                      4    sometimes a term that would be used by an outsider                       10:53:21
                                                                                      5    as an offensive slur can be used as an in-crowd                          10:53:24
                                                                                      6    group as almost a badge of pride, so it depends on                       10:53:28
                                                                                      7    who you're talking to what the slur -- not just                          10:53:33
                                                                                      8    what it means truth conditionally but the                                10:53:33
                                                                                      9    implications and the emotional connotations, yes.                        10:53:33
                                                                                      10           Q       And cultural differences can --                          10:53:42
                                                                                      11                         -- (overspeaking) --                               10:53:42
                                                                                      12           A       And cultural differences come to bear,                   10:53:43
                                                                                      13   that's correct.                                                          10:53:45
                                                                                      14           Q       Let's look to your CV, page 2.               Have        10:53:50
                                                                                      15   you ever testified in a defamation case before?                          10:54:01
                                                                                      16                   You list a bunch of cases where you've                   10:54:07
                                                                                      17   been engaged as a -- as an expert to do expert                           10:54:08
                                                                                      18   work.                                                                    10:54:11
                                                                                      19           A       No.                                                      10:54:11
                                                                                      20           Q       Have you ever testified in a defamation                  10:54:11
                                                                                      21   case before?                                                             10:54:14
                                                                                      22           A       I don't believe so, no, I have not.                      10:54:15
                                                                                      23           Q       Is this case listed at the bottom of                     10:54:16
                                                                                      24   your list of cases on page 2 or is that a                                10:54:19
                                                                                      25   different case?                                                          10:54:22


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                                     1692
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 59 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021              57

                                                                                      1          A       This is this case.                                      10:54:23
                                                                                      2          Q       So that's Hemmer DeFrank Wessels --                     10:54:24
                                                                                      3          A       Yes.                                                    10:54:27
                                                                                      4          Q       -- Attorneys at Law, Ft. Mitchell.                      10:54:27
                                                                                      5          A       Yes.                                                    10:54:28
                                                                                      6          Q       Retained as expert witness in a                         10:54:28
                                                                                      7    defamation suit, preparing a report.                                  10:54:28
                                                                                      8                  Have you ever been retained by Hemmer                   10:54:33
                                                                                      9    DeFrank Wessels before?                                               10:54:35
                                                                                      10         A       No.                                                     10:54:37
                                                                                      11         Q       Have you ever been asked to review                      10:54:43
                                                                                      12   videos in connection with any expert testimony                        10:54:45
                                                                                      13   before?                                                               10:54:46
                                                                                      14         A       No.                                                     10:54:48
                                                                                      15         Q       In how many matters have you provided                   10:54:56
                                                                                      16   expert testimony?                                                     10:54:58
                                                                                      17         A       You mean in the courtroom and                           10:54:59
                                                                                      18   deposition or what do you mean by "provided expert                    10:55:00
                                                                                      19   testimony"?                                                           10:55:03
                                                                                      20         Q       Yeah, let me clarify that.           In how many        10:55:04
                                                                                      21   matters have you provided an expert opinion in an                     10:55:06
                                                                                      22   report?                                                               10:55:09
                                                                                      23         A       I would have to count.         I don't -- I             10:55:10
                                                                                      24   never -- I haven't kept track of the number.               Out        10:55:11
                                                                                      25   of the cases you see listed here probably 7 or 10.                    10:55:15


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                                     1693
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 60 of 281 - Page ID#:

                                                                                                                    Conducted on December 7, 2021            58

                                                                                      1    I'm sorry, I don't know exactly the number.                            10:55:19
                                                                                      2             Q      Does this list here that we see on                     10:55:22
                                                                                      3    pages 1 and 2 contain a complete list of your                          10:55:25
                                                                                      4    work -- legal work -- excuse me, expert work for                       10:55:30
                                                                                      5    legal cases?                                                           10:55:31
                                                                                      6             A      I suspect it does.         I don't remember.           10:55:32
                                                                                      7    Remember, this is a brief curriculum vitae so I                        10:55:35
                                                                                      8    might have taken out something that didn't seem                        10:55:37
                                                                                      9    very important.                                                        10:55:41
                                                                                      10            Q      Have you ever been excluded as an                      10:55:42
                                                                                      11   expert?                                                                10:55:44
                                                                                      12            A      Excluded, meaning by a judge?                          10:55:44
                                                                                      13            Q      Sure, let me rephrase that.            Has your        10:55:46
                                                                                      14   report ever been excluded in a case?                                   10:55:48
                                                                                      15            A      Sorry, I'm just not sure the technical                 10:55:51
                                                                                      16   sense.       May I try to clarify?                                     10:55:53
                                                                                      17            Q      Let me try to clarify, and I could ask                 10:55:55
                                                                                      18   the question a little better, so thank you.                            10:55:59
                                                                                      19   Have you ever given a report or provided a report                      10:56:01
                                                                                      20   as an expert in a case and your report has been                        10:56:04
                                                                                      21   rejected by the court?                                                 10:56:08
                                                                                      22            A      May I put it a different way?             It           10:56:12
                                                                                      23   was -- was my testimony ever ruled, after the                          10:56:14
                                                                                      24   fact, inadmissible?          Yes.                                      10:56:16
                                                                                      25            Q      Okay.    When?                                         10:56:18


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                                     1694
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 61 of 281 - Page ID#:

                                                                                                            Conducted on December 7, 2021            59

                                                                                      1          A    In the second case here, you have the               10:56:20
                                                                                      2    Deters, Benzinger LaVelle, etcetera, in the case               10:56:22
                                                                                      3    pertaining to licensure of healthcare facilities.              10:56:27
                                                                                      4    I testified at a magistrate's hearing.         It was a        10:56:30
                                                                                      5    very interesting testimony.                                    10:56:33
                                                                                      6               My attorney knew at the time that my --             10:56:34
                                                                                      7    because they had very strict legal tradition in                10:56:37
                                                                                      8    Kentucky of sticking to the plain meaning of the               10:56:46
                                                                                      9    terms in question, and that there was a                        10:56:49
                                                                                      10   possibility that my testimony would be deemed                  10:56:51
                                                                                      11   inadmissible because I was testifying as a                     10:56:53
                                                                                      12   linguistic expert.     But the judge -- the                    10:56:58
                                                                                      13   magistrate, rather, wanted to hear my testimony so             10:57:00
                                                                                      14   he did and it rang the bell.     Even though he                10:57:03
                                                                                      15   legally decided it wasn't admissible, I think it               10:57:08
                                                                                      16   had influence on the case's outcome.        I was very         10:57:11
                                                                                      17   proud of my testimony in that case.                            10:57:14
                                                                                      18         Q    In that case, the magistrate ruled your             10:57:16
                                                                                      19   testimony inadmissible though?                                 10:57:18
                                                                                      20         A    They ruled that -- not because of what              10:57:20
                                                                                      21   I said, but because I was a linguistics expert                 10:57:22
                                                                                      22   that the testimony was not admissible.                         10:57:27
                                                                                      23         Q    Any other cases that you issued a                   10:57:38
                                                                                      24   report in your testimony where your report was                 10:57:40
                                                                                      25   deemed inadmissible?                                           10:57:44


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                                     1695
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 62 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021             60

                                                                                      1             A    No.    Let me say this: If it was, I                   10:57:45
                                                                                      2    don't know.     No one ever said, oh that was deemed                 10:57:52
                                                                                      3    inadmissible.                                                        10:57:54
                                                                                      4             Q    Fair enough.      You have a report listed             10:57:56
                                                                                      5    at -- or I'm sorry, not a report but it says                         10:58:08
                                                                                      6    testified in court on the first listing on page 1                    10:58:13
                                                                                      7    there.                                                               10:58:16
                                                                                      8             A    Yes.                                                   10:58:16
                                                                                      9             Q    With Dinsmore & Shohl.                                 10:58:16
                                                                                      10            A    Yes.                                                   10:58:16
                                                                                      11            Q    Trademark law and interpretation of an                 10:58:16
                                                                                      12   advertising slogan.                                                  10:58:16
                                                                                      13            A    Yes.                                                   10:58:20
                                                                                      14            Q    What were your opinions in that case?                  10:58:24
                                                                                      15            A    Let me see if I can remember the                       10:58:26
                                                                                      16   details.     It was a fascinating case.          In Ohio we          10:58:28
                                                                                      17   have Nationwide Insurance which has this                             10:58:33
                                                                                      18   well-known advertising slogan:           "Nationwide at              10:58:35
                                                                                      19   your side."     I think that's it.                                   10:58:40
                                                                                      20            Q    I'm familiar with it.                                  10:58:41
                                                                                      21            A    Yes, every everybody is.          And there was        10:58:42
                                                                                      22   a little bank in New England.           I can't remember             10:58:44
                                                                                      23   which one, Sovereign Bank and they had come up                       10:58:47
                                                                                      24   with a new advertising slogan, "Sovereign Bank                       10:58:50
                                                                                      25   always by your side" or something like that.               I         10:58:54


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                                     1696
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 63 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021             61

                                                                                      1    can't remember.    I'm sorry, you know, I'd have to               10:58:59
                                                                                      2    look up the slogan now, but I testified on the                    10:59:01
                                                                                      3    part of Sovereign that the new slogan they wanted                 10:59:04
                                                                                      4    to use was not synonymous with Nationwide at your                 10:59:10
                                                                                      5    side."                                                            10:59:14
                                                                                      6                 Oh, no, "Nationwide on your side,"                   10:59:14
                                                                                      7    That's it.    "Nationwide on your side" versus                    10:59:17
                                                                                      8    "Sovereign Bank always at your side."           And I             10:59:19
                                                                                      9    testified that they are not synonymous, yeah.                     10:59:22
                                                                                      10   I had a really good punch line.         You want to hear          10:59:30
                                                                                      11   my punch line?                                                    10:59:33
                                                                                      12            Q   Not really --                                        10:59:34
                                                                                      13            A   Oh, too bad.                                         10:59:35
                                                                                      14            Q   -- but it seems like you want to tell                10:59:35
                                                                                      15   me.                                                               10:59:36
                                                                                      16            A   That's okay.                                         10:59:36
                                                                                      17            Q   What was it?                                         10:59:36
                                                                                      18            A   Well, it's about truth conditions.         So        10:59:36
                                                                                      19   the attorney for Nationwide was cross-examining me                10:59:39
                                                                                      20   and he said, you know -- he was questioning my                    10:59:45
                                                                                      21   analysis and I just said to him that -- I agreed                  10:59:49
                                                                                      22   that, yeah, I thought he would have to agree that                 10:59:52
                                                                                      23   the point where he was standing was at the side of                10:59:55
                                                                                      24   the attorney for Sovereign Bank.         He agreed that           10:59:58
                                                                                      25   was true.                                                         11:00:02


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                                     1697
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 64 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021            62

                                                                                      1                And I said you are certainly not on his                11:00:03
                                                                                      2    side, are you?      And he agreed that that was not                11:00:05
                                                                                      3    true.                                                              11:00:08
                                                                                      4                So, I made the point that they were not                11:00:08
                                                                                      5    truth conditionally synonymous and in linguistic                   11:00:11
                                                                                      6    terms, that means they're not synonymous.                          11:00:14
                                                                                      7            Q   Okay, so let's --                                      11:00:18
                                                                                      8            A   Sorry, may -- the reason I told that                   11:00:19
                                                                                      9    you is that I think it has a --                                    11:00:20
                                                                                      10                     -- (overspeaking) --                             11:00:21
                                                                                      11           Q   That's okay.       That's fine. The next --            11:00:23
                                                                                      12   you don't have to continue.         The next thing on              11:00:24
                                                                                      13   here is Deters and Benzinger.                                      11:00:29
                                                                                      14           A   That's the one we talked about --                      11:00:35
                                                                                      15                     -- (overspeaking) --                             11:00:36
                                                                                      16           A   -- the Kentucky magistrate.                            11:00:36
                                                                                      17           Q   Okay.     There's a matter on here about               11:00:37
                                                                                      18   midway down, Dritz, PLL interpretation of email                    11:00:56
                                                                                      19   correspondence at issue in a criminal case.                        11:01:01
                                                                                      20           A   Yes, that's correct.                                   11:01:09
                                                                                      21           Q   What were your opinions in that case?                  11:01:10
                                                                                      22           A   I did not write an expert opinion.            I        11:01:10
                                                                                      23   gave them informal information about my                            11:01:10
                                                                                      24   interpretation.                                                    11:01:13
                                                                                      25           Q   Are any of these other cases ones in                   11:01:16


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                                     1698
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 65 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021        63

                                                                                      1    which you actually wrote a report?                              11:01:23
                                                                                      2             A    Several of them are ones in which I               11:01:26
                                                                                      3    wrote a report, yeah.                                           11:01:27
                                                                                      4             Q    And you've indicated here if you wrote            11:01:29
                                                                                      5    a report or not?                                                11:01:31
                                                                                      6             A    Sorry, I didn't put that on the CV.               11:01:33
                                                                                      7    I'd have to look at my records to tell you which                11:01:34
                                                                                      8    ones I actually ended up writing formal reports                 11:01:37
                                                                                      9    for.                                                            11:01:39
                                                                                      10            Q    Okay, in some -- a few of these cases             11:01:40
                                                                                      11   it appears that the testimony you gave was about                11:01:44
                                                                                      12   interpretation of statutes or contracts; is that                11:01:46
                                                                                      13   correct?                                                        11:01:49
                                                                                      14            A    Yes.                                              11:01:49
                                                                                      15            Q    In interpreting a statute or a                    11:01:55
                                                                                      16   contract, have you done work where you're                       11:02:00
                                                                                      17   examining solely the language of the contract to                11:02:04
                                                                                      18   interpret intent or have you looked to any other                11:02:07
                                                                                      19   resources, such as -- well, let me just stop right              11:02:10
                                                                                      20   there.                                                          11:02:13
                                                                                      21            A    When I give my report, my expert                  11:02:19
                                                                                      22   opinion as a linguist, I am not giving you my                   11:02:23
                                                                                      23   expert opinion as someone with expertise in the                 11:02:26
                                                                                      24   law.     The hardest thing about teaching a course on           11:02:28
                                                                                      25   language in the law is that I'm not an expert on                11:02:31


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                                     1699
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 66 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021              64

                                                                                      1    the law.    So when I write an opinion or give an                     11:02:33
                                                                                      2    opinion in testimony, I'm talking about the plain                     11:02:36
                                                                                      3    meaning of whatever it is I am analyzing.                             11:02:40
                                                                                      4          Q      Let me ask you this though.            If you --         11:02:44
                                                                                      5    in one of these cases, let's talk about the Sparks                    11:02:44
                                                                                      6    case here just to be specific.                                        11:02:47
                                                                                      7          A      Which one is this?                                       11:02:48
                                                                                      8          Q      It's about midway through --                             11:02:50
                                                                                      9          A      Commercial contracts.                                    11:02:51
                                                                                      10         Q      On the interpretation of a commercial                    11:02:51
                                                                                      11   contract.                                                             11:02:53
                                                                                      12         A      Yes.                                                     11:02:54
                                                                                      13         Q      In that case did you interpret solely                    11:02:54
                                                                                      14   the language of the contract?                                         11:02:57
                                                                                      15         A      Yes.                                                     11:02:58
                                                                                      16         Q      And did you consider any other                           11:02:59
                                                                                      17   information, such as statutory history?                               11:03:09
                                                                                      18         A      No, I was not told to do so.            These are        11:03:12
                                                                                      19   cases where the plain language of the document was                    11:03:15
                                                                                      20   at issue.                                                             11:03:17
                                                                                      21         Q      Okay.    Let's go to the beginning of                    11:03:18
                                                                                      22   your report here.       Back to the beginning.                        11:03:36
                                                                                      23   Actually, if you go back to the very first page of                    11:03:37
                                                                                      24   the caption to the "Plaintiff’s Rule 26(a)(2)                         11:03:49
                                                                                      25   Disclosures (Phase One)."                                             11:03:50


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                                     1700
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 67 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021           65

                                                                                      1           A    Sorry, where are you?         Oh, yes, okay.         11:03:50
                                                                                      2    Yes.                                                             11:03:54
                                                                                      3           Q    Got that?     Okay.    That indicates you're         11:04:03
                                                                                      4    going to testify at trial for Nicholas Sandmann;                 11:04:06
                                                                                      5    is that correct?                                                 11:04:10
                                                                                      6           A    Yes, I have agreed to do so.                         11:04:10
                                                                                      7           Q    And do you understand what Phase I                   11:04:12
                                                                                      8    means in this case?                                              11:04:14
                                                                                      9           A    No.    I mean, I know what the English               11:04:15
                                                                                      10   means but I don't really know the legal                          11:04:20
                                                                                      11   implications.                                                    11:04:22
                                                                                      12          Q    Okay, your report is dated                           11:04:23
                                                                                      13   November 10th, as we talked about before and is                  11:04:24
                                                                                      14   attached to this.     When were you first contacted              11:04:26
                                                                                      15   about this matter?                                               11:04:31
                                                                                      16          A    I believe that was in September of '21.              11:04:33
                                                                                      17          Q    September of '21, okay.          And who were        11:04:42
                                                                                      18   you contacted by?                                                11:04:42
                                                                                      19          A    Todd McMurtry.                                       11:04:43
                                                                                      20          Q    Was anyone else present?                             11:04:45
                                                                                      21          A    No, it was an email contact initially                11:04:46
                                                                                      22   and then phone.                                                  11:04:48
                                                                                      23          Q    And what -- you spoke with Mr. McMurtry              11:04:50
                                                                                      24   by phone?                                                        11:04:56
                                                                                      25          A    Initially, yes.                                      11:04:57


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                                     1701
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 68 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021              66

                                                                                      1          Q      And what was said in that conversation?               11:04:58
                                                                                      2          A      He told me that there was a case                      11:05:02
                                                                                      3    involving defamation.     He told me roughly what it               11:05:04
                                                                                      4    was about.                                                         11:05:07
                                                                                      5                 I remembered having seen the news                     11:05:08
                                                                                      6    report of the initial -- the initial news reports                  11:05:10
                                                                                      7    about the encounter between Mr. -- I didn't                        11:05:14
                                                                                      8    remember the name, Sandmann or Phillips and he                     11:05:17
                                                                                      9    asked me if I would be willing to give my expert                   11:05:22
                                                                                      10   opinion about the meaning of two passages, and I                   11:05:24
                                                                                      11   said I would but I reminded him that I only say                    11:05:26
                                                                                      12   what I think it actually means.         I'm not                    11:05:30
                                                                                      13   testifying to an end.                                              11:05:34
                                                                                      14         Q      And did you discuss the matter with                   11:05:40
                                                                                      15   anyone else?                                                       11:05:43
                                                                                      16         A      No, I was asked to retain -- to keep                  11:05:44
                                                                                      17   this in confidence.                                                11:05:48
                                                                                      18         Q      When did you begin preparing your                     11:05:53
                                                                                      19   report?                                                            11:05:56
                                                                                      20         A      I'm sorry, I'd have to look at my                     11:05:57
                                                                                      21   records but I think it was in September, to my                     11:05:59
                                                                                      22   recollection.                                                      11:06:01
                                                                                      23         Q      And --                                                11:06:03
                                                                                      24         A      Maybe it wasn't until October.             I'm        11:06:07
                                                                                      25   sorry, I think -- I'm not sure exactly when I                      11:06:09


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                                     1702
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 69 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021              67

                                                                                      1    started doing the work.                                              11:06:12
                                                                                      2          Q     Did you do it over a long period of                      11:06:16
                                                                                      3    time in October -- or not a long period.              I              11:06:19
                                                                                      4    shouldn't characterize it that way -- did you do                     11:06:22
                                                                                      5    it over a month --                                                   11:06:23
                                                                                      6                      -- (overspeaking) --                               11:06:24
                                                                                      7          A     I think I -- no, I think I wrote the                     11:06:24
                                                                                      8    report.   I think what happened in September was                     11:06:26
                                                                                      9    that I initially had access to the videos and the                    11:06:28
                                                                                      10   passages that I was to look at and I gave -- I                       11:06:32
                                                                                      11   reviewed those and I gave Todd a preliminary                         11:06:37
                                                                                      12   assessment of whether I thought those passages                       11:06:40
                                                                                      13   were true or not of what I saw in the videos.             And        11:06:44
                                                                                      14   then he came back later, probably in late October                    11:06:46
                                                                                      15   and said we'd like you to write a report, and                        11:06:49
                                                                                      16   I believe it took me about seven or eight days to                    11:06:52
                                                                                      17   write the report.                                                    11:06:57
                                                                                      18         Q     Did you have any in-person meetings                      11:06:58
                                                                                      19   with anyone or just telephone calls --                               11:07:03
                                                                                      20                      -- (overspeaking) --                              11:07:04
                                                                                      21         A     No.                                                      11:07:05
                                                                                      22         Q     -- with Mr. --                                           11:07:05
                                                                                      23         A     Telephone calls and video ...used Zoom.                  11:07:07
                                                                                      24         Q     Can you look on your report at page --                   11:07:13
                                                                                      25   continuing on from where we were before, page 5 --                   11:07:20


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                                     1703
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 70 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021            68

                                                                                      1          A    The report.                                            11:07:23
                                                                                      2          Q    -- at the end of your legal work.                      11:07:23
                                                                                      3          A    Oh, you're talking about my appendix?                  11:07:31
                                                                                      4          Q    I know you took the clip off of it, so                 11:07:34
                                                                                      5    it's a little out of order.        You might want to put          11:07:36
                                                                                      6    the clip back on.                                                 11:07:38
                                                                                      7          A    There's separate numbers on the CV.           I        11:07:40
                                                                                      8    wasn't sure you were talking about the report or                  11:07:42
                                                                                      9    the CV.                                                           11:07:44
                                                                                      10         Q    Yes, I'm sorry, I'm talking about the                  11:07:44
                                                                                      11   report at this time.                                              11:07:46
                                                                                      12         A    Okay.     Page 5.                                      11:07:47
                                                                                      13         Q    Page 5.                                                11:07:48
                                                                                      14         A    Yes.                                                   11:08:03
                                                                                      15         Q    Okay, "IV Bases for Opinions and                       11:08:03
                                                                                      16   Materials Considered."                                            11:08:03
                                                                                      17              It says here, "I have been provided                    11:08:06
                                                                                      18   with the following materials on which to base my                  11:08:09
                                                                                      19   opinion" and then it goes on page 5, 6 and                        11:08:10
                                                                                      20   continues onto page 7; is that correct?                           11:08:15
                                                                                      21         A    Correct.                                               11:08:16
                                                                                      22         Q    Are the materials -- strike that.                      11:08:21
                                                                                      23              Are all the materials that you reviewed                11:08:22
                                                                                      24   in connection with your report listed here on                     11:08:23
                                                                                      25   Pages 5 to 7?                                                     11:08:25


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                                     1704
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 71 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021        69

                                                                                      1          A    That's correct.                                    11:08:27
                                                                                      2          Q    Okay, so those that are listed here on             11:08:27
                                                                                      3    pages 5 to 7 are the only materials you reviewed,             11:08:30
                                                                                      4    correct?                                                      11:08:32
                                                                                      5          A    That is correct.                                   11:08:34
                                                                                      6          Q    On page --                                         11:08:34
                                                                                      7                      -- (overspeaking) --                        11:08:35
                                                                                      8          A    May I say, in the original material,               11:08:35
                                                                                      9    set of materials I was given, there was some more             11:08:37
                                                                                      10   videos, but they were parts of the videos that                11:08:40
                                                                                      11   I have listed here so I didn't see any other                  11:08:42
                                                                                      12   additional materials.                                         11:08:45
                                                                                      13              In other words, there were snippets of             11:08:46
                                                                                      14   some of these videos that were separate from them             11:08:50
                                                                                      15   for some reason in among the original materials I             11:08:50
                                                                                      16   looked at but they are all included in the videos             11:08:50
                                                                                      17   here on the report.                                           11:08:55
                                                                                      18         Q    So just to clarify, you have videos of             11:08:56
                                                                                      19   scene in front of the Lincoln Memorial on January             11:08:59
                                                                                      20   18th of 2019 --                                               11:09:02
                                                                                      21         A    Correct.                                           11:09:02
                                                                                      22         Q    -- and it lists video 1 through video              11:09:02
                                                                                      23   18.                                                           11:09:04
                                                                                      24         A    Correct.                                           11:09:06
                                                                                      25         Q    Correct?     And what you're talking about         11:09:07


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                                     1705
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 72 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021              70

                                                                                      1    is those are the 18 videos that you had?                              11:09:08
                                                                                      2            A    That's right.                                            11:09:11
                                                                                      3            Q    And that there may have been additional                  11:09:12
                                                                                      4    videos, but they were just snippets of the same 18                    11:09:13
                                                                                      5    videos, correct?                                                      11:09:16
                                                                                      6            A    That's correct.                                          11:09:18
                                                                                      7            Q    And other than those videos and the                      11:09:18
                                                                                      8    newspaper articles listed and the other materials                     11:09:25
                                                                                      9    listed on pages 6 and 7, there were no other                          11:09:28
                                                                                      10   materials that you reviewed?                                          11:09:31
                                                                                      11           A    That's correct.                                          11:09:34
                                                                                      12           Q    On page 5 it states: "I have been                        11:09:34
                                                                                      13   provided with the following materials on which to                     11:09:36
                                                                                      14   base my opinion," at the bottom there.              Do you see        11:09:40
                                                                                      15   that?                                                                 11:09:44
                                                                                      16           A    Yeah.                                                    11:09:44
                                                                                      17           Q    Who provided the materials to you?                       11:09:45
                                                                                      18           A    Mr. McMurtry's office.          His secretary            11:09:47
                                                                                      19   sent them.                                                            11:09:49
                                                                                      20           Q    So under videos we just talked about,                    11:09:57
                                                                                      21   the next category is newspaper articles reporting                     11:10:00
                                                                                      22   on the incident of interest on page 6.              And is            11:10:05
                                                                                      23   this list here a complete list of all the news                        11:10:09
                                                                                      24   articles you were provided and reviewed in                            11:10:13
                                                                                      25   connection with your report?                                          11:10:15


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                                     1706
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 73 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021        71

                                                                                      1            A    That is correct.                                11:10:16
                                                                                      2            Q    And did you review any of the TV news           11:10:17
                                                                                      3    broadcasts or video news segments that accompanied           11:10:20
                                                                                      4    the online news articles or did you just review              11:10:23
                                                                                      5    the online articles?                                         11:10:25
                                                                                      6            A    If you go to those links, if on the             11:10:27
                                                                                      7    link there was a video of the news reporter, I               11:10:30
                                                                                      8    looked at that or there was, you know -- and that            11:10:32
                                                                                      9    is to say, if embedded in the news article there             11:10:35
                                                                                      10   was a video, I watched it.                                   11:10:38
                                                                                      11           Q    Umm...                                          11:10:42
                                                                                      12           A    But that's all.                                 11:10:44
                                                                                      13           Q    So, for example, in the second entry            11:10:44
                                                                                      14   here on page 6 for ABC's on-line article, Chris              11:10:51
                                                                                      15   Francescani and Bill Hutchinson you reviewed the             11:10:52
                                                                                      16   online article and if there was a video segment              11:11:02
                                                                                      17   linked to that you would have reviewed that, as              11:11:05
                                                                                      18   well?                                                        11:11:07
                                                                                      19           A    I would have watched it, yes.                   11:11:08
                                                                                      20           Q    Do you recall watching it?                      11:11:10
                                                                                      21           A    No, I do not.                                   11:11:11
                                                                                      22           Q    So for the next one, the CBS online             11:11:12
                                                                                      23   article it just lists the online article, Native             11:11:15
                                                                                      24   American veteran in viral video by Justin                    11:11:18
                                                                                      25   Carissimo.    Did you review just that online                11:11:18


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                                     1707
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 74 of 281 - Page ID#:

                                                                                                             Conducted on December 7, 2021         72

                                                                                      1    article or a broadcast linked within that article?           11:11:27
                                                                                      2            A   I'm sorry, I'd have to look at the               11:11:33
                                                                                      3    links that I was sent and look exactly at what I             11:11:34
                                                                                      4    saw.                                                         11:11:37
                                                                                      5                As I recall, the only videos embedded            11:11:38
                                                                                      6    in these articles in general -- I don't remember             11:11:40
                                                                                      7    which was which, were either a news reporter                 11:11:43
                                                                                      8    saying this is what happened and -- or a short               11:11:46
                                                                                      9    clip from one of the 18 videos that we have seen             11:11:51
                                                                                      10   here.                                                        11:11:54
                                                                                      11           Q   Okay, so sitting here today with                 11:11:54
                                                                                      12   respect to CBS's online article that you have                11:11:56
                                                                                      13   listed do you recall whether or not you also                 11:11:59
                                                                                      14   watched the video segment, went to that article?             11:12:02
                                                                                      15           A   I do not recall about specific                   11:12:06
                                                                                      16   articles.   The reason I do not recall is that               11:12:09
                                                                                      17   after I had viewed all this material I decided to            11:12:11
                                                                                      18   base my report entirely on the videos 1 through              11:12:14
                                                                                      19   18, which is what I have done so I did not review            11:12:18
                                                                                      20   those subsequently, those newspaper articles.                11:12:23
                                                                                      21           Q   And would that be the same if I asked            11:12:30
                                                                                      22   you for the other newspaper articles --                      11:12:32
                                                                                      23           A   Yes, yes.                                        11:12:34
                                                                                      24                   -- (overspeaking) .                          11:12:35
                                                                                      25           Q   Let me finish the question.         Okay,        11:12:36


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                                     1708
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 75 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021           73

                                                                                      1    thank you.    As to the other news articles listed                11:12:37
                                                                                      2    here, you don't recall sitting here today whether                 11:12:41
                                                                                      3    you reviewed anything but the online article;                     11:12:43
                                                                                      4    you'd have to go back and...                                      11:12:46
                                                                                      5          A      I do recall that I did not seek out                  11:12:48
                                                                                      6    additional information linked to or associated                    11:12:50
                                                                                      7    with the articles.                                                11:12:54
                                                                                      8                 If there was in the article a video                  11:12:54
                                                                                      9    clip, I clicked on that and watched it, otherwise                 11:12:58
                                                                                      10   I did not go further.                                             11:13:02
                                                                                      11         Q      Sitting here today you don't recall                  11:13:07
                                                                                      12   which specific ones you would have clicked on                     11:13:09
                                                                                      13   links within the articles, correct?                               11:13:11
                                                                                      14         A      No, I do not.                                        11:13:13
                                                                                      15         Q      Under "other materials" on page 7, I                 11:13:16
                                                                                      16   list four other materials; do you see that there?                 11:13:23
                                                                                      17         A      Yes.                                                 11:13:29
                                                                                      18         Q      Final investigative report.           Letter         11:13:31
                                                                                      19   from Nick Sandmann to Bob Rowe.           Transcription of        11:13:33
                                                                                      20   Nick Sandmann's deposition.         Statement of Nick             11:13:38
                                                                                      21   Sandmann.    Are these the only materials that you                11:13:40
                                                                                      22   reviewed in connection with your report?                          11:13:44
                                                                                      23         A      That is correct.                                     11:13:46
                                                                                      24         Q      And on page 8 you list at the top of                 11:13:47
                                                                                      25   page 8, you know, you consulted several of the                    11:13:56


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                                     1709
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 76 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021                74

                                                                                      1    most respected dictionaries.          And you list three                11:13:58
                                                                                      2    dictionaries there:          The Oxford English Dictionary              11:14:01
                                                                                      3    on Historical Principles, Oxford University Press,                      11:14:03
                                                                                      4    the Merriam-Webster's Collegiate Dictionary (11th                       11:14:08
                                                                                      5    Edition) and The American Heritage Dictionary of                        11:14:11
                                                                                      6    the American Language."          You consulted those three              11:14:16
                                                                                      7    dictionaries, correct?                                                  11:14:20
                                                                                      8             A      That's correct.                                         11:14:21
                                                                                      9             Q      Did you consult any other dictionaries?                 11:14:22
                                                                                      10            A      No, I did not.                                          11:14:23
                                                                                      11            Q      We have been going about an hour now;                   11:14:36
                                                                                      12   is that right?       Should we take like a five-minute                  11:14:39
                                                                                      13   break?       Is that okay?                                              11:14:42
                                                                                      14                   MR. McMURTRY:     Sure.                                 11:14:44
                                                                                      15                   MS. SPEARS:     Okay, thanks.                           11:14:46
                                                                                      16                   THE VIDEOGRAPHER:     The going                         11:14:48
                                                                                      17   off-the-record, the time is 11:14 a.m.                                  11:14:48
                                                                                      18      (Recess taken from 11:14 a.m. to 11:29 a.m.)                         11:14:51
                                                                                      19                   THE VIDEOGRAPHER:     We are going back on              11:29:36
                                                                                      20   the record.       The time is 11:29 a.m.                                11:29:37
                                                                                      21   BY MS. SPEARS:                                                          11:29:41
                                                                                      22            Q      Okay, we're back on the record.            So in        11:29:42
                                                                                      23   your report -- going back to your report                                11:29:52
                                                                                      24   (indiscernible) on page 1 of the actual report                          11:29:55
                                                                                      25   (indiscernible) the page that's dated November                          11:29:55


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                                     1710
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 77 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021                75

                                                                                      1    10th 2021.                                                             11:29:55
                                                                                      2          A      Yes.                                                      11:29:55
                                                                                      3          Q      Because there's several page ones. I                      11:29:55
                                                                                      4    want to make sure I'm on (inaudible) you state                         11:29:55
                                                                                      5    that you have been retained to answer the                              11:30:15
                                                                                      6    following two questions pertaining to the above                        11:30:15
                                                                                      7    cases basing my answers on the videos provided to                      11:30:15
                                                                                      8    me (listed in section IV) below.           And then those              11:30:15
                                                                                      9    are -- just let me stop there for a second.               Those        11:30:33
                                                                                      10   are videos 1 through 18, correct?                                      11:30:36
                                                                                      11         A      Correct.                                                  11:30:39
                                                                                      12         Q      And then you state later in the report,                   11:30:39
                                                                                      13   that you've relied on videos provided to acquaint                      11:30:43
                                                                                      14   you with as much details as possible of the                            11:30:48
                                                                                      15   situation, correct?                                                    11:30:51
                                                                                      16         A      Correct.                                                  11:30:52
                                                                                      17         Q      How did you use the videos 1 to 18 in                     11:30:52
                                                                                      18   reaching your decision?        What was your process?                  11:30:55
                                                                                      19         A      I watched them many times and tried to                    11:30:58
                                                                                      20   grab what was going on in each one and how they                        11:31:04
                                                                                      21   correlated with each other, what was going on                          11:31:06
                                                                                      22   generally in the situation and then, very                              11:31:09
                                                                                      23   specifically, I watched repeatedly the segments of                     11:31:11
                                                                                      24   the videos, especially the ones that I mentioned                       11:31:15
                                                                                      25   in the report, where there was the lead-up to the                      11:31:18


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                                     1711
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 78 of 281 - Page ID#:

                                                                                                                Conducted on December 7, 2021        76

                                                                                      1    interaction between Phillips and Sandmann and the              11:31:22
                                                                                      2    actual confrontation and the time at which it                  11:31:26
                                                                                      3    broke off and what followed immediately after                  11:31:35
                                                                                      4    that.                                                          11:31:35
                                                                                      5                 So I watched those many, many times.              11:31:36
                                                                                      6    Stopped them, went back, tried to see at which                 11:31:37
                                                                                      7    point which things happened and what evidence I                11:31:40
                                                                                      8    could have about -- could see in the videos about              11:31:41
                                                                                      9    the nature of the interaction.                                 11:31:45
                                                                                      10            Q   Where did you watch the videos?                   11:31:49
                                                                                      11            A   In my home office.                                11:31:50
                                                                                      12            Q   And what type of screen or device did             11:31:52
                                                                                      13   you watch the videos on?                                       11:31:54
                                                                                      14            A   I have two large Dell monitors and I              11:31:55
                                                                                      15   put usually documents on one and videos on the                 11:31:58
                                                                                      16   other.                                                         11:32:00
                                                                                      17            Q   And did you utilize any software to               11:32:01
                                                                                      18   watch them faster or slower or frame-by-frame?                 11:32:05
                                                                                      19            A   No.                                               11:32:08
                                                                                      20            Q   How much time did you say you spent               11:32:09
                                                                                      21   watching the videos?       You say you spent a lot of          11:32:11
                                                                                      22   time, quantify it for me.                                      11:32:15
                                                                                      23            A   My.    Well, I did it over the course of,         11:32:18
                                                                                      24   you know, first a couple of days when I gave my                11:32:21
                                                                                      25   initial and formal opinion and then over a week.               11:32:25


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                                     1712
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 79 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021        77

                                                                                      1                  I must have spent at least two or three         11:32:28
                                                                                      2    hours looking at those segments of the videos.                11:32:32
                                                                                      3          Q       So in total you'd say you spent what            11:32:36
                                                                                      4    two or three hours looking at the --                          11:32:38
                                                                                      5                     -- (overspeaking) --                         11:32:39
                                                                                      6          A       The relevant segments.                          11:32:39
                                                                                      7          Q       -- 18 videos?                                   11:32:39
                                                                                      8                      -- (overspeaking) --                        11:32:41
                                                                                      9          A       The relevant segments.       Some of the        11:32:41
                                                                                      10   videos I just reviewed quickly.                               11:32:45
                                                                                      11                 They were much more overall characters          11:32:48
                                                                                      12   of what's going on in the situation at the time,              11:32:49
                                                                                      13   for example with the Black Hebrew Israelites and              11:32:50
                                                                                      14   things like that.                                             11:32:54
                                                                                      15                 I subsequently didn't pay much                  11:32:54
                                                                                      16   attention to the segments, except for ones that               11:32:57
                                                                                      17   pertained to the -- immediate lead-up to the                  11:32:59
                                                                                      18   Phillips Sandmann confrontation.                              11:33:03
                                                                                      19         Q       And so what was your goal then in               11:33:05
                                                                                      20   reviewing the videos?                                         11:33:10
                                                                                      21         A       My methodology is very simple: As I             11:33:13
                                                                                      22   told you, as a linguist I tried to get the truth              11:33:17
                                                                                      23   conditions.                                                   11:33:20
                                                                                      24                 Meaning is very rich and we talked              11:33:21
                                                                                      25   about slurs, for example, so there's many aspects             11:33:23


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                                     1713
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 80 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021            78

                                                                                      1    of meaning that you can't characterize in terms of               11:33:25
                                                                                      2    true or false and straightforward.          There's              11:33:28
                                                                                      3    emotional responses and offence and things.             I        11:33:29
                                                                                      4    wasn't looking for that.                                         11:33:33
                                                                                      5               I was trying to look at getting at when               11:33:34
                                                                                      6    would one of these passages that I was asked to                  11:33:36
                                                                                      7    weigh in on, what would the situation be like in                 11:33:40
                                                                                      8    order for that to be true and then I needed to                   11:33:45
                                                                                      9    look at the videos to see, is this a situation in                11:33:47
                                                                                      10   which, given those truth conditions as I                         11:33:49
                                                                                      11   understand them, given the plain language there,                 11:33:51
                                                                                      12   is this a situation in which this passage is true.               11:33:55
                                                                                      13              So in order to do that I had to                       11:33:58
                                                                                      14   acquaint myself as thoroughly as possible with the               11:34:01
                                                                                      15   events of that day as presented in the videos.                   11:34:03
                                                                                      16   That's the only evidence that I had about what                   11:34:05
                                                                                      17   actually occurred.                                               11:34:07
                                                                                      18         Q    Okay, and so you were reviewing the                   11:34:10
                                                                                      19   videos to determine the facts of what happened?                  11:34:13
                                                                                      20         A    Correct, insofar as they're represented               11:34:16
                                                                                      21   in the videos.                                                   11:34:20
                                                                                      22         Q    And trying to reconstruct from the                    11:34:20
                                                                                      23   videos what happened, correct?                                   11:34:23
                                                                                      24         A    Right.                                                11:34:24
                                                                                      25         Q    And later in your opinion on page 8,                  11:34:25


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                                     1714
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 81 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021           79

                                                                                      1    that last paragraph there on page 8, you explain                11:34:33
                                                                                      2    that, "Although (you) subsequently read                         11:34:37
                                                                                      3    statements, interviews and depositions by Mr.                   11:34:37
                                                                                      4    Phillips and Mr. Sandmann pertaining to their                   11:34:37
                                                                                      5    encounter (that you) endeavored to form (your)                  11:34:37
                                                                                      6    opinion not on the basis of those subsequent                    11:34:37
                                                                                      7    statements, but solely on the basis of the                      11:34:37
                                                                                      8    evidence in the videos," is that right?                         11:34:37
                                                                                      9          A      Correct.                                           11:34:55
                                                                                      10         Q      And I think you said that before.                  11:34:56
                                                                                      11   Why -- or when did you decide to base your report               11:34:58
                                                                                      12   solely on the videos 1 through 18?                              11:35:00
                                                                                      13         A      As soon as I had reviewed all the                  11:35:03
                                                                                      14   materials in the initial informal reviews that I                11:35:05
                                                                                      15   did, I -- knowing what my expertise is, is my                   11:35:08
                                                                                      16   expertise is solely is were these statements, as I              11:35:14
                                                                                      17   understand them, as a native speaker and a                      11:35:18
                                                                                      18   linguist, were these statements true of the                     11:35:23
                                                                                      19   situation?                                                      11:35:24
                                                                                      20                The only evidence I have about what                11:35:25
                                                                                      21   actually occurred there is the videos.           All the        11:35:27
                                                                                      22   statements subsequent are people's opinions about               11:35:29
                                                                                      23   it or the way they represented it.          That has no         11:35:32
                                                                                      24   bearing on whether the statements were true.                    11:35:35
                                                                                      25         Q      Okay, and so that's why -- well, strike            11:35:43


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                                     1715
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 82 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021            80

                                                                                      1    that.       So why was it important to form your                    11:35:43
                                                                                      2    opinions solely on the basis of the videos then?                    11:35:45
                                                                                      3            A       The video is the only direct evidence               11:35:53
                                                                                      4    we have of what actually -- or that I have,                         11:35:54
                                                                                      5    anyway, of what occurred there.            I wasn't there           11:35:55
                                                                                      6    and anything anybody tells me, they'd be skewed by                  11:35:58
                                                                                      7    their own -- you know, what's at stake for them.                    11:36:03
                                                                                      8            Q       And you note that on page 8 here:                   11:36:05
                                                                                      9    "Someone's memory or construal of an event may not                  11:36:07
                                                                                      10   correspond to the facts about the situation in                      11:36:07
                                                                                      11   which it occurred.       It is only the situation                   11:36:07
                                                                                      12   itself that is relevant to the truth of a                           11:36:07
                                                                                      13   statement purporting to describe it." What do you                   11:36:07
                                                                                      14   mean by their construal of an event?             Do you mean        11:36:20
                                                                                      15   the way a person perceives an event or what do you                  11:36:25
                                                                                      16   mean?                                                               11:36:27
                                                                                      17           A       "Perceives" is too crude.        I think            11:36:28
                                                                                      18   people interpret what's happening to them all the                   11:36:31
                                                                                      19   time it and that that can lead them to distort or                   11:36:33
                                                                                      20   misrepresent what they're actually seeing right in                  11:36:37
                                                                                      21   front of them.       And so as we know, in the law,                 11:36:40
                                                                                      22   testimony always has to be understood relative to                   11:36:43
                                                                                      23   the state of the person testifying, so I'm much                     11:36:45
                                                                                      24   more interested in what I could see with my own                     11:36:50
                                                                                      25   eyes in the videos.                                                 11:36:51


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                                     1716
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 83 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021              81

                                                                                      1            Q    So what do you mean by "construal"                    11:36:53
                                                                                      2    then?                                                              11:36:59
                                                                                      3            A    Construal's like, for example -- in the               11:36:59
                                                                                      4    statements, Mr. Phillips says that "the guy..."                    11:37:03
                                                                                      5    Let me find one of the passages, that Sandmann                     11:37:13
                                                                                      6    positioned himself in front of him.          Well, it's no         11:37:16
                                                                                      7    doubt true that Sandmann was in front of Phillips.                 11:37:19
                                                                                      8                 Did Sandmann position himself in front                11:37:23
                                                                                      9    of Phillips?    That's another matter.        That's               11:37:26
                                                                                      10   Phillips' construal of the interaction that took                   11:37:29
                                                                                      11   place between them.     So I didn't want to consider               11:37:32
                                                                                      12   anybody else's interpretation of the situation                     11:37:38
                                                                                      13   because they might have interests that lend them                   11:37:40
                                                                                      14   to misunderstand what happened in front of them.                   11:37:42
                                                                                      15           Q    So that's his interpretation of that                  11:37:48
                                                                                      16   situation.                                                         11:37:50
                                                                                      17           A    That's his -- it's his representation                 11:37:50
                                                                                      18   of the situation.     I'm not a psychologist.           I'm        11:37:51
                                                                                      19   not trying to say why he represented it that way.                  11:37:53
                                                                                      20           Q    What -- so, a person can perceive an                  11:37:57
                                                                                      21   event in a certain way but their perception may be                 11:38:03
                                                                                      22   mistaken, is that what you're saying?                              11:38:07
                                                                                      23           A    It may be that their perception is                    11:38:11
                                                                                      24   mistaken or they may interpret what they actually                  11:38:12
                                                                                      25   see, in terms of intentions in particular in a way                 11:38:15


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                                     1717
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 84 of 281 - Page ID#:

                                                                                                             Conducted on December 7, 2021               82

                                                                                      1    that does not necessarily reflect what occurred.                   11:38:18
                                                                                      2           Q    Okay, so you'd -- by design your                       11:38:20
                                                                                      3    ultimate opinions are purposefully based only on                   11:38:23
                                                                                      4    the videos and not based on what anyone who was                    11:38:27
                                                                                      5    there said about what they remembered or construed                 11:38:31
                                                                                      6    about the event, correct?                                          11:38:34
                                                                                      7           A    That's correct.                                        11:38:35
                                                                                      8           Q    And so in forming your opinions to                     11:38:35
                                                                                      9    answer the two questions you were asked in this                    11:38:37
                                                                                      10   case you did not rely on Mr. Sandmann's deposition                 11:38:39
                                                                                      11   transcript or his other statements about the                       11:38:44
                                                                                      12   incident; is that correct?                                         11:38:45
                                                                                      13          A    That is correct.     In fact, I didn't                 11:38:47
                                                                                      14   even finish reading the Sandmann deposition.             I         11:38:48
                                                                                      15   decided that it would be a waste of their time and                 11:38:51
                                                                                      16   money for me to do that.                                           11:38:53
                                                                                      17          Q    I take it you did not interview                        11:38:55
                                                                                      18   Mr. Sandmann either?                                               11:38:56
                                                                                      19          A    I have never met him or talked with                    11:38:57
                                                                                      20   him.                                                               11:38:59
                                                                                      21          Q    Why not?                                               11:39:00
                                                                                      22          A    I don't think that bears on my expert                  11:39:02
                                                                                      23   witness testimony.     My expertise is about:          Were        11:39:04
                                                                                      24   these true in the situation as it actually                         11:39:09
                                                                                      25   occurred?   The only evidence I have of what                       11:39:12


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                                     1718
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 85 of 281 - Page ID#:

                                                                                                            Conducted on December 7, 2021        83

                                                                                      1    actually occurred is the video.                            11:39:14
                                                                                      2          Q    Okay, and in forming your opinions to           11:39:16
                                                                                      3    answer the two questions you were asked in this            11:39:19
                                                                                      4    case, you also did not interview Mr. Phillips or           11:39:20
                                                                                      5    rely on any of Mr. Phillips' other statements              11:39:24
                                                                                      6    about the incident for the same reasons then,              11:39:27
                                                                                      7    correct?                                                   11:39:28
                                                                                      8          A    That's correct.                                 11:39:29
                                                                                      9          Q    And I take it you also did not discuss          11:39:30
                                                                                      10   the facts of the incident with any Covington               11:39:35
                                                                                      11   Catholic High School students or chaperones or any         11:39:41
                                                                                      12   of the bystanders or participants who were present         11:39:44
                                                                                      13   for the same reasons; is that correct?                     11:39:47
                                                                                      14         A    So far as I know, I've never met any of         11:39:47
                                                                                      15   these people or spoken to them and for that reason         11:39:50
                                                                                      16   I would not want to.                                       11:39:52
                                                                                      17         Q    Okay, so if I understand you're                 11:39:53
                                                                                      18   endeavoring to be as objective as possible, to             11:39:54
                                                                                      19   review the video evidence and tell the court               11:39:57
                                                                                      20   objectively what happened here, based solely on            11:40:00
                                                                                      21   your review of the videos; right?                          11:40:02
                                                                                      22         A    That's what I endeavored to do.                 11:40:04
                                                                                      23         Q    Let's look at page 13 of your report.           11:40:14
                                                                                      24   In page 13 of the report, in the last paragraph            11:40:43
                                                                                      25   you conclude, based on your review of the videos           11:40:45


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                                     1719
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 86 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021        84

                                                                                      1    that -- if you look at that last paragraph there:             11:40:49
                                                                                      2    "Phillips' outward behavior was consistent with               11:40:49
                                                                                      3    his merely intending to confront Sandmann. Hence              11:40:49
                                                                                      4    Phillips' claim that Sandmann intended to block               11:40:49
                                                                                      5    Phillips' way seems to be a conjecture on his                 11:40:49
                                                                                      6    part."                                                        11:40:49
                                                                                      7                  So Phillips' statement seems to you, to         11:41:03
                                                                                      8    be his conjecture that Sandmann intended to block             11:41:05
                                                                                      9    him, right?                                                   11:41:08
                                                                                      10            A    That is his interpretation of the               11:41:08
                                                                                      11   situation.     That's the way he represents it.               11:41:09
                                                                                      12            Q    So it's his conjecture, as you say?             11:41:12
                                                                                      13            A    That's the best understanding I have of         11:41:14
                                                                                      14   it, yes.                                                      11:41:16
                                                                                      15            Q    Did you consider that Phillips'                 11:41:17
                                                                                      16   experience as a Native American may have                      11:41:18
                                                                                      17   influenced how he perceived Mr. Sandmann's intent?            11:41:21
                                                                                      18            A    I have no doubt that that's true but            11:41:25
                                                                                      19   that does not fall within my expertise.                       11:41:27
                                                                                      20            Q    Are you a Native American?                      11:41:30
                                                                                      21            A    No, I'm not.                                    11:41:32
                                                                                      22            Q    You didn't grow up with Mr. Phillips'           11:41:33
                                                                                      23   life experiences, right?                                      11:41:35
                                                                                      24            A    Of course I did not.                            11:41:37
                                                                                      25            Q    And you are not trying to suggest that          11:41:38


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                                     1720
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 87 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021          85

                                                                                      1    you understand what his life experiences are as a               11:41:39
                                                                                      2    Native American or his experiences earlier in the               11:41:45
                                                                                      3    day in March, such that you know what he was                    11:41:47
                                                                                      4    thinking during the encounter with Mr. Sandmann,                11:41:52
                                                                                      5    right?                                                          11:41:54
                                                                                      6                  MR. McMURTRY:    Objection.      Go ahead.        11:41:55
                                                                                      7                  THE WITNESS:    I have no idea of what            11:41:56
                                                                                      8    those are, no.     I did not represent myself as                11:41:56
                                                                                      9    understanding that.                                             11:42:01
                                                                                      10   BY MS. SPEARS:                                                  11:42:01
                                                                                      11            Q    And you wouldn't deny the legitimacy of           11:42:02
                                                                                      12   someone else's cultural experiences or                          11:42:05
                                                                                      13   perceptions, right?                                             11:42:08
                                                                                      14                 MR. McMURTRY:    Objection.                       11:42:09
                                                                                      15                 THE WITNESS:    I think that has no               11:42:09
                                                                                      16   bearing on my expert witness testimony.                         11:42:10
                                                                                      17   BY MS. SPEARS:                                                  11:42:13
                                                                                      18            Q    But you're not trying to substitute               11:42:15
                                                                                      19   your perception for Mr. Phillips' perception as a               11:42:17
                                                                                      20   Native American, right?                                         11:42:20
                                                                                      21                 MR. McMURTRY:    Objection.                       11:42:22
                                                                                      22                 THE WITNESS:    Again, I think that has           11:42:22
                                                                                      23   no bearing on what I have done here.           I'm not          11:42:23
                                                                                      24   doing that.                                                     11:42:26
                                                                                      25   BY MS. SPEARS:                                                  11:42:27


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                                     1721
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 88 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021          86

                                                                                      1          Q    People expressing their perceptions and              11:42:29
                                                                                      2    experiences, as we talked about before, typically               11:42:30
                                                                                      3    filter them through their own life experiences and              11:42:33
                                                                                      4    cultural references.      You'd agree with that,                11:42:37
                                                                                      5    right, we all do?                                               11:42:39
                                                                                      6          A    Most people do, yes.                                 11:42:40
                                                                                      7          Q    Yes.     And you've done that before in              11:42:46
                                                                                      8    your life, right?                                               11:42:47
                                                                                      9               MR. McMURTRY:       Objection.      Go ahead.        11:42:49
                                                                                      10              THE WITNESS:       I presume I have, yes.            11:42:50
                                                                                      11   BY MS. SPEARS:                                                  11:42:52
                                                                                      12         Q    And you've seen others do so, right?                 11:42:52
                                                                                      13         A    I have seen that.                                    11:42:54
                                                                                      14         Q    Isn't that also the case where someone               11:42:57
                                                                                      15   is trying to decipher another person's intent,                  11:42:59
                                                                                      16   they reference their own life experiences and                   11:43:03
                                                                                      17   cultural experiences?                                           11:43:06
                                                                                      18         A    You are asking me for opinions that                  11:43:07
                                                                                      19   I have as a private person and I have views about               11:43:09
                                                                                      20   these things but they have no bearing on what I've              11:43:12
                                                                                      21   done in this report.                                            11:43:15
                                                                                      22         Q    No, I'm asking in your capacity as an                11:43:16
                                                                                      23   expert here.     Isn't it the case when somebody is             11:43:18
                                                                                      24   speaking and trying to decipher someone else's                  11:43:24
                                                                                      25   intent, they filter through their life experiences              11:43:26


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                                     1722
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 89 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021            87

                                                                                      1    when doing so --                                                  11:43:30
                                                                                      2                   -- (overspeaking) --                               11:43:31
                                                                                      3          A    It may very well be that --                            11:43:32
                                                                                      4                   -- (overspeaking) --                               11:43:34
                                                                                      5          Q    Sorry.                                                 11:43:34
                                                                                      6          A    It may very well be that people do this                11:43:34
                                                                                      7    but it has no bearing on the truth of what occurs.                11:43:35
                                                                                      8          Q    But they may be expressing their                       11:43:41
                                                                                      9    perception, based on their life experiences, their                11:43:43
                                                                                      10   cultural references, what they are perceiving in                  11:43:48
                                                                                      11   the world at the time; is that fair?                              11:43:50
                                                                                      12         A    I would not agree with what you said                   11:43:52
                                                                                      13   unless you interpret perception not as perception                 11:43:54
                                                                                      14   of the actual circumstances, but as construable                   11:43:57
                                                                                      15   and that is not the same thing.                                   11:44:01
                                                                                      16         Q    Okay, what do you mean?                                11:44:04
                                                                                      17         A    One can construe what is happening in                  11:44:06
                                                                                      18   front of one's eyes, especially when it comes to                  11:44:08
                                                                                      19   intent, without actually having heard evidence and                11:44:11
                                                                                      20   may be incorrect, one's construal.                                11:44:14
                                                                                      21              That construal may be in part a                        11:44:17
                                                                                      22   function of one's background and experience.             I        11:44:19
                                                                                      23   don't dispute that; we do that all the time.                      11:44:21
                                                                                      24   That's how misunderstanding arises.           But that has        11:44:26
                                                                                      25   no bearing on the truth of what actually occurs                   11:44:28


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                                     1723
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 90 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021           88

                                                                                      1    and that only the truth of what I saw was what                     11:44:29
                                                                                      2    bore on my report.                                                 11:44:32
                                                                                      3             Q      Have you ever studied Native Americans             11:44:36
                                                                                      4    culture before?                                                    11:44:38
                                                                                      5             A      Not as an expert.     I have no expertise          11:44:39
                                                                                      6    in it.       I've been interested, but that's a                    11:44:41
                                                                                      7    distinct issue --                                                  11:44:45
                                                                                      8             Q      What do you know Mr. Phillips'                     11:44:47
                                                                                      9    background, anything?                                              11:44:48
                                                                                      10            A      Not as an expert.                                  11:44:51
                                                                                      11            Q      Do you know how old Mr. Phillips is?               11:44:52
                                                                                      12            A      I believe it said in one of the                    11:44:57
                                                                                      13   reports, but I don't remember.           He might have been        11:44:59
                                                                                      14   in his 60s or 70s.       Not reports, the articles.                11:45:01
                                                                                      15            Q      Do you know where he was born or what              11:45:03
                                                                                      16   tribe he's affiliated with?                                        11:45:05
                                                                                      17            A      Again, I believe it said in one of the             11:45:08
                                                                                      18   articles but I don't remember that.                                11:45:09
                                                                                      19            Q      At the your conclusion of your report              11:45:11
                                                                                      20   at page 14, in one of the penultimate, sort of,                    11:45:14
                                                                                      21   paragraphs there, you say that you endeavored to                   11:45:16
                                                                                      22   be completely neutral about the apparent views of                  11:45:19
                                                                                      23   the individuals involved, not speculating about                    11:45:23
                                                                                      24   motives or intentions and paid attention solely to                 11:45:26
                                                                                      25   the facts as evident in the videos; do you see                     11:45:29


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                                     1724
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 91 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021             89

                                                                                      1    that there?                                                          11:45:33
                                                                                      2          A       Yes, I do.                                             11:45:34
                                                                                      3          Q       And that's right?       You did that?                  11:45:35
                                                                                      4          A       I did say that, yes.                                   11:45:37
                                                                                      5          Q       And that's what you did?                               11:45:38
                                                                                      6          A       And that is what I did.                                11:45:40
                                                                                      7          Q       When you refer to the individuals                      11:45:41
                                                                                      8    involved, are you talking about Mr. Phillips and                     11:45:42
                                                                                      9    Mr. Sandmann?                                                        11:45:43
                                                                                      10         A       Those are the people I was primarily                   11:45:44
                                                                                      11   talking about, yes.                                                  11:45:46
                                                                                      12         Q       And you write that you tried to be                     11:45:48
                                                                                      13   completely neutral about their apparent views.             So        11:45:50
                                                                                      14   obviously it appears to you that they -- Sandmann                    11:45:54
                                                                                      15   and Phillips each have expressed views about what                    11:45:57
                                                                                      16   happened, right?                                                     11:46:00
                                                                                      17         A       Each what?                                             11:46:00
                                                                                      18         Q       Have expressed views about what                        11:46:02
                                                                                      19   happened, correct?                                                   11:46:03
                                                                                      20         A       Yes.                                                   11:46:03
                                                                                      21         Q       And so with respect to Mr. Phillips'                   11:46:04
                                                                                      22   expression that Sandmann intended to block                           11:46:07
                                                                                      23   Phillips' way, you're not taking the position that                   11:46:10
                                                                                      24   Mr. Phillips was lying, right?                                       11:46:13
                                                                                      25         A       No, I'm making no attributions to them                 11:46:15


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                                     1725
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 92 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021                  90

                                                                                      1    about his intent or what he meant to say -- why he                        11:46:18
                                                                                      2    meant -- said what he said.                                               11:46:20
                                                                                      3          Q      You are not disputing that that may be                       11:46:22
                                                                                      4    Mr. Phillips' opinion, right?                                             11:46:25
                                                                                      5          A      I am not disputing it.                                       11:46:27
                                                                                      6          Q      And the same for Mr. Sandmann.                You are        11:46:28
                                                                                      7    not taking a position on his motives, right?                              11:46:29
                                                                                      8          A      No.                                                          11:46:32
                                                                                      9          Q      But it's your opinion that the view                          11:46:32
                                                                                      10   Mr. Phillips expressed about Sandmann's intent was                        11:46:34
                                                                                      11   mistaken?                                                                 11:46:39
                                                                                      12         A      No, I am not talking about what he said                      11:46:40
                                                                                      13   about his intent, except insofar as it said that                          11:46:42
                                                                                      14   he -- that he attributed to Sandmann moving in                            11:46:45
                                                                                      15   specific ways so as to block him.            I saw no                     11:46:49
                                                                                      16   evidence of that in the videos.                                           11:46:52
                                                                                      17         Q      So --                                                        11:46:57
                                                                                      18         A      I'm not bringing any psychological                           11:46:57
                                                                                      19   analysis to bear on this.                                                 11:47:00
                                                                                      20         Q      So, it's your opinion that the view                          11:47:01
                                                                                      21   that Mr. Phillips expressed about Mr. Sandmann's                          11:47:04
                                                                                      22   intent was not correct?                                                   11:47:06
                                                                                      23         A      I think he misrepresented the                                11:47:08
                                                                                      24   situation.    For whatever reason, I do not know.                         11:47:10
                                                                                      25         Q      How do -- let's talk a bit more about                        11:47:19


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                                     1726
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 93 of 281 - Page ID#:

                                                                                                                  Conducted on December 7, 2021        91

                                                                                      1    how people convey intent.                                        11:47:22
                                                                                      2                  In your experience, other than by                  11:47:26
                                                                                      3    speaking or using words, how do people convey                    11:47:27
                                                                                      4    their intent?                                                    11:47:30
                                                                                      5          A       I can only testify as a non-expert                 11:47:35
                                                                                      6    about that.     Do you want me to say my personal                11:47:37
                                                                                      7    opinion?   It has no bearing on the report.                      11:47:40
                                                                                      8          Q       Because you don't have expertise in                11:47:45
                                                                                      9    answering that question.                                         11:47:49
                                                                                      10         A       I am not here as a psychologist.                   11:47:51
                                                                                      11   I have no expertise in that domain.              Yes.            11:47:52
                                                                                      12         Q       So, you have no expertise in how people            11:48:01
                                                                                      13   convey intent?                                                   11:48:03
                                                                                      14         A       I do.    How they convey intent                    11:48:04
                                                                                      15   linguistically.       Linguistic meaning is something            11:48:08
                                                                                      16   people who are native speakers of the language                   11:48:13
                                                                                      17   intend to convey when they make an utterance, as                 11:48:13
                                                                                      18   long as they are not delusionary or talking in                   11:48:15
                                                                                      19   their sleep.                                                     11:48:17
                                                                                      20                 I don't think that that has a bearing              11:48:18
                                                                                      21   on this case, so what Mr. Phillips said is                       11:48:19
                                                                                      22   something he had a -- had a meaning that he                      11:48:21
                                                                                      23   intended to convey.        And it is that meaning,               11:48:24
                                                                                      24   taking it -- him to be a native speaker of the                   11:48:27
                                                                                      25   language which I was assessing and whether it is                 11:48:30


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                                     1727
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 94 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021                92

                                                                                      1    true with respect to the videos that I observed.                     11:48:32
                                                                                      2    That is all.                                                         11:48:35
                                                                                      3            Q   Okay, so you don't have any expertise.                   11:48:36
                                                                                      4    You are not here portraying yourself as having                       11:48:37
                                                                                      5    expertise about how people might convey intent                       11:48:43
                                                                                      6    through movement or body language or facial                          11:48:45
                                                                                      7    expressions, correct?                                                11:48:48
                                                                                      8            A   Correct.                                                 11:48:50
                                                                                      9            Q   In addition to life experiences in                       11:48:58
                                                                                      10   culture which we talked about can impact the way                     11:49:00
                                                                                      11   people perceive things, can someone else's body                      11:49:04
                                                                                      12   language and facial expressions influence how                        11:49:09
                                                                                      13   someone, potentially perceives another person's                      11:49:12
                                                                                      14   intent?                                                              11:49:14
                                                                                      15           A   I am told that that is the case.            Again        11:49:15
                                                                                      16   I have no expertise.                                                 11:49:17
                                                                                      17           Q   Have you experienced that in your own                    11:49:18
                                                                                      18   life?                                                                11:49:20
                                                                                      19           A   Of course I have.      Yes, of course.                   11:49:20
                                                                                      20           Q   How about the setting or atmosphere of                   11:49:22
                                                                                      21   the situation?    In other words, what's happening                   11:49:23
                                                                                      22   around someone, what others around someone are                       11:49:25
                                                                                      23   doing in that moment, can that affect perception?                    11:49:28
                                                                                      24           A   Of course it does.                                       11:49:30
                                                                                      25           Q   You agree, by the way, and it's also on                  11:49:36


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                                     1728
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 95 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021               93

                                                                                      1    page 14 of your report if you want to reference                     11:49:38
                                                                                      2    that, on the videos you see the other students                      11:49:40
                                                                                      3    parted for Mr. Phillips as he approached and                        11:49:43
                                                                                      4    Mr. Sandmann did not, right?                                        11:49:45
                                                                                      5          A      I did not say that all the other                       11:49:48
                                                                                      6    students did.    I said that some students moved                    11:49:50
                                                                                      7    aside as he walked up, yes.                                         11:49:52
                                                                                      8          Q      And some students let him go by, but                   11:49:54
                                                                                      9    Mr. Sandmann stayed put, correct.                                   11:49:57
                                                                                      10         A      It wasn't that he was the only person                  11:49:59
                                                                                      11   remaining.    The way you put the question, I think                 11:50:01
                                                                                      12   distorts the situation.                                             11:50:04
                                                                                      13         Q      Right.   But you just -- you have it                   11:50:05
                                                                                      14   here in your report on 14.       "Some of the other                 11:50:07
                                                                                      15   boys..."                                                            11:50:11
                                                                                      16         A      Some of them.                                          11:50:12
                                                                                      17         Q      "...moved away from Phillips as the                    11:50:12
                                                                                      18   latter approached and let him go by, while                          11:50:14
                                                                                      19   Sandmann stayed in one place," right?                               11:50:18
                                                                                      20         A      And that's what I was saying.          "Some of        11:50:19
                                                                                      21   the other boys," yes.     Thank you.                                11:50:20
                                                                                      22         Q      Absent somebody saying "this is my                     11:50:24
                                                                                      23   intent," can one ever be sure what someone else's                   11:50:26
                                                                                      24   intent is?                                                          11:50:30
                                                                                      25         A      Again, I have no expertise but I doubt                 11:50:32


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                                     1729
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 96 of 281 - Page ID#:

                                                                                                                    Conducted on December 7, 2021               94

                                                                                      1    it.                                                                       11:50:34
                                                                                      2             Q      And you are not considering whatever                      11:50:36
                                                                                      3    Mr. Sandmann said his intent was, obviously                               11:50:38
                                                                                      4    because you didn't talk to him or review his                              11:50:41
                                                                                      5    deposition, correct?                                                      11:50:43
                                                                                      6                    MR. McMURTRY:       Objection, go ahead.                  11:50:45
                                                                                      7                    THE WITNESS:       That's correct.        I do not        11:50:46
                                                                                      8    have any idea what his intent was in that                                 11:50:47
                                                                                      9    circumstance.       That would be pure speculation as a                   11:50:50
                                                                                      10   private person.                                                           11:50:53
                                                                                      11   BY MS. SPEARS:                                                            11:50:53
                                                                                      12            Q      Okay, what you're trying to infer                         11:50:56
                                                                                      13   though is Sandmann and Phillips' intention solely                         11:50:57
                                                                                      14   from watching the videos, right?                                          11:51:00
                                                                                      15            A      No --                                                     11:51:01
                                                                                      16                   MR. McMURTRY:       Objection.      Go ahead.             11:51:02
                                                                                      17                   THE WITNESS:       -- that is not what I'm                11:51:02
                                                                                      18   doing.       I am not inferring intentions.            I'm                11:51:04
                                                                                      19   looking at the meanings of the words that Phillips                        11:51:07
                                                                                      20   said in his -- those two statements.                I know what           11:51:09
                                                                                      21   the meanings are, the expertise that bears on                             11:51:13
                                                                                      22   that.                                                                     11:51:15
                                                                                      23                   Then I look at the videos and I see,                      11:51:16
                                                                                      24   given the truth conditions, what would have to be                         11:51:18
                                                                                      25   the case for those two statements to be true.                             11:51:20


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                                     1730
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 97 of 281 - Page ID#:

                                                                                                              Conducted on December 7, 2021                 95

                                                                                      1                 I'd look at what I see in the video and                  11:51:23
                                                                                      2    I decide whether that seems to be true, given that                    11:51:25
                                                                                      3    video evidence.     I have no -- I do not bring any                   11:51:29
                                                                                      4    evidence of intent to bear here except for                            11:51:33
                                                                                      5    linguistic intent.     Phillips uttered the                           11:51:37
                                                                                      6    statement.    He was conscious.      He's a native                    11:51:40
                                                                                      7    speaker of English.     He know what they mean.              I        11:51:43
                                                                                      8    take him to mean what he meant, so that's                             11:51:46
                                                                                      9    intention.    Apart from that, I attribute no                         11:51:48
                                                                                      10   intention no anyone in my report.                                     11:51:50
                                                                                      11   BY MS. SPEARS:                                                        11:51:52
                                                                                      12         Q      By the way, in your report you                           11:51:53
                                                                                      13   described the situation as a confrontation.              Why          11:51:54
                                                                                      14   do you use that word?                                                 11:51:57
                                                                                      15         A      I think that is, in fact, what                           11:51:58
                                                                                      16   happened.    It was a confrontation.        If you look up            11:51:59
                                                                                      17   the word "confrontation" in the dictionary, it's                      11:52:01
                                                                                      18   two people standing face-to-face unmoving.              In            11:52:04
                                                                                      19   this case, very, very close range.          I would call              11:52:07
                                                                                      20   that a confrontation.                                                 11:52:10
                                                                                      21         Q      Is a confrontation indicative that                       11:52:11
                                                                                      22   people are on opposing sides?                                         11:52:15
                                                                                      23         A      I think it has that connotation, yes.                    11:52:18
                                                                                      24   This was not a friendly interaction.          It wasn't,              11:52:24
                                                                                      25   you know -- yeah.                                                     11:52:27


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                                     1731
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 98 of 281 - Page ID#:

                                                                                                                 Conducted on December 7, 2021               96

                                                                                      1             Q      Why was it not friendly?                               11:52:28
                                                                                      2             A      Oh, well, we can discuss that.             That        11:52:31
                                                                                      3    has to do with intentions and history and that's                       11:52:32
                                                                                      4    not my expertise.                                                      11:52:34
                                                                                      5                    I'm just looking at what I saw in the                  11:52:36
                                                                                      6    video.       Two people extremely close, face-to-face.                 11:52:37
                                                                                      7    One person beating a drum in the other's face.                         11:52:42
                                                                                      8    The other one's eyes blinking because the drum is                      11:52:46
                                                                                      9    disturbing and --                                                      11:52:49
                                                                                      10                       -- (overspeaking) --                               11:52:51
                                                                                      11            Q      Why wasn't it friendly?                                11:52:52
                                                                                      12                   MR. McMURTRY:     Can she finish her guess             11:52:53
                                                                                      13   -- answer?                                                             11:52:54
                                                                                      14                   MS. SPEARS:     Oh sure.    I thought she              11:52:54
                                                                                      15   was done.                                                              11:52:55
                                                                                      16                   THE WITNESS:     So, I'm simply saying                 11:52:56
                                                                                      17   that it did not look like a comfortable                                11:52:57
                                                                                      18   interaction and it was unusually close range.                          11:52:59
                                                                                      19                   Most people who don't know each other                  11:53:01
                                                                                      20   and I took it these individuals did not know each                      11:53:03
                                                                                      21   other, do not come so close to each other in that                      11:53:06
                                                                                      22   way.                                                                   11:53:09
                                                                                      23   BY MS. SPEARS:                                                         11:53:09
                                                                                      24            Q      Okay, anything else about the                          11:53:11
                                                                                      25   atmosphere that was not friendly, you said a                           11:53:11


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                                     1732
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 99 of 281 - Page ID#:

                                                                                                               Conducted on December 7, 2021                97

                                                                                      1    second ago?                                                           11:53:13
                                                                                      2             A    I think --                                              11:53:14
                                                                                      3             Q    The history of it, you said.                            11:53:15
                                                                                      4             A    The history meaning the (inaudible) --                  11:53:17
                                                                                      5    that particular circumstance.                                         11:53:17
                                                                                      6                      -- (overspeaking) --                                11:53:18
                                                                                      7             Q    You said, we can talk about the history                 11:53:18
                                                                                      8    of it.                                                                11:53:20
                                                                                      9             A    Okay, I'm not sure exactly what I was                   11:53:21
                                                                                      10   alluding to.     But if you look at the situation                     11:53:23
                                                                                      11   where there are two, three groups of people in DC                     11:53:25
                                                                                      12   for different kinds of protests, and some of them                     11:53:30
                                                                                      13   are on different sides of various kinds of                            11:53:33
                                                                                      14   political issues and they all know that about each                    11:53:36
                                                                                      15   other, as evident in their attire and their                           11:53:38
                                                                                      16   behavior and what they're saying, so I would say                      11:53:41
                                                                                      17   that that was not a friendly interaction because                      11:53:44
                                                                                      18   of that.     That is part of the context and they all                 11:53:46
                                                                                      19   knew that.                                                            11:53:49
                                                                                      20            Q    They had cultural differences?                          11:53:50
                                                                                      21            A    I didn't say they were cultural.           There        11:53:53
                                                                                      22   were very clear political differences in this                         11:53:56
                                                                                      23   case.                                                                 11:53:58
                                                                                      24            Q    And that impacted the atmosphere in the                 11:54:00
                                                                                      25   sense of the participants involved, correct?                          11:54:05


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                                 ID#: 1733
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 100 of 281 - Page

                                                                                                             Conducted on December 7, 2021              98

                                                                                  1             A      I would say so.                                       11:54:08
                                                                                  2             Q      Some other places in your report you                  11:54:15
                                                                                  3    use the word "encounter."         Any difference in the               11:54:17
                                                                                  4    word choices there?                                                   11:54:21
                                                                                  5             A      That's just a -- I wasn't using that to               11:54:22
                                                                                  6    be -- make a particular point.           It's a slightly              11:54:24
                                                                                  7    more neutral term than confrontation.                                 11:54:26
                                                                                  8                    Encounter is more neutral and it's more               11:54:29
                                                                                  9    vague.       Two people can encounter each other                      11:54:31
                                                                                  10   accidentally.       I don't think this was an                         11:54:34
                                                                                  11   accidental encounter.        So the confrontation means               11:54:37
                                                                                  12   it's not friendly and it's not accidental.                            11:54:41
                                                                                  13            Q      In terms of the clear political                       11:54:44
                                                                                  14   differences you noted, how do you know                                11:54:47
                                                                                  15   Mr. Phillips' political --                                            11:54:50
                                                                                  16                       -- (overspeaking) --                              11:54:53
                                                                                  17            A      I actually don't know his political                   11:54:54
                                                                                  18   views, but I do know, like I said, that he was                        11:54:58
                                                                                  19   there to protest for Native American rights.               And        11:54:59
                                                                                  20   I know that he -- as a -- I'm assuming as a person                    11:55:03
                                                                                  21   who knows some -- has some background about                           11:55:10
                                                                                  22   American politics at the time of this occasion,                       11:55:13
                                                                                  23   that someone who was protesting for Native                            11:55:15
                                                                                  24   American rights and also given other things that                      11:55:19
                                                                                  25   other protestors with Phillips were saying to the                     11:55:23


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                                 ID#: 1734
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 101 of 281 - Page

                                                                                                               Conducted on December 7, 2021        99

                                                                                  1    boys from Covington Catholic High about "Go back                  11:55:26
                                                                                  2    to Europe" and stuff like that, that they -- there                11:55:31
                                                                                  3    was a lot of bad feeling at that time between                     11:55:35
                                                                                  4    Native Americans and people on the far right                      11:55:38
                                                                                  5    which, wearing a MAGA hat identifies oneself as                   11:55:40
                                                                                  6    being.       There were -- so political differences               11:55:46
                                                                                  7    about what constituted being native but -- and                    11:55:48
                                                                                  8    that these things were evident to all of the                      11:55:50
                                                                                  9    participants in that interaction.                                 11:55:57
                                                                                  10            Q      And that is what you talked about in              11:56:00
                                                                                  11   terms of contributing to the atmosphere that                      11:56:01
                                                                                  12   made it --                                                        11:56:04
                                                                                  13            A      Yes.                                              11:56:04
                                                                                  14            Q      -- unfriendly, correct?                           11:56:04
                                                                                  15            A      That's correct.       I think so.                 11:56:05
                                                                                  16            Q      Let's go back to your report at the               11:56:13
                                                                                  17   beginning on page 1 and 2 of the actual report.                   11:56:16
                                                                                  18            A      Yes.                                              11:56:20
                                                                                  19            Q      Where the date, November 10, 2021 was             11:56:20
                                                                                  20   on page 1.       Are you there?                                   11:56:23
                                                                                  21            A      Yes.                                              11:56:30
                                                                                  22            Q      And you were asked to provide your                11:56:30
                                                                                  23   opinion on two questions, correct?                                11:56:32
                                                                                  24            A      Correct.                                          11:56:34
                                                                                  25            Q      And who came up with those questions?             11:56:34


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                                 ID#: 1735
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 102 of 281 - Page

                                                                                                             Conducted on December 7, 2021               100

                                                                                  1            A       Mr. McMurtry so far as I know.             He's         11:56:37
                                                                                  2    the one that posed them to me.                                          11:56:40
                                                                                  3            Q       Okay, and when was that?                                11:56:41
                                                                                  4            A       That was probably in October.          It was           11:56:42
                                                                                  5    probably -- it was either late October or the                           11:56:45
                                                                                  6    beginning of November.        I really only worked on                   11:56:47
                                                                                  7    this report part-time for seven or eight or ten                         11:56:50
                                                                                  8    days.       I can't remember exactly.       I have the                  11:56:53
                                                                                  9    notes, if you need to know.                                             11:56:56
                                                                                  10           Q       And that was in October?                                11:56:57
                                                                                  11           A       Either late October or early November.                  11:56:58
                                                                                  12   It might have just all been in November.               I don't          11:57:00
                                                                                  13   remember exactly when I started working on the                          11:57:02
                                                                                  14   formal report, but I have the notes.                                    11:57:04
                                                                                  15           Q       Did you have the questions that -- when                 11:57:06
                                                                                  16   did you have the questions?                                             11:57:08
                                                                                  17           A       I believe -- first of all, I knew he                    11:57:10
                                                                                  18   was interested in those passages in September when                      11:57:12
                                                                                  19   we had the informal discussion about the case                           11:57:14
                                                                                  20   because he informally asked me what I thought                           11:57:17
                                                                                  21   these passages meant and whether they were true in                      11:57:22
                                                                                  22   those videos.       But the formal questions that he                    11:57:24
                                                                                  23   posed were posed -- you know, let's say it's                            11:57:26
                                                                                  24   either the last of October or the beginning of                          11:57:29
                                                                                  25   November.                                                               11:57:31


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                                 ID#: 1736
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 103 of 281 - Page

                                                                                                             Conducted on December 7, 2021                 101

                                                                                  1          Q      Okay.                                                        11:57:32
                                                                                  2          A      But I knew he -- previously that he was                      11:57:32
                                                                                  3    interested in those passages.                                             11:57:35
                                                                                  4          Q      Okay, and how did you develop your                           11:57:36
                                                                                  5    processes for how you would approach answering                            11:57:38
                                                                                  6    those questions?                                                          11:57:40
                                                                                  7          A      Pretty simple.       As I told you, I had                    11:57:43
                                                                                  8    already informally reviewed the material.                  I gave         11:57:45
                                                                                  9    more careful consideration.          I didn't have the                    11:57:48
                                                                                  10   deposition when I did the first -- had the first                          11:57:50
                                                                                  11   informal conversations with Mr. McMurtry, and so                          11:57:53
                                                                                  12   then I was given the deposition and some of the                           11:57:57
                                                                                  13   other report from the investigator and so forth                           11:58:00
                                                                                  14   and the formal questions.         So I had these                          11:58:04
                                                                                  15   materials.                                                                11:58:11
                                                                                  16                I spent another day or so looking                            11:58:12
                                                                                  17   through all the materials and then quickly decided                        11:58:13
                                                                                  18   that I wanted to ignore everything except what was                        11:58:15
                                                                                  19   in the videos, that that would be the most                                11:58:20
                                                                                  20   appropriate methodology given that, as I told you,                        11:58:21
                                                                                  21   my methodology is to determine the truth                                  11:58:25
                                                                                  22   conditional character of the passages.                                    11:58:28
                                                                                  23                When would they be true, on the basis                        11:58:31
                                                                                  24   of a linguistic analysis of the plain meaning and                         11:58:34
                                                                                  25   then look at the evidence that we have about what                         11:58:41


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                                 ID#: 1737
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 104 of 281 - Page

                                                                                                          Conducted on December 7, 2021         102

                                                                                  1    actually occurred, which I think the most -- which             11:58:41
                                                                                  2    I think the only high quality evidence we have of              11:58:45
                                                                                  3    what actually occurred was the videos because I                11:58:48
                                                                                  4    told you I want to disregard people's opinions                 11:58:48
                                                                                  5    about them or reports on them.        So I decided the         11:58:51
                                                                                  6    best thing to do was just do my linguistic                     11:58:53
                                                                                  7    analysis, look at the videos and see whether I                 11:58:56
                                                                                  8    thought these things were true in those                        11:58:59
                                                                                  9    circumstances as represented in the videos.                    11:59:00
                                                                                  10         Q    And you talk about reasonable reader in             11:59:11
                                                                                  11   your -- in question 1. Would a reasonable                      11:59:12
                                                                                  12   reader under -- and question 2 --                              11:59:15
                                                                                  13         A    Yes.                                                11:59:15
                                                                                  14         Q    You used the phrase "reasonable                     11:59:15
                                                                                  15   reader," right?                                                11:59:17
                                                                                  16              MR. McMURTRY:      Objection.      She said         11:59:17
                                                                                  17   that I posed the questions.                                    11:59:18
                                                                                  18              THE WITNESS:      Yeah.                             11:59:20
                                                                                  19              MS. SPEARS:     Fair enough.                        11:59:20
                                                                                  20              THE WITNESS:      Todd posed the question.          11:59:20
                                                                                  21   BY MS. SPEARS:                                                 11:59:23
                                                                                  22         Q    Fair enough.      Let me rephrase that.             11:59:23
                                                                                  23              Mr. McMurtry in his question 1 says --              11:59:25
                                                                                  24   or uses the phrase "reasonable reader."                        11:59:29
                                                                                  25              Do you use that phrase and what does it             11:59:33


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                                 ID#: 1738
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 105 of 281 - Page

                                                                                                           Conducted on December 7, 2021              103

                                                                                  1    mean to you?                                                         11:59:41
                                                                                  2          A       As an expert, I would be more inclined                 11:59:42
                                                                                  3    to say a rational native speaker of the language                     11:59:43
                                                                                  4    in question --                                                       11:59:47
                                                                                  5          Q       This --                                                11:59:49
                                                                                  6          A       -- who read and understood the                         11:59:49
                                                                                  7    passages, yes; that's what I'm looking at.                           11:59:51
                                                                                  8          Q       Is that just a more highbrow way of                    11:59:52
                                                                                  9    saying "reasonable reader"?                                          11:59:55
                                                                                  10         A       It's more accurate, in some ways.          I           11:59:56
                                                                                  11   mean, if you were a reader of -- if you're a                         11:59:59
                                                                                  12   French person who doesn't speak English very well                    12:00:01
                                                                                  13   and you read this, I'm not sure if they're the                       12:00:03
                                                                                  14   person we're aiming at.       We want plain meaning of               12:00:06
                                                                                  15   English, so we want a native speaker.            That's why          12:00:09
                                                                                  16   just any old reader isn't good enough.            That's why         12:00:11
                                                                                  17   I say a native speaker.       And I want rational                    12:00:14
                                                                                  18   because irrationality can lead people to                             12:00:17
                                                                                  19   misinterpret all kind of things so, yeah.                            12:00:20
                                                                                  20         Q       So, it doesn't -- so reasonable reader                 12:00:23
                                                                                  21   doesn't just mean an ordinary person reading the                     12:00:25
                                                                                  22   statements?                                                          12:00:27
                                                                                  23         A       Oh, it does -- ordinary people are                     12:00:28
                                                                                  24   typically not insane, so they're rational and if                     12:00:30
                                                                                  25   they're native speakers they fall within this                        12:00:33


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                                 ID#: 1739
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 106 of 281 - Page

                                                                                                          Conducted on December 7, 2021                     104

                                                                                  1    group so, yes, your ordinary native speaker who is                         12:00:36
                                                                                  2    not out of their mind would be a reasonable reader                         12:00:41
                                                                                  3    that we had in mind here.                                                  12:00:42
                                                                                  4          Q    Does culture matter?                                            12:00:46
                                                                                  5          A    No.                                                             12:00:48
                                                                                  6          Q    Does context matter?                                            12:00:48
                                                                                  7          A    In so far as you've got words like "I"                          12:00:49
                                                                                  8    and "now" and "tense," yes, that matters.               Yes.               12:00:49
                                                                                  9          Q    And that's part of your study --                                12:00:56
                                                                                  10         A    Yes, that's correct.                                            12:00:57
                                                                                  11         Q    -- in your background in pragmatics,                            12:00:58
                                                                                  12   correct?                                                                   12:01:00
                                                                                  13         A    Correct.                                                        12:01:00
                                                                                  14         Q    See, I'm learning already.                                      12:01:02
                                                                                  15         A    You are.                                                        12:01:03
                                                                                  16         Q    Are there unreasonable readers?                                 12:01:03
                                                                                  17         A    Umm... well --                                                  12:01:07
                                                                                  18         Q    Would that be someone who is insane; is                         12:01:10
                                                                                  19   that --                                                                    12:01:13
                                                                                  20         A    Well, there's another matter here.                  So,         12:01:14
                                                                                  21   understand the following statement to be false in                          12:01:16
                                                                                  22   view of the videos.    A person might watch the                            12:01:18
                                                                                  23   videos and have very strong prejudices.           For                      12:01:22
                                                                                  24   example, be a far right-wing person and have an                            12:01:27
                                                                                  25   interpretation of what Mr. Phillips does that                              12:01:32


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                                 ID#: 1740
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 107 of 281 - Page

                                                                                                           Conducted on December 7, 2021              105

                                                                                  1    attributes him -- things to him or intentions that                   12:01:34
                                                                                  2    he did not have, right?                                              12:01:36
                                                                                  3                So, I think the reasonable (sic) there                   12:01:38
                                                                                  4    could be if you're going to set aside prejudice                      12:01:40
                                                                                  5    and distortion of what you see, given what you can                   12:01:43
                                                                                  6    see in the video and you're a native speaker and                     12:01:48
                                                                                  7    you're rational, would you take this to be false?                    12:01:51
                                                                                  8            Q   Go to page 5 of your report.           This is a         12:01:58
                                                                                  9    summary in the middle of the page under III,                         12:02:09
                                                                                  10   "Summary of Opinions."                                               12:02:12
                                                                                  11           A   Yes.                                                     12:02:15
                                                                                  12           Q   Is that right?                                           12:02:15
                                                                                  13           A   Correct.                                                 12:02:16
                                                                                  14           Q   Are all of the opinions you intend to                    12:02:17
                                                                                  15   offer in this case expressed in your written                         12:02:19
                                                                                  16   report that we've marked here?                                       12:02:21
                                                                                  17           A   Yes.                                                     12:02:22
                                                                                  18           Q   So you don't have any other opinions                     12:02:24
                                                                                  19   that are not expressed in your written report                        12:02:26
                                                                                  20   here?                                                                12:02:28
                                                                                  21           A   I have not been asked as an expert to                    12:02:29
                                                                                  22   give any additional opinions.         These are they.                12:02:31
                                                                                  23           Q   Let's go on that same page.           Again, I           12:02:37
                                                                                  24   want to ask you about this reasonable native                         12:02:40
                                                                                  25   speaker and I think you just answered it, but I                      12:02:44


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                                 ID#: 1741
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 108 of 281 - Page

                                                                                                        Conducted on December 7, 2021        106

                                                                                  1    want to make sure I'm clear.     So you say:                12:02:47
                                                                                  2               "A reasonable native speaker of English          12:02:50
                                                                                  3    reading (each) passage would take it to be false            12:02:50
                                                                                  4    in the circumstances captured in the videos of the          12:02:50
                                                                                  5    encounter which have been provided to me."                  12:02:50
                                                                                  6               And we talked about a reasonable                 12:03:04
                                                                                  7    reader. So is a reasonable reader a native speaker          12:03:04
                                                                                  8    of English or are you qualifying your opinion to            12:03:06
                                                                                  9    pertain to native English speakers?                         12:03:10
                                                                                  10         A    I didn't understand your question.               12:03:14
                                                                                  11         Q    What are you -- by saying "Native                12:03:15
                                                                                  12   speaker of English," who are you excluding?                 12:03:17
                                                                                  13         A    I'm excluding people who might have not          12:03:19
                                                                                  14   learned English perfectly.     So by saying "native         12:03:23
                                                                                  15   speaker" I'm talking about people who command the           12:03:26
                                                                                  16   English language.                                           12:03:29
                                                                                  17         Q    And what does -- "would take it to be            12:03:33
                                                                                  18   false" mean?                                                12:03:36
                                                                                  19         A    If they were to watch the video and              12:03:39
                                                                                  20   they were a native speaker and they only looked at          12:03:41
                                                                                  21   what actually occurred in the video, they would             12:03:45
                                                                                  22   say this was false.                                         12:03:47
                                                                                  23         Q    And what does: "In the circumstances             12:03:50
                                                                                  24   captured in the videos of the encounter" mean?              12:03:53
                                                                                  25         A    That means what the video showed                 12:03:55


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                                 ID#: 1742
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 109 of 281 - Page

                                                                                                             Conducted on December 7, 2021              107

                                                                                  1    occurred.       Videos do not show intent; they show                   12:03:56
                                                                                  2    action, behavior, what actually occurs.                                12:04:01
                                                                                  3            Q       And again, this is you -- well, strike                 12:04:05
                                                                                  4    that.       Let's go to page 7 of your report.                         12:04:07
                                                                                  5                    Page 7 of your report, you say:            "In         12:04:35
                                                                                  6    determining truth conditions, the science of                           12:04:37
                                                                                  7    linguistics is purely descriptive aiming to                            12:04:37
                                                                                  8    determine the plain meaning of an expression that                      12:04:37
                                                                                  9    is understood by ordinary speakers of the language                     12:04:37
                                                                                  10   in which it is couched."                                               12:04:37
                                                                                  11                   What you mean by "purely descriptive"?                 12:04:47
                                                                                  12           A       Many times people think that either a                  12:04:53
                                                                                  13   dictionary or grammar is prescriptive, telling you                     12:04:55
                                                                                  14   how you should speak, what something should mean.                      12:04:59
                                                                                  15   You shouldn't say "ain't."          You should say "whom"              12:05:02
                                                                                  16   instead of "who" in certain cases.                                     12:05:05
                                                                                  17                   This is not what we do in linguistics.                 12:05:09
                                                                                  18   We describe what native -- ordinary people, who                        12:05:10
                                                                                  19   have never even necessarily had a grammar class                        12:05:14
                                                                                  20   say and understand by what they say.             That's the            12:05:17
                                                                                  21   crucial point.                                                         12:05:21
                                                                                  22           Q       Okay, and page 7 you also discuss what                 12:05:23
                                                                                  23   you call truth conditions.                                             12:05:27
                                                                                  24           A       Correct.                                               12:05:28
                                                                                  25           Q       You describe truth conditions as, "What                12:05:29


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                                 ID#: 1743
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 110 of 281 - Page

                                                                                                              Conducted on December 7, 2021             108

                                                                                  1    a situation would have to be like in order for the                     12:05:32
                                                                                  2    sentence to truthfully describe that situation."                       12:05:35
                                                                                  3                  What are truth conditions to you?                        12:05:40
                                                                                  4          A       Truth conditions is -- well, I can tell                  12:05:44
                                                                                  5    you again, informally, which I've done several                         12:05:45
                                                                                  6    times, truth conditions are specific conditions                        12:05:51
                                                                                  7    that would have to be satisfied in order for this                      12:05:52
                                                                                  8    to be true, okay?                                                      12:05:55
                                                                                  9          Q       Okay.                                                    12:05:58
                                                                                  10         A       I can characterize that.           Remember, I           12:05:58
                                                                                  11   said I'm a formal semanticist.            I can characterize           12:06:01
                                                                                  12   that logically.       So it's often useful if you're                   12:06:02
                                                                                  13   teaching the computer English, you translate it                        12:06:06
                                                                                  14   into a logical language and then the computer goes                     12:06:13
                                                                                  15   from -- the computer -- native computer languages                      12:06:14
                                                                                  16   are mathematical, logical languages and they can                       12:06:16
                                                                                  17   use the translation to go to the database to get                       12:06:19
                                                                                  18   information and then translate it back into                            12:06:20
                                                                                  19   English.   Or if you're translating between two                        12:06:22
                                                                                  20   languages you often translate and you get the                          12:06:24
                                                                                  21   truth conditions that's a logical statement.                It         12:06:25
                                                                                  22   doesn't matter.       Truth conditions are truth                       12:06:28
                                                                                  23   conditions.     They are things -- the way things                      12:06:30
                                                                                  24   would have to be in order for this to be true.                         12:06:32
                                                                                  25         Q       Is there a set number of definitive                      12:06:41


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                                 ID#: 1744
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 111 of 281 - Page

                                                                                                           Conducted on December 7, 2021              109

                                                                                  1    truth conditions for any particular phrase?                          12:06:43
                                                                                  2          A       No, actually that's a very -- that's a                 12:06:45
                                                                                  3    very challenging question and that's why we refer                    12:06:47
                                                                                  4    to multiple dictionaries, to look at multiple                        12:06:49
                                                                                  5    things that a word might mean and connotations                       12:06:52
                                                                                  6    that it might have, etcetera, to determine what,                     12:06:56
                                                                                  7    you know, the range of possible meanings are.            And         12:06:58
                                                                                  8    then we look at the context, the syntax to                           12:07:02
                                                                                  9    determine what the actual intended meaning was in                    12:07:04
                                                                                  10   that case.                                                           12:07:06
                                                                                  11         Q       And what is the plain meaning -- use                   12:07:10
                                                                                  12   from a phrase, mean to you?                                          12:07:12
                                                                                  13         A       I use that because it's common in the                  12:07:16
                                                                                  14   law and I think by "plain meaning" they mean what                    12:07:17
                                                                                  15   an ordinary speaker who is a native speaker, who                     12:07:21
                                                                                  16   has command of the English language, would take                      12:07:23
                                                                                  17   the expression to mean.                                              12:07:28
                                                                                  18         Q       And how does an ordinary speaker                       12:07:29
                                                                                  19   determine what plain meaning of a word or a                          12:07:31
                                                                                  20   passage is?                                                          12:07:33
                                                                                  21         A       Ahhh, there you'd have to take language                12:07:34
                                                                                  22   and the law, wouldn't you?        So, the -- people                  12:07:35
                                                                                  23   think that they teach their children language, but                   12:07:38
                                                                                  24   the fascinating thing is that they do not.                           12:07:40
                                                                                  25                 Children -- like a little deer is born                 12:07:44


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                                 ID#: 1745
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 112 of 281 - Page

                                                                                                           Conducted on December 7, 2021               110

                                                                                  1    to walk, it gets up and walks almost as soon as                       12:07:45
                                                                                  2    it's born.     Little children have been learning the                 12:07:48
                                                                                  3    language of their mothers in the womb.            They've             12:07:51
                                                                                  4    learned the sound patterns, the prosody.             And they         12:07:54
                                                                                  5    are learning the sound patterns of their native --                    12:07:57
                                                                                  6    their maternal -- not because it's their birth                        12:08:00
                                                                                  7    mother, but the language that's spoken around them                    12:08:03
                                                                                  8    all the time as they develop and mature till about                    12:08:05
                                                                                  9    nine months to a year.                                                12:08:07
                                                                                  10                In two months they start speaking and                    12:08:09
                                                                                  11   they make all kinds of errors that are things that                    12:08:11
                                                                                  12   nobody around them would ever say.           For example,             12:08:13
                                                                                  13   they'll over-generalize regular verb tense, past                      12:08:15
                                                                                  14   tense.                                                                12:08:20
                                                                                  15                So instead of saying "went" they'll say                  12:08:20
                                                                                  16   "go'd."   Anybody who has a child and listens hard                    12:08:20
                                                                                  17   enough will see that at a certain point an                            12:08:24
                                                                                  18   ordinary, average, normal child developing will                       12:08:24
                                                                                  19   over-generalize the grammatical rules that they're                    12:08:24
                                                                                  20   learning and the language that they're studying                       12:08:24
                                                                                  21   around them.     So children are born to absorb and                   12:08:24
                                                                                  22   learn a language.     It's a fascinating thing and                    12:08:24
                                                                                  23   that's one of the things that modern linguistics                      12:08:40
                                                                                  24   as a science studies.                                                 12:08:43
                                                                                  25                Therefore, when we study the plain                       12:08:45


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                                 ID#: 1746
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 113 of 281 - Page

                                                                                                           Conducted on December 7, 2021             111

                                                                                  1    meaning, we study the meaning as ordinary speakers                  12:08:47
                                                                                  2    learn it from each other and use it with each                       12:08:52
                                                                                  3    other, not some idealized grammar, or some                          12:08:54
                                                                                  4    idealized language.                                                 12:08:57
                                                                                  5          Q    So by the time one is no longer a child                  12:08:59
                                                                                  6    but a adult --                                                      12:09:02
                                                                                  7          A    Right.                                                   12:09:03
                                                                                  8          Q    -- and fits into the category of                         12:09:03
                                                                                  9    reasonable reader --                                                12:09:05
                                                                                  10         A    Okay.                                                    12:09:06
                                                                                  11         Q    That you've said before.           At that point         12:09:07
                                                                                  12   plain meaning of words is a matter of everyday                      12:09:10
                                                                                  13   common experience, correct?                                         12:09:12
                                                                                  14         A    Correct.     You don't think about it.                   12:09:14
                                                                                  15         Q    A matter of common-sense, so to speak?                   12:09:19
                                                                                  16         A    Common-sense is not the way I would use                  12:09:22
                                                                                  17   it, but it is a matter of linguistics competence,                   12:09:24
                                                                                  18   and everyone, even people of relatively low                         12:09:28
                                                                                  19   intelligence, as long as they are not -- they                       12:09:30
                                                                                  20   don't have a defective mind, brain, have                            12:09:32
                                                                                  21   linguistic competence.                                              12:09:43
                                                                                  22         Q    You've consulted respected dictionaries                  12:09:45
                                                                                  23   of modern English, you say, and my question for                     12:09:46
                                                                                  24   you, and we went through the three listed in your                   12:09:48
                                                                                  25   report, do you recall that?                                         12:09:53


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                                 ID#: 1747
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 114 of 281 - Page

                                                                                                              Conducted on December 7, 2021        112

                                                                                  1             A       My question what?                                12:09:54
                                                                                  2             Q       I'm sorry.   That was a bad question.            12:09:55
                                                                                  3    You cite three dictionaries in your report,                       12:09:56
                                                                                  4    correct?                                                          12:09:58
                                                                                  5             A       Correct.                                         12:09:59
                                                                                  6             Q       And my question to you is: Did anyone            12:09:59
                                                                                  7    provide those dictionaries to you?                                12:10:03
                                                                                  8             A       I keep them on my shelf.                         12:10:06
                                                                                  9                     Well, actually, the Oxford English               12:10:09
                                                                                  10   Dictionary I get on line -- I have it on my shelf,                12:10:10
                                                                                  11   but it's a lot easier and the print's a lot bigger                12:10:12
                                                                                  12   if I read it on line.         So, yes, that's why I               12:10:14
                                                                                  13   access the online version.           Because it's just            12:10:17
                                                                                  14   easier than taking the book off my shelf.                         12:10:19
                                                                                  15            Q       And they are publicly available so it's          12:10:21
                                                                                  16   easy --                                                           12:10:23
                                                                                  17                        -- (overspeaking) --                         12:10:23
                                                                                  18            A       Anybody can --                                   12:10:24
                                                                                  19            Q       -- I've got to finish the question,              12:10:25
                                                                                  20   sorry.        I know it's -- as a linguist you might              12:10:26
                                                                                  21   appreciate it is common for people to talk over                   12:10:30
                                                                                  22   each other, but in this world it is very                          12:10:33
                                                                                  23   challenging for the Court Reporter when we do                     12:10:36
                                                                                  24   that.        So I'm not trying to be rude but I have to           12:10:38
                                                                                  25   cut you off.                                                      12:10:41


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                                 ID#: 1748
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 115 of 281 - Page

                                                                                                          Conducted on December 7, 2021           113

                                                                                  1               So those dictionaries you consulted are               12:10:42
                                                                                  2    publicly available, correct?                                     12:10:49
                                                                                  3          A    Correct.                                              12:10:50
                                                                                  4          Q    And it's easy for anyone like myself or               12:10:51
                                                                                  5    counsel in this room or the judge in this case, to               12:10:56
                                                                                  6    obtain those dictionaries, correct?                              12:10:58
                                                                                  7          A    Correct.                                              12:10:59
                                                                                  8          Q    You don't need a special library                      12:11:03
                                                                                  9    linguist card to check 'em out.                                  12:11:07
                                                                                  10         A    No.                                                   12:11:10
                                                                                  11         Q    And the average person, adult person,                 12:11:11
                                                                                  12   is capable of understanding dictionary                           12:11:16
                                                                                  13   definitions, correct?                                            12:11:21
                                                                                  14         A    I think so.                                           12:11:22
                                                                                  15         Q    You looked up certain words, you say,                 12:11:23
                                                                                  16   and I quote "passages of interest."          How did you         12:11:25
                                                                                  17   determine which words to look up?                                12:11:28
                                                                                  18         A    I looked up the ones that I thought                   12:11:35
                                                                                  19   most bore on why these passages were possibly                    12:11:37
                                                                                  20   contentious, like "block", and some of the others                12:11:40
                                                                                  21   that I looked up.     I thought that most -- I have              12:11:43
                                                                                  22   to look at the passage, most of the passage was                  12:11:45
                                                                                  23   just very simple, you know, English, I was                       12:11:48
                                                                                  24   thinking -- I mean, everybody knows what Phillips                12:11:52
                                                                                  25   says in these things -- so, I was thinking at that               12:11:54


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                                 ID#: 1749
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 116 of 281 - Page

                                                                                                             Conducted on December 7, 2021        114

                                                                                  1    time, I started going that way and "that guy in                  12:11:57
                                                                                  2    the hat," those not contentious, there's nothing                 12:12:01
                                                                                  3    really to look up, "that guy in the hat"                         12:12:03
                                                                                  4    presumably because he's talking about the                        12:12:04
                                                                                  5    interaction with Sandmann.          He's talking about           12:12:05
                                                                                  6    Sandmann.     And "impasse." Now, there, were they at            12:12:09
                                                                                  7    an impasse?     "Blocked my way," "wouldn't let me               12:12:14
                                                                                  8    retreat," those are the things that I thought                    12:12:17
                                                                                  9    might be at issue about whether Phillips correctly               12:12:18
                                                                                  10   represented the situation, so those are the words                12:12:22
                                                                                  11   that I looked up to make sure that I had what I                  12:12:25
                                                                                  12   take to be objective support for the construal                   12:12:29
                                                                                  13   that I made of the meanings of these expressions.                12:12:39
                                                                                  14         Q       Okay, and we talked earlier about                  12:12:41
                                                                                  15   lexicography being the description of plain                      12:12:44
                                                                                  16   meanings of expressions as (indiscernible) native                12:12:50
                                                                                  17   speakers, that's how you define it, correct?                     12:12:52
                                                                                  18         A       Yes.                                               12:12:58
                                                                                  19         Q       And you said a second ago that doesn't             12:12:58
                                                                                  20   prescribe --                                                     12:13:01
                                                                                  21         A       Correct.                                           12:13:01
                                                                                  22         Q       -- what the meaning should be?                     12:13:01
                                                                                  23         A       Yes.                                               12:13:02
                                                                                  24         Q       So then I take it it's fair to say that            12:13:08
                                                                                  25   there is not only one plain meaning of any                       12:13:10


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                                 ID#: 1750
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 117 of 281 - Page

                                                                                                                Conducted on December 7, 2021                115

                                                                                  1    particular word to native speakers, correct?                                12:13:12
                                                                                  2            A       I will hedge on that question.                May I         12:13:16
                                                                                  3    explain?                                                                    12:13:19
                                                                                  4            Q       Sure.                                                       12:13:19
                                                                                  5            A       Many expressions have multiple                              12:13:20
                                                                                  6    meanings, I have shown you some in the case in                              12:13:23
                                                                                  7    hand.       But it is not Humpty Dumpty.           Individuals              12:13:24
                                                                                  8    don't get to decide what a word means.                                      12:13:28
                                                                                  9                    The word has a meaning in convention                        12:13:31
                                                                                  10   with its use among the group of native speakers                             12:13:36
                                                                                  11   and that's what a lexicographer tries to capture                            12:13:39
                                                                                  12   by looking at not one, but many, many sources of                            12:13:41
                                                                                  13   competent native speakers to decide the range of                            12:13:44
                                                                                  14   meanings that are attested and attributed to                                12:13:49
                                                                                  15   native speakers by other native speakers.                     Okay?         12:13:55
                                                                                  16                   So it's not that a given person gets to                     12:13:58
                                                                                  17   decide what "block" means or "impasse"; it is                               12:14:01
                                                                                  18   something that we as a community mean and that                              12:14:03
                                                                                  19   this is objectively observed by lexicographers and                          12:14:08
                                                                                  20   others who study the use of language and its                                12:14:13
                                                                                  21   meaning.                                                                    12:14:16
                                                                                  22           Q       And just looking at general dictionary                      12:14:17
                                                                                  23   definitions, you need context to determine which                            12:14:19
                                                                                  24   definition is most suitable, correct?                                       12:14:21
                                                                                  25           A       Typically, correct.                                         12:14:23


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                                 ID#: 1751
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 118 of 281 - Page

                                                                                                             Conducted on December 7, 2021        116

                                                                                  1          Q      And that's important, for example, you              12:14:25
                                                                                  2    know, with idioms you might say, "It's raining                   12:14:28
                                                                                  3    cats and dog," it's not literally raining cats and               12:14:34
                                                                                  4    dogs, right?    That's just an example of something              12:14:38
                                                                                  5    where --                                                         12:14:41
                                                                                  6                 -- (overspeaking) --                                12:14:41
                                                                                  7          A      Of course.      Well, that's ...                    12:14:42
                                                                                  8          Q      You also state that you looked at --                12:14:43
                                                                                  9    well, strike that.       We talked earlier about                 12:14:52
                                                                                  10   lexicography and compiling dictionary definitions                12:14:55
                                                                                  11   and that essentially means collecting different                  12:14:57
                                                                                  12   possible definitions of a given word, correct?                   12:15:01
                                                                                  13         A      Not definitions, uses.                              12:15:04
                                                                                  14         Q      Uses.    Now you state --                           12:15:06
                                                                                  15         A      May I say something about a definition?             12:15:15
                                                                                  16   A definition is a characterization of a meaning.                 12:15:18
                                                                                  17   It is a paraphrase.       A good definition is an art            12:15:21
                                                                                  18   to defining.    And the defined term has to fit in               12:15:24
                                                                                  19   the same syntactic slot, as the term being                       12:15:27
                                                                                  20   defined.    It's the verb -- you've given any type               12:15:31
                                                                                  21   of verb form as a definition.           It is not a              12:15:34
                                                                                  22   definition that says what it should be mean, it is               12:15:36
                                                                                  23   a characterization of one usage, one way people                  12:15:39
                                                                                  24   use it, one meaning it has in current plain                      12:15:41
                                                                                  25   language.                                                        12:15:45


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                                 ID#: 1752
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 119 of 281 - Page

                                                                                                           Conducted on December 7, 2021        117

                                                                                  1          Q    Okay.    And now on page -- let's                   12:15:45
                                                                                  2    continue on then.     Page 8 you talked about                  12:15:48
                                                                                  3    syntactic structure and we talked about that at                12:15:52
                                                                                  4    the beginning of the morning, right?                           12:15:55
                                                                                  5          A    Correct.                                            12:15:57
                                                                                  6          Q    And you say you also considered                     12:16:01
                                                                                  7    syntactic structure?                                           12:16:02
                                                                                  8          A    Yes.                                                12:16:03
                                                                                  9          Q    How does syntactic structure matter to              12:16:09
                                                                                  10   truth conditions?                                              12:16:13
                                                                                  11         A    May I give you an example from one of               12:16:14
                                                                                  12   the passages?                                                  12:16:17
                                                                                  13         Q    Sure.                                               12:16:18
                                                                                  14         A    In the first passage, the one in                    12:16:18
                                                                                  15   question 1 at the bottom of page 1, Mr. Phillips               12:16:19
                                                                                  16   is heard as saying, "He" -- Sandmann -- "just                  12:16:21
                                                                                  17   blocked my way and wouldn't allow me to retreat."              12:16:26
                                                                                  18   Now, as you pointed out "blocked" is ambiguous or              12:16:27
                                                                                  19   it has not -- well, you'd say it was ambiguous.                12:16:33
                                                                                  20   Anyway, it has some very -- two or three closely               12:16:36
                                                                                  21   related senses that one might -- that one might                12:16:40
                                                                                  22   take to relevant to a circumstance like this.                  12:16:44
                                                                                  23              One of them is a more passive sense so              12:16:45
                                                                                  24   you can say an inanimate object blocked your way               12:16:48
                                                                                  25   like the construction, you know -- the crane                   12:16:52


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                                 ID#: 1753
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 120 of 281 - Page

                                                                                                         Conducted on December 7, 2021            118

                                                                                  1    blocked my way, right?    Or the crane, you know --              12:16:57
                                                                                  2    was in the way, in effect, without the crane --                  12:16:58
                                                                                  3    without attributing any intention to the crane,                  12:17:00
                                                                                  4    correct?   But in this particular passage there's                12:17:04
                                                                                  5    another active sense of block, which is moved to                 12:17:07
                                                                                  6    block or intended to block my way, okay?           And I         12:17:10
                                                                                  7    thought that in this context it was more                         12:17:13
                                                                                  8    probable -- likely, that Phillips intended or                    12:17:16
                                                                                  9    would expect his audience to understand him as                   12:17:18
                                                                                  10   meaning that Sandmann actively blocked his way.                  12:17:20
                                                                                  11               If you look at the second conjunct, it               12:17:24
                                                                                  12   said "Wouldn't allow me to retreat," which does                  12:17:27
                                                                                  13   attribute intention to refuse to let Phillips do                 12:17:31
                                                                                  14   what he wanted to do.    So I took the first                     12:17:39
                                                                                  15   conjunct, the sense of block to have the active                  12:17:41
                                                                                  16   sense of intending to be in the way.                             12:17:44
                                                                                  17               There is an example where syntax in                  12:17:47
                                                                                  18   this particular case, if he said, "He was blocking               12:17:50
                                                                                  19   way," that is not as clear, when you have an                     12:17:54
                                                                                  20   agentive "block my way," that seems more likely                  12:17:58
                                                                                  21   that it would be agentive, and there is also                     12:18:03
                                                                                  22   passive "block" where there is not even an agent.                12:18:05
                                                                                  23   So in this particular case, the fact that it was                 12:18:06
                                                                                  24   transitive use of "block" and that it was                        12:18:09
                                                                                  25   conjoined with another sentence where there was an               12:18:12


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                                 ID#: 1754
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 121 of 281 - Page

                                                                                                            Conducted on December 7, 2021        119

                                                                                  1    attribution of intent to Mr. Phillips seemed to                 12:18:15
                                                                                  2    disambiguate which sense of "block" Phillips would              12:18:20
                                                                                  3    have expected his native speaker interlocutor to                12:18:23
                                                                                  4    understand him to mean.                                         12:18:29
                                                                                  5          Q     Okay.    At page 8 at the bottom you                12:18:34
                                                                                  6    conclude that you used these resources and                      12:18:37
                                                                                  7    techniques to determine the truth conditions of                 12:18:46
                                                                                  8    the sentences which you took to be crucial in                   12:18:53
                                                                                  9    these passages; is that right?                                  12:18:55
                                                                                  10         A     Correct.                                            12:18:58
                                                                                  11         Q     And by "resources" you mean the                     12:18:59
                                                                                  12   dictionaries, correct?                                          12:19:01
                                                                                  13         A     The dictionaries and my knowledge of                12:19:01
                                                                                  14   grammar.   I didn't refer to grammars here but if               12:19:06
                                                                                  15   you wanted me to I could, and my knowledge of how               12:19:09
                                                                                  16   context influences interpretation which is --                   12:19:11
                                                                                  17   again, I could give you long bibliographies, but I              12:19:15
                                                                                  18   refrained from doing that.         They are in the              12:19:20
                                                                                  19   report.                                                         12:19:22
                                                                                  20         Q     And you also consulted the                          12:19:23
                                                                                  21   dictionaries, correct?                                          12:19:24
                                                                                  22         A     I did consult the dictionaries, yes.                12:19:24
                                                                                  23         Q     And then you say, continuing on page 8,             12:19:33
                                                                                  24   that you "considered the video evidence provided                12:19:36
                                                                                  25   to me to understand the situation in which the                  12:19:37


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                                 ID#: 1755
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 122 of 281 - Page

                                                                                                          Conducted on December 7, 2021            120

                                                                                  1    confrontation occurred", correct?                                 12:19:40
                                                                                  2          A    Correct.                                               12:19:45
                                                                                  3          Q    And so, essentially, you reviewed the                  12:19:47
                                                                                  4    videos and then determined whether, after having                  12:19:50
                                                                                  5    reviewed the videos, the statements were false                    12:19:55
                                                                                  6    based on what you observed in the videos, correct?                12:19:57
                                                                                  7          A    That's correct.                                        12:19:58
                                                                                  8               MS. SPEARS:     Can we go off on the                   12:19:59
                                                                                  9    record but stay seated for a second.          I just want         12:20:17
                                                                                  10   to consult and decide on the lunch break timing                   12:20:18
                                                                                  11   here for everyone.    Are you happy for me to do a                12:20:18
                                                                                  12   little bit more or we can break now?                              12:20:18
                                                                                  13              THE VIDEOGRAPHER:       We're going off the            12:20:23
                                                                                  14   record, the time is 12:20 p.m.                                    12:20:24
                                                                                  15      (Recess taken from 12:20 p.m. to 1:20 p.m.)                    12:20:26
                                                                                  16              THE VIDEOGRAPHER:       Going back on the              01:27:31
                                                                                  17   record, the time is 1:27 p.m.                                     01:27:32
                                                                                  18   BY MS. SPEARS:                                                    01:27:35
                                                                                  19         Q    Okay, thank you.       Let's look at your              01:27:36
                                                                                  20   report -- I'm sorry, can you wait one second.                     01:27:42
                                                                                  21              All right.     We're back on the record                01:27:55
                                                                                  22   after our lunch break.                                            01:27:56
                                                                                  23              Let's look at your report on page 9,                   01:27:57
                                                                                  24   please.                                                           01:27:59
                                                                                  25              Okay, page 9, section 5 you titled                     01:28:04


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                                 ID#: 1756
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 123 of 281 - Page

                                                                                                           Conducted on December 7, 2021        121

                                                                                  1    "Facts"?                                                       01:28:07
                                                                                  2           A   Yes.                                                01:28:10
                                                                                  3           Q   And you write: "Here are the facts                  01:28:10
                                                                                  4    about the January 18, 2019 incident as I'm aware               01:28:11
                                                                                  5    of them from materials provided to me principally              01:28:15
                                                                                  6    in the videos listed in section 4 above."                      01:28:17
                                                                                  7               And my first question for you is, you               01:28:21
                                                                                  8    say "as I am aware of them."        Did you draft this         01:28:26
                                                                                  9    "Facts" section?                                               01:28:29
                                                                                  10          A   Yes.                                                01:28:30
                                                                                  11          Q   So no portions of it were provided to               01:28:31
                                                                                  12   you?                                                           01:28:33
                                                                                  13          A   Nothing.                                            01:28:34
                                                                                  14          Q   And describe just very briefly your                 01:28:35
                                                                                  15   process for drafting the "facts" section.                      01:28:37
                                                                                  16          A   Well, I had already conducted an                    01:28:41
                                                                                  17   analysis and so I decided to present it first in               01:28:42
                                                                                  18   terms of the facts as I observed them, then the                01:28:45
                                                                                  19   relevant law and the linguistic analysis and then              01:28:50
                                                                                  20   say, given the facts, whether the passages I was               01:28:58
                                                                                  21   asked to comment on were true.         That's it.              01:29:01
                                                                                  22          Q   And --                                              01:29:07
                                                                                  23          A   So in reporting what I saw on the                   01:29:09
                                                                                  24   videos, of course, I focused on the interaction                01:29:10
                                                                                  25   between Mr. Phillips and Mr. Sandmann particularly             01:29:13


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                                 ID#: 1757
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 124 of 281 - Page

                                                                                                           Conducted on December 7, 2021               122

                                                                                  1    but other members of the group and the                                01:29:17
                                                                                  2    circumstances immediately around them, as those                       01:29:19
                                                                                  3    might bear on the truth of the passages.             I didn't         01:29:21
                                                                                  4    talk about birds flying overhead or something,                        01:29:25
                                                                                  5    yeah.                                                                 01:29:27
                                                                                  6            Q   Right.    And you did that by reviewing                   01:29:28
                                                                                  7    the videos 1 to 18?                                                   01:29:30
                                                                                  8            A   Yes.                                                      01:29:32
                                                                                  9            Q   On page 9 here you say:                                   01:29:32
                                                                                  10               "Three different groups interacted in                     01:29:40
                                                                                  11   the event in question as well as various                              01:29:41
                                                                                  12   bystanders who seemed to be unrelated to any of                       01:29:43
                                                                                  13   these groups."                                                        01:29:45
                                                                                  14               Which bystanders are you referring to?                    01:29:47
                                                                                  15           A   I can't tell in all the videos who is a                   01:29:50
                                                                                  16   bystander and who is a Covington boy and who is a                     01:29:53
                                                                                  17   member of the Native American group.           Sometimes it           01:29:56
                                                                                  18   is evident from the way they behave or are                            01:29:58
                                                                                  19   dressed, other times it is not.                                       01:30:00
                                                                                  20               The reason I said "bystanders" is that                    01:30:03
                                                                                  21   I was aware in reviewing the earlier tape, a very                     01:30:04
                                                                                  22   long tape made by the videographer for the Black                      01:30:07
                                                                                  23   Hebrew Israelites, that there were a number of --                     01:30:12
                                                                                  24   just ordinary people, I presume many of them                          01:30:14
                                                                                  25   possibly tourists, I don't know who they were, in                     01:30:16


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                                 ID#: 1758
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 125 of 281 - Page

                                                                                                         Conducted on December 7, 2021        123

                                                                                  1    the area who were interacting at least with that             01:30:18
                                                                                  2    particular group, and might have been hanging                01:30:21
                                                                                  3    around as, you know, during the interaction                  01:30:23
                                                                                  4    between Phillips and Sandmann.                               01:30:25
                                                                                  5                So I can't tell, especially far -- to            01:30:26
                                                                                  6    the left and back of Phillips, you know, down on             01:30:29
                                                                                  7    the flat part, I'm not really sure who was a                 01:30:33
                                                                                  8    Covington boy and who was not.                               01:30:35
                                                                                  9          Q     Mm-hmm.   And you note in here that              01:30:38
                                                                                  10   there are also stray passersby of several races              01:30:41
                                                                                  11   and apparent ethnic backgrounds?                             01:30:45
                                                                                  12         A     That was again based on, partly on the           01:30:47
                                                                                  13   observation of the tape, the long tape with the              01:30:50
                                                                                  14   Black Hebrew Israelites.     They interacted with            01:30:53
                                                                                  15   many different kinds of people.                              01:30:55
                                                                                  16         Q     Why did you conclude that they seemed            01:30:56
                                                                                  17   to be unrelated to any of the three groups you               01:30:58
                                                                                  18   refer to:   The Covington students, the Native               01:31:00
                                                                                  19   Americans or the --                                          01:31:02
                                                                                  20                  -- (overspeaking) --                          01:31:03
                                                                                  21         A     Well, for example, there was a group             01:31:03
                                                                                  22   that stood and exchanged heckling with the Black             01:31:05
                                                                                  23   Hebrew Israelites for quite some time and the                01:31:10
                                                                                  24   people in them, I think there was a man and some             01:31:15
                                                                                  25   women, again, I haven't reviewed those details               01:31:18


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                                 ID#: 1759
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 126 of 281 - Page

                                                                                                           Conducted on December 7, 2021        124

                                                                                  1    before this deposition, who were African American,             01:31:21
                                                                                  2    quite obviously, and they were not of a mind with              01:31:24
                                                                                  3    the views being promoted by the Black Hebrew                   01:31:28
                                                                                  4    Israelites and there was a lot of exchange between             01:31:33
                                                                                  5    those passersby out there and the Black Hebrew                 01:31:37
                                                                                  6    Israelites and the -- I'm just aware that there                01:31:40
                                                                                  7    were different kinds of people interacting with                01:31:43
                                                                                  8    them in that way so I presume some of the people               01:31:46
                                                                                  9    at the -- during the exchange between Phillips and             01:31:48
                                                                                  10   Sandmann might have been stray passersby.                      01:31:51
                                                                                  11         Q    And that's an assumption that you                   01:31:55
                                                                                  12   made --                                                        01:31:57
                                                                                  13         A    -- (overspeaking) --                                01:31:58
                                                                                  14         Q    You have to wait until I am done.                   01:31:58
                                                                                  15         A    Sorry.                                              01:32:00
                                                                                  16         Q    That's an assumption you made based on              01:32:00
                                                                                  17   your personal review of the videos, correct?                   01:32:02
                                                                                  18         A    Based on my review of the video, yes.               01:32:04
                                                                                  19         Q    Okay.    And you note: races and apparent           01:32:06
                                                                                  20   ethnic backgrounds.     How can you tell from the              01:32:10
                                                                                  21   video what someone's ethnic background is?                     01:32:12
                                                                                  22         A    I said apparent ethnic backgrounds                  01:32:16
                                                                                  23   because there were a number of people dressed in               01:32:18
                                                                                  24   such a way as to suggest that they identified with             01:32:20
                                                                                  25   the Native American that was protesting, so I                  01:32:23


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                                 ID#: 1760
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 127 of 281 - Page

                                                                                                             Conducted on December 7, 2021           125

                                                                                  1    assumed sort some of them might have been part                      01:32:24
                                                                                  2    Native Americans.                                                   01:32:28
                                                                                  3             Q      But you don't know.                                 01:32:30
                                                                                  4             A      I don't know.                                       01:32:31
                                                                                  5             Q      And then on page 9 in the first bullet              01:32:32
                                                                                  6    point you write that the Black Hebrew Israelites                    01:32:34
                                                                                  7    were there to, quote, "preach a religious and                       01:32:35
                                                                                  8    political message."        How did you determine their              01:32:38
                                                                                  9    purpose in being there?                                             01:32:40
                                                                                  10            A      That was pretty obvious.        They had a          01:32:44
                                                                                  11   loudspeaker and a videographer.            They were making         01:32:48
                                                                                  12   a point.       Think wanted people to hear their views.             01:32:51
                                                                                  13   A kind of soap box.                                                 01:32:54
                                                                                  14            Q      And you say in your report here that --             01:32:55
                                                                                  15   you say, and I quote, "There may have been five or                  01:32:56
                                                                                  16   six of them standing together, perhaps others                       01:32:58
                                                                                  17   circulating in the crowd in front of the Lincoln                    01:33:01
                                                                                  18   Memorial."       So you couldn't say for sure how many              01:33:03
                                                                                  19   Black Hebrew Israelites were there based on the                     01:33:07
                                                                                  20   video; right?                                                       01:33:08
                                                                                  21            A      Correct.                                            01:33:11
                                                                                  22            Q      And you say the Black Hebrew Israelites             01:33:12
                                                                                  23   used, quote, "incendiary language to insult or                      01:33:13
                                                                                  24   degrade those that they engaged with," close                        01:33:16
                                                                                  25   quote.       What incendiary language were you                      01:33:19


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                                 ID#: 1761
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 128 of 281 - Page

                                                                                                          Conducted on December 7, 2021           126

                                                                                  1    referring to?                                                    01:33:22
                                                                                  2          A    I don't want to mention some of the                   01:33:22
                                                                                  3    names that they called the African Americans they                01:33:24
                                                                                  4    interacted with -- I beg pardon.         You can look at         01:33:25
                                                                                  5    the videos if you want to see.        But they called            01:33:28
                                                                                  6    the boys from Covington "crackers" repeatedly, and               01:33:30
                                                                                  7    they also engaged in an insulting exchange with                  01:33:34
                                                                                  8    the Native Americans, but I don't remember the                   01:33:36
                                                                                  9    character of the exchange.       As I said, I only               01:33:40
                                                                                  10   watched that video once and it was back in the end               01:33:42
                                                                                  11   of October/beginning of November.                                01:33:44
                                                                                  12              So I ignored that part in my subsequent               01:33:46
                                                                                  13   reviews because it didn't bear on the direct                     01:33:48
                                                                                  14   exchange between Phillips and Sandmann.                          01:33:50
                                                                                  15         Q    And how did you know that it was the                  01:33:53
                                                                                  16   Black Hebrew Israelites' intent to insult or                     01:33:55
                                                                                  17   degrade people?                                                  01:33:57
                                                                                  18         A    They used insulting, degrading terms.                 01:33:59
                                                                                  19   There were slurs, by the way.                                    01:34:01
                                                                                  20         Q    And how does that square with your                    01:34:03
                                                                                  21   statement that they were there to preach a                       01:34:05
                                                                                  22   religious and political message?                                 01:34:07
                                                                                  23              MR. McMURTRY:      Objection.                         01:34:09
                                                                                  24   BY MS. SPEARS:                                                   01:34:10
                                                                                  25         Q    Is that they were they doing both?                    01:34:10


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                                 ID#: 1762
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 129 of 281 - Page

                                                                                                           Conducted on December 7, 2021        127

                                                                                  1           A    Sure, why not?      Some people do.                01:34:12
                                                                                  2           Q    The second bullet of page 9 you say: "A            01:34:13
                                                                                  3    large group of people who, according to the                    01:34:18
                                                                                  4    articles that I have read about the event cited in             01:34:21
                                                                                  5    Section 4 had come to DC for the Indigenous                    01:34:23
                                                                                  6    Peoples March."                                                01:34:26
                                                                                  7           A    Yes.                                               01:34:28
                                                                                  8           Q    Which articles did you refer to                    01:34:28
                                                                                  9    specifically for that?                                         01:34:31
                                                                                  10          A    I'm sorry, I'd have to review the                  01:34:32
                                                                                  11   article to tell you.                                           01:34:33
                                                                                  12          Q    Sitting here today, you can't tell me?             01:34:34
                                                                                  13          A    I don't remember which piece of data I             01:34:37
                                                                                  14   got from which article, no.                                    01:34:39
                                                                                  15          Q    You say, quote, reading along here:                01:34:40
                                                                                  16               "Mr. Phillips was a member of this                 01:34:43
                                                                                  17   group as it seems at least one of those who made               01:34:45
                                                                                  18   the videos of the interaction with the boys from               01:34:48
                                                                                  19   Covington Catholic school."                                    01:34:52
                                                                                  20               And I think you have brought with you              01:34:53
                                                                                  21   today a sheet that you said there were some typos              01:34:55
                                                                                  22   on.   Is this where there is a typo and it was                 01:34:58
                                                                                  23   meant to be "as was, it seems"?                                01:35:01
                                                                                  24          A    Yes, mm-hmm.                                       01:35:04
                                                                                  25          Q    So the sentence should read:                       01:35:05


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                                 ID#: 1763
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 130 of 281 - Page

                                                                                                          Conducted on December 7, 2021         128

                                                                                  1               "Mr. Phillips was a member of this                  01:35:06
                                                                                  2    group as was it seems at least one of those who                01:35:08
                                                                                  3    made the videos of the interaction with the boys               01:35:10
                                                                                  4    from Covington Catholic school."                               01:35:13
                                                                                  5          A    Correct.                                            01:35:16
                                                                                  6          Q    How did you determine that Mr. Phillips             01:35:16
                                                                                  7    was a member of this quote, unquote group.                     01:35:18
                                                                                  8          A    I believe he identified as someone who              01:35:19
                                                                                  9    had been there with that group, or was identified              01:35:22
                                                                                  10   as such by one of the articles that I read, those              01:35:25
                                                                                  11   news articles that are cited here as one of my                 01:35:27
                                                                                  12   sources.                                                       01:35:31
                                                                                  13         Q    Okay, and you're saying here that                   01:35:32
                                                                                  14   someone else "with the group" based on your                    01:35:37
                                                                                  15   review, you believe made videos of the interaction             01:35:40
                                                                                  16   but you're not saying Mr. Phillips made a video of             01:35:42
                                                                                  17   the interaction --                                             01:35:45
                                                                                  18         A    No.    No --                                        01:35:45
                                                                                  19         Q    -- that was the typo that was --                    01:35:46
                                                                                  20                    -- (overspeaking) --                          01:35:47
                                                                                  21         A    No, there's no typo.         Let me look at         01:35:48
                                                                                  22   the passage.                                                   01:35:49
                                                                                  23              MR. McMURTRY:      Just be sure to let her          01:35:51
                                                                                  24   finish, so it's clear.                                         01:35:52
                                                                                  25              THE WITNESS:      I beg your pardon.                01:35:53


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                                 ID#: 1764
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 131 of 281 - Page

                                                                                                            Conducted on December 7, 2021        129

                                                                                  1    BY MS. SPEARS:                                                  01:35:54
                                                                                  2          Q     Sure.     You are not saying that                   01:35:54
                                                                                  3    Mr. Phillips is making a video of the interaction?              01:35:55
                                                                                  4          A     No, no.                                             01:35:57
                                                                                  5          Q     In the next -- you say here:                        01:35:58
                                                                                  6                "These people sang, danced and chanted              01:35:59
                                                                                  7    to drums, sometimes forming a large circle as they              01:36:01
                                                                                  8    did so."                                                        01:36:04
                                                                                  9                How did you determine if they were                  01:36:06
                                                                                  10   singing, dancing and chanting?                                  01:36:08
                                                                                  11         A     In, again, the first video, I think,                01:36:10
                                                                                  12   the longest one which is from the -- made by the                01:36:13
                                                                                  13   videographer for the Black Hebrew Israelites,                   01:36:16
                                                                                  14   there is -- are a couple of short pieces -- not --              01:36:17
                                                                                  15   you can't really tell exactly where they are but                01:36:21
                                                                                  16   they are in the vicinity of these Native American               01:36:25
                                                                                  17   peoples singing and dancing in a large circle and               01:36:27
                                                                                  18   chanting.                                                       01:36:31
                                                                                  19         Q     And then you say:        "During the circle         01:36:31
                                                                                  20   dance there appeared to be at least as many people              01:36:34
                                                                                  21   participating as there were boys from Covington                 01:36:37
                                                                                  22   though I cannot give a reliable estimate of their               01:36:40
                                                                                  23   number."                                                        01:36:40
                                                                                  24               Why do you call it a circle dance?                  01:36:40
                                                                                  25         A     They were in a circle dancing.                      01:36:44


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                                 ID#: 1765
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 132 of 281 - Page

                                                                                                           Conducted on December 7, 2021        130

                                                                                  1          Q    Okay, are you aware that it's is                    01:36:46
                                                                                  2    actually called a round dance in Native --                     01:36:47
                                                                                  3          A    No, I'm not.                                        01:36:49
                                                                                  4                     -- (overspeaking) --                          01:36:49
                                                                                  5          Q    You've got to wait until I'm                        01:36:49
                                                                                  6    done talking. Are you aware that it is actually                01:36:49
                                                                                  7    called a round dance in Native American culture?               01:36:54
                                                                                  8          A    No, I'm not.                                        01:36:56
                                                                                  9          Q    Why can't you give a reliable estimate              01:36:57
                                                                                  10   of the number of participants in the Indigenous                01:37:00
                                                                                  11   Peoples March?                                                 01:37:04
                                                                                  12         A    Two reasons.       First of all, I never            01:37:06
                                                                                  13   stopped the frame to count the number of people I              01:37:09
                                                                                  14   could see in the frame who were doing the dance.               01:37:12
                                                                                  15   I just didn't think that was really material here.             01:37:15
                                                                                  16              And secondly, because the videographer              01:37:21
                                                                                  17   only captured part of that scene, so I'm really                01:37:23
                                                                                  18   not aware of how many people might have been                   01:37:25
                                                                                  19   standing outside the circle that were dancing.                 01:37:27
                                                                                  20         Q    Okay.    And would that be the same                 01:37:29
                                                                                  21   reason why you weren't able to tell how many of                01:37:32
                                                                                  22   Black Hebrew Israelites there are?                             01:37:33
                                                                                  23         A    Those are part of the reasons and part              01:37:35
                                                                                  24   of the reason is that I did observe that a couple              01:37:36
                                                                                  25   of people with that group were moving around,                  01:37:38


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                                 ID#: 1766
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 133 of 281 - Page

                                                                                                             Conducted on December 7, 2021           131

                                                                                  1    either doing videography or recording -- I don't                    01:37:40
                                                                                  2    know what all they were doing.           So I wasn't sure           01:37:47
                                                                                  3    that the group was all in one place.                                01:37:49
                                                                                  4             Q   And why did you think it was relevant                  01:37:51
                                                                                  5    to compare the number of people in the circle                       01:37:52
                                                                                  6    dance with the number of Covington students?                        01:37:54
                                                                                  7             A   It isn't particularly.          I just thought         01:37:57
                                                                                  8    I'd mention that.                                                   01:38:00
                                                                                  9             Q   Are you claiming that all of the people                01:38:01
                                                                                  10   in the circle dance later approached the students?                  01:38:02
                                                                                  11   Is that the relevance?                                              01:38:05
                                                                                  12            A   No, it seemed to be a much smaller                     01:38:06
                                                                                  13   group.                                                              01:38:09
                                                                                  14            Q   Okay.    And then you say:         "A group of         01:38:11
                                                                                  15   boys, possibly 30 to 40 of them from Covington                      01:38:13
                                                                                  16   ..."                                                                01:38:15
                                                                                  17                Why do you say "possibly"?                             01:38:16
                                                                                  18            A   Again, first of all, I never stopped to                01:38:17
                                                                                  19   count because I didn't think that was relevant to                   01:38:19
                                                                                  20   the case; and secondly because I didn't know --                     01:38:21
                                                                                  21   well, there are three reasons.           Secondly, I didn't         01:38:25
                                                                                  22   know which of the people that I saw in those                        01:38:27
                                                                                  23   frames were with the group versus just passersby                    01:38:30
                                                                                  24   who just happened to be dressed similar to the                      01:38:34
                                                                                  25   boys.                                                               01:38:36


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                                 ID#: 1767
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 134 of 281 - Page

                                                                                                           Conducted on December 7, 2021            132

                                                                                  1                  And third, I knew from what I read in                01:38:36
                                                                                  2    the deposition by Sandmann, that they had been                     01:38:38
                                                                                  3    told to gather there by a certain time, that they                  01:38:41
                                                                                  4    were going to be taken to buses, but I didn't know                 01:38:43
                                                                                  5    if all the boys were already there.           Some of them         01:38:46
                                                                                  6    might have been up in the Memorial or out looking                  01:38:49
                                                                                  7    at the reflecting pool, so I didn't know how many                  01:38:50
                                                                                  8    boys there were there.                                             01:38:54
                                                                                  9          Q       And wouldn't the best way to get an                  01:38:55
                                                                                  10   estimate be to count them in the videos?                           01:38:57
                                                                                  11         A       Again, I didn't think that was material              01:39:00
                                                                                  12   or worth the time and money.                                       01:39:01
                                                                                  13         Q       But it would be a good way to do it if               01:39:03
                                                                                  14   you wanted to go back and do it, right?                            01:39:06
                                                                                  15         A       If you wanted to, that would be a                    01:39:07
                                                                                  16   start, yes.                                                        01:39:09
                                                                                  17         Q       Is it your assertion that if somebody                01:39:16
                                                                                  18   did count the numbers that it would be at 30 to 50                 01:39:18
                                                                                  19   or could it be much larger than that?                              01:39:21
                                                                                  20         A       I really don't know.       I was trying to           01:39:23
                                                                                  21   indicate that I had a vague idea of the group                      01:39:25
                                                                                  22   sizes and I was only doing this to set the scene.                  01:39:28
                                                                                  23         Q       You state that it was: quote, "Not                   01:39:31
                                                                                  24   clear exactly where they" -- referring to the                      01:39:34
                                                                                  25   Native Americans -- "were in the early parts of                    01:39:38


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                                 ID#: 1768
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 135 of 281 - Page

                                                                                                          Conducted on December 7, 2021             133

                                                                                  1    the videos."                                                       01:39:40
                                                                                  2               Why, again, is that unclear from the                    01:39:41
                                                                                  3    videos?                                                            01:39:42
                                                                                  4          A    Because they were -- the video in which                 01:39:43
                                                                                  5    I saw the circle dance, which you call the round                   01:39:44
                                                                                  6    dance, was taken, I believe, by the videographer                   01:39:47
                                                                                  7    for the Black Hebrew Israelites.                                   01:39:50
                                                                                  8               There was no -- he didn't pan from the                  01:39:52
                                                                                  9    Black Hebrew Israelites across the scene to                        01:39:56
                                                                                  10   wherever it was that the Native Americans -- the                   01:39:58
                                                                                  11   indigenous people were dancing.         So all he did was          01:40:00
                                                                                  12   just -- I saw a shot of that group and part of --                  01:40:03
                                                                                  13   I didn't even see the entire circle, I don't                       01:40:08
                                                                                  14   think, as I recall.    And there was no context                    01:40:10
                                                                                  15   given that would permit me to say where they were                  01:40:13
                                                                                  16   vis-a-vis the Lincoln Memorial, the reflecting                     01:40:17
                                                                                  17   pond and the rest of the landscape there.                          01:40:20
                                                                                  18         Q    So continuing on page 9, the paragraph                  01:40:27
                                                                                  19   that starts "The Hebrew Israelites..."                             01:40:31
                                                                                  20         A    Yes.                                                    01:40:37
                                                                                  21         Q    It is the third paragraph, if you will.                 01:40:38
                                                                                  22   In the last sentence you say that:          "The boys were         01:40:39
                                                                                  23   about 30 to 40 feet from the Hebrew Israelites                     01:40:43
                                                                                  24   facing them."                                                      01:40:47
                                                                                  25              And then you state: "I cannot judge                     01:40:47


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                                 ID#: 1769
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 136 of 281 - Page

                                                                                                           Conducted on December 7, 2021           134

                                                                                  1    distances from the videos, so this is a very rough                01:40:50
                                                                                  2    impression."                                                      01:40:52
                                                                                  3               How did you reach that very rough                      01:40:54
                                                                                  4    impression, given that you can't judge distances                  01:40:56
                                                                                  5    from the videos?                                                  01:40:58
                                                                                  6          A    I just tried to think how big it was                   01:40:59
                                                                                  7    and it seemed to be bigger, at least twice as long                01:41:02
                                                                                  8    as my living room, but it was hard to tell because                01:41:07
                                                                                  9    of the angle at which the film was made.             So I         01:41:09
                                                                                  10   just guessed.   And I'm not very good at distances.               01:41:12
                                                                                  11         Q    You don't have expertise in that area?                 01:41:18
                                                                                  12         A    No, I do not.                                          01:41:20
                                                                                  13         Q    I take did you don't have specialized                  01:41:21
                                                                                  14   training in analyzing distances on videos, then?                  01:41:24
                                                                                  15         A    No, I do not.                                          01:41:27
                                                                                  16         Q    Do you have any training in                            01:41:35
                                                                                  17   videography?                                                      01:41:36
                                                                                  18         A    I believe I said I do not.                             01:41:37
                                                                                  19         Q    So viewing the videos themselves then                  01:41:43
                                                                                  20   is not based on special expertise you have; right?                01:41:45
                                                                                  21         A    That is correct.                                       01:41:47
                                                                                  22         Q    Let's look on page 9 again:            "At             01:41:50
                                                                                  23   various points as filmed by the Black Hebrew                      01:41:51
                                                                                  24   Israelites' cameraman..."                                         01:41:57
                                                                                  25              And you say: "I believe this is videoed                01:41:57


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                                 ID#: 1770
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 137 of 281 - Page

                                                                                                            Conducted on December 7, 2021        135

                                                                                  1    for Banyamyan video NS116." It's the sentence                   01:42:01
                                                                                  2    right above the sentence at the end there; do you               01:42:13
                                                                                  3    see that?                                                       01:42:15
                                                                                  4          A     Yes.                                                01:42:15
                                                                                  5          Q     Why did you state that you believed the             01:42:15
                                                                                  6    cameraman was in video 4, rather than stating so                01:42:18
                                                                                  7    affirmatively?                                                  01:42:23
                                                                                  8          A     I said that because I had watched the               01:42:24
                                                                                  9    whole video and the person who took it seemed to                01:42:28
                                                                                  10   be focusing on the Black Hebrew Israelites and I                01:42:31
                                                                                  11   believe that he was there at their behest -- or                 01:42:35
                                                                                  12   maybe he wasn't, he was somebody who was                        01:42:39
                                                                                  13   interested in that.      So he was the person who               01:42:40
                                                                                  14   was -- videotaping their interaction with what was              01:42:43
                                                                                  15   going on in that situation.                                     01:42:47
                                                                                  16         Q     Okay.    And are you referring then to              01:42:48
                                                                                  17   the person filming that video?                                  01:42:51
                                                                                  18         A     Yes.                                                01:42:55
                                                                                  19         Q     And on page 9 you refer to "racist                  01:42:56
                                                                                  20   slurs" again and racist and insulting language.                 01:43:00
                                                                                  21   Again, what language are you referring to?                      01:43:05
                                                                                  22         A     I would have to review the video                    01:43:08
                                                                                  23   carefully to remember exactly which slurs were                  01:43:10
                                                                                  24   used towards the African Americans at the time but              01:43:13
                                                                                  25   I believe the N word might have passed the lips of              01:43:15


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                                 ID#: 1771
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 138 of 281 - Page

                                                                                                           Conducted on December 7, 2021            136

                                                                                  1    some of these people and that's pretty racist and                  01:43:18
                                                                                  2    incendiary.                                                        01:43:21
                                                                                  3           Q      Any other words?                                     01:43:24
                                                                                  4           A      I don't remember.                                    01:43:25
                                                                                  5           Q      Did you ever hear anyone on the video                01:43:26
                                                                                  6    say anything racist back to the Black Hebrew                       01:43:28
                                                                                  7    Israelites?                                                        01:43:31
                                                                                  8           A      You know, I don't remember that                      01:43:31
                                                                                  9    actually.     I don't think so but maybe somebody                  01:43:33
                                                                                  10   did.   There was hostility going both ways.                        01:43:35
                                                                                  11          Q      You don't contend that there's nothing               01:43:39
                                                                                  12   audible in any of the videos where somebody said                   01:43:42
                                                                                  13   something racist back to them, back to the Black                   01:43:45
                                                                                  14   Hebrew Israelites?                                                 01:43:46
                                                                                  15          A      I'm not making that contention.            I         01:43:47
                                                                                  16   didn't -- (overspeaking) --                                        01:43:49
                                                                                  17          Q      What about insulting?       Did you hear             01:43:53
                                                                                  18   anyone say anything insulting to the Black Hebrew                  01:43:57
                                                                                  19   Israelites?                                                        01:43:59
                                                                                  20          A      I don't remember.                                    01:43:59
                                                                                  21          Q      Are you contending that there was                    01:44:00
                                                                                  22   nothing audible in any of the videos that was said                 01:44:01
                                                                                  23   that was insulting to the Black Hebrew Israelites?                 01:44:04
                                                                                  24          A      No, I'm not.                                         01:44:06
                                                                                  25          Q      You just can't recall, sitting here                  01:44:07


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                                 ID#: 1772
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 139 of 281 - Page

                                                                                                             Conducted on December 7, 2021        137

                                                                                  1    today?                                                           01:44:09
                                                                                  2             A    I'm telling you it didn't strike me and            01:44:09
                                                                                  3    I don't remember it.        I didn't think it was                01:44:11
                                                                                  4    material to the case so I did not review it.                     01:44:13
                                                                                  5             Q    Page 9, the last line continuing onto              01:44:20
                                                                                  6    page 10, it says: "Finally, one of the Covington                 01:44:25
                                                                                  7    boys raced down the steps in front of the school                 01:44:30
                                                                                  8    ... faced the boys, tore off his shirt and led                   01:44:32
                                                                                  9    what seemed to be a sports cheer ... in which the                01:44:35
                                                                                  10   boys enthusiastically took up, making a lot of                   01:44:40
                                                                                  11   noise, cheering, jumping up and down as if at a                  01:44:43
                                                                                  12   pep rally."                                                      01:44:47
                                                                                  13                 Do you see that?                                   01:44:51
                                                                                  14            A    Yes.                                               01:44:52
                                                                                  15            Q    You appear to make an analogy to a                 01:44:53
                                                                                  16   school sporting event here.          Why?                        01:44:55
                                                                                  17            A    It was my impression that what that boy            01:44:57
                                                                                  18   did might have been an actual pep rally cheer.                   01:45:00
                                                                                  19   The boys knew the cheer, the fellow who did it                   01:45:04
                                                                                  20   behaved as if he were kind of a cheer leader, so                 01:45:09
                                                                                  21   I had the impression that this was really                        01:45:13
                                                                                  22   something that they recognized immediately from                  01:45:14
                                                                                  23   sports rally.                                                    01:45:17
                                                                                  24            Q    And that's based on your personal                  01:45:17
                                                                                  25   experience at sports rallies.                                    01:45:19


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                                 ID#: 1773
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 140 of 281 - Page

                                                                                                             Conducted on December 7, 2021            138

                                                                                  1            A     I grew up in the midwest.          I saw a lot         01:45:21
                                                                                  2    of them.     Yes.                                                    01:45:24
                                                                                  3            Q     That's not based on your linguistic                    01:45:24
                                                                                  4    expertise?                                                           01:45:27
                                                                                  5            A     No, this is not based on my linguistic                 01:45:27
                                                                                  6    expertise?                                                           01:45:32
                                                                                  7            Q     Okay, don't cultural differences -- you                01:45:32
                                                                                  8    say you grew up in the midwest matter in how                         01:45:33
                                                                                  9    people might view something like this?                               01:45:36
                                                                                  10           A     Yes.                                                   01:45:38
                                                                                  11                 MR. McMURTRY:      Objection.                          01:45:39
                                                                                  12   BY MS. SPEARS:                                                       01:45:39
                                                                                  13           Q     Your answer is "yes"?                                  01:45:39
                                                                                  14           A     Yes, I said of course.                                 01:45:41
                                                                                  15                 THE COURT REPORTER:        Was there an                01:45:49
                                                                                  16   objection there?       I believe there was.                          01:45:49
                                                                                  17                 MR. McMURTRY:      Yes.                                01:45:49
                                                                                  18                 THE COURT REPORTER:        Thank you.                  01:45:49
                                                                                  19   BY MS. SPEARS:                                                       01:45:49
                                                                                  20           Q     And again, same thing, a pep rally is                  01:45:50
                                                                                  21   something you know about based on your own                           01:45:58
                                                                                  22   personal experience?                                                 01:45:59
                                                                                  23           A     Yes, I do not assume that others                       01:46:01
                                                                                  24   viewing the scene would have recognized it as                        01:46:04
                                                                                  25   such.                                                                01:46:06


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                                 ID#: 1774
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 141 of 281 - Page

                                                                                                           Conducted on December 7, 2021                  139

                                                                                  1          Q    You use the word in the next sentence                         01:46:07
                                                                                  2    "rowdy" spectators; why did you use the word                             01:46:07
                                                                                  3    "rowdy"?                                                                 01:46:11
                                                                                  4          A    Let me look at the sentence again.                            01:46:13
                                                                                  5               Yes, the boys were acting as if they                          01:46:13
                                                                                  6    were rowdy spectators in a sports encounter,                             01:46:15
                                                                                  7    because that's what it looked like to me.                And not         01:46:18
                                                                                  8    just on my basis of growing up in the midwest but                        01:46:20
                                                                                  9    on any television sporting event when they focus                         01:46:23
                                                                                  10   on a crowd, whether it is in Europe or the United                        01:46:25
                                                                                  11   States.                                                                  01:46:28
                                                                                  12         Q    You refer to this as an encounter                             01:46:29
                                                                                  13   between the boy's "team", you used the word, and                         01:46:33
                                                                                  14   the Black Hebrew Israelites?                                             01:46:37
                                                                                  15         A    I didn't say that's what it was.                I             01:46:38
                                                                                  16   said they acted as if they were rowdy spectators                         01:46:41
                                                                                  17   and it was their team versus the Black Hebrew                            01:46:44
                                                                                  18   Israelites, yes.                                                         01:46:47
                                                                                  19         Q    Do you think the boys had an "us versus                       01:46:48
                                                                                  20   them" mentality in that sense, watching it?                              01:46:52
                                                                                  21         A    I believe -- I can't attribute motives,                       01:46:54
                                                                                  22   again, I told you that's not my expertise, but                           01:46:56
                                                                                  23   usually sporting events are about an "us versus                          01:46:58
                                                                                  24   them" event.                                                             01:47:02
                                                                                  25         Q    And does it seem, watching the videos,                        01:47:03


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                                 ID#: 1775
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 142 of 281 - Page

                                                                                                           Conducted on December 7, 2021           140

                                                                                  1    that that's sort of the mentality that they had in                01:47:05
                                                                                  2    that moment?                                                      01:47:07
                                                                                  3           A      I had that impression, that it was like             01:47:08
                                                                                  4    they were acting like they were at a sports event,                01:47:09
                                                                                  5    yes.   This was their team and that was the other                 01:47:12
                                                                                  6    guy's team.                                                       01:47:14
                                                                                  7           Q      So an "us versus them" mentality?                   01:47:15
                                                                                  8           A      You want to put words in my mouth, I                01:47:17
                                                                                  9    really don't want to accept them, no.                             01:47:19
                                                                                  10          Q      That's -- but what you are saying is                01:47:22
                                                                                  11   that it seemed to you that's what was going on at                 01:47:24
                                                                                  12   the time?                                                         01:47:27
                                                                                  13          A      It seemed to me that they felt like                 01:47:28
                                                                                  14   they were on one team.      They were acting as if --             01:47:29
                                                                                  15   I don't know what they thought.          They were acting         01:47:33
                                                                                  16   as if they were -- they were rooting for their                    01:47:34
                                                                                  17   team, whatever that meant to them, and that they                  01:47:36
                                                                                  18   were doing this in response to what the Black                     01:47:39
                                                                                  19   Hebrew Israelites had been doing.                                 01:47:42
                                                                                  20          Q      And hence sort of a desire to root for              01:47:43
                                                                                  21   their team?                                                       01:47:48
                                                                                  22          A      That's what people do at sporting                   01:47:49
                                                                                  23   events, yes.                                                      01:47:53
                                                                                  24          Q      And that's what it looked like to you               01:47:53
                                                                                  25   they were doing?                                                  01:47:54


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                                 ID#: 1776
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 143 of 281 - Page

                                                                                                             Conducted on December 7, 2021        141

                                                                                  1           A      It looked to me like that, yes.                    01:47:55
                                                                                  2           Q      And as you said a moment ago, others               01:47:57
                                                                                  3    witnessing the boys' conduct might not have viewed               01:47:59
                                                                                  4    that behavior as akin to a sporting event, right?                01:48:02
                                                                                  5           A      Yes.                                               01:48:05
                                                                                  6           Q      And they wouldn't be wrong if they                 01:48:05
                                                                                  7    didn't; right?                                                   01:48:08
                                                                                  8           A      I am -- yes, I am not attributing                  01:48:09
                                                                                  9    any -- that the one way you view it as a sporting                01:48:11
                                                                                  10   event is the way you should view it or others                    01:48:15
                                                                                  11   should view it that way.         I was just trying to            01:48:19
                                                                                  12   describe the -- the behavior of the boys.                        01:48:21
                                                                                  13          Q      To characterize it from what you saw?              01:48:23
                                                                                  14          A      Yes, yes.                                          01:48:26
                                                                                  15          Q      Could a person watching a large group              01:48:27
                                                                                  16   of boys responding to the Black Hebrew Israelites                01:48:29
                                                                                  17   by yelling loudly and jumping up and down and                    01:48:32
                                                                                  18   grunting with clenched fists that are held up                    01:48:36
                                                                                  19   toward them potentially perceive that as                         01:48:40
                                                                                  20   expressing hostility towards the Black Hebrew                    01:48:43
                                                                                  21   Israelites?                                                      01:48:45
                                                                                  22                 MR. McMURTRY:      Objection, go ahead.            01:48:46
                                                                                  23                 THE WITNESS:      I imagine they might,            01:48:47
                                                                                  24   yes.                                                             01:48:48
                                                                                  25   BY MS. SPEARS:                                                   01:48:48


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                                 ID#: 1777
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 144 of 281 - Page

                                                                                                          Conducted on December 7, 2021         142

                                                                                  1           Q     Especially when it's a group of white             01:48:48
                                                                                  2    teenagers --                                                   01:48:51
                                                                                  3                 MR. McMURTRY:     Objection to the --             01:48:53
                                                                                  4    BY MS. SPEARS:                                                 01:48:54
                                                                                  5           Q     -- responding to five or six --                   01:48:54
                                                                                  6                 MR. McMURTRY:     Double objection.               01:48:55
                                                                                  7    Triple objection.                                              01:48:58
                                                                                  8                 MS. SPEARS:     You have to wait until I          01:48:59
                                                                                  9    am done with the question.                                     01:48:59
                                                                                  10                MR. McMURTRY:     (Inaudible) triple              01:48:59
                                                                                  11   objection (overspeaking).                                      01:48:59
                                                                                  12   BY MS. SPEARS:                                                 01:49:00
                                                                                  13          Q     Especially when there is a group of               01:49:00
                                                                                  14   large white teenagers responding to -- a large                 01:49:03
                                                                                  15   group of white teenagers responding to five or six             01:49:05
                                                                                  16   black men?                                                     01:49:09
                                                                                  17                MR. McMURTRY:     Triple objection, thank         01:49:10
                                                                                  18   you.                                                           01:49:11
                                                                                  19                THE WITNESS:     As I said earlier in my          01:49:12
                                                                                  20   comments, I recognize this as an interaction                   01:49:14
                                                                                  21   between three groups who had political interests               01:49:16
                                                                                  22   that might be viewed as at odds with each other.               01:49:19
                                                                                  23   So I think that it could be very possible in such              01:49:22
                                                                                  24   a circumstance that someone from one group might               01:49:24
                                                                                  25   interpret what other people were doing from                    01:49:27


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                                 ID#: 1778
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 145 of 281 - Page

                                                                                                           Conducted on December 7, 2021        143

                                                                                  1    another group in a way that the other group didn't             01:49:29
                                                                                  2    necessarily intend.                                            01:49:31
                                                                                  3    BY MS. SPEARS:                                                 01:49:33
                                                                                  4           Q    In a way that would be hostile                     01:49:33
                                                                                  5    potentially?                                                   01:49:36
                                                                                  6           A    I could appreciate that might be the               01:49:37
                                                                                  7    case in this case, yes.                                        01:49:39
                                                                                  8           Q    Do you think the students' behavior                01:49:42
                                                                                  9    might was appropriate?                                         01:49:45
                                                                                  10          A    That would be a matter for my personal             01:49:46
                                                                                  11   opinion and I didn't think that my expertise --                01:49:47
                                                                                  12   that I have anything to say that about that.                   01:49:49
                                                                                  13          Q    You describe Phillips on the next -- on            01:49:53
                                                                                  14   page 10, the next page, as chanting loudly in a                01:49:55
                                                                                  15   language other than English; right?                            01:50:01
                                                                                  16          A    Yes.                                               01:50:03
                                                                                  17          Q    Do you know what led Phillips to chant             01:50:04
                                                                                  18   loudly in a language other than English, as you                01:50:06
                                                                                  19   say?                                                           01:50:09
                                                                                  20          A    I can only surmise.        He had been             01:50:09
                                                                                  21   performing what I took to be a Native American                 01:50:13
                                                                                  22   drum chant and typically those -- those chants are             01:50:15
                                                                                  23   in the language of the tribe to which this is                  01:50:20
                                                                                  24   ceremonial behavior -- for which it is ceremonial              01:50:24
                                                                                  25   behavior.   So I assumed that the chant and the                01:50:30


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                                 ID#: 1779
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 146 of 281 - Page

                                                                                                           Conducted on December 7, 2021               144

                                                                                  1    language in which he spoke were the same.                That         01:50:33
                                                                                  2    may or may not be correct but it's typical.                           01:50:35
                                                                                  3          Q       And --                                                  01:50:41
                                                                                  4          A       In ceremonial circumstances.                            01:50:41
                                                                                  5          Q       Is that based on your experience or                     01:50:44
                                                                                  6    expertise as a linguist or just your personal                         01:50:48
                                                                                  7    experience?                                                           01:50:50
                                                                                  8          A       I would say that is my personal                         01:50:52
                                                                                  9    experience watching people behave that way in                         01:50:53
                                                                                  10   powwows.                                                              01:50:58
                                                                                  11         Q       And you state he was chanting words in                  01:50:59
                                                                                  12   the language of the tribe -- are you familiar with                    01:51:01
                                                                                  13   the American Indian movement song?                                    01:51:03
                                                                                  14         A       No, no.                                                 01:51:07
                                                                                  15         Q       Would it surprise you to know that this                 01:51:08
                                                                                  16   is what Phillips was chanting?                                        01:51:10
                                                                                  17         A       No, it would not.     I did not know.                   01:51:11
                                                                                  18         Q       Would it surprise you to know that the                  01:51:13
                                                                                  19   song does not have any words?                                         01:51:14
                                                                                  20         A       Not necessarily, no.                                    01:51:16
                                                                                  21         Q       Wouldn't, as a linguist, you be able to                 01:51:21
                                                                                  22   distinguish between the spoken word and sound?                        01:51:23
                                                                                  23         A       Especially not in a chant, no.                          01:51:26
                                                                                  24         Q       Why not?                                                01:51:28
                                                                                  25         A       Every language has different sound                      01:51:29


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                                 ID#: 1780
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 147 of 281 - Page

                                                                                                             Conducted on December 7, 2021        145

                                                                                  1    patterns that they use.         A chant does have                01:51:32
                                                                                  2    specific sounds that are regularly uttered in --                 01:51:35
                                                                                  3    usually typically jointly with -- rhythmically                   01:51:40
                                                                                  4    with the music and I couldn't say whether they                   01:51:44
                                                                                  5    were saying, like, an English, "Yes, yes, yes," or               01:51:46
                                                                                  6    whether they were just saying, "Wah, wah, wah,"                  01:51:49
                                                                                  7    okay?       But the -- because I don't know what                 01:51:52
                                                                                  8    language it would be and I wouldn't know whether                 01:51:56
                                                                                  9    it was a word in that language.                                  01:51:59
                                                                                  10           Q       Do you think it's possible that                  01:52:00
                                                                                  11   Mr. Phillips was praying?                                        01:52:02
                                                                                  12           A       Oh, yes, definitely.       I think it            01:52:03
                                                                                  13   likely.                                                          01:52:05
                                                                                  14           Q       You state that Mr. Phillips was:                 01:52:11
                                                                                  15                   "... leading a group of Native                   01:52:12
                                                                                  16   Americans towards the boys."                                     01:52:13
                                                                                  17                   What do you mean by stating that                 01:52:16
                                                                                  18   Mr. Phillips was leading the group?                              01:52:19
                                                                                  19           A       The reason I seemed to think he was              01:52:21
                                                                                  20   leading was that he was the one who was doing the                01:52:24
                                                                                  21   performance, which was the ceremonial chant,                     01:52:26
                                                                                  22   whatever its content, and beating the drum loudly                01:52:32
                                                                                  23   to draw attention and that the others were                       01:52:35
                                                                                  24   trailing behind him or photographing him.                        01:52:37
                                                                                  25           Q       You say -- well, how did you make that           01:52:41


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                                 ID#: 1781
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 148 of 281 - Page

                                                                                                             Conducted on December 7, 2021        146

                                                                                  1    determination?                                                   01:52:43
                                                                                  2             A      I watched the videos.                            01:52:43
                                                                                  3             Q      You say on page 10:                              01:52:45
                                                                                  4                    "It is not clear how many are in                 01:52:48
                                                                                  5    Mr. Phillips' group at this point and how many are               01:52:50
                                                                                  6    mere onlookers following the show, but I might                   01:52:54
                                                                                  7    guess there are 10 or 20 people in that encourage,               01:52:57
                                                                                  8    including a cameraman filming the situation."                    01:53:02
                                                                                  9                    I want to talk about a couple of things          01:53:05
                                                                                  10   you say in there.       What do you mean by                      01:53:05
                                                                                  11   "Mr. Phillips' group," group of what?                            01:53:07
                                                                                  12            A      I did not mean it was an organized               01:53:08
                                                                                  13   group.       I have no idea how it came to follow along          01:53:10
                                                                                  14   after him.       Some of the people who were there,              01:53:13
                                                                                  15   given their behavior once the confrontation began                01:53:16
                                                                                  16   were clearly members of the indigenous people's                  01:53:19
                                                                                  17   group given the arguments that they had with the                 01:53:23
                                                                                  18   boys and the things they were yelling at the                     01:53:27
                                                                                  19   Covington boys.                                                  01:53:29
                                                                                  20            Q      What do you mean by "indigenous                  01:53:29
                                                                                  21   people's group"?                                                 01:53:31
                                                                                  22            A      Well, they were dressed as if they had           01:53:32
                                                                                  23   come for the ceremonial dance and so forth.                      01:53:34
                                                                                  24   Another one had another drum and was drumming                    01:53:36
                                                                                  25   along with Phillips.        And one of them was a                01:53:40


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                                 ID#: 1782
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 149 of 281 - Page

                                                                                                             Conducted on December 7, 2021           147

                                                                                  1    cameraman who was -- who, like the Black Hebrew                     01:53:43
                                                                                  2    Israelites' videographer, focusing on them, one of                  01:53:47
                                                                                  3    the camera people in this group of people was                       01:53:51
                                                                                  4    focusing on Phillips and his group, so I assumed                    01:53:56
                                                                                  5    he was with them.                                                   01:53:58
                                                                                  6            Q       So that's based on your assumptions,                01:53:59
                                                                                  7    though, you don't know for sure.                                    01:54:01
                                                                                  8            A       I could say -- yeah, I don't know for               01:54:03
                                                                                  9    sure.       I only know what I saw in the videos.                   01:54:06
                                                                                  10           Q       And you are making an assumption about              01:54:08
                                                                                  11   who was with who?                                                   01:54:10
                                                                                  12           A       Yes, I am -- on the bases of what I saw             01:54:11
                                                                                  13   and their behavior in the group.                                    01:54:13
                                                                                  14           Q       But you don't know for sure?                        01:54:15
                                                                                  15           A       I think I do know what I saw and I do               01:54:18
                                                                                  16   think those people were together.                                   01:54:21
                                                                                  17           Q       And again, those are based on                       01:54:25
                                                                                  18   assumptions you made about what they were wearing                   01:54:26
                                                                                  19   and watching the videos, correct?                                   01:54:29
                                                                                  20           A       On their -- an assumption about their               01:54:30
                                                                                  21   behavior.                                                           01:54:34
                                                                                  22           Q       Mm-hmm.                                             01:54:35
                                                                                  23           A       And when they entered the scene.                    01:54:35
                                                                                  24           Q       Why do you call it a "show"?         Why do         01:54:38
                                                                                  25   you use that word?                                                  01:54:41


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                                 ID#: 1783
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 150 of 281 - Page

                                                                                                           Conducted on December 7, 2021        148

                                                                                  1          A    I just meant that Phillips did that to              01:54:42
                                                                                  2    draw attention, for whatever reason, he approached             01:54:44
                                                                                  3    from outside.    There was an interaction going on             01:54:47
                                                                                  4    between the boys and the Black Hebrew Israelites.              01:54:50
                                                                                  5    And he came from the side, beating a drum loudly               01:54:53
                                                                                  6    and chanting, in such a way as to draw attention.              01:54:57
                                                                                  7    That's a show.                                                 01:54:59
                                                                                  8          Q    And you talk about an entourage, why                01:55:00
                                                                                  9    did you use the phrase "entourage"?                            01:55:04
                                                                                  10         A    I used it because I do believe from                 01:55:08
                                                                                  11   what I saw in the video that many of those people              01:55:09
                                                                                  12   followed him to support him in what he was doing.              01:55:11
                                                                                  13         Q    At one point you say 10 to 20 people in             01:55:20
                                                                                  14   the entourage.     In what video did you see 10 to 20          01:55:22
                                                                                  15   people in the entourage --                                     01:55:27
                                                                                  16         A    I didn't count, again, as in these                  01:55:29
                                                                                  17   other cases, I did not count, so that number is                01:55:32
                                                                                  18   not intended to be accurate, but I did see a small             01:55:34
                                                                                  19   clot of people following Phillips from different               01:55:37
                                                                                  20   angles in the different videos and I assumed that              01:55:40
                                                                                  21   those were the people with him.                                01:55:44
                                                                                  22         Q    Okay.     And you referenced a cameraman,           01:55:45
                                                                                  23   why do you call a person a cameraman?                          01:55:47
                                                                                  24         A    Well, videographer.                                 01:55:49
                                                                                  25         Q    And who was the cameraman or                        01:55:51


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                                 ID#: 1784
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 151 of 281 - Page

                                                                                                              Conducted on December 7, 2021                149

                                                                                  1    videographer?                                                             01:55:53
                                                                                  2             A    I'd have to look at my records again to                     01:55:54
                                                                                  3    tell you, which video it was.                                             01:55:56
                                                                                  4             Q    Okay.    Let's pull up what we've marked                    01:56:02
                                                                                  5    as Exhibit 10, Video 10, which, for the record, is                        01:56:04
                                                                                  6    the Video 10 that is stipulated in the case.                              01:56:07
                                                                                  7             A    Not one of the ones I cite.                                 01:56:13
                                                                                  8             Q    It is one of the ones you cite.               It is         01:56:18
                                                                                  9    Video 10.                                                                 01:56:20
                                                                                  10            A    I am just looking for it.           Where do I              01:56:35
                                                                                  11   cite it?     Can you tell me?                                             01:56:35
                                                                                  12                 I mean, I say I watched it but I don't                      01:56:35
                                                                                  13   see in the report where I cite it.                                        01:56:37
                                                                                  14            Q    Okay, so let me ask you a question                          01:56:42
                                                                                  15   about that.                                                               01:56:43
                                                                                  16                 We already went through in the                              01:56:44
                                                                                  17   beginning of your report, you list the 10 videos                          01:56:45
                                                                                  18   that were given to you.          That's on page --                        01:56:49
                                                                                  19            A    Sure.                                                       01:56:51
                                                                                  20                 MR. McMURTRY:         5 or 6, I think.                      01:56:53
                                                                                  21                 MS. SPEARS:      5.                                         01:56:54
                                                                                  22                 THE WITNESS:       Of course I know I                       01:56:55
                                                                                  23   watched that but when I state the facts I don't                           01:56:56
                                                                                  24   believe I cited video 10 in the statement of                              01:56:59
                                                                                  25   facts.                                                                    01:57:02


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                                 ID#: 1785
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 152 of 281 - Page

                                                                                                           Conducted on December 7, 2021        150

                                                                                  1    BY MS. SPEARS:                                                 01:57:02
                                                                                  2          Q       And what's the significance of that?             01:57:02
                                                                                  3          A       Not -- nothing -- I'm not denying that           01:57:04
                                                                                  4    I saw the video.     I'm saying that it was not the            01:57:06
                                                                                  5    one which provided the scenes that I felt were                 01:57:08
                                                                                  6    most telling when I stated these things as facts.              01:57:12
                                                                                  7    I'm perfectly willing to concede that I                        01:57:15
                                                                                  8    watched it.                                                    01:57:17
                                                                                  9          Q       Okay, so for the record we just, to              01:57:18
                                                                                  10   correspond with the videos that are stipulated in              01:57:24
                                                                                  11   this case, marked exhibits to the deposition                   01:57:26
                                                                                  12   accordingly.     So this is Video 10, Exhibit 10, and          01:57:29
                                                                                  13   why don't you start at the beginning and stop at               01:57:35
                                                                                  14   around the 10 second mark.                                     01:57:41
                                                                                  15                 MS. MEEK:   I am playing Video 10,               01:57:43
                                                                                  16   starting at the beginning.                                     01:57:50
                                                                                  17                      (Video 10 played.)                          01:57:51
                                                                                  18                 MS. MEEK:   I just paused Video 10 at            01:58:05
                                                                                  19   10 seconds.                                                    01:58:08
                                                                                  20   BY MS. SPEARS:                                                 01:58:08
                                                                                  21         Q       Do you see in that video who you refer           01:58:08
                                                                                  22   to in your report as the cameraman?                            01:58:11
                                                                                  23         A       I'm not sure, no.                                01:58:13
                                                                                  24         Q       Let me go a second further and point             01:58:14
                                                                                  25   the cursor.                                                    01:58:16


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                                 ID#: 1786
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 153 of 281 - Page

                                                                                                                Conducted on December 7, 2021                 151

                                                                                  1                            (Video 10 played.)                                   01:58:17
                                                                                  2             A      I wonder if it's the fellow who --                           01:58:22
                                                                                  3    okay, so you see the fellow in the white hat?                                01:58:23
                                                                                  4    Yep, there.       Is it the fellow to his left?                No,           01:58:25
                                                                                  5    above.       Above and -- there, that guy, is that the                       01:58:28
                                                                                  6    fellow?                                                                      01:58:32
                                                                                  7             Q      I'm asking you.                                              01:58:35
                                                                                  8             A      Well, I don't know in this video.                I           01:58:36
                                                                                  9    haven't studied it as carefully as some of the                               01:58:36
                                                                                  10   others.                                                                      01:58:36
                                                                                  11                   I'd have look further at the video to                        01:58:38
                                                                                  12   decide whether I thought he had come in with that                            01:58:41
                                                                                  13   group.                                                                       01:58:43
                                                                                  14            Q      And why did you call him a cameraman as                      01:58:44
                                                                                  15   opposed to a person holding a camera; are you                                01:58:48
                                                                                  16   giving him an official title?                                                01:58:52
                                                                                  17            A      I wasn't trying to implicate that he                         01:58:54
                                                                                  18   was a professional or anything like that.                     He was         01:58:55
                                                                                  19   just a person holding a camera taking a video.                               01:58:57
                                                                                  20            Q      Okay.     So you weren't assuming it was                     01:59:00
                                                                                  21   his job --                                                                   01:59:03
                                                                                  22            A      No.                                                          01:59:03
                                                                                  23            Q      -- to video the --                                           01:59:03
                                                                                  24            A      No.                                                          01:59:05
                                                                                  25            Q      -- event?                                                    01:59:05


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                                 ID#: 1787
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 154 of 281 - Page

                                                                                                               Conducted on December 7, 2021        152

                                                                                  1            A       No.                                                01:59:06
                                                                                  2            Q       Did you think the cameraman, as you                01:59:08
                                                                                  3    called him, was somebody Mr. Phillips brought with                 01:59:10
                                                                                  4    him to film the video?                                             01:59:13
                                                                                  5            A       I don't know, no.       He might have been         01:59:15
                                                                                  6    just somebody who just trailed along with him.                     01:59:17
                                                                                  7            Q       There were lots of people in the videos            01:59:19
                                                                                  8    holding cameras up, correct?                                       01:59:21
                                                                                  9            A       Correct.                                           01:59:22
                                                                                  10           Q       Students included?                                 01:59:24
                                                                                  11           A       Absolutely.                                        01:59:25
                                                                                  12           Q       Let's go back to -- you can take that              01:59:34
                                                                                  13   down.       Thank you.                                             01:59:36
                                                                                  14                   Let's go back to page 10 of your                   01:59:37
                                                                                  15   report.       You describe Mr. Phillips as walking up              01:59:41
                                                                                  16   to the boys and ignoring, is the word you used,                    01:59:43
                                                                                  17   the BHI, the Black Hebrew Israelites.                              01:59:47
                                                                                  18                   Why did you say "ignoring"?                        01:59:51
                                                                                  19           A       From what I could see when Mr. Phillips            01:59:54
                                                                                  20   came on the scene, he, from what I described as                    01:59:55
                                                                                  21   the north of the steps, coming down, he passed                     01:59:59
                                                                                  22   between the boys and the Black Hebrew Israelites                   02:00:05
                                                                                  23   but his attention was focused on the boys, the                     02:00:09
                                                                                  24   direction he moved and the direction of his gaze,                  02:00:12
                                                                                  25   so it seemed to me that he -- that was his                         02:00:14


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                                 ID#: 1788
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 155 of 281 - Page

                                                                                                               Conducted on December 7, 2021        153

                                                                                  1    intention in moving there was to direct himself to                 02:00:17
                                                                                  2    them.                                                              02:00:22
                                                                                  3            Q       Are you implying that he should have               02:00:28
                                                                                  4    paid attention to the Black Hebrew Israelites in                   02:00:30
                                                                                  5    some way?                                                          02:00:33
                                                                                  6            A       No.                                                02:00:33
                                                                                  7            Q       No?                                                02:00:34
                                                                                  8            A       No.                                                02:00:34
                                                                                  9            Q       Do you know what Mr. Phillips was                  02:00:35
                                                                                  10   trying to do?                                                      02:00:36
                                                                                  11           A       No.    Not -- (overspeaking) --                    02:00:37
                                                                                  12           Q       Do you know whether he had a purpose in            02:00:41
                                                                                  13   the moment?                                                        02:00:42
                                                                                  14           A       I suspect he did from his behavior but             02:00:43
                                                                                  15   I'm not in a position to analyze it.                               02:00:45
                                                                                  16           Q       You don't know what he was feeling in              02:00:47
                                                                                  17   the moment, for example?                                           02:00:48
                                                                                  18           A       No, of course I don't.                             02:00:49
                                                                                  19           Q       You don't believe it to would be                   02:00:52
                                                                                  20   important to your opinions to know the answers to                  02:00:54
                                                                                  21   those questions?                                                   02:00:56
                                                                                  22           A       I have no expertise that would bear on             02:00:56
                                                                                  23   that.       I would be telling pure -- purely on the               02:00:58
                                                                                  24   basis of my surmise and I don't think I have the                   02:01:00
                                                                                  25   expertise to back it up.                                           02:01:02


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                                 ID#: 1789
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 156 of 281 - Page

                                                                                                             Conducted on December 7, 2021             154

                                                                                  1             Q      You state you couldn't see from the                   02:01:06
                                                                                  2    videos whether Mr. Phillips climbed any of the                        02:01:08
                                                                                  3    steps and you assumed he was on the flat area,                        02:01:11
                                                                                  4    correct?                                                              02:01:13
                                                                                  5             A      He did climb them later, after Sandmann               02:01:14
                                                                                  6    left, you can see clearly in one of the videos and                    02:01:16
                                                                                  7    I had it on the summary sheet that I brought                          02:01:20
                                                                                  8    today, where Phillips climbs the steps to where                       02:01:25
                                                                                  9    Sandmann had been and turns around to face the                        02:01:29
                                                                                  10   crowd.       But I believe that's the only time he                    02:01:32
                                                                                  11   climbed a step that I could see in the videos.                        02:01:34
                                                                                  12            Q      When Mr. Phillips first approached the                02:01:43
                                                                                  13   students and stood in front of them, how far away                     02:01:46
                                                                                  14   was Mr. Sandmann from him?                                            02:01:50
                                                                                  15            A      Well, it is difficult to say.          I told         02:01:51
                                                                                  16   you I'm not good at distances.           I would say that             02:01:53
                                                                                  17   initially Mr. Phillips was walking in front of a                      02:01:55
                                                                                  18   larger group of boys and not that close to him, so                    02:01:57
                                                                                  19   I would say maybe he was 2 or 3 feet out from the                     02:02:00
                                                                                  20   large group of boys and, in turn, Phillips --                         02:02:04
                                                                                  21   Sandmann was up two or three steps.             So, I don't           02:02:06
                                                                                  22   know, maybe 5, 6, 7 feet.                                             02:02:08
                                                                                  23                   I mean, he also came from the north and               02:02:11
                                                                                  24   passed down along, so even when he was passing in                     02:02:13
                                                                                  25   front of Phillips he must have been 5 or 6 feet in                    02:02:16


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                                 ID#: 1790
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 157 of 281 - Page

                                                                                                                 Conducted on December 7, 2021        155

                                                                                  1    front of him.        That's a guess, I don't know how                02:02:19
                                                                                  2    far he was.                                                          02:02:21
                                                                                  3             Q       Okay.    Weren't there multiple rows of             02:02:22
                                                                                  4    students at first between Phillips and                               02:02:25
                                                                                  5    Mr. Sandmann?                                                        02:02:27
                                                                                  6             A       Yes, yes, but some were on the ground               02:02:28
                                                                                  7    and some were on the steps.                                          02:02:30
                                                                                  8             Q       And how did Mr. Phillips get to the                 02:02:36
                                                                                  9    place where Mr. Sandmann was standing?                               02:02:37
                                                                                  10            A       From what I saw he walked along and he              02:02:40
                                                                                  11   actually walked into the group of boys who were on                   02:02:43
                                                                                  12   the ground and some of them --                                       02:02:45
                                                                                  13                        -- (overspeaking) --                            02:02:46
                                                                                  14            Q       Sorry.                                              02:02:50
                                                                                  15            A       It's okay, he walked into that group of             02:02:51
                                                                                  16   boys.        He just began to walk past Sandmann and                 02:02:52
                                                                                  17   then for some reason Sandmann caught his                             02:02:55
                                                                                  18   attention.        He turned around and faced Sandmann --             02:02:59
                                                                                  19   face on, direct on, and walked up to him on the                      02:03:04
                                                                                  20   steps.                                                               02:03:06
                                                                                  21            Q       That's your interpretation after                    02:03:07
                                                                                  22   reviewing the videos?                                                02:03:10
                                                                                  23            A       I have it on the video there, yes.                  02:03:13
                                                                                  24            Q       That's your interpretation?                         02:03:15
                                                                                  25            A       That's what I saw on the video.                     02:03:16


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                                 ID#: 1791
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 158 of 281 - Page

                                                                                                          Conducted on December 7, 2021            156

                                                                                  1          Q    So you already testified and we saw in                 02:03:18
                                                                                  2    your report that on the videos you say that there                 02:03:20
                                                                                  3    were some other students who parted from                          02:03:22
                                                                                  4    Mr. Phillips as he approached; right?                             02:03:24
                                                                                  5          A    Yes, the ones who -- as he walked into                 02:03:26
                                                                                  6    the crowd, it parted to let him by.                               02:03:28
                                                                                  7          Q    And so didn't Mr. Phillips get there by                02:03:31
                                                                                  8    moving forward through this space that other                      02:03:33
                                                                                  9    students opened up to let him by, as you say?                     02:03:36
                                                                                  10         A    I believe so, yes.        I said that.                 02:03:39
                                                                                  11         Q    Let's discuss -- on page 10 you talk                   02:03:46
                                                                                  12   about -- I want to talk a bit more about what you                 02:03:49
                                                                                  13   were just talking about.                                          02:03:51
                                                                                  14              In Video 2 you mention on page 10 of                   02:03:56
                                                                                  15   your report -- do you see that there in the                       02:03:59
                                                                                  16   middle?                                                           02:04:01
                                                                                  17         A    "At the beginning of Video 2", yes.                    02:04:01
                                                                                  18         Q    Yes.   So let's walk you through your                  02:04:04
                                                                                  19   description of what's happening.         You write there:         02:04:15
                                                                                  20   "At the beginning of Video 2, Phillips walks from                 02:04:17
                                                                                  21   the right along the front edge of the boys                        02:04:21
                                                                                  22   drumming and chanting loudly."                                    02:04:24
                                                                                  23              What do you mean by that?          From whose          02:04:24
                                                                                  24   right and what direction are you claiming he's                    02:04:28
                                                                                  25   walking?                                                          02:04:29


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                                 ID#: 1792
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 159 of 281 - Page

                                                                                                           Conducted on December 7, 2021        157

                                                                                  1          A       As I said at the beginning of the                02:04:30
                                                                                  2    paragraph, it is shot from in front of the Hebrew              02:04:31
                                                                                  3    Israelites and facing the Lincoln Memorial.                    02:04:34
                                                                                  4                  As I said earlier -- I'm going to have           02:04:36
                                                                                  5    to get my directions right again, the Lincoln                  02:04:41
                                                                                  6    Memorial, I think, faces ... I said in which                   02:04:44
                                                                                  7    direction -- I looked it up, which direction the               02:05:03
                                                                                  8    Lincoln Memorial faces.                                        02:05:05
                                                                                  9                  I think it faces east across the                 02:05:06
                                                                                  10   reflecting pond.     Yes, I think it -- let's assume           02:05:10
                                                                                  11   that it faces east along the reflecting pond and               02:05:12
                                                                                  12   then -- so the steps of the Memorial would be then             02:05:16
                                                                                  13   north/south, on a north/south axis, if I'm correct             02:05:18
                                                                                  14   about that.     I'm trying to find the passage here            02:05:21
                                                                                  15   and I'm not finding it.                                        02:05:23
                                                                                  16                 So when I say that the cameraman in              02:05:25
                                                                                  17   this particular video is -- and I mean by that,                02:05:27
                                                                                  18   whoever took the shot, I don't mean they're                    02:05:30
                                                                                  19   professional, is looking with his back to the                  02:05:32
                                                                                  20   Black Hebrew Israelites facing the Lincoln                     02:05:36
                                                                                  21   Memorial, then he'd be facing west with the steps              02:05:38
                                                                                  22   to his right, would be the north, coming along the             02:05:44
                                                                                  23   north from the steps that -- along the steps.                  02:05:46
                                                                                  24                 So I saw Mr. Phillips and a group of             02:05:49
                                                                                  25   people following him come, I first heard them from             02:05:52


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                                 ID#: 1793
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 160 of 281 - Page

                                                                                                           Conducted on December 7, 2021             158

                                                                                  1    behind, from the right, that would be to the north                  02:05:57
                                                                                  2    of -- east, and then they come down in between the                  02:05:59
                                                                                  3    two groups in front of the person taking this                       02:06:03
                                                                                  4    video and go along the front of the boys.                So         02:06:06
                                                                                  5    that's going from north to south along the front                    02:06:09
                                                                                  6    of the steps, from this cameraman's right to left,                  02:06:13
                                                                                  7    the Covington boys are more or less directly ahead                  02:06:17
                                                                                  8    and the -- Phillips walks into the crowd of boys                    02:06:24
                                                                                  9    which pours down from the steps onto the flat                       02:06:25
                                                                                  10   ground and as he does so, some of the boys who are                  02:06:30
                                                                                  11   on the flat ground part to let him go.            I never           02:06:33
                                                                                  12   saw any place where any of them they blocked him.                   02:06:36
                                                                                  13         Q    Let's go to Video 2.                                     02:06:38
                                                                                  14              MR. McMURTRY:       Just so I'm clear, the               02:06:44
                                                                                  15   numbers are the same in the report and our                          02:06:45
                                                                                  16   exhibits; right?                                                    02:06:47
                                                                                  17              MS. SPEARS:      Correct.      Let's pull up             02:06:50
                                                                                  18   what we've marked as Video 2, Exhibit 2 and start                   02:06:51
                                                                                  19   at the beginning and pause at -- one sec.                           02:06:55
                                                                                  20              MS. MEEK:      I'm starting Video 2,                     02:07:10
                                                                                  21   Exhibit 2 at the beginning.                                         02:07:12
                                                                                  22                      (Video 2 played.)                                02:07:13
                                                                                  23              MS. MEEK:      I just paused Video 2,                    02:07:33
                                                                                  24   Exhibit 2, at 20 seconds.                                           02:07:35
                                                                                  25   BY MS. SPEARS:                                                      02:07:37


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                                 ID#: 1794
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 161 of 281 - Page

                                                                                                          Conducted on December 7, 2021             159

                                                                                  1            Q    So where in the video do you see                      02:07:37
                                                                                  2    Mr. Phillips walking from the right?                               02:07:38
                                                                                  3            A    I might have the wrong video.          I have         02:07:41
                                                                                  4    to look at the other videos and find the one I                     02:07:58
                                                                                  5    saw.    I think it was Banyamyan maybe, I'm not                    02:08:02
                                                                                  6    sure.                                                              02:08:03
                                                                                  7            Q    Because he's not walking from the                     02:08:04
                                                                                  8    right, that's incorrect.                                           02:08:06
                                                                                  9            A    No, no, that's not the correct video,                 02:08:06
                                                                                  10   I've got the wrong video.                                          02:08:07
                                                                                  11           Q    So that's incorrect in the report?                    02:08:08
                                                                                  12           A    That is incorrect in the report.                      02:08:10
                                                                                  13           Q    Let's -- can you jump back to the                     02:08:11
                                                                                  14   beginning of this, play from beginning to pause                    02:08:13
                                                                                  15   about the 8-second mark?                                           02:08:15
                                                                                  16                MS. MEEK:     I'm starting Video 2 back               02:08:20
                                                                                  17   from the beginning.                                                02:08:21
                                                                                  18                     (Video 2 played.)                                02:08:22
                                                                                  19                MS. MEEK:     I just paused Video 2 at                02:08:28
                                                                                  20   8 seconds.                                                         02:08:34
                                                                                  21   BY MS. SPEARS:                                                     02:08:35
                                                                                  22           Q    So for the first couple of seconds we                 02:08:35
                                                                                  23   don't see Mr. Phillips, at all?                                    02:08:37
                                                                                  24           A    No, we don't.     This is the wrong video.            02:08:38
                                                                                  25                MS. SPEARS:     Okay.   Then let's restart            02:08:41


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                                 ID#: 1795
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 162 of 281 - Page

                                                                                                           Conducted on December 7, 2021        160

                                                                                  1    it at the 8-second mark or where we are at right               02:08:41
                                                                                  2    now and play on until the 20-second mark.                      02:08:45
                                                                                  3                  MS. MEEK:     Restarting Video 2 at 8            02:08:48
                                                                                  4    seconds.                                                       02:08:51
                                                                                  5                       (Video 2 played.)                           02:08:51
                                                                                  6                  MS. MEEK:     I just paused Video 2 at           02:09:03
                                                                                  7    20 seconds.                                                    02:09:06
                                                                                  8    BY MS. SPEARS:                                                 02:09:06
                                                                                  9            Q     Okay, and at these seconds that we just          02:09:06
                                                                                  10   walked, Phillips just turns to his own right,                  02:09:08
                                                                                  11   correct?                                                       02:09:10
                                                                                  12           A     Yes, to his right.                               02:09:11
                                                                                  13           Q     And towards the right side of the crowd          02:09:13
                                                                                  14   of boys, correct?                                              02:09:15
                                                                                  15           A     Correct.                                         02:09:16
                                                                                  16           Q     Do you know why?                                 02:09:17
                                                                                  17           A     I don't know where this -- the angle is          02:09:18
                                                                                  18   on this one so I can't tell you what he's doing.               02:09:19
                                                                                  19   I think he is just wading into the boys, but -- I              02:09:21
                                                                                  20   don't know why, but he's wading into the crowd of              02:09:24
                                                                                  21   boys.                                                          02:09:27
                                                                                  22                 MS. SPEARS:     Okay, and restart it at          02:09:27
                                                                                  23   where we just left off, the 20-second mark, and                02:09:31
                                                                                  24   pause at the 32-second mark.                                   02:09:34
                                                                                  25                 MS. MEEK:     Restarting Video 2 at              02:09:39


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                                 ID#: 1796
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 163 of 281 - Page

                                                                                                           Conducted on December 7, 2021         161

                                                                                  1    20 seconds.                                                     02:09:41
                                                                                  2                       (Video 2 played.)                            02:09:42
                                                                                  3                  MS. MEEK:     I just paused Video 2 at 32         02:09:54
                                                                                  4    seconds.                                                        02:09:56
                                                                                  5    BY MS. SPEARS:                                                  02:09:56
                                                                                  6            Q     Do you recognize some of the students             02:09:56
                                                                                  7    as doing what's known as the tomahawk chop?                     02:09:59
                                                                                  8            A     Yes, I mentioned that in my report.               02:10:02
                                                                                  9            Q     Are you familiar with the tomahawk                02:10:04
                                                                                  10   chop?                                                           02:10:04
                                                                                  11           A     I've seen it in sports games.                     02:10:05
                                                                                  12           Q     Then in your report you say it's a                02:10:06
                                                                                  13   controversial gesture seen in Atlanta baseball                  02:10:09
                                                                                  14   games and other sporting events.          Why is it             02:10:12
                                                                                  15   controversial?                                                  02:10:13
                                                                                  16           A     I believe it's regarded as offensive by           02:10:13
                                                                                  17   many indigenous people, Native American people.                 02:10:15
                                                                                  18           Q     Did you consider whether Mr. Phillips             02:10:18
                                                                                  19   could have viewed the tomahawk chop in this moment              02:10:20
                                                                                  20   as offensive or mocking him?                                    02:10:23
                                                                                  21           A     That was not part of my expertise in              02:10:26
                                                                                  22   writing the report.       I have no doubt that he would         02:10:27
                                                                                  23   have.                                                           02:10:29
                                                                                  24                 MS. SPEARS:     Can you restart it at the         02:10:30
                                                                                  25   30-second mark and then pause just a little after               02:10:37


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                                 ID#: 1797
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 164 of 281 - Page

                                                                                                          Conducted on December 7, 2021                 162

                                                                                  1    the 41-second mark?                                                    02:10:39
                                                                                  2                 MS. MEEK:   I'm starting at 32 seconds,                   02:10:41
                                                                                  3    Video 2.                                                               02:10:43
                                                                                  4                      (Video 2 played.)                                    02:10:44
                                                                                  5                 THE WITNESS:    Can we stop.                              02:10:57
                                                                                  6                 The guy in the red hat is the cameraman                   02:10:57
                                                                                  7    with Phillips.    That's what I was talking about.                     02:10:59
                                                                                  8    BY MS. SPEARS:                                                         02:11:00
                                                                                  9          Q      Where we just paused that?                                02:11:00
                                                                                  10         A      No, just before that.       There, that's                 02:11:02
                                                                                  11   the guy.                                                               02:11:03
                                                                                  12                MS. MEEK:   For the record, the witness                   02:11:06
                                                                                  13   just pointed to 39 seconds in Video 2.                                 02:11:07
                                                                                  14                THE WITNESS:    The guy in the red cap.                   02:11:11
                                                                                  15   That's the guy with Phillips.                                          02:11:12
                                                                                  16   BY MS. SPEARS:                                                         02:11:15
                                                                                  17         Q      Okay, let's talk about this for another                   02:11:15
                                                                                  18   second.    So you are referring to my earlier                          02:11:15
                                                                                  19   questions when I asked you who you were referring                      02:11:18
                                                                                  20   to as the cameraman --                                                 02:11:19
                                                                                  21                    -- (overspeaking) --                                  02:11:20
                                                                                  22         A      That's right.                                             02:11:20
                                                                                  23         Q      You got to wait until I'm done.            Sorry.         02:11:21
                                                                                  24   You were referring to the earlier questions where                      02:11:24
                                                                                  25   I asked you about the person you called the                            02:11:26


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                                 ID#: 1798
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 165 of 281 - Page

                                                                                                           Conducted on December 7, 2021              163

                                                                                  1    "cameraman" in your report; is that right?                           02:11:29
                                                                                  2          A       Correct.                                               02:11:32
                                                                                  3          Q       And you are stating that the person you                02:11:33
                                                                                  4    are referencing is the person depicted the red cap                   02:11:36
                                                                                  5    holding a camera at second 40?                                       02:11:41
                                                                                  6                  MS. MEEK:     39.                                      02:11:45
                                                                                  7    BY MS. SPEARS:                                                       02:11:47
                                                                                  8          Q       39 in Video 2?                                         02:11:47
                                                                                  9          A       That's now who I think -- in the other                 02:11:48
                                                                                  10   video I couldn't identify him because I wasn't as                    02:11:49
                                                                                  11   familiar with that video, but this is who I had                      02:11:52
                                                                                  12   assumed was with Phillips.                                           02:11:56
                                                                                  13         Q       And I was just going to ask that.          You         02:11:57
                                                                                  14   are assuming he was with Phillips but you have no                    02:11:59
                                                                                  15   idea whether he was with Phillips or not?                            02:12:02
                                                                                  16         A       I could be wrong.                                      02:12:04
                                                                                  17                 MS. SPEARS:     Okay.   So go back again in            02:12:04
                                                                                  18   this -- restart at 32 and pause again a little                       02:12:07
                                                                                  19   after 41, please.                                                    02:12:15
                                                                                  20                 MS. MEEK:     Restarting video 2 at                    02:12:18
                                                                                  21   32 seconds.                                                          02:12:22
                                                                                  22                      (Video 2 played.)                                 02:12:24
                                                                                  23                 MS. MEEK:     I just paused Video 2 at                 02:12:33
                                                                                  24   43 seconds.                                                          02:12:35
                                                                                  25   BY MS. SPEARS:                                                       02:12:36


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                                 ID#: 1799
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 166 of 281 - Page

                                                                                                             Conducted on December 7, 2021        164

                                                                                  1          Q       You described Mr. Sandmann, who we can             02:12:36
                                                                                  2    see there, as laughing and grinning at his                       02:12:38
                                                                                  3    companions, correct?                                             02:12:41
                                                                                  4          A       Correct.                                           02:12:41
                                                                                  5          Q       What's a grin?                                     02:12:44
                                                                                  6          A       What do you mean, what's the grin?                 02:12:45
                                                                                  7          Q       What is a grin?                                    02:12:46
                                                                                  8          A       A grin is a smile of a certain sort.               02:12:51
                                                                                  9    That's all I can tell you.          He was laughing,             02:12:53
                                                                                  10   having fun with his buddies.                                     02:12:53
                                                                                  11         Q       So that's your characterization of                 02:12:56
                                                                                  12   Mr. Sandmann's expression at the time?                           02:12:58
                                                                                  13         A       Yes.                                               02:13:01
                                                                                  14         Q       Why do you use the word "companions"?              02:13:01
                                                                                  15         A       By companions -- it looks like another             02:13:04
                                                                                  16   boy from Covington, one of his schoolmates.                      02:13:04
                                                                                  17                 MS. SPEARS:     Okay, can you restart a            02:13:06
                                                                                  18   little before this.       Start a little before 41 and           02:13:07
                                                                                  19   pause a little after the 46 mark, please?                        02:13:11
                                                                                  20                 MS. MEEK:     Restarting Video 2 at                02:13:16
                                                                                  21   39 seconds.                                                      02:13:19
                                                                                  22                        (Video 2 played.)                           02:13:20
                                                                                  23                 MS. MEEK:     I just paused Video 2 at             02:13:32
                                                                                  24   47 seconds.                                                      02:13:33
                                                                                  25   BY MS. SPEARS:                                                   02:13:37


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                                 ID#: 1800
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 167 of 281 - Page

                                                                                                          Conducted on December 7, 2021           165

                                                                                  1             Q   In your report in reference to Video 2,             02:13:37
                                                                                  2    you say that between 41 and 46 seconds,                          02:13:38
                                                                                  3    Mr. Phillips was continuing south; what do you                   02:13:40
                                                                                  4    mean by that?    Or is that incorrect?                           02:13:43
                                                                                  5             A   Let's see what I say.                               02:13:46
                                                                                  6             Q   Because you were referring to the wrong             02:13:46
                                                                                  7    video.                                                           02:13:48
                                                                                  8             A   (Reading):                                          02:13:49
                                                                                  9                 "21 seconds one sees Sandmann one or                02:13:49
                                                                                  10   two steps above Phillips in the crowd wearing his                02:13:54
                                                                                  11   hat laughing, grinning.      Phillips continued south,           02:13:56
                                                                                  12   nearly walks past Sandmann" -- I don't say how                   02:13:59
                                                                                  13   long it took -- "who is on his right and slightly                02:14:02
                                                                                  14   above, still grinning.      Then Phillips pulls up and           02:14:05
                                                                                  15   turns right to face Sandmann."                                   02:14:08
                                                                                  16            Q   Stop there a second.       Where -- I want          02:14:09
                                                                                  17   to ask you about it.      You say he's continuing                02:14:10
                                                                                  18   south; what do you mean by that?         Continuing from         02:14:13
                                                                                  19   what?                                                            02:14:15
                                                                                  20            A   For a while he had been walking from                02:14:15
                                                                                  21   the right to the left.      If you back up to 40, you            02:14:17
                                                                                  22   will see he had been walking from the right to the               02:14:21
                                                                                  23   left and then for some reason he turned and went                 02:14:24
                                                                                  24   to face Sandmann.                                                02:14:26
                                                                                  25            Q   Okay, so is it your contention that                 02:14:27


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                                 ID#: 1801
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 168 of 281 - Page

                                                                                                            Conducted on December 7, 2021            166

                                                                                  1    before Phillips got to where Mr. Sandmann was                       02:14:30
                                                                                  2    standing, he was not moving in the direction of                     02:14:33
                                                                                  3    Lincoln Memorial?                                                   02:14:36
                                                                                  4             A   No, that's not the direction -- yeah,                  02:14:37
                                                                                  5    he was walking in front of the boys, not up the                     02:14:39
                                                                                  6    steps.                                                              02:14:42
                                                                                  7             Q   Okay, so --                                            02:14:44
                                                                                  8             A   I never saw him go up toward the                       02:14:45
                                                                                  9    Memorial in this, until the end of the videos.                      02:14:46
                                                                                  10            Q   And that's --                                          02:14:51
                                                                                  11            A   I saw him walking into the group of                    02:14:51
                                                                                  12   boys along the front of the steps.                                  02:14:53
                                                                                  13            Q   And so it's your position that he was                  02:14:55
                                                                                  14   not walking towards the Memorial?                                   02:14:56
                                                                                  15            A   I cannot comment on his intentions.          I         02:14:59
                                                                                  16   can only say I did not see him go toward the steps                  02:15:00
                                                                                  17   to go up until after this encounter.                                02:15:03
                                                                                  18            Q   You didn't see him going in the                        02:15:10
                                                                                  19   direction of the steps?                                             02:15:11
                                                                                  20            A   No.    It looks to me like he's walking                02:15:12
                                                                                  21   in front of the steps into the crowd of boys,                       02:15:14
                                                                                  22   until he turns and goes towards Sandmann.                           02:15:16
                                                                                  23            Q   And that's part of what informs your                   02:15:18
                                                                                  24   opinion that the blocking statement is false?                       02:15:21
                                                                                  25            A   That's only part of it.                                02:15:25


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                                 ID#: 1802
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 169 of 281 - Page

                                                                                                          Conducted on December 7, 2021            167

                                                                                  1          Q      Let's go back to page 10 of your                     02:15:30
                                                                                  2    report.                                                           02:15:31
                                                                                  3          A      You could review the video if you want               02:15:32
                                                                                  4    to look one more time.     I don't see him going up               02:15:33
                                                                                  5    the steps.                                                        02:15:36
                                                                                  6          Q      Well, hang on for a second.         In terms         02:15:37
                                                                                  7    of the direction he's facing, that's one thing.                   02:15:41
                                                                                  8    And then actually physically going up the steps                   02:15:43
                                                                                  9    that's another thing.                                             02:15:45
                                                                                  10                    -- (overspeaking) --                             02:15:46
                                                                                  11         A      -- the direction --                                  02:15:46
                                                                                  12                    -- (overspeaking) --                             02:15:47
                                                                                  13         Q      Do you agree that he was facing --                   02:15:47
                                                                                  14   (overspeaking) --                                                 02:15:48
                                                                                  15         A      No, not until he turned to face                      02:15:49
                                                                                  16   Sandmann, no.                                                     02:15:51
                                                                                  17         Q      Let's go to page 10 in your report.                  02:15:54
                                                                                  18   You say:                                                          02:15:57
                                                                                  19                "Phillips nearly walks past Sandmann."               02:16:01
                                                                                  20                What does this mean?                                 02:16:04
                                                                                  21         A      The way I saw it in multiple videos,                 02:16:06
                                                                                  22   including this one, he's walking from north to                    02:16:08
                                                                                  23   south, roughly, along the front edge of the steps                 02:16:11
                                                                                  24   into the crowd of boys, many of whom are on the                   02:16:14
                                                                                  25   ground.    I didn't see him make a gesture to turn                02:16:17


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                                 ID#: 1803
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 170 of 281 - Page

                                                                                                             Conducted on December 7, 2021         168

                                                                                  1    towards the west, toward the Memorial as if going                 02:16:20
                                                                                  2    up the steps, until he turns around and faces                     02:16:23
                                                                                  3    Sandmann.                                                         02:16:26
                                                                                  4                    So he was walking from north to south             02:16:26
                                                                                  5    and -- Sandmann is facing east, so he's walking                   02:16:29
                                                                                  6    from north to south in front -- roughly, in front                 02:16:36
                                                                                  7    of -- perpendicular to the line of Sandmann's                     02:16:39
                                                                                  8    gaze.       He walks slightly past him and then he                02:16:44
                                                                                  9    turns and goes up to face Sandmann directly.                      02:16:47
                                                                                  10   That's what I see in the video.                                   02:16:50
                                                                                  11           Q       That's your interpretation.                       02:16:51
                                                                                  12           A       It is not my interpretation; it's what            02:16:52
                                                                                  13   I see in the videos.                                              02:16:54
                                                                                  14           Q       Based on your personal review of the              02:16:55
                                                                                  15   videos?                                                           02:16:57
                                                                                  16           A       To use your language, it is what I see            02:17:01
                                                                                  17   in the videos.                                                    02:17:03
                                                                                  18           Q       And you're saying -- when you say he              02:17:06
                                                                                  19   nearly walked past Sandmann, you are talking about                02:17:12
                                                                                  20   a moment when Phillips turns to his left, correct?                02:17:14
                                                                                  21           A       No, he turns to his right.         He was         02:17:16
                                                                                  22   walking from north to south past -- slightly past                 02:17:20
                                                                                  23   Sandmann, then for some reason he turns back and                  02:17:24
                                                                                  24   comes to face him which is turning to his --                      02:17:26
                                                                                  25   toward his right.       So he was walking -- he was               02:17:30


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                                 ID#: 1804
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 171 of 281 - Page

                                                                                                           Conducted on December 7, 2021                 169

                                                                                  1    walking along the steps, Sandmann is over here on                       02:17:33
                                                                                  2    his right.     He slightly goes past him, he turns                      02:17:35
                                                                                  3    around and comes back and faces Sandmann.                That's         02:17:38
                                                                                  4    what I see in the video.                                                02:17:40
                                                                                  5          Q       Did you watch this -- this is your                        02:17:44
                                                                                  6    interpretation of Video 2?                                              02:17:46
                                                                                  7                  MR. McMURTRY:     Objection.                              02:17:50
                                                                                  8                  THE WITNESS:     This is what I see in                    02:17:51
                                                                                  9    Video 2.                                                                02:17:52
                                                                                  10   BY MS. SPEARS:                                                          02:17:52
                                                                                  11         Q       Did you watch this same moment in time                    02:17:52
                                                                                  12   on any other video?                                                     02:17:54
                                                                                  13         A       I watched all the videos for this                         02:17:55
                                                                                  14   moment in particular.                                                   02:17:58
                                                                                  15         Q       Do you recall any other specific videos                   02:17:59
                                                                                  16   where you see this?                                                     02:18:01
                                                                                  17         A       I did not take notes on the numbers.                      02:18:02
                                                                                  18                 MS. SPEARS:     Let's restart at                          02:18:03
                                                                                  19   47 seconds and pause around 58 second.                                  02:18:37
                                                                                  20                 MS. MEEK:     Restarting Video 2 at                       02:18:43
                                                                                  21   47 seconds.                                                             02:18:44
                                                                                  22                      (Video 2 played).                                    02:18:45
                                                                                  23                 MS. MEEK:     I just paused Video 2 at                    02:18:59
                                                                                  24   58 seconds.                                                             02:19:01
                                                                                  25   BY MS. SPEARS:                                                          02:19:04


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                                 ID#: 1805
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 172 of 281 - Page

                                                                                                             Conducted on December 7, 2021               170

                                                                                  1          Q       Okay, you describe Sandmann as grinning                   02:19:04
                                                                                  2    earlier.     Would you characterize this look he's                      02:19:06
                                                                                  3    giving right now as a smirk?                                            02:19:09
                                                                                  4                  MR. McMURTRY:      Objection.      Go ahead.              02:19:11
                                                                                  5                  THE WITNESS:      A smirk attributes                      02:19:12
                                                                                  6    intention.     I cannot do that reliably.                               02:19:14
                                                                                  7    BY MS. SPEARS:                                                          02:19:18
                                                                                  8          Q       So it's a matter of interpretation?                       02:19:18
                                                                                  9          A       Correct.                                                  02:19:29
                                                                                  10         Q       In another of the videos you reference                    02:19:29
                                                                                  11   Video 14 here, Exhibit 14.                                              02:19:31
                                                                                  12         A       Yes.                                                      02:19:34
                                                                                  13         Q       Can you pull that up and just pause at                    02:19:35
                                                                                  14   the beginning, please?                                                  02:19:39
                                                                                  15         A       Yep.                                                      02:19:40
                                                                                  16         Q       You note that -- strike that.            You note         02:19:40
                                                                                  17   that Mr. Sandmann's hands are behind his back?                          02:20:21
                                                                                  18   Clasped behind his back.                                                02:20:22
                                                                                  19         A       Correct.                                                  02:20:26
                                                                                  20         Q       Why did you note this?         What's the                 02:20:26
                                                                                  21   significance to you?                                                    02:20:27
                                                                                  22         A       Again, that had significance to me from                   02:20:28
                                                                                  23   my upbringing, that especially if a young man was                       02:20:31
                                                                                  24   in church or in a respectful situation, they were                       02:20:34
                                                                                  25   expected to put their hands behind their back to                        02:20:36


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                                 ID#: 1806
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 173 of 281 - Page

                                                                                                             Conducted on December 7, 2021             171

                                                                                  1    indicate lack of aggression and respect.                              02:20:39
                                                                                  2          Q       Do you know why he has his hands behind                 02:20:43
                                                                                  3    his back?                                                             02:20:45
                                                                                  4          A       No, I don't.                                            02:20:45
                                                                                  5          Q       Let's go back to page 10 of your report                 02:20:48
                                                                                  6    here in the last paragraph.          You cite Video 16.               02:20:50
                                                                                  7    Do you see that?                                                      02:21:05
                                                                                  8          A       Yes.                                                    02:21:06
                                                                                  9          Q       And -- just wait one second.           You talk         02:21:07
                                                                                  10   about a 3-foot corridor.         I want you pull up                   02:21:18
                                                                                  11   Video 16 and start it at the 6-second mark and                        02:21:23
                                                                                  12   pause it at the 11-second mark.                                       02:21:26
                                                                                  13                 MS. MEEK:     I am starting Video 16 at                 02:21:41
                                                                                  14   6 seconds.                                                            02:21:44
                                                                                  15                        (Video 16 played.)                               02:21:45
                                                                                  16                 MS. MEEK:     I just paused Video 16 at                 02:21:53
                                                                                  17   11 seconds.                                                           02:21:56
                                                                                  18   BY MS. SPEARS:                                                        02:21:57
                                                                                  19         Q       Where do you see, as you state here, a                  02:21:57
                                                                                  20   "3-foot corridor between Sandmann and a group of                      02:21:59
                                                                                  21   the students to his left going up the stairs"?                        02:22:04
                                                                                  22         A       Well, if you look at the fellow in the                  02:22:07
                                                                                  23   red cap, who, by the way, was chanting with                           02:22:08
                                                                                  24   Sandmann earlier, but I don't want to interrupt                       02:22:11
                                                                                  25   your question, he's got a camera held high,                           02:22:11


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                                 ID#: 1807
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 174 of 281 - Page

                                                                                                          Conducted on December 7, 2021                172

                                                                                  1    photographing Sandmann.                                               02:22:15
                                                                                  2               Right behind him, there's at least -- I                    02:22:17
                                                                                  3    can't say exactly, of course, but quite a few                         02:22:19
                                                                                  4    steps going up where there is nobody between                          02:22:21
                                                                                  5    Sandmann and the group of boys to the north to                        02:22:25
                                                                                  6    Sandmann's left for at least three feet until you                     02:22:28
                                                                                  7    get quite a few steps higher.                                         02:22:31
                                                                                  8          Q    Okay, earlier in your report and we                        02:22:33
                                                                                  9    talked about it, you said you can't judge                             02:22:35
                                                                                  10   distances from the videos.       And you are a                        02:22:38
                                                                                  11   horrible, I think you said, judge of distances.                       02:22:42
                                                                                  12              So how did you come up with this                           02:22:44
                                                                                  13   approximation?                                                        02:22:46
                                                                                  14         A    Well, that one is easier because that                      02:22:46
                                                                                  15   is wider than a yardstick, I can just tell, and I                     02:22:48
                                                                                  16   use yardsticks all the time, and that's 3 feet.                       02:22:51
                                                                                  17         Q    What do you use yardsticks for?                            02:22:55
                                                                                  18         A    I have done a lot of work,                                 02:22:58
                                                                                  19   construction, on five houses now, so yardsticks                       02:22:59
                                                                                  20   I'm good with, but 20 feet, I'm not.                                  02:23:02
                                                                                  21         Q    So it looks --                                             02:23:08
                                                                                  22         A    It looks like 3, it might be 4.              I was         02:23:09
                                                                                  23   being conservative.    That might be 4 feet, but at                   02:23:12
                                                                                  24   least 3 feet.                                                         02:23:14
                                                                                  25         Q    And that's based on your personal                          02:23:15


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                                 ID#: 1808
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 175 of 281 - Page

                                                                                                             Conducted on December 7, 2021                173

                                                                                  1    approximation?                                                           02:23:17
                                                                                  2             A      I could see putting a yardstick there                    02:23:18
                                                                                  3    between Sandmann's left shoulder and the boys to                         02:23:20
                                                                                  4    the right on the screen and there would still be                         02:23:24
                                                                                  5    room.                                                                    02:23:28
                                                                                  6             Q      But that's your approximation, you                       02:23:30
                                                                                  7    don't know for sure; right?                                              02:23:32
                                                                                  8             A      I'm pretty sure about that one.            I can         02:23:34
                                                                                  9    see it.                                                                  02:23:35
                                                                                  10                   MS. SPEARS:     Restart at the beginning,                02:23:36
                                                                                  11   and pause right at the beginning.                                        02:23:44
                                                                                  12                   MS. MEEK:     For the record, the                        02:23:49
                                                                                  13   television is displaying Video 16 at zero seconds.                       02:23:49
                                                                                  14   BY MS. SPEARS:                                                           02:23:54
                                                                                  15            Q      Would you agree with me at the start of                  02:23:54
                                                                                  16   this video there is no open corridor because there                       02:23:55
                                                                                  17   is another student standing to Sandmann's -- on                          02:23:57
                                                                                  18   Sandmann's left.       Can you see him there in the red                  02:24:01
                                                                                  19   shirt and Notre Dame hat?                                                02:24:04
                                                                                  20            A      I don't think he's immediately to                        02:24:10
                                                                                  21   Sandmann's left and everyone that Phillips had                           02:24:10
                                                                                  22   gone up to that point, as he move the boys moved                         02:24:13
                                                                                  23   aside.       So I think there was plenty of room, at                     02:24:13
                                                                                  24   least three or four steps above Sandmann, although                       02:24:16
                                                                                  25   it is not easy to judge exactly how many steps.                          02:24:19


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                                 ID#: 1809
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 176 of 281 - Page

                                                                                                              Conducted on December 7, 2021        174

                                                                                  1             Q    You don't see right here in this moment             02:24:20
                                                                                  2    a 3-foot open corridor, do you?                                   02:24:23
                                                                                  3             A    Yeah, immediately to Sandmann's left, I             02:24:25
                                                                                  4    do.     There's a group of boys, this ranging group               02:24:27
                                                                                  5    of boys with a white cap, a red cap, a blue cap,                  02:24:29
                                                                                  6    the brown hair, that group is at least 3 feet to                  02:24:30
                                                                                  7    the -- away, more, away from Sandmann and you                     02:24:36
                                                                                  8    could go up several steps before you hit Notre                    02:24:39
                                                                                  9    Dame.                                                             02:24:42
                                                                                  10            Q    But what you are saying is that space               02:24:43
                                                                                  11   opens up because the other students, including                    02:24:46
                                                                                  12   that student in the Notre Dame cap, moves to the                  02:24:47
                                                                                  13   side, correct?                                                    02:24:52
                                                                                  14            A    All I can say is that right now                     02:24:53
                                                                                  15   Phillips could pass to his -- to the left of                      02:24:54
                                                                                  16   Sandmann, up several of the steps.                                02:24:55
                                                                                  17            Q    Okay.                                               02:24:58
                                                                                  18            A    Sandmann was not precluding him from                02:24:59
                                                                                  19   moving up the steps.                                              02:25:01
                                                                                  20            Q    You are not disagreeing with me                     02:25:05
                                                                                  21   though --                                                         02:25:06
                                                                                  22                     -- (overspeaking) --                            02:25:07
                                                                                  23            A    The boys higher-up -- (overspeaking) --             02:25:07
                                                                                  24            Q    Hold on a second.        You are not                02:25:09
                                                                                  25   disagreeing with me, though, that there's a                       02:25:11


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                                 ID#: 1810
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 177 of 281 - Page

                                                                                                               Conducted on December 7, 2021           175

                                                                                  1    student in a Notre Dame hat to Sandmann's left                        02:25:14
                                                                                  2    that is in the space that you pointed out moments                     02:25:18
                                                                                  3    later, as the 3-foot corridor, correct?                               02:25:21
                                                                                  4             A     I think you are misconstruing what I'm                 02:25:23
                                                                                  5    saying.      I think there is space for Phillips to                   02:25:32
                                                                                  6    move to the left of Sandmann up the steps, now, in                    02:25:34
                                                                                  7    this point in the video, clearly.                                     02:25:38
                                                                                  8             Q     And no, the space opens up after the                   02:25:42
                                                                                  9    student in the Notre Dame hat moves aside; is that                    02:25:49
                                                                                  10   what you are saying?                                                  02:25:54
                                                                                  11            A     The boy is not immediately -- the boy                  02:25:55
                                                                                  12   in the Notre Dame hat is not immediately to                           02:25:55
                                                                                  13   Phillips' left.        Sandmann could have moved up the               02:26:00
                                                                                  14   steps.                                                                02:26:02
                                                                                  15            Q     And what do you base that on?                          02:26:02
                                                                                  16            A     I can see.                                             02:26:05
                                                                                  17            Q     It's based on your perception of the                   02:26:06
                                                                                  18   video.                                                                02:26:08
                                                                                  19            A     I think I see steps there between that                 02:26:08
                                                                                  20   boy's legs and Sandmann, gray steps.               That means         02:26:12
                                                                                  21   that boy is higher up on the steps than Sandmann.                     02:26:17
                                                                                  22                  MR. McMURTRY:       Can we take a break at             02:26:20
                                                                                  23   some point, in the next five minutes or so.                           02:26:24
                                                                                  24   BY MS. SPEARS:                                                        02:26:26
                                                                                  25            Q     Sure.    Do you think that Phillips could              02:26:26


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                                 ID#: 1811
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 178 of 281 - Page

                                                                                                          Conducted on December 7, 2021             176

                                                                                  1    have felt surrounded in certain moments of the                     02:26:29
                                                                                  2    encounter, like this one?                                          02:26:31
                                                                                  3             A   I think he waded into the middle of a                 02:26:33
                                                                                  4    crowd of boys, so in a sense he was surrounded.                    02:26:35
                                                                                  5             Q   If he felt surrounded, would he be                    02:26:39
                                                                                  6    wrong?                                                             02:26:41
                                                                                  7             A   No, he was surrounded by the boys.         He         02:26:41
                                                                                  8    walked into the middle of the crowd.                               02:26:43
                                                                                  9             Q   And you believe that this part of                     02:26:46
                                                                                  10   Video 16, which you cite in your report here,                      02:26:49
                                                                                  11   supports your opinion that Phillips' statements                    02:26:51
                                                                                  12   that Sandmann was blocking him or sort of stopping                 02:26:55
                                                                                  13   him -- stopping his exit was incorrect?                            02:26:58
                                                                                  14            A   There are two aspects to that                         02:27:01
                                                                                  15   statement.    One of them is that he was not                       02:27:05
                                                                                  16   passively blocking, meaning that his being there,                  02:27:07
                                                                                  17   where he was on the steps did not prevent Phillips                 02:27:09
                                                                                  18   from going further up the steps.         That is a fact            02:27:13
                                                                                  19   that you can see in this video, as well as in part                 02:27:15
                                                                                  20   of Video 2, which we didn't discuss when we saw                    02:27:18
                                                                                  21   it, as well as earlier in this video.                              02:27:20
                                                                                  22                Second, I see no evidence at all that                 02:27:23
                                                                                  23   Phillips has, in any way, moved to prevent --                      02:27:25
                                                                                  24                MR. McMURTRY:    Sandmann --                          02:27:32
                                                                                  25   (overspeaking) --                                                  02:27:33


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                                 ID#: 1812
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 179 of 281 - Page

                                                                                                           Conducted on December 7, 2021               177

                                                                                  1                  THE WITNESS:    Sorry, I'm getting my                   02:27:34
                                                                                  2    names mixed up.                                                       02:27:35
                                                                                  3                  Sandmann has not done anything to                       02:27:37
                                                                                  4    prevent Phillips from moving up the steps.               That         02:27:39
                                                                                  5    is not to say he is not -- as an agent blocking                       02:27:40
                                                                                  6    Phillips.                                                             02:27:44
                                                                                  7                  So neither is he passively blocking                     02:27:47
                                                                                  8    him, there is room to his left, nor is he actively                    02:27:50
                                                                                  9    blocking him in the sense of his intention                            02:27:52
                                                                                  10   being -- putting himself in the way.           That's what            02:27:55
                                                                                  11   I'm saying.                                                           02:27:57
                                                                                  12   BY MS. SPEARS:                                                        02:27:58
                                                                                  13         Q       But you don't know of Sandmann's                        02:27:58
                                                                                  14   intent, you are not --                                                02:28:02
                                                                                  15         A       It doesn't matter his intent.          He did           02:28:03
                                                                                  16   not move.                                                             02:28:05
                                                                                  17         Q       Let me ask you this.       Video 16 and this            02:28:06
                                                                                  18   3-foot corridor you say you see, you say that                         02:28:08
                                                                                  19   supports your opinion that Phillips' statements                       02:28:12
                                                                                  20   that Sandmann was blocking him or sort of stopping                    02:28:14
                                                                                  21   his exit is incorrect.       In other words, you are                  02:28:16
                                                                                  22   relying on this corridor you see in the video as                      02:28:19
                                                                                  23   part of your opinion, correct?                                        02:28:23
                                                                                  24         A       Part of the opinion.       That is not the              02:28:24
                                                                                  25   whole thing.     I want to emphasize that.                            02:28:25


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                                 ID#: 1813
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 180 of 281 - Page

                                                                                                              Conducted on December 7, 2021             178

                                                                                  1                  MS. SPEARS:      That's fine.       You want to          02:28:27
                                                                                  2    take a break?                                                          02:28:28
                                                                                  3                  MR. McMURTRY:       Yes, I do.      Ten minutes?         02:28:29
                                                                                  4                  MS. SPEARS:      Sure.                                   02:28:31
                                                                                  5                  THE VIDEOGRAPHER:        We are going off the            02:28:33
                                                                                  6    record.    The time is 2:28 p.m.                                       02:28:34
                                                                                  7        (Recess taken from 2:28 p.m. to 3:01 p.m.)                         02:28:35
                                                                                  8                  THE VIDEOGRAPHER:        We're going back on             03:01:03
                                                                                  9    the record.     The time is 3:01 p.m.                                  03:01:05
                                                                                  10   BY MS. SPEARS:                                                         03:01:08
                                                                                  11         Q       Okay.    Looking at your report we talked                03:01:08
                                                                                  12   about Video 2 which you also have cited.                               03:01:17
                                                                                  13         A       Yes.                                                     03:01:20
                                                                                  14         Q       And we talked a moment ago, before the                   03:01:20
                                                                                  15   break, about your reference to what you perceive                       03:01:23
                                                                                  16   as a 3-foot corridor, correct?                                         03:01:27
                                                                                  17         A       Yes.                                                     03:01:30
                                                                                  18         Q       And I take it your position is that                      03:01:31
                                                                                  19   Video 2 shows that same corridor that you believe                      03:01:34
                                                                                  20   you see?                                                               03:01:40
                                                                                  21         A       Yes.                                                     03:01:41
                                                                                  22         Q       Okay.    So let's go -- (overspeaking) --                03:01:42
                                                                                  23         A       So it's at 50 seconds (inaudible) --                     03:02:03
                                                                                  24                 THE COURT REPORTER:         I am sorry, I                03:02:04
                                                                                  25   didn't hear that at all.                                               03:02:04


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                                 ID#: 1814
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 181 of 281 - Page

                                                                                                             Conducted on December 7, 2021        179

                                                                                  1                 THE WITNESS:       At 50 seconds in Video 2         03:02:04
                                                                                  2    you can see a passageway to Sandmann's left going                03:02:04
                                                                                  3    up the steps and as I saw it, that passage way                   03:02:08
                                                                                  4    stays there until at least 1 minute 50 seconds                   03:02:11
                                                                                  5    when some of the other boys come down closer                     03:02:15
                                                                                  6    behind Sandmann.                                                 03:02:17
                                                                                  7    BY MS. SPEARS:                                                   03:02:18
                                                                                  8          Q      Okay.    So continuing on in your report            03:02:18
                                                                                  9    on page 11, you state, and it's in the middle                    03:02:22
                                                                                  10   there, the first full paragraph:                                 03:02:35
                                                                                  11                "After a couple of minutes of the                   03:02:41
                                                                                  12   face-to-face confrontation one of Phillips'                      03:02:43
                                                                                  13   companions (judging by his apparel and what he                   03:02:46
                                                                                  14   says) starts to argue with another boy."                         03:02:49
                                                                                  15                And you reference to Video 3.                       03:02:52
                                                                                  16                I'd like to pull that up, Video 3,                  03:02:55
                                                                                  17   Exhibit 3.                                                       03:02:58
                                                                                  18                Can you just jump to 147 and pause                  03:02:59
                                                                                  19   there so we can see the image.                                   03:03:01
                                                                                  20         A      According to me that already starts by              03:03:13
                                                                                  21   1:48 on Video 3, for what it's worth.                            03:03:15
                                                                                  22         Q      That's fine.                                        03:03:18
                                                                                  23         Q      So is this the "companion" you are                  03:03:23
                                                                                  24   referring to?                                                    03:03:26
                                                                                  25         A      Yes.                                                03:03:26


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                                 ID#: 1815
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 182 of 281 - Page

                                                                                                              Conducted on December 7, 2021        180

                                                                                  1          Q       What do you mean by "companion" here?               03:03:26
                                                                                  2          A       If you go back to the earlier videos                03:03:30
                                                                                  3    watching Sandmann walk onto the scene he is there                 03:03:33
                                                                                  4    with the guy taking a video, he is there with this                03:03:35
                                                                                  5    fellow, and there's several women, there's a group                03:03:38
                                                                                  6    of people walking with Phillips up toward the                     03:03:40
                                                                                  7    group of Covington boys and this is one of the                    03:03:44
                                                                                  8    people among that group.                                          03:03:45
                                                                                  9          Q       And what about his apparel made you                 03:03:46
                                                                                  10   describe him as a companion?                                      03:03:48
                                                                                  11         A       I think that the hat he's wearing might             03:03:50
                                                                                  12   have a -- well, first of all, he has -- I think                   03:03:51
                                                                                  13   that's braids which is a very common kind of hair                 03:03:54
                                                                                  14   style for indigenous Native American men and I                    03:03:59
                                                                                  15   think he might have a hat that has an image on it,                03:04:04
                                                                                  16   but I don't remember.                                             03:04:07
                                                                                  17         Q       Okay.                                               03:04:08
                                                                                  18         A       But his behavior was the principal                  03:04:11
                                                                                  19   thing here.                                                       03:04:14
                                                                                  20         Q       And --                                              03:04:15
                                                                                  21         A       He was telling the boys to go back to               03:04:19
                                                                                  22   Europe.                                                           03:04:21
                                                                                  23         Q       And why would you associate that                    03:04:21
                                                                                  24   comment with Mr. Phillips?           Simply because               03:04:23
                                                                                  25   Mr. Phillips is Native American?                                  03:04:25


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                                 ID#: 1816
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 183 of 281 - Page

                                                                                                             Conducted on December 7, 2021               181

                                                                                  1             A    No, I said he was one of the people                       03:04:27
                                                                                  2    with Phillips quite clearly all throughout the                          03:04:29
                                                                                  3    scene and he's arguing with these boys about who                        03:04:32
                                                                                  4    has more right to be here in the country.                               03:04:35
                                                                                  5             Q    Are you suggesting that he was speaking                   03:04:37
                                                                                  6    for Mr. Phillips?                                                       03:04:39
                                                                                  7             A    No.                                                       03:04:40
                                                                                  8             Q    Are you suggesting that Mr. Phillips                      03:04:41
                                                                                  9    approved what he was saying?                                            03:04:43
                                                                                  10            A    Of course not.                                            03:04:45
                                                                                  11            Q    And you are not sure whether he was                       03:04:46
                                                                                  12   even with Mr. Phillips; you are just making that                        03:04:48
                                                                                  13   assumption based on -- (overspeaking) --                                03:04:51
                                                                                  14            A    I don't know whether Mr. Phillips knows                   03:04:53
                                                                                  15   him.     I know he accompanied Mr. Phillips onto the                    03:04:54
                                                                                  16   scene.                                                                  03:04:57
                                                                                  17            Q    And you are making an assumption --                       03:04:58
                                                                                  18   that's what you base your assumption on, that he                        03:05:02
                                                                                  19   was with Mr. Phillips based on --                                       03:05:03
                                                                                  20            A    He was in the group of people                             03:05:05
                                                                                  21   accompanying Mr. Phillips as they drummed and                           03:05:06
                                                                                  22   chanted walking up to the Covington boys.                               03:05:09
                                                                                  23            Q    What do you mean by "group"?                              03:05:13
                                                                                  24            A    There was a small group of people.            We          03:05:14
                                                                                  25   could go back to the last video we reviewed.               They         03:05:17


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                                 ID#: 1817
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 184 of 281 - Page

                                                                                                           Conducted on December 7, 2021            182

                                                                                  1    come on to the scene with Phillips.           Some of them         03:05:20
                                                                                  2    are drumming.     I think he might have been one of                03:05:21
                                                                                  3    the ones drumming, but I don't remember, I'd have                  03:05:23
                                                                                  4    to look at the video again, and chanting, they                     03:05:25
                                                                                  5    were all chanting, and they were walking with                      03:05:27
                                                                                  6    Phillips in front of -- between the two groups,                    03:05:30
                                                                                  7    the Black Hebrew Israelites and the Covington                      03:05:32
                                                                                  8    boys, and he accompanied Phillips with that small                  03:05:34
                                                                                  9    group of people walking together into the middle                   03:05:37
                                                                                  10   of the group of Covington boys and then he follows                 03:05:40
                                                                                  11   him up the steps and above Sandmann there and                      03:05:43
                                                                                  12   turns and starts to argue with one of the other                    03:05:47
                                                                                  13   Covington boys.                                                    03:05:49
                                                                                  14         Q    And so your assumption that he's a                      03:05:50
                                                                                  15   companion is because he's walking behind                           03:05:54
                                                                                  16   Mr. Phillips?                                                      03:05:57
                                                                                  17              MR. McMURTRY:       Objection.      Go ahead.           03:05:58
                                                                                  18              THE WITNESS:       I mean by "companion"                03:05:59
                                                                                  19   he's one of the people who accompanied                             03:06:01
                                                                                  20   Mr. Phillips into this group.                                      03:06:03
                                                                                  21   BY MS. SPEARS:                                                     03:06:05
                                                                                  22         Q    You have no idea whether he knows                       03:06:05
                                                                                  23   Mr. Phillips --                                                    03:06:08
                                                                                  24         A    I said I do not know.                                   03:06:09
                                                                                  25         Q    And your assumptions are based on                       03:06:13


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                                 ID#: 1818
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 185 of 281 - Page

                                                                                                           Conducted on December 7, 2021         183

                                                                                  1    watching the videos, correct?                                   03:06:15
                                                                                  2            A     All I know is from the videos, yes.               03:06:16
                                                                                  3            Q     And you are not claiming that                     03:06:30
                                                                                  4    Mr. Phillips knew all the people in the -- what                 03:06:31
                                                                                  5    you call the group behind him, correct?                         03:06:35
                                                                                  6            A     He very well may not have known them              03:06:38
                                                                                  7    all.    I don't know.                                           03:06:41
                                                                                  8            Q     He may not have known any of them; you            03:06:42
                                                                                  9    don't know.                                                     03:06:44
                                                                                  10           A     I don't know.                                     03:06:45
                                                                                  11                 MS. SPEARS:     Let's go in that video to         03:06:45
                                                                                  12   3:18 and pause at 3:33.                                         03:07:03
                                                                                  13                 MS. MEEK:     I'm starting Video 3 at             03:07:12
                                                                                  14   3:18.                                                           03:07:14
                                                                                  15                     (Video 3 played.)                             03:07:14
                                                                                  16                 MS. MEEK:     I just paused Video 3 at            03:07:17
                                                                                  17   3 minutes and 33 seconds.                                       03:07:34
                                                                                  18   BY MS. SPEARS:                                                  03:07:36
                                                                                  19           Q     You described one of the companions as            03:07:36
                                                                                  20   yelling something like "We won."          What does "we         03:07:41
                                                                                  21   won" mean?                                                      03:07:44
                                                                                  22           A     I don't know.     That's what he says.            03:07:44
                                                                                  23   The same guy in the red hat we were just                        03:07:44
                                                                                  24   discussing, is a guy who then says, "We won,                    03:07:47
                                                                                  25   Grandpa, we won," and he shakes his hands in the                03:07:48


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                                 ID#: 1819
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 186 of 281 - Page

                                                                                                          Conducted on December 7, 2021             184

                                                                                  1    air.                                                               03:07:51
                                                                                  2             Q   Do you -- and you don't know what that                03:07:52
                                                                                  3    means?                                                             03:07:54
                                                                                  4             A   I know what it means in English.           It         03:07:54
                                                                                  5    means we, inclusive, him and grandpa and whatever                  03:07:56
                                                                                  6    else group he thought he was with, won some                        03:08:00
                                                                                  7    confrontation, or whatever he meant, that was at                   03:08:02
                                                                                  8    issue.                                                             03:08:05
                                                                                  9             Q   That's your interpretation of what he                 03:08:06
                                                                                  10   meant?                                                             03:08:07
                                                                                  11            A   That's what English means, "we won."                  03:08:08
                                                                                  12            Q   Do you know whether Mr. Phillips agreed               03:08:10
                                                                                  13   with that statement?                                               03:08:12
                                                                                  14            A   No, I don't.                                          03:08:13
                                                                                  15            Q   Is it possible different people were                  03:08:14
                                                                                  16   thinking different things in that moment?                          03:08:16
                                                                                  17            A   I have no idea what they were thinking.               03:08:18
                                                                                  18            Q   You state that the group was                          03:08:25
                                                                                  19   "congratulating" Phillips, how do you determine                    03:08:27
                                                                                  20   that they were congratulating Mr. Phillips?                        03:08:30
                                                                                  21            A   Well, for one thing he said, "We won,                 03:08:33
                                                                                  22   grandpa," and grandpa, as I understand it, in many                 03:08:35
                                                                                  23   cultures is an honorific that you use for someone                  03:08:37
                                                                                  24   that you respect and by making this gesture with                   03:08:41
                                                                                  25   his arms in the air and saying, "We won" and doing                 03:08:44


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                                 ID#: 1820
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 187 of 281 - Page

                                                                                                          Conducted on December 7, 2021        185

                                                                                  1    the hoot, that's a celebratory gesture which he               03:08:47
                                                                                  2    was sharing with this man he respects, calling                03:08:51
                                                                                  3    "grandpa" which I think was Phillips.                         03:08:54
                                                                                  4             Q   What are you -- what was he                      03:08:57
                                                                                  5    congratulating him for?                                       03:08:58
                                                                                  6             A   I'm not going to put words in his                03:09:00
                                                                                  7    mouth.                                                        03:09:02
                                                                                  8             Q   You don't know.                                  03:09:04
                                                                                  9             A   He thought there was an argument or a            03:09:05
                                                                                  10   fight being engaged in and he believed that the               03:09:06
                                                                                  11   group that he was with, which included him and                03:09:09
                                                                                  12   Phillips and the other person banging the drum,               03:09:10
                                                                                  13   had won that engagement.                                      03:09:12
                                                                                  14            Q   Do you know that's what he thought?              03:09:13
                                                                                  15            A   I know that's what he meant: "We won."           03:09:15
                                                                                  16            Q   You state that Phillips yelled                   03:09:23
                                                                                  17   something to the crowd.                                       03:09:24
                                                                                  18            A   Right.   I didn't hear what he said.             03:09:27
                                                                                  19                MS. SPEARS:     Can you jump to 3:53 and         03:09:33
                                                                                  20   pause at 4:07.                                                03:09:37
                                                                                  21                MS. MEEK:     I'm restarting Video 3 at          03:09:48
                                                                                  22   3:03.                                                         03:09:52
                                                                                  23                     (Video 3 played.)                           03:09:53
                                                                                  24                MS. MEEK:     I just paused Video 3 at           03:10:03
                                                                                  25   4:07.                                                         03:10:06


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                                 ID#: 1821
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 188 of 281 - Page

                                                                                                               Conducted on December 7, 2021                  186

                                                                                  1    BY MS. SPEARS:                                                               03:10:07
                                                                                  2            Q       I take it that you don't know what he                        03:10:07
                                                                                  3    was yelling there?                                                           03:10:09
                                                                                  4            A       No, I couldn't hear what he said.                            03:10:10
                                                                                  5            Q       And why do you reference that?                               03:10:12
                                                                                  6            A       It -- (overspeaking) --                                      03:10:16
                                                                                  7            Q       Was it -- (overspeaking) --                                  03:10:17
                                                                                  8            A       It seemed to me to be concluding                             03:10:18
                                                                                  9    remarks on Phillips' part but I don't know what he                           03:10:21
                                                                                  10   said.       The reason I say it was conclusive was                           03:10:25
                                                                                  11   after his friend had raised his arms in a                                    03:10:25
                                                                                  12   celebratory fashion, Phillips is doing this.                    He's         03:10:28
                                                                                  13   also looking slightly up.           Among many Native                        03:10:31
                                                                                  14   American peoples I've known, that can be a prayer                            03:10:35
                                                                                  15   to a god or a thanks to the great spirit.                    I don't         03:10:36
                                                                                  16   know if that's what Phillips was doing, but it                               03:10:39
                                                                                  17   seemed to me that was some kind of grateful or                               03:10:41
                                                                                  18   happy gesture on his part.                                                   03:10:44
                                                                                  19           Q       You don't know what was in Phillips'                         03:10:46
                                                                                  20   mind at that moment or what he was thinking?                                 03:10:48
                                                                                  21           A       No, I do not.      I do not.                                 03:10:50
                                                                                  22           Q       Let's look at section 11 in your report                      03:10:55
                                                                                  23   entitled "Relevant law."                                                     03:10:58
                                                                                  24           A       Yes.                                                         03:11:01
                                                                                  25           Q       You note that the firm that retained                         03:11:02


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                                 ID#: 1822
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 189 of 281 - Page

                                                                                                          Conducted on December 7, 2021        187

                                                                                  1    you, on page 11, provided you with explanations of            03:11:04
                                                                                  2    falsehood under the law, followed by two                      03:11:06
                                                                                  3    paragraphs there.                                             03:11:09
                                                                                  4               Are those paragraphs verbatim what the             03:11:10
                                                                                  5    firm, Mr. McMurtry's firm provided you?                       03:11:13
                                                                                  6          A    Yes.                                               03:11:16
                                                                                  7          Q    And in the second paragraph you discuss            03:11:16
                                                                                  8    substantial truth.    What does that mean to you?             03:11:34
                                                                                  9          A    (Reading):                                         03:11:36
                                                                                  10              "The defense of truth overlooks minor              03:11:36
                                                                                  11   inaccuracies and concentrates upon substantial                03:11:45
                                                                                  12   truth."                                                       03:11:48
                                                                                  13              If somebody had said something like                03:11:49
                                                                                  14   someone was 37 inches in front of me and in fact              03:11:49
                                                                                  15   we could measure and it turned out that they were             03:11:53
                                                                                  16   33 or 40 inches in front of them but everything               03:11:54
                                                                                  17   else they said was true, then that would be                   03:12:00
                                                                                  18   substantially true.     That's my understanding.              03:12:02
                                                                                  19   That the main force of what was considered in                 03:12:03
                                                                                  20   adjudging whether this was true or not was in                 03:12:06
                                                                                  21   keeping with the facts.                                       03:12:10
                                                                                  22         Q    Did you consider whether the statements            03:12:12
                                                                                  23   at issue were substantially true?                             03:12:15
                                                                                  24         A    The statements at issue?          Yes.             03:12:16
                                                                                  25         Q    Did you try to determine whether they              03:12:18


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                                 ID#: 1823
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 190 of 281 - Page

                                                                                                        Conducted on December 7, 2021             188

                                                                                  1    were literally true?                                             03:12:19
                                                                                  2          A    Literal has no meaning in linguistics.                03:12:21
                                                                                  3          Q    You reference pleadings here.          Do you         03:12:27
                                                                                  4    understand what pleadings mean in a lawsuit?                     03:12:28
                                                                                  5          A    I probably don't understand what an                   03:12:33
                                                                                  6    attorney would mean by pleadings.                                03:12:36
                                                                                  7          Q    Do you have any understanding of what                 03:12:40
                                                                                  8    the summary judgment phase of a case is?                         03:12:41
                                                                                  9          A    No, I don't.    I mean, I've heard these              03:12:44
                                                                                  10   terms bantered around but I don't believe I know                 03:12:49
                                                                                  11   what they mean in law.                                           03:12:52
                                                                                  12         Q    On page 12 of your report you said you                03:12:53
                                                                                  13   "kept these explanations in mind in forming my                   03:12:55
                                                                                  14   opinion on the questions posed."                                 03:12:58
                                                                                  15              What does that mean?                                  03:13:04
                                                                                  16         A    Well, for example I told you that I                   03:13:06
                                                                                  17   based my assessment of these passages on the truth               03:13:07
                                                                                  18   conditions, as I understood them as a linguist,                  03:13:12
                                                                                  19   and on the facts in the video.                                   03:13:14
                                                                                  20              So when I talk about the truth                        03:13:17
                                                                                  21   conditions, as I said to you earlier today, I am                 03:13:19
                                                                                  22   interested in the plain meaning of the words as                  03:13:22
                                                                                  23   they would mean to any native speaker of the                     03:13:24
                                                                                  24   language and so when we talk about false having a                03:13:30
                                                                                  25   different effect on the mind of the reader from                  03:13:33


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                                 ID#: 1824
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 191 of 281 - Page

                                                                                                           Conducted on December 7, 2021        189

                                                                                  1    that which the truth would have produced, I'm                  03:13:35
                                                                                  2    talking -- that, to me, is talking about truth                 03:13:37
                                                                                  3    conditions.     That's exactly what I am talking               03:13:40
                                                                                  4    about.                                                         03:13:42
                                                                                  5                  So I think I was keeping that in mind            03:13:42
                                                                                  6    all along methodologically as well as in my                    03:13:44
                                                                                  7    conclusions, and when I talk about overlooking                 03:13:47
                                                                                  8    minor inaccuracies and not concentrating on                    03:13:49
                                                                                  9    substantial truth, if there was some minor                     03:13:52
                                                                                  10   discrepancy between what Mr. Phillips said and                 03:13:54
                                                                                  11   what is on the videos that didn't bear on the                  03:13:56
                                                                                  12   substantial truth of the statements I would have               03:13:58
                                                                                  13   overlooked that or at least mentioned that as                  03:14:01
                                                                                  14   minor but not substantive, but I didn't find                   03:14:04
                                                                                  15   anything along those lines.                                    03:14:07
                                                                                  16            Q    Let's go to your report at page 12,              03:14:09
                                                                                  17   section 7, "Analysis and reasoning."                           03:14:13
                                                                                  18                 With respect to question 1 you analyzed          03:14:32
                                                                                  19   whether the statement that's listed there was true             03:14:34
                                                                                  20   or false.                                                      03:14:36
                                                                                  21            A    Right.                                           03:14:36
                                                                                  22            Q    Correct?   And you said:                         03:14:37
                                                                                  23                 "To answer this question" -- well,               03:14:39
                                                                                  24   strike that:                                                   03:14:41
                                                                                  25                 To answer this question was it                   03:14:42


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                                 ID#: 1825
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 192 of 281 - Page

                                                                                                           Conducted on December 7, 2021         190

                                                                                  1    important to you to determine the truth conditions              03:14:44
                                                                                  2    of the sentences?                                               03:14:46
                                                                                  3          A     Yes.                                                03:14:49
                                                                                  4          Q     And what did you determine to be the                03:14:50
                                                                                  5    truth conditions of the sentences?                              03:14:51
                                                                                  6          A     Well, let's look -- I mean, I could go              03:14:55
                                                                                  7    clause by clause, blah, blah, but let's assume                  03:15:01
                                                                                  8    that Mr. Phillips was reporting accurately on what              03:15:04
                                                                                  9    he was thinking.    I have no way of knowing.                   03:15:08
                                                                                  10   I know what this means and it says that he was                  03:15:10
                                                                                  11   concerned he'd never get out of there.            Yeah?         03:15:12
                                                                                  12               I'm not disputing that.                             03:15:15
                                                                                  13               Really, I think the question is about               03:15:16
                                                                                  14   the meaning of the last two sentences of the                    03:15:19
                                                                                  15   passage:                                                        03:15:22
                                                                                  16               "I started going that way and that guy              03:15:23
                                                                                  17   in the hat stood in my way and we were at an                    03:15:25
                                                                                  18   impasse.   He just blocked my way and wouldn't                  03:15:27
                                                                                  19   allow me to retreat."                                           03:15:30
                                                                                  20               Let me start with the last sentence:                03:15:34
                                                                                  21               "He just blocked my way and wouldn't                03:15:35
                                                                                  22   allow me to retreat."                                           03:15:37
                                                                                  23               As I told you, I base this partly on my             03:15:39
                                                                                  24   careful consideration of dictionary definitions,                03:15:41
                                                                                  25   which gives me a more objective way of                          03:15:44


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                                 ID#: 1826
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 193 of 281 - Page

                                                                                                          Conducted on December 7, 2021        191

                                                                                  1    characterizing what I think the plain meaning of              03:15:46
                                                                                  2    the passage is.                                               03:15:47
                                                                                  3               And as I said, "wouldn't allow me to               03:15:48
                                                                                  4    retreat," if you look in the Oxford English                   03:15:52
                                                                                  5    Dictionary, when you look at the negative of the              03:15:54
                                                                                  6    past tense "wouldn't," that typically means that              03:15:56
                                                                                  7    the person in question refused or declined to                 03:15:59
                                                                                  8    permit the other person to do what was going on.              03:16:02
                                                                                  9               So, if it's true -- if it were true                03:16:05
                                                                                  10   that Sandmann wouldn't allow Phillips to retreat,             03:16:10
                                                                                  11   then there was some way in which Phillips -- I                03:16:13
                                                                                  12   mean Sandmann refused, but for that to be true it             03:16:17
                                                                                  13   would have to be the case that Sandmann refused or            03:16:21
                                                                                  14   declined to permit Phillips to retreat.                       03:16:23
                                                                                  15              Now, there's three ways you could                  03:16:27
                                                                                  16   understand "retreat" here.       It could be retreat          03:16:28
                                                                                  17   the way he had come.     I don't think that's what he         03:16:32
                                                                                  18   could have meant because the way he had come was              03:16:34
                                                                                  19   not in the line where Sandmann stood.                         03:16:36
                                                                                  20              It couldn't mean retreat away from the             03:16:41
                                                                                  21   Lincoln Memorial because that's where there                   03:16:45
                                                                                  22   were -- that -- so Sandmann was not in the way, so            03:16:49
                                                                                  23   he couldn't have done anything that seemed to be              03:16:53
                                                                                  24   offering the resistance to anybody going back away            03:16:55
                                                                                  25   from the Lincoln Memorial.                                    03:16:59


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                                 ID#: 1827
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 194 of 281 - Page

                                                                                                                Conducted on December 7, 2021                192

                                                                                  1                    So the retreat had to mean more retreat                     03:17:02
                                                                                  2    from the situation, not retreat from the way he                             03:17:04
                                                                                  3    had come but retreat from the situation, so the                             03:17:07
                                                                                  4    only other thing I thought he could mean was that                           03:17:09
                                                                                  5    he wanted to go up the steps.                                               03:17:11
                                                                                  6                    But I couldn't -- so, that's -- that                        03:17:14
                                                                                  7    that passage.       He would -- it would have to mean,                      03:17:18
                                                                                  8    as I then say, Phillips' claims that he intended                            03:17:20
                                                                                  9    to exit -- this is on page 13A, he intended to                              03:17:24
                                                                                  10   exit the situation and finish his song -- I just                            03:17:28
                                                                                  11   take that verbatim from what Phillips said, I have                          03:17:30
                                                                                  12   no argument with that.           He intended to go to the                   03:17:33
                                                                                  13   top of the stairs to get away from the group of                             03:17:37
                                                                                  14   boys.       I take that -- yeah, he was going to finish                     03:17:39
                                                                                  15   his song at the Lincoln Memorial and then he was                            03:17:42
                                                                                  16   going to go up.                                                             03:17:43
                                                                                  17                   Then he says he started going up to the                     03:17:44
                                                                                  18   Memorial and found himself at an impasse with                               03:17:46
                                                                                  19   Sandmann.       I think that's pretty clear where that                      03:17:48
                                                                                  20   comes in, and that Sandmann intentionally blocked                           03:17:50
                                                                                  21   his way and therefore refused to allow Phillips to                          03:17:53
                                                                                  22   retreat, by which I meant -- I take it he means                             03:17:57
                                                                                  23   retreat from the situation up the stairs away from                          03:18:00
                                                                                  24   the group of boys.                                                          03:18:02
                                                                                  25           Q       Okay.    So let's break this down.            So in         03:18:02


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                                 ID#: 1828
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 195 of 281 - Page

                                                                                                            Conducted on December 7, 2021          193

                                                                                  1    analyzing question 1 you refer to dictionary                      03:18:06
                                                                                  2    definitions of "block," "will" and "impasse";                     03:18:08
                                                                                  3    right?                                                            03:18:12
                                                                                  4             A   Yes.                                                 03:18:13
                                                                                  5             Q   Do you think you have a better                       03:18:13
                                                                                  6    understanding or knowledge of what those words                    03:18:14
                                                                                  7    mean, black, will, impasse than other people do?                  03:18:16
                                                                                  8             A   No.                                                  03:18:19
                                                                                  9             Q   Do you -- why did you examine those                  03:18:20
                                                                                  10   words, block, will, and impasse as opposed to                     03:18:23
                                                                                  11   other words in the first statement?                               03:18:27
                                                                                  12            A   When I look at the statement the only                03:18:29
                                                                                  13   thing that I thought could be in question, I can't                03:18:30
                                                                                  14   question in any way what Mr. Phillips was                         03:18:32
                                                                                  15   thinking.    I am not privy to that, so I was not                 03:18:34
                                                                                  16   going to take that first passage -- that first                    03:18:38
                                                                                  17   part of the passage into consideration -- I just                  03:18:41
                                                                                  18   assume that's what he was thinking.            I have no          03:18:44
                                                                                  19   reason to think otherwise.         Then the last two              03:18:46
                                                                                  20   sentences are the things that we should have                      03:18:48
                                                                                  21   evidence for or against in the videos.                            03:18:50
                                                                                  22                So I considered the videos with respect              03:18:53
                                                                                  23   to those sentences and what was at issue was not                  03:18:54
                                                                                  24   "I started going that way," he does turn towards                  03:18:57
                                                                                  25   the steps, I agreed about that.           "The guy in the         03:19:01


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                                 ID#: 1829
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 196 of 281 - Page

                                                                                                                Conducted on December 7, 2021            194

                                                                                  1    hat stood in my way."           Well, it happened that when             03:19:04
                                                                                  2    he turned he walked straight up to Sandmann, so                         03:19:08
                                                                                  3    Sandmann was standing there in the way that he                          03:19:11
                                                                                  4    says he was going to go.            "And we were at an                  03:19:13
                                                                                  5    impasse."       Well, that's where the question comes                   03:19:16
                                                                                  6    up.   What's an impasse and why does Sandmann stay                      03:19:18
                                                                                  7    -- Sandmann never moved, so why does Sandmann                           03:19:21
                                                                                  8    staying there, constitute being at an impasse?                          03:19:25
                                                                                  9    That's the question.                                                    03:19:27
                                                                                  10                       -- (overspeaking) --                                03:19:28
                                                                                  11            Q      So you looked at --                                     03:19:29
                                                                                  12            A      The second part -- if I may finish my                   03:19:30
                                                                                  13   answer.                                                                 03:19:32
                                                                                  14            Q      Sure.                                                   03:19:32
                                                                                  15            Q      The second part is, "He blocked my way                  03:19:32
                                                                                  16   and wouldn't allow me to retreat."                                      03:19:34
                                                                                  17                   I said "wouldn't allow me to retreat"                   03:19:36
                                                                                  18   attributes to Sandmann agency in refusing to allow                      03:19:38
                                                                                  19   Phillips to retreat, and because of that, I took                        03:19:43
                                                                                  20   "block" to mean not passively block, but actively                       03:19:46
                                                                                  21   block.       I mentioned that and discussed that                        03:19:51
                                                                                  22   earlier.                                                                03:19:52
                                                                                  23                   So those are the bases upon which --                    03:19:53
                                                                                  24   those are the reasons I looked at impasse, at                           03:19:55
                                                                                  25   block and I told you about wouldn't.                Yeah.     I         03:19:58


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                                 ID#: 1830
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 197 of 281 - Page

                                                                                                           Conducted on December 7, 2021              195

                                                                                  1    thought retreat was clear enough.                                    03:20:04
                                                                                  2          Q       Couldn't someone without a Ph.D. in                    03:20:06
                                                                                  3    linguistics look up the same words in the                            03:20:09
                                                                                  4    dictionary?                                                          03:20:11
                                                                                  5          A       Sure could.                                            03:20:12
                                                                                  6          Q       Okay, and apply those definitions to                   03:20:13
                                                                                  7    the facts as shown in the video?                                     03:20:14
                                                                                  8          A       Sure could.                                            03:20:16
                                                                                  9          Q       Are you offering an opinion on the                     03:20:19
                                                                                  10   meaning of the word block that's different than                      03:20:20
                                                                                  11   the dictionary definition of the word?                               03:20:24
                                                                                  12         A       No, I'm not, that's the plain meaning.                 03:20:25
                                                                                  13         Q       You know that the Oxford English                       03:20:26
                                                                                  14   Dictionary definition of block and a full list of                    03:20:29
                                                                                  15   the senses of block in that dictionary and then                      03:20:33
                                                                                  16   you note comparable entries from Merriam Webster                     03:20:35
                                                                                  17   and from American Heritage Dictionaries in the                       03:20:39
                                                                                  18   appendix.     Why did you select the Oxford                          03:20:42
                                                                                  19   definitions to include in the main part of your                      03:20:44
                                                                                  20   report, as opposed to the other dictionaries.            Any         03:20:47
                                                                                  21   --                                                                   03:20:49
                                                                                  22                     -- (overspeaking) --                               03:20:52
                                                                                  23         A       I thought it was clearest.                             03:20:52
                                                                                  24         Q       You noted that the Merriam Webster and                 03:20:54
                                                                                  25   American Heritage are comparable --                                  03:20:56


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                                 ID#: 1831
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 198 of 281 - Page

                                                                                                                Conducted on December 7, 2021        196

                                                                                  1             A       Yes.                                               03:20:58
                                                                                  2             Q       -- right?     Does that mean it's fair to          03:20:58
                                                                                  3    say you also think they have valid definitions of                   03:21:00
                                                                                  4    the word block in those two dictionaries?                           03:21:03
                                                                                  5             A       Sure do.                                           03:21:06
                                                                                  6             Q       Do you believe that lay persons and                03:21:08
                                                                                  7    folks with without a Ph.D. in linguistics would                     03:21:11
                                                                                  8    generally agree with the definitions you provided                   03:21:14
                                                                                  9    for block and will, and impasse?                                    03:21:19
                                                                                  10            A       Well, what people tend to do -- first              03:21:21
                                                                                  11   of all, I don't think any native speaker could                      03:21:22
                                                                                  12   doubt that the words have all the meanings that                     03:21:25
                                                                                  13   are given in those dictionary entries.                              03:21:27
                                                                                  14                    I don't like the word "definition"                 03:21:30
                                                                                  15   because it -- that suggests the lexicographer is                    03:21:31
                                                                                  16   deciding what they mean, they are just discerning                   03:21:33
                                                                                  17   what they mean, it's the plain meanings of the                      03:21:37
                                                                                  18   words.                                                              03:21:39
                                                                                  19            Q       Right, so -- but my point is anybody               03:21:39
                                                                                  20   could go to a dictionary and look up those usages,                  03:21:41
                                                                                  21   correct?                                                            03:21:44
                                                                                  22            A       Right, but I'm not just looking at the             03:21:45
                                                                                  23   dictionary.        People think that's what a linguist              03:21:47
                                                                                  24   does.        You've got it wrong.       You start with the          03:21:49
                                                                                  25   dictionary but I also look at the syntax and the                    03:21:52


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                                 ID#: 1832
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 199 of 281 - Page

                                                                                                          Conducted on December 7, 2021            197

                                                                                  1    context and all the things I'm doing here look at                 03:21:54
                                                                                  2    all three factors.                                                03:21:56
                                                                                  3          Q     So if, hypothetically, one agrees with                03:21:58
                                                                                  4    the definition of block that you chose, is the one                03:22:00
                                                                                  5    that Phillips intended in his statement, what are                 03:22:03
                                                                                  6    you offering beyond that as a linguist?                           03:22:06
                                                                                  7          A     Well, first of all, I don't think                     03:22:09
                                                                                  8    anybody else in this trial has said what I said,                  03:22:11
                                                                                  9    so you tell me.                                                   03:22:13
                                                                                  10               Secondly, I think that the -- the                     03:22:15
                                                                                  11   understanding of what truth condition is -- this                  03:22:25
                                                                                  12   is the thing people don't understand.           Everybody         03:22:27
                                                                                  13   uses language, like everything drives a car but                   03:22:30
                                                                                  14   they don't know how it works, just like most                      03:22:32
                                                                                  15   people don't know how a car works.                                03:22:35
                                                                                  16               I spent 40 years learning a little bit                03:22:37
                                                                                  17   about how it works.    We don't completely                        03:22:40
                                                                                  18   understand it yet.    It's very deep and very                     03:22:42
                                                                                  19   complex.   So, by bringing to bear these different                03:22:44
                                                                                  20   factors it may seem perfectly natural and simple                  03:22:47
                                                                                  21   when I give you the explanation because I thought                 03:22:50
                                                                                  22   hard about how to try to explain it to a lay                      03:22:53
                                                                                  23   person, but it isn't obvious to everybody where                   03:22:55
                                                                                  24   the truth conditional meaning ends and other                      03:22:58
                                                                                  25   factors come in because, as I said, at an earlier                 03:23:01


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                                 ID#: 1833
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 200 of 281 - Page

                                                                                                             Conducted on December 7, 2021            198

                                                                                  1    point in this deposition, meaning is much richer                     03:23:04
                                                                                  2    than truth conditions, much richer.                                  03:23:07
                                                                                  3                 I gave the example of slurs.            But I'm         03:23:09
                                                                                  4    saying the truth conditional content of an                           03:23:11
                                                                                  5    utterance is where the rubber hits the road.                         03:23:13
                                                                                  6                 If the utterance is true, in virtue of                  03:23:15
                                                                                  7    the plain meaning, then there's something -- you                     03:23:20
                                                                                  8    can assess that by looking at the facts in the                       03:23:22
                                                                                  9    situation.    If it's false you can point to a                       03:23:25
                                                                                  10   particular fact and say, like in the other thing,                    03:23:27
                                                                                  11   "he wouldn't allow me to retreat."                                   03:23:30
                                                                                  12                I said Sandmann's standing there, he                    03:23:33
                                                                                  13   doesn't move.    He's got his hands behind his back.                 03:23:35
                                                                                  14   Wait, so I'm saying I don't think so that's true                     03:23:38
                                                                                  15   that he wouldn't allow him to retreat.                               03:23:40
                                                                                  16         Q      Okay.    So as I understand it, there are               03:23:43
                                                                                  17   two parts to your analysis.          In the first part you           03:23:45
                                                                                  18   look at the passages --                                              03:23:47
                                                                                  19         A      Yeah.                                                   03:23:49
                                                                                  20         Q      -- to determine the meaning of the                      03:23:49
                                                                                  21   usage of the words, right?          And then the second              03:23:51
                                                                                  22   part --                                                              03:23:55
                                                                                  23         A      Not just the words, the whole sentences                 03:23:56
                                                                                  24   in which they pertain.                                               03:23:58
                                                                                  25         Q      The whole sentences.                                    03:23:59


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                                 ID#: 1834
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 201 of 281 - Page

                                                                                                          Conducted on December 7, 2021        199

                                                                                  1                 And then in the second part of your              03:24:00
                                                                                  2    analysis you review the videos to determine the               03:24:02
                                                                                  3    meaning -- whether the meaning of the two passages            03:24:05
                                                                                  4    seems to be true?                                             03:24:08
                                                                                  5             A   That it's consistent with the facts              03:24:08
                                                                                  6    that I observed in the videos, yes.                           03:24:09
                                                                                  7             Q   And you are not more qualified than              03:24:13
                                                                                  8    anyone else to perform part 2 of the analysis,                03:24:16
                                                                                  9    right?                                                        03:24:19
                                                                                  10            A   No, I'm not -- (overspeaking) .                  03:24:19
                                                                                  11            Q   So once you've determined the meaning            03:24:21
                                                                                  12   of the passages, that's where your expertise ends             03:24:23
                                                                                  13   as a witness, right?                                          03:24:26
                                                                                  14            A   Well, I understand what truth                    03:24:29
                                                                                  15   conditions are and I can see what's in front of my            03:24:31
                                                                                  16   eyes, so I'm as competent as anybody else to                  03:24:33
                                                                                  17   assess whether, given the truth conditions, it is             03:24:38
                                                                                  18   true or false.                                                03:24:40
                                                                                  19            Q   But anyone could review the videos in            03:24:41
                                                                                  20   the same way you did and determine whether the                03:24:43
                                                                                  21   meaning you assigned to them seems to be true;                03:24:46
                                                                                  22   right?                                                        03:24:48
                                                                                  23            A   I think so.                                      03:24:48
                                                                                  24            Q   Let's look at your report again and you          03:24:54
                                                                                  25   also lay out the definitions from the dictionaries            03:25:04


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                                 ID#: 1835
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 202 of 281 - Page

                                                                                                             Conducted on December 7, 2021        200

                                                                                  1    you've consulted or the usages -- and the                        03:25:09
                                                                                  2    dictionaries you've consulted for will and                       03:25:17
                                                                                  3    impasse, and you list a number then in the                       03:25:20
                                                                                  4    appendix, correct?                                               03:25:23
                                                                                  5          A       Yes.                                               03:25:23
                                                                                  6          Q       And those are valid possible                       03:25:24
                                                                                  7    definitions of will and impasse to a native                      03:25:25
                                                                                  8    speaker, correct?                                                03:25:28
                                                                                  9          A       Yes.                                               03:25:31
                                                                                  10         Q       And on page 13, if you flip to the next            03:25:31
                                                                                  11   page there.                                                      03:25:44
                                                                                  12         A       Yes.                                               03:25:45
                                                                                  13         Q       You state that: "Where there are two or            03:25:45
                                                                                  14   more agents the word 'impasse" is typically used                 03:25:50
                                                                                  15   to imply a situation in which the agents are                     03:25:50
                                                                                  16   unable to negotiate movement, real or figurative,                03:25:50
                                                                                  17   in this case about whether Phillips could proceed                03:25:50
                                                                                  18   up the stairs to make his exit."                                 03:25:50
                                                                                  19                 Do you see that?                                   03:25:55
                                                                                  20         A       Yes.                                               03:26:00
                                                                                  21         Q       And your basis for stating how the word            03:26:00
                                                                                  22   impasse is typically use is the definitions that                 03:26:02
                                                                                  23   you've consulted in the dictionaries, correct?                   03:26:04
                                                                                  24         A       Yes.   The figurative use of impasse is            03:26:06
                                                                                  25   the one that most people use today.                              03:26:15


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                                 ID#: 1836
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 203 of 281 - Page

                                                                                                           Conducted on December 7, 2021        201

                                                                                  1          Q    And you've concluded on page 13 that                03:26:16
                                                                                  2    Phillips is using the figurative --                            03:26:20
                                                                                  3          A    Yes.                                                03:26:22
                                                                                  4          Q    -- use of the word impasse, correct?                03:26:22
                                                                                  5          A    Yes.                                                03:26:25
                                                                                  6          Q    And the definition, the Oxford English              03:26:26
                                                                                  7    Dictionary definition defines impasse in a                     03:26:29
                                                                                  8    figurative way as "affix"; right?                              03:26:32
                                                                                  9          A    Yes.                                                03:26:35
                                                                                  10         Q    So that's a valid possible definition               03:26:36
                                                                                  11   of impasse to a native speaker, correct?                       03:26:39
                                                                                  12         A    Yes.                                                03:26:42
                                                                                  13         Q    And if we were look at the appendix on              03:26:42
                                                                                  14   page 18, the American Heritage definition 2 for                03:26:45
                                                                                  15   impasse is: a situation that is so difficult that              03:26:50
                                                                                  16   no progress can be made.                                       03:26:56
                                                                                  17              Do you see that?                                    03:27:00
                                                                                  18         A    Yep.                                                03:27:00
                                                                                  19         Q    Okay.    So that's a valid possible                 03:27:01
                                                                                  20   definition of impasse to a native speaker,                     03:27:03
                                                                                  21   correct?                                                       03:27:06
                                                                                  22         A    Yes.                                                03:27:06
                                                                                  23         Q    And then Merriam Webster's definition,              03:27:07
                                                                                  24   one of them is, on the same page there: a                      03:27:11
                                                                                  25   predicament affording no obvious escape, as a                  03:27:14


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                                 ID#: 1837
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 204 of 281 - Page

                                                                                                           Conducted on December 7, 2021                202

                                                                                  1    definition of impasse, and that's a valid possible                     03:27:17
                                                                                  2    definition of impasse to a native speaker,                             03:27:20
                                                                                  3    correct?                                                               03:27:22
                                                                                  4          A      All are native speaker meanings of                        03:27:23
                                                                                  5    impasse.                                                               03:27:25
                                                                                  6          Q      Do you know whether Mr. Phillips felt                     03:27:26
                                                                                  7    he was in a fix in that moment?                                        03:27:28
                                                                                  8          A      May I say something?        It is not about               03:27:31
                                                                                  9    Mr. Phillips.     He didn't say, "I was at an                          03:27:34
                                                                                  10   impasse."    He said, "We were at an impasse."             And         03:27:37
                                                                                  11   that's an important factor.          Remember, I am not                03:27:40
                                                                                  12   just looking at the definition of impasse.               You           03:27:42
                                                                                  13   have to look at the fact that this is --                               03:27:44
                                                                                  14         Q      But my question is, do you know whether                   03:27:45
                                                                                  15   --                                                                     03:27:45
                                                                                  16                MR. McMURTRY:     Can she finish her                      03:27:46
                                                                                  17   answer.                                                                03:27:46
                                                                                  18                MS. SPEARS:     Sure.                                     03:27:46
                                                                                  19                THE WITNESS:     Your question is                         03:27:47
                                                                                  20   misguided.    It is not about -- Mr. Phillips                          03:27:47
                                                                                  21   doesn't say, "I was at an impasse," and that's                         03:27:50
                                                                                  22   very important.     He said, "We were at an impasse,"                  03:27:53
                                                                                  23   and the only "we" there was him and Nick Sandmann.                     03:27:55
                                                                                  24   So that has to mean that we, as two agents, were                       03:27:59
                                                                                  25   at an impasse, and that is what -- I've said that                      03:28:02


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                                 ID#: 1838
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 205 of 281 - Page

                                                                                                           Conducted on December 7, 2021                 203

                                                                                  1    when it denotes -- when the subject denotes two or                      03:28:05
                                                                                  2    more agents it is typically used to imply a                             03:28:09
                                                                                  3    situation which they are unable to negotiate                            03:28:11
                                                                                  4    movement -- (overspeaking) --                                           03:28:14
                                                                                  5    BY MS. SPEARS:                                                          03:28:15
                                                                                  6          Q    So --                                                        03:28:15
                                                                                  7          A    Negotiate is the key.                                        03:28:16
                                                                                  8          Q    So let me rephrase my question.               Do you         03:28:17
                                                                                  9    know whether Mr. Phillips felt he was in a fix or                       03:28:20
                                                                                  10   a predicament vis-a-vis his position --                                 03:28:24
                                                                                  11   (overspeaking) --                                                       03:28:27
                                                                                  12         A    I'm not in a position to read his mind.                      03:28:28
                                                                                  13         Q    -- with Mr. Sandmann.                                        03:28:30
                                                                                  14              And I think you would say the same with                      03:28:32
                                                                                  15   Mr. Sandmann, you don't know whether he felt he                         03:28:34
                                                                                  16   was in a predicament?                                                   03:28:36
                                                                                  17         A    No, I cannot.                                                03:28:37
                                                                                  18         Q    You did not know what Mr. Phillips                           03:28:39
                                                                                  19   perceived in those moments, correct?                                    03:28:43
                                                                                  20         A    No, I do not.       I only know what I see                   03:28:45
                                                                                  21   in the video.                                                           03:28:47
                                                                                  22         Q    Okay.     Let's talk a little bit further.                   03:28:50
                                                                                  23   You state on page -- let's go back to 13.                               03:28:52
                                                                                  24         A    Mm-hmm.                                                      03:28:55
                                                                                  25         Q    You stated: "Sandmann did not move from                      03:29:03


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                                 ID#: 1839
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 206 of 281 - Page

                                                                                                          Conducted on December 7, 2021        204

                                                                                  1    where he had been standing prior to Phillips'                 03:29:05
                                                                                  2    approach."    What do you mean?                               03:29:07
                                                                                  3            A    I reviewed every single video and                03:29:10
                                                                                  4    looked where Nick Sandmann was standing and from              03:29:12
                                                                                  5    the time that Mr. Phillips was anywhere near the              03:29:15
                                                                                  6    front of the steps where Sandmann was standing, I             03:29:18
                                                                                  7    never saw Sandmann move a foot, left, right, up or            03:29:20
                                                                                  8    down.                                                         03:29:25
                                                                                  9            Q    And which videos did you review to               03:29:28
                                                                                  10   reach that conclusion?                                        03:29:30
                                                                                  11           A    All of them.    All 18.     And in               03:29:30
                                                                                  12   particular, I didn't see him move an inch from                03:29:41
                                                                                  13   where he was standing from the time that                      03:29:43
                                                                                  14   Sandmann -- that Phillips walked in front of him              03:29:46
                                                                                  15   and then turned and walked away.                              03:29:49
                                                                                  16           Q    Why do you say "in particular"?                  03:29:55
                                                                                  17           A    Because that's where it bears on                 03:29:56
                                                                                  18   whether they were at an impasse or whether                    03:29:58
                                                                                  19   Sandmann blocked Phillips way by moving, as he                03:30:02
                                                                                  20   says in the second passage.                                   03:30:06
                                                                                  21                I could also point out that from what            03:30:16
                                                                                  22   -- (overspeaking) --                                          03:30:20
                                                                                  23           Q    There's not a question pending.                  03:30:21
                                                                                  24           A    Well, it bears on one of the questions           03:30:22
                                                                                  25   you've been asking me.      But you if you don't want         03:30:24


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                                 ID#: 1840
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 207 of 281 - Page

                                                                                                           Conducted on December 7, 2021          205

                                                                                  1    to hear it, fine.                                                03:30:28
                                                                                  2                MR. McMURTRY:      That's okay.                      03:30:29
                                                                                  3    BY MS. SPEARS:                                                   03:30:34
                                                                                  4          Q     Your -- one second.        Okay.     So, you         03:30:34
                                                                                  5    wanted to say something.       Go ahead and say it.              03:31:21
                                                                                  6          A     From Sandmann's perspective he could                 03:31:26
                                                                                  7    have known that immediately to his left there were               03:31:28
                                                                                  8    no boys.   There was no reason for him to think                  03:31:30
                                                                                  9    that he was impeding Mr. Phillips' progress.                     03:31:33
                                                                                  10   Phillips could very readily have walked one step                 03:31:37
                                                                                  11   to the right and on up the stairs as long as                     03:31:40
                                                                                  12   Sandmann knew.                                                   03:31:44
                                                                                  13         Q     Do you know what Sandmann knew?                      03:31:46
                                                                                  14         A     I know what peripheral vision is and                 03:31:47
                                                                                  15   I know that if he had any idea in his peripheral                 03:31:49
                                                                                  16   vision what was to his left he would have known                  03:31:52
                                                                                  17   there was empty space.                                           03:31:54
                                                                                  18         Q     And in the same moment your -- you are               03:31:56
                                                                                  19   saying that once Phillips stood in front of                      03:32:01
                                                                                  20   Sandmann, he locked eyes with him, correct?                      03:32:04
                                                                                  21         A     That's what I see.                                   03:32:06
                                                                                  22         Q     So Phillips was locked eyes on Sandmann              03:32:08
                                                                                  23   in that moment, correct?                                         03:32:12
                                                                                  24         A     Yes.    He seemed to pick him out.                   03:32:12
                                                                                  25         Q     So you don't know whether Phillips had               03:32:24


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                                 ID#: 1841
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 208 of 281 - Page

                                                                                                          Conducted on December 7, 2021                  206

                                                                                  1    peripheral vision to his right or left if he was                        03:32:27
                                                                                  2    locking eyes on Sandmann; wouldn't that be true?                        03:32:31
                                                                                  3          A    If I was standing where Phillips was                         03:32:34
                                                                                  4    standing, looking at Sandmann I would be able to                        03:32:35
                                                                                  5    see that there was space to Sandmann's left but                         03:32:38
                                                                                  6    not to his right.     Yes.                                              03:32:40
                                                                                  7          Q    But you don't know what Mr. Phillips                         03:32:42
                                                                                  8    could see, do you?                                                      03:32:43
                                                                                  9          A    I do, as a human being, standing there,                      03:32:44
                                                                                  10   I could put myself in his position, and I know if                       03:32:47
                                                                                  11   he has good peripheral vision -- not even good                          03:32:50
                                                                                  12   peripheral, it's not that far peripheral.               Looking         03:32:52
                                                                                  13   directly in Sandmann's eyes he could see no space                       03:32:53
                                                                                  14   to Sandmann right, space to Sandmann's left.               I am         03:32:56
                                                                                  15   looking at you.     I can see all the way down to the                   03:33:00
                                                                                  16   end of the table.     I'm looking at you, I can see                     03:33:02
                                                                                  17   all the way over past the videographer.                                 03:33:05
                                                                                  18         Q    You are not an expert on visual --                           03:33:06
                                                                                  19         A    No, I'm a human -- (overspeaking) --                         03:33:08
                                                                                  20         Q    Hold on, you have to wait until I'm                          03:33:10
                                                                                  21   done with that.     You are not an expert on visual                     03:33:12
                                                                                  22   perception, correct?                                                    03:33:14
                                                                                  23         A    No.                                                          03:33:14
                                                                                  24         Q    And you are not an expert on peripheral                      03:33:15
                                                                                  25   vision; right?                                                          03:33:17


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                                 ID#: 1842
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 209 of 281 - Page

                                                                                                               Conducted on December 7, 2021          207

                                                                                  1             A      No.                                                  03:33:18
                                                                                  2             Q      And you don't know what specifically                 03:33:18
                                                                                  3    Mr. Phillips could see in that moment, do you?                       03:33:20
                                                                                  4             A      I know what Mr. Phillips could see if                03:33:23
                                                                                  5    he were a normal human being standing where he was                   03:33:25
                                                                                  6    standing in that video with normal vision.                           03:33:28
                                                                                  7             Q      And that's based on your personal                    03:33:30
                                                                                  8    experience; it is not your expertise in any kind                     03:33:33
                                                                                  9    of visual perception, correct?                                       03:33:35
                                                                                  10            A      No, I think we all -- that's what we                 03:33:36
                                                                                  11   look at when we look at a video.              We know what's         03:33:37
                                                                                  12   there.       That's what I think.       It is not expertise.         03:33:41
                                                                                  13            Q      You don't have any expert --                         03:33:44
                                                                                  14                         -- (overspeaking) --                           03:33:45
                                                                                  15            A      I am not a perceptual psychologist,                  03:33:46
                                                                                  16   I am not a videographer.           I completely agree with           03:33:50
                                                                                  17   you.                                                                 03:33:54
                                                                                  18            Q      You agree with me that you have no                   03:33:55
                                                                                  19   expertise on visual perception or what somebody                      03:33:56
                                                                                  20   else could see peripherally, correct?                                03:33:59
                                                                                  21            A      No.                                                  03:34:01
                                                                                  22            Q      As in yes, correct, you agree with me.               03:34:04
                                                                                  23            A      Oh, yes, I agree with you.                           03:34:07
                                                                                  24            Q      So a little down in your report here                 03:34:10
                                                                                  25   you then say: "There was no publicly evident                         03:34:16


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                                 ID#: 1843
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 210 of 281 - Page

                                                                                                              Conducted on December 7, 2021        208

                                                                                  1    indication that Phillips wanted to go up the                      03:34:23
                                                                                  2    stairs."                                                          03:34:25
                                                                                  3                  Now, you testified -- well, strike                  03:34:30
                                                                                  4    that.                                                             03:34:34
                                                                                  5                  What's a publicly evident indication?               03:34:35
                                                                                  6            A     If his trajectory had suggested that he             03:34:38
                                                                                  7    was trying to get up the stairs, that would have                  03:34:40
                                                                                  8    been a publicly evident intention.                                03:34:42
                                                                                  9            Q     Okay.    And if he had been walking in              03:34:48
                                                                                  10   the direction of the Lincoln Memorial could that                  03:34:50
                                                                                  11   have been a publicly evident indication then?                     03:34:54
                                                                                  12   Hypothetically, if he had been?                                   03:34:56
                                                                                  13           A     Not -- it's more complicated than that.             03:34:59
                                                                                  14   Just facing in that direction doesn't constitute                  03:35:02
                                                                                  15   walking there.                                                    03:35:05
                                                                                  16           Q     But if he was facing in that direction              03:35:07
                                                                                  17   that could have been a publicly evident                           03:35:09
                                                                                  18   indication?                                                       03:35:11
                                                                                  19           A     No, that's not sufficient.                          03:35:12
                                                                                  20           Q     What do you base that on?                           03:35:14
                                                                                  21           A     How I understand people's intentions.               03:35:17
                                                                                  22   This is just normal human reading what each other                 03:35:19
                                                                                  23   are doing.                                                        03:35:22
                                                                                  24           Q     But that's not based on any specific                03:35:23
                                                                                  25   expertise you have.                                               03:35:25


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                                 ID#: 1844
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 211 of 281 - Page

                                                                                                               Conducted on December 7, 2021        209

                                                                                  1             A      I'm not an expertise.         I'm not an           03:35:26
                                                                                  2    expert on public and human behavior, no.                           03:35:28
                                                                                  3             Q      You are not an expert on publicly                  03:35:32
                                                                                  4    evident indications then, correct?                                 03:35:34
                                                                                  5             A      I guess not, except for the linguistic             03:35:35
                                                                                  6    ones.                                                              03:35:40
                                                                                  7             Q      You agreed that other students, we                 03:35:42
                                                                                  8    talked about before, were moving aside for                         03:35:44
                                                                                  9    Mr. Phillips; right?                                               03:35:45
                                                                                  10            A      Yes.                                               03:35:47
                                                                                  11            Q      And when they did, he walked into the              03:35:47
                                                                                  12   space they left open, correct?                                     03:35:49
                                                                                  13            A      Yes.                                               03:35:51
                                                                                  14            Q      Couldn't that be a publicly evident                03:35:52
                                                                                  15   indication that he wanted to keep going?                           03:35:54
                                                                                  16            A      If he were walking that way up the                 03:35:55
                                                                                  17   steps, yes.                                                        03:35:57
                                                                                  18            Q      You say that other students -- well,               03:35:59
                                                                                  19   strike that.                                                       03:36:04
                                                                                  20                   Why do you think other students moved              03:36:05
                                                                                  21   out Mr. Phillips' way?                                             03:36:06
                                                                                  22            A      I'm not going to try to read their                 03:36:09
                                                                                  23   minds.       Evidently they wanted to let him through.             03:36:12
                                                                                  24            Q      And other students moved to create a               03:36:19
                                                                                  25   corridor; right?                                                   03:36:21


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                                 ID#: 1845
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 212 of 281 - Page

                                                                                                          Conducted on December 7, 2021            210

                                                                                  1            A   That's what I saw.                                    03:36:23
                                                                                  2            Q   That's what you believe you've seen.                  03:36:23
                                                                                  3            A   That's what I saw.                                    03:36:25
                                                                                  4            Q   And they did that for the same reason,                03:36:26
                                                                                  5    correct?                                                          03:36:28
                                                                                  6            A   As far as I could tell, yes.          Yep.            03:36:28
                                                                                  7            Q   But Mr. Sandmann stayed put, correct?                 03:36:31
                                                                                  8            A   He stood still.                                       03:36:33
                                                                                  9            Q   Let's pull up Video number 2.           We've         03:36:41
                                                                                  10   looked at that one before.       Can you play, please.            03:36:45
                                                                                  11               She's going to play Video 2, Exhibit 2                03:37:16
                                                                                  12   of this deposition.                                               03:37:19
                                                                                  13               Why don't you play from minute 3:28 to                03:37:20
                                                                                  14   minute 3:32?                                                      03:37:24
                                                                                  15               MS. MEEK:    Starting Video 2 at 3:28.                03:37:27
                                                                                  16                     (Video 2 played.)                               03:37:30
                                                                                  17               MS. MEEK:    I just paused Video 2 at                 03:37:37
                                                                                  18   3:32.                                                             03:37:39
                                                                                  19   BY MS. SPEARS:                                                    03:37:41
                                                                                  20           Q   Did you just hear on the video a                      03:37:41
                                                                                  21   student yelling, "you can't move him"?           We can           03:37:42
                                                                                  22   play it again for you.                                            03:37:45
                                                                                  23           A   No, no, I didn't.      Let's hear it again.           03:37:45
                                                                                  24           Q   Okay, let's hear it again.          I should          03:37:46
                                                                                  25   have asked you that first before I played it.                     03:37:47


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                                 ID#: 1846
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 213 of 281 - Page

                                                                                                                 Conducted on December 7, 2021         211

                                                                                  1    Sorry.        Pardon me.                                              03:37:49
                                                                                  2                     MS. MEEK:      Re-starting Video 2 at 3              03:37:49
                                                                                  3    minutes and 28 seconds.                                               03:37:49
                                                                                  4                             (Video 2 played.)                            03:37:49
                                                                                  5                     THE WITNESS:       I did that time.                  03:37:49
                                                                                  6    BY MS. MEEK:                                                          03:37:49
                                                                                  7             Q       Okay.     I take it you don't need                   03:37:49
                                                                                  8    linguistics training to understand what "you can't                    03:37:49
                                                                                  9    move him" means; right?                                               03:37:49
                                                                                  10            A       Don't need it.                                       03:37:49
                                                                                  11            Q       Let's play again from 1:18 to 1:22 and               03:38:12
                                                                                  12   this time I'd like you to tell me if you hear a                       03:38:12
                                                                                  13   student yelling, "He ain't moving."                                   03:38:12
                                                                                  14                    MS. MEEK:      Starting Video 2 at 1:18.             03:38:12
                                                                                  15                            (Video 2 played.)                            03:38:12
                                                                                  16                    MS. MEEK:      Just paused at 1:22 in                03:38:12
                                                                                  17   Video 2.                                                              03:38:12
                                                                                  18                    THE WITNESS:       I'm not sure what he              03:38:36
                                                                                  19   said.        I could interpret that as "He ain't                      03:38:37
                                                                                  20   moving," but I'm not sure, and I didn't hear it                       03:38:41
                                                                                  21   previously.                                                           03:38:41
                                                                                  22   BY MS. SPEARS:                                                        03:38:41
                                                                                  23            Q       I'll play it once again.           Sometimes         03:38:41
                                                                                  24   it's easier once you've heard it once.                                03:38:41
                                                                                  25                    MS. MEEK:      Re-starting at 1:18 in                03:38:54


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                                 ID#: 1847
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 214 of 281 - Page

                                                                                                          Conducted on December 7, 2021                  212

                                                                                  1    Video 2.                                                                03:38:55
                                                                                  2                      (Video 2 played.)                                     03:38:57
                                                                                  3               THE WITNESS:      I'm sorry.      I can't tell               03:39:04
                                                                                  4    what he said.    He ain't something, but I can't                        03:39:06
                                                                                  5    tell what it was.                                                       03:39:07
                                                                                  6    BY MS. SPEARS:                                                          03:39:08
                                                                                  7          Q    Let's play video 2, Exhibit 2 from                           03:39:08
                                                                                  8    1:22 to 1:29.                                                           03:39:11
                                                                                  9               THE WITNESS:      Starting video 2 at 1:22.                  03:39:16
                                                                                  10                     (Video 2 played.)                                     03:39:18
                                                                                  11              MS. MEEK:     Just paused video 2 at 1:29.                   03:39:25
                                                                                  12   BY MS. SPEARS:                                                          03:39:31
                                                                                  13         Q    Do you hear in there someone say "he's                       03:39:31
                                                                                  14   an unmovable object"?                                                   03:39:33
                                                                                  15         A    No, I didn't.                                                03:39:35
                                                                                  16         Q    So we talked about you did hear someone                      03:39:39
                                                                                  17   say, "You can't move him."       You might have heard                   03:39:43
                                                                                  18   somebody say "He ain't moving."         My question is,                 03:39:46
                                                                                  19   are statements in the moment, that's what the                           03:39:48
                                                                                  20   students said, what they were perceiving was                            03:39:51
                                                                                  21   happening at the time, based on outward behaviors;                      03:39:54
                                                                                  22   is that fair to say?                                                    03:39:58
                                                                                  23         A    I don't know.      I'm not joking.           I'm not         03:40:03
                                                                                  24   trying to evade your question.        That is to say, it                03:40:05
                                                                                  25   would reflect what they thought was important                           03:40:07


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                                 ID#: 1848
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 215 of 281 - Page

                                                                                                            Conducted on December 7, 2021                 213

                                                                                  1    there in the standoff, in the confrontation.              I              03:40:09
                                                                                  2    will say that.                                                           03:40:12
                                                                                  3          Q     So it may be evidence of what they                           03:40:14
                                                                                  4    thought was important, in terms of what they                             03:40:16
                                                                                  5    were --                                                                  03:40:18
                                                                                  6          A     The confrontation.                                           03:40:20
                                                                                  7                     -- (overspeaking) --                                    03:40:20
                                                                                  8          Q     Seeing in the moment --                                      03:40:20
                                                                                  9                       -- (overspeaking) --                                  03:40:21
                                                                                  10         A     What was in issue.         What was in issue.                03:40:21
                                                                                  11                      -- (overspeaking) --                                  03:40:23
                                                                                  12         Q     You have to wait until I'm done with my                      03:40:25
                                                                                  13   question.                                                                03:40:27
                                                                                  14         A     All right.                                                   03:40:29
                                                                                  15         Q     Sorry, just for the court reporter.               So         03:40:29
                                                                                  16   statements like those from students in the moment                        03:40:30
                                                                                  17   may be evidence of what they were perceiving as                          03:40:33
                                                                                  18   important to what was happening at the time?                             03:40:36
                                                                                  19         A     Yes.                                                         03:40:38
                                                                                  20         Q     And it -- it could be, you talk about                        03:40:39
                                                                                  21   outward behaviors, it could be an indication of                          03:40:43
                                                                                  22   what they believed the outward behaviors they were                       03:40:45
                                                                                  23   seeing at the time were, right?                                          03:40:48
                                                                                  24         A     Yes.     I'm conceding in my report that                     03:40:50
                                                                                  25   Nick Sandmann was one student that did not move.                         03:41:03


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                                 ID#: 1849
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 216 of 281 - Page

                                                                                                             Conducted on December 7, 2021              214

                                                                                  1    That's not an issue with me.          It is whether he                 03:41:06
                                                                                  2    intentionally blocked Mr. Phillips' path or                            03:41:08
                                                                                  3    refused to allow him to retreat and that's all I'm                     03:41:13
                                                                                  4    talking about.                                                         03:41:16
                                                                                  5          Q       Can you pull up Exhibit 17.           I'm sorry.         03:41:19
                                                                                  6    You're right, Exhibit 8, video 8.                                      03:41:28
                                                                                  7                  Can you play it -- play it from 34 to                    03:42:08
                                                                                  8    37.                                                                    03:42:11
                                                                                  9                  MS. MEEK:     Starting video 8, Exhibit 8                03:42:14
                                                                                  10   at 34 seconds.                                                         03:42:16
                                                                                  11                        (Video 8 played.)                                 03:42:17
                                                                                  12                 MS. MEEK:     Just paused video 8 at 37                  03:42:22
                                                                                  13   seconds.                                                               03:42:24
                                                                                  14   BY MS. SPEARS:                                                         03:42:24
                                                                                  15         Q       Do you hear a student say, "Surrounded                   03:42:24
                                                                                  16   you" there?                                                            03:42:29
                                                                                  17         A       No.                                                      03:42:30
                                                                                  18         Q       I'll play it again.                                      03:42:30
                                                                                  19                 MS. MEEK:     Restarting video 8 at 34                   03:42:36
                                                                                  20   seconds.                                                               03:42:38
                                                                                  21                        (Video 8 played.)                                 03:42:38
                                                                                  22   BY MS. SPEARS:                                                         03:42:42
                                                                                  23         Q       Did you hear it that time?                               03:42:42
                                                                                  24         A       No.    I'm serious.     I can't tell what                03:42:44
                                                                                  25   they're saying.       I hear people yelling.         I don't           03:42:45


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                                 ID#: 1850
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 217 of 281 - Page

                                                                                                           Conducted on December 7, 2021        215

                                                                                  1    know -- and somebody says something started "su.."             03:42:48
                                                                                  2    but I don't know what else they said.                          03:42:54
                                                                                  3          Q     That's fine.       Let's go back to your           03:42:57
                                                                                  4    report here on page 14.        One second.                     03:42:59
                                                                                  5          A     I'd also like to make it evident that              03:43:16
                                                                                  6    in the video clip that you just pointed out to me,             03:43:17
                                                                                  7    the corridor that I'm interested in was already --             03:43:18
                                                                                  8    was available to Mr. Phillips at that point and it             03:43:20
                                                                                  9    went up considerably behind Mr. Sandmann.                      03:43:23
                                                                                  10               So, as far as I could tell, there was              03:43:25
                                                                                  11   no inter -- there was no blockage of Mr. Phillips'             03:43:28
                                                                                  12   path at that point, and it was behind Sandmann so              03:43:34
                                                                                  13   Phillips could have seen that.                                 03:43:39
                                                                                  14         Q     Again, that's your interpretation of               03:43:41
                                                                                  15   the video that we just watched?                                03:43:43
                                                                                  16         A     Of what Sandmann -- of what Phillips               03:43:46
                                                                                  17   could have seen if he was looking at Sandmann's                03:43:48
                                                                                  18   face at that time.     Okay.                                   03:43:51
                                                                                  19         Q     Okay, let's go to page 14 of your                  03:43:59
                                                                                  20   report.   Give me one second.       Page 14 of the             03:44:02
                                                                                  21   report you provide your analysis of the second                 03:44:49
                                                                                  22   passage, correct?                                              03:44:55
                                                                                  23         A     Yes.                                               03:44:57
                                                                                  24         Q     And then you offered two paragraphs                03:44:58
                                                                                  25   analyzing passage 2, correct?                                  03:45:00


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                                 ID#: 1851
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 218 of 281 - Page

                                                                                                           Conducted on December 7, 2021                 216

                                                                                  1          A    Yes.                                                         03:45:02
                                                                                  2          Q    Okay, and looking at those two                               03:45:03
                                                                                  3    paragraphs, you did not analyze the dictionary                          03:45:05
                                                                                  4    definitions of any of the words contained in                            03:45:07
                                                                                  5    passage 2, right?                                                       03:45:09
                                                                                  6          A    No, I did not feel that was necessary.                       03:45:10
                                                                                  7          Q    Okay.     All right.     You simply reviewed                 03:45:12
                                                                                  8    the videos to determine whether the passage was                         03:45:15
                                                                                  9    true or not?                                                            03:45:18
                                                                                  10         A    Given the truth conditions of the                            03:45:19
                                                                                  11   passage and plain English, yes.                                         03:45:21
                                                                                  12         Q    Okay, and you state that in --                               03:45:24
                                                                                  13         A    I didn't think that any of the word                          03:45:26
                                                                                  14   meanings would be at issue.        That's why I didn't                  03:45:28
                                                                                  15   offer any definitions.                                                  03:45:31
                                                                                  16         Q    So you just went on to the second                            03:45:33
                                                                                  17   part of your --                                                         03:45:36
                                                                                  18         A    Well, I analyzed this in terms of --                         03:45:36
                                                                                  19   for example, we have an intransitive verb:               He             03:45:38
                                                                                  20   slided to the left.     He slided to the right.               I         03:45:41
                                                                                  21   slided to the left.     He slided to the left.                          03:45:43
                                                                                  22   There's slide.     I know what that means.         You know             03:45:46
                                                                                  23   what that means.     I don't think I needed to give                     03:45:47
                                                                                  24   you a dictionary definition.                                            03:45:47
                                                                                  25         Q    All right.      So, you just didn't look up                  03:45:51


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                                 ID#: 1852
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 219 of 281 - Page

                                                                                                          Conducted on December 7, 2021          217

                                                                                  1    any of the words that are in there in the                       03:45:52
                                                                                  2    dictionary, as you had with the others?                         03:45:53
                                                                                  3          A     Not necessary.                                      03:45:56
                                                                                  4          Q     And so let's discuss, just a few points             03:45:57
                                                                                  5    here in your review.     You state: "I saw no                   03:46:00
                                                                                  6    evidence that Sandmann moved as Phillips passed by              03:46:06
                                                                                  7    and then turned back to approach him."                          03:46:08
                                                                                  8                What do you mean by that first                      03:46:12
                                                                                  9    sentence?   Is that just what we've talked about                03:46:13
                                                                                  10   before that --                                                  03:46:17
                                                                                  11         A     Yes, that Sandmann -- as Phillips                   03:46:18
                                                                                  12   passed by and turned and then approached him, I                 03:46:20
                                                                                  13   saw no evidence that Sandmann moved his feet                    03:46:22
                                                                                  14   at all to -- in order to slide to the left or to                03:46:24
                                                                                  15   the right or go up or go down.        I saw no evidence         03:46:27
                                                                                  16   that he moved in that way.                                      03:46:31
                                                                                  17         Q     Okay, and that's based on your                      03:46:32
                                                                                  18   review --                                                       03:46:35
                                                                                  19         A     Review of all the videos --                         03:46:36
                                                                                  20         Q     You've got to wait until I'm done with              03:46:37
                                                                                  21   the question.                                                   03:46:39
                                                                                  22         A     Sorry.                                              03:46:39
                                                                                  23         Q     That's based on your review of the                  03:46:40
                                                                                  24   videos 1 to 18?                                                 03:46:42
                                                                                  25         A     Correct.                                            03:46:44


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                                 ID#: 1853
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 220 of 281 - Page

                                                                                                           Conducted on December 7, 2021           218

                                                                                  1          Q       And you say in relation to that, "So                03:46:44
                                                                                  2    far as I could see, Sandmann stood in one place                   03:47:06
                                                                                  3    throughout the incident."                                         03:47:09
                                                                                  4                  You used the phrase "So as far as I                 03:47:12
                                                                                  5    could see."     Why do you use that phrase?                       03:47:14
                                                                                  6          A       All the evidence that I saw, as                     03:47:19
                                                                                  7    presented in all the videos, that's so as far as I                03:47:20
                                                                                  8    could see.                                                        03:47:22
                                                                                  9          Q       Because it's based on your personal                 03:47:24
                                                                                  10   view, as far as you could tell?                                   03:47:26
                                                                                  11         A       No, no, no, no.     I mean, I don't deny            03:47:27
                                                                                  12   that no one video had Nick Sandmann in the camera                 03:47:30
                                                                                  13   100 percent of the time throughout the entire                     03:47:35
                                                                                  14   incident.                                                         03:47:37
                                                                                  15                 Every single camera must have moved                 03:47:38
                                                                                  16   somewhat to the left, somewhat to the right during                03:47:40
                                                                                  17   the incidents, except for the very short clips.                   03:47:44
                                                                                  18                 However, the composite of them shows                03:47:47
                                                                                  19   him in one place throughout.        That's what I'm               03:47:49
                                                                                  20   saying.                                                           03:47:51
                                                                                  21         Q       So, when you say so far as you could                03:47:55
                                                                                  22   see, it's based on your personal review of the                    03:47:56
                                                                                  23   videos, what you saw in the videos?                               03:47:58
                                                                                  24         A       My review of the videos.        What I saw.         03:48:00
                                                                                  25         Q       Okay, would your answer be the same                 03:48:02


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                                 ID#: 1854
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 221 of 281 - Page

                                                                                                              Conducted on December 7, 2021         219

                                                                                  1    with respect to your use of the phrase "It seems                   03:48:13
                                                                                  2    to have been..." where we say --                                   03:48:15
                                                                                  3          A       Where is this, please?                               03:48:17
                                                                                  4          Q       "It seems to have been."                             03:48:18
                                                                                  5          A       Where?                                               03:48:20
                                                                                  6          Q       In the same paragraph.                               03:48:22
                                                                                  7                  MR. McMURTRY:       How many lines down?             03:48:24
                                                                                  8                  THE WITNESS:       Well, there's -- it's             03:48:25
                                                                                  9    a long paragraph, so I'm trying to get where                       03:48:26
                                                                                  10   you're looking at.                                                 03:48:27
                                                                                  11   BY MS. SPEARS:        Sure.   The last sentence, "It               03:48:29
                                                                                  12   seems to have been..." You're saying "It seems..."                 03:48:31
                                                                                  13         A       No, I don't see it.         Sorry.     Stop.         03:48:34
                                                                                  14         Q       Oh, I'm sorry.       The second to the last          03:48:36
                                                                                  15   sentence.                                                          03:48:37
                                                                                  16         A       Okay.     Thank you.     "While Sandmann             03:48:39
                                                                                  17   stayed in one place, it seems to have been                         03:48:41
                                                                                  18   Phillips who aligned himself with Sandmann..."                     03:48:41
                                                                                  19         Q       And why do you use the phrase "seems                 03:48:48
                                                                                  20   have been"?     Again, that's because it's based on                03:48:50
                                                                                  21   your --                                                            03:48:51
                                                                                  22                     -- (overspeaking) --                             03:48:51
                                                                                  23         A       Well, no --                                          03:48:51
                                                                                  24         Q       -- personal review?                                  03:48:51
                                                                                  25         A       -- when I say "...it seems to have been              03:48:53


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                                 ID#: 1855
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 222 of 281 - Page

                                                                                                                Conducted on December 7, 2021            220

                                                                                  1    Phillips who aligned himself." Again, I can't read                      03:48:55
                                                                                  2    Phillips' mind.          I don't know why he went the                   03:48:59
                                                                                  3    direction he went from the point of view of his                         03:49:01
                                                                                  4    intentions.       Aligned is agentive verb.            In fact,         03:49:01
                                                                                  5    his movement aligned its -- was in such a way as                        03:49:05
                                                                                  6    to align itself, so as to walk straight up to                           03:49:08
                                                                                  7    Sandmann, okay?                                                         03:49:11
                                                                                  8             Q      And --                                                  03:49:14
                                                                                  9             A      He moved in such a way as to align                      03:49:19
                                                                                  10   himself with Sandmann.                                                  03:49:21
                                                                                  11            Q      And again, that's based on your --                      03:49:24
                                                                                  12            A      No, that's what I saw in the videos.                    03:49:26
                                                                                  13            Q      Wait.     You've got to wait until I'm                  03:49:27
                                                                                  14   done my question.          That's based on your review of               03:49:29
                                                                                  15   the videos, correct?                                                    03:49:34
                                                                                  16            A      Based on what I saw in the videos.                      03:49:37
                                                                                  17            Q      All right.      Why don't we take a short               03:49:44
                                                                                  18   break.       Maybe like five, ten minutes and come                      03:49:47
                                                                                  19   back?                                                                   03:49:51
                                                                                  20                   MR. McMURTRY:       Thank you.                          03:49:52
                                                                                  21                   THE VIDEOGRAPHER:        Going off the                  03:49:53
                                                                                  22   record, the time is 3:50 p.m.                                           03:49:53
                                                                                  23       (Recess taken from 3:50 p.m. to 4:05 p.m.)                          03:49:56
                                                                                  24                   THE VIDEOGRAPHER:        Going back on the              04:05:51
                                                                                  25   record, the time is 4:05 p.m.                                           04:05:52


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                                 ID#: 1856
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 223 of 281 - Page

                                                                                                            Conducted on December 7, 2021        221

                                                                                  1    BY MS. SPEARS:                                                  04:05:55
                                                                                  2             Q   All right.     Can you pull your report            04:05:58
                                                                                  3    out one last time, please, page 2 of the report                 04:06:08
                                                                                  4    itself.                                                         04:06:16
                                                                                  5             A   Yes.                                               04:06:16
                                                                                  6             Q   Where you indicate your compensation in            04:06:18
                                                                                  7    the case is $300 per hour --                                    04:06:19
                                                                                  8             A   Yes.                                               04:06:22
                                                                                  9             Q   -- of work.     How many hours of work             04:06:23
                                                                                  10   have you completed?                                             04:06:25
                                                                                  11            A   Oh gosh, I don't know.         I think I           04:06:28
                                                                                  12   billed for 17 and I've worked for another six or                04:06:31
                                                                                  13   something.    I'm not sure.      That doesn't count             04:06:36
                                                                                  14   today.                                                          04:06:37
                                                                                  15            Q   And we talked earlier about                        04:06:38
                                                                                  16   Mr. McMurtry was the person who initially reached               04:06:42
                                                                                  17   out to you for this engagement, correct?                        04:06:45
                                                                                  18            A   Yes.                                               04:06:46
                                                                                  19            Q   When did Mr. McMurtry first reach out              04:06:48
                                                                                  20   to you.                                                         04:06:50
                                                                                  21            A   It was in September, this last year,               04:06:51
                                                                                  22   September '21.      I don't have the exact date here.           04:06:53
                                                                                  23   I can get it for you if you need to know.                       04:06:56
                                                                                  24            Q   Was -- do you know if -- yeah, I'd like            04:06:58
                                                                                  25   to know the exact date.                                         04:06:59


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                                 ID#: 1857
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 224 of 281 - Page

                                                                                                           Conducted on December 7, 2021            222

                                                                                  1          A      Okay, well you keep asking.          I'll             04:07:01
                                                                                  2    just --                                                            04:07:02
                                                                                  3          Q      We'll just pause for a second.                        04:07:03
                                                                                  4          A      Well ... whatever.       The 21st of                  04:07:12
                                                                                  5    September.                                                         04:07:31
                                                                                  6          Q      The 21st?                                             04:07:32
                                                                                  7          A      Mm-hmm.     That day I worked about four              04:07:33
                                                                                  8    hours for them, just to do some very preliminary                   04:07:35
                                                                                  9    review of those passages in the videos and I                       04:07:38
                                                                                  10   worked for a total of four hours, and then I                       04:07:41
                                                                                  11   started working again the 27th of October they                     04:07:44
                                                                                  12   commissioned this report.                                          04:07:47
                                                                                  13         Q      Do you have an engagement letter in the               04:07:53
                                                                                  14   matter?                                                            04:07:56
                                                                                  15         A      I believe I do.                                       04:07:56
                                                                                  16         Q      You came in this morning with some                    04:07:59
                                                                                  17   notes which you have dated December 7th, 2021.           I         04:08:01
                                                                                  18   want to mark them for the record.                                  04:08:07
                                                                                  19         A      Yes, of course.                                       04:08:08
                                                                                  20         Q      So we're going to call this Exhibit B.                04:08:09
                                                                                  21                Her report was Exhibit A and this will                04:08:21
                                                                                  22   be Exhibit B, which I think is just easier to                      04:08:22
                                                                                  23   distinguish, given the video exhibits.                             04:08:26
                                                                                  24                (Exhibit B was marked for
                                                                                  25   identification.)


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                                                                                                         Transcript of Craige Roberts, Ph.D.
                                 ID#: 1858
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 225 of 281 - Page

                                                                                                          Conducted on December 7, 2021        223

                                                                                  1    BY MS. SPEARS:                                                04:08:28
                                                                                  2          Q     Just for the record, would you agree              04:08:28
                                                                                  3    with me this is a two pages --                                04:08:29
                                                                                  4          A     Yes, the first part is two pages.                 04:08:32
                                                                                  5          Q     Yes, it's -- and it's titled at the top           04:08:37
                                                                                  6    "Craig Roberts, Sandmann deposition notes,                    04:08:39
                                                                                  7    December 7, 2021," is that correct?                           04:08:46
                                                                                  8          A     Correct.                                          04:08:55
                                                                                  9          Q     I do not have any further questions.              04:08:56
                                                                                  10   Does anyone else?                                             04:08:59
                                                                                  11               MR. McMURTRY:     Thank you.      Anybody         04:09:00
                                                                                  12   online?                                                       04:09:00
                                                                                  13               MS. SPEARS:     Does anyone online have           04:09:02
                                                                                  14   any questions?    Okay, thank you for your time.              04:09:04
                                                                                  15               MR. McMURTRY:     Thank you.                      04:09:14
                                                                                  16               THE VIDEOGRAPHER:      This marks the end         04:09:15
                                                                                  17   of Craig Roberts.      We are going off the record at         04:09:16
                                                                                  18   4:09 p.m.                                                     04:09:19
                                                                                  19   (Whereupon at 4:09 p.m. the deposition concluded.)
                                                                                  20
                                                                                  21
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                                                                                                       Transcript of Craige Roberts, Ph.D.
                                 ID#: 1859
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 226 of 281 - Page

                                                                                                        Conducted on December 7, 2021        224

                                                                                  1     CERTIFICATE OF SHORTHAND REPORTER-NOTARY PUBLIC:
                                                                                  2               I, Lisa M. Barrett, the officer before
                                                                                  3    whom the foregoing deposition was taken, do hereby
                                                                                  4    certify that the foregoing transcript is a true
                                                                                  5    and correct record of the testimony given; that
                                                                                  6    said testimony was taken by me stenographically
                                                                                  7    and thereafter reduced to typewriting under my
                                                                                  8    direction; that reading and signing was not
                                                                                  9    requested; and that I am neither counsel for,
                                                                                  10   related to, nor employed by any of the parties to
                                                                                  11   this case and have no interest, financial or
                                                                                  12   otherwise, in its outcome.
                                                                                  13          IN WITNESS WHEREOF, I have hereunto
                                                                                  14     set my hand this 11th day of December, 2021
                                                                                  15
                                                                                  16          __________________________________
                                                                                  17          Lisa M. Barrett, RPR, CRR, CRC, CSR
                                                                                  18           My commission expires:      06/23/2023
                                                                                  19
                                                                                  20
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                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          225
                                 ID#: 1860
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 227 of 281 - Page




                                                                                          A         accidental            63:8, 64:23,       affording
                                                                                  a)(2              98:11, 98:12          66:12, 78:17,      201:25
                                                                                  64:24             accidentally          79:21, 80:4,       african
                                                                                  a)2               98:10                 80:20, 81:24,      124:1, 126:3,
                                                                                  46:10             accompanied           82:24, 83:1,       135:24
                                                                                  abate             71:3, 181:15,         87:19, 87:25,      after
                                                                                  5:22, 5:24,       182:8, 182:19         98:17, 102:1,      16:13, 35:2,
                                                                                  10:20, 10:21,     accompanying          102:3, 106:21,     35:12, 58:23,
                                                                                  10:25             181:21                107:2, 109:2,      72:17, 76:3,
                                                                                  abc               according             112:9, 130:2,      120:4, 120:22,
                                                                                                    127:3, 179:20         130:6, 136:9,      146:14, 154:5,
                                                                                  2:10, 4:10,                             155:11, 167:8
                                                                                  4:11, 9:9,        accordingly                              155:21, 161:25,
                                                                                                    150:12                addition           163:19, 164:19,
                                                                                  10:19, 11:4
                                                                                  abc's             accurate              20:13, 92:9        166:17, 175:8,
                                                                                                    103:10, 148:18        additional         179:11, 186:11
                                                                                  71:14
                                                                                  able              accurately            69:12, 70:3,       again
                                                                                                    190:8                 73:6, 105:22       13:25, 23:8,
                                                                                  18:11, 49:20,                           address
                                                                                  130:21, 144:21,   accused                                  29:19, 33:10,
                                                                                  206:4             50:1                  13:5, 13:11        85:22, 88:17,
                                                                                  above             acquaint              adjudging          92:15, 93:25,
                                                                                  75:6, 121:6,      75:13, 78:14          187:20             105:23, 107:3,
                                                                                  135:2, 151:5,     across                admissible         108:5, 119:17,
                                                                                  165:10, 165:14,   52:9, 133:9,          59:15, 59:22       123:12, 123:25,
                                                                                  173:24, 182:11    157:9                 admitted           129:11, 131:18,
                                                                                  absent            acted                 15:19              132:11, 133:2,
                                                                                                    139:16                adult              134:22, 135:20,
                                                                                  93:22                                                      135:21, 138:20,
                                                                                  absolutely        acting                111:6, 113:11
                                                                                                    139:5, 140:4,         advance            139:4, 139:22,
                                                                                  152:11                                                     147:17, 148:16,
                                                                                  absorb            140:14, 140:15        8:18
                                                                                                    action                advanced           149:2, 157:5,
                                                                                  110:21                                                     163:17, 163:18,
                                                                                  academia          48:1, 107:2           38:12
                                                                                                    active                advent             170:22, 182:4,
                                                                                  38:5                                                       199:24, 210:22,
                                                                                  accent            42:4, 118:5,          23:4, 23:20
                                                                                                                          advertising        210:23, 210:24,
                                                                                  30:24, 31:21,     118:15                                   211:11, 211:23,
                                                                                  33:3, 33:12,      actively              60:12, 60:18,
                                                                                                                          60:24              214:18, 215:14,
                                                                                  33:18, 33:19,     118:10, 177:8,                           219:20, 220:1,
                                                                                  33:25             194:20                advisor
                                                                                                                          17:12              220:11, 222:11
                                                                                  accents           actual                                   against
                                                                                  33:22             23:16, 24:7,          affect
                                                                                                                          92:23              193:21
                                                                                  accept            33:25, 74:24,                            agency
                                                                                  140:9             76:2, 87:14,          affiliate
                                                                                                                          42:13, 43:3,       194:18
                                                                                  accepted          99:17, 109:9,                            agent
                                                                                  35:13             137:18                43:10
                                                                                                    actually              affiliated         118:22, 177:5
                                                                                  access                                                     agentive
                                                                                  34:9, 34:13,      25:9, 28:20,          88:16
                                                                                                    30:25, 39:19,         affirmatively      118:20, 118:21,
                                                                                  34:14, 42:1,                                               220:4
                                                                                  67:9, 112:13      42:9, 47:3,           135:7
                                                                                                    52:19, 63:1,          affix"             agents
                                                                                                                          201:8              200:14, 200:15,



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                        Transcript of Craige Roberts, Ph.D.
                                                                                                         Conducted on December 7, 2021                          226
                                 ID#: 1861
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 228 of 281 - Page




                                                                                  202:24, 203:2      align                 190:19, 190:22,    always
                                                                                  aggression         220:6, 220:9          191:3, 191:10,     16:24, 49:23,
                                                                                  171:1              aligned               192:21, 194:16,    53:25, 54:5,
                                                                                  ago                219:18, 220:1,        194:17, 194:18,    60:25, 61:8,
                                                                                  55:3, 97:1,        220:4, 220:5          198:11, 198:15,    80:22
                                                                                  114:19, 141:2,     all                   214:3              ambiguous
                                                                                  178:14             13:2, 21:16,          alluding           117:18, 117:19
                                                                                  agree              25:6, 25:17,          97:10              american
                                                                                  61:22, 86:4,       30:4, 32:11,          almost             71:24, 74:5,
                                                                                  87:12, 92:25,      38:18, 39:7,          56:6, 110:1        74:6, 84:16,
                                                                                  167:13, 173:15,    43:5, 43:11,          along              84:20, 85:2,
                                                                                  196:8, 207:16,     43:21, 52:7,          127:15, 146:13,    85:20, 98:19,
                                                                                  207:18, 207:22,    54:4, 68:23,          146:25, 152:6,     98:22, 98:24,
                                                                                  207:23, 223:2      69:16, 70:23,         154:24, 155:10,    122:17, 124:1,
                                                                                  agreed             71:12, 72:17,         156:21, 157:11,    124:25, 129:16,
                                                                                  61:21, 61:24,      79:13, 79:21,         157:22, 157:23,    130:7, 143:21,
                                                                                  62:2, 65:6,        80:18, 86:5,          158:4, 158:5,      144:13, 161:17,
                                                                                  184:12, 193:25,    87:23, 92:2,          166:12, 167:23,    180:14, 180:25,
                                                                                  209:7              93:5, 97:14,          169:1, 189:6,      186:14, 195:17,
                                                                                  agrees             97:18, 99:8,          189:15             195:25, 201:14
                                                                                  197:3              100:12, 100:17,       already            americans
                                                                                  ahead              101:17, 103:19,       101:8, 104:14,     88:3, 99:4,
                                                                                  10:7, 10:8,        105:14, 110:8,        121:16, 132:5,     123:19, 125:2,
                                                                                  85:6, 86:9,        110:11, 120:21,       149:16, 156:1,     126:3, 126:8,
                                                                                  94:6, 94:16,       122:15, 130:12,       179:20, 215:7      132:25, 133:10,
                                                                                  141:22, 158:7,     131:2, 131:3,         also               135:24, 145:16
                                                                                  170:4, 182:17,     131:9, 131:18,        6:18, 10:16,       americas
                                                                                  205:5              132:5, 133:11,        11:3, 12:23,       10:2
                                                                                  ahhh               159:23, 164:9,        16:1, 20:3,        amherst
                                                                                  109:21             169:13, 172:16,       26:6, 28:9,        15:9, 15:20,
                                                                                  aiming             174:14, 176:22,       29:11, 34:2,       17:5, 17:8,
                                                                                  103:14, 107:7      178:25, 180:12,       36:24, 42:13,      39:20
                                                                                  aims               181:2, 182:5,         55:25, 72:13,      among
                                                                                  25:16              183:2, 183:4,         83:4, 83:9,        31:16, 69:15,
                                                                                  ain't              183:7, 189:6,         86:14, 92:25,      115:10, 180:8,
                                                                                  107:15, 211:13,    196:11, 196:12,       98:24, 107:22,     186:13
                                                                                  211:19, 212:4,     197:1, 197:2,         116:8, 117:6,      amsterdam
                                                                                  212:18             197:7, 202:4,         118:21, 119:20,    36:6
                                                                                  air                204:11, 206:15,       123:10, 126:7,     analogy
                                                                                  184:1, 184:25      206:17, 207:10,       154:23, 178:12,    137:15
                                                                                  akin               213:14, 214:3,        186:13, 196:3,     analyses
                                                                                  141:4              216:7, 216:25,        196:25, 199:25,    38:1, 38:2
                                                                                  al                 217:14, 217:19,       204:21, 215:5      analysis
                                                                                  1:36, 2:10,        218:6, 218:7,         alternative        19:17, 27:11,
                                                                                  2:32, 9:1, 9:6,    220:17, 221:2         53:22              37:10, 45:23,
                                                                                  9:9, 9:10, 9:13,   alligator             alternatives       46:1, 48:5,
                                                                                  9:21               20:19                 31:1               61:21, 90:19,
                                                                                  albany             allow                 although           101:24, 102:7,
                                                                                  6:6                117:17, 118:12,       79:2, 173:24



                                                                                                                  PLANET DEPOS
                                                                                                     888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          227
                                 ID#: 1862
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 229 of 281 - Page




                                                                                  121:17, 121:19,   12:16, 39:23,         136:18, 199:8,     approached
                                                                                  189:17, 198:17,   40:6, 42:7,           199:19, 223:10,    38:25, 93:3,
                                                                                  199:2, 199:8,     43:4, 43:18,          223:13             93:18, 131:10,
                                                                                  215:21            45:8, 45:22,          anything           148:2, 154:12,
                                                                                  analyze           45:25, 47:22,         25:4, 26:14,       156:4, 217:12
                                                                                  47:25, 153:15,    48:4, 48:18,          27:4, 40:15,       appropriate
                                                                                  216:3             52:14, 57:12,         43:16, 53:2,       31:11, 31:22,
                                                                                  analyzed          59:23, 62:25,         73:3, 80:6,        101:20, 143:9
                                                                                  189:18, 216:18    63:18, 64:16,         88:9, 96:24,       approved
                                                                                  analyzing         67:18, 69:11,         136:6, 136:18,     181:9
                                                                                  64:3, 134:14,     71:2, 74:9,           143:12, 151:18,    approximation
                                                                                  193:1, 215:25     76:17, 83:5,          177:3, 189:15,     172:13, 173:1,
                                                                                  angle             83:10, 83:11,         191:23             173:6
                                                                                  134:9, 160:17     83:14, 90:18,         anyway             area
                                                                                  angles            92:3, 94:8,           80:5, 117:20       17:10, 39:23,
                                                                                  148:20            95:3, 98:3,           anywhere           40:6, 123:1,
                                                                                  another           103:16, 105:18,       204:5              134:11, 154:3
                                                                                  8:6, 15:7,        105:22, 109:1,        apart              areas
                                                                                  15:10, 51:9,      114:25, 116:20,       95:9               51:23
                                                                                  51:17, 81:9,      118:3, 122:12,        apartment          argue
                                                                                  86:15, 92:13,     123:17, 134:16,       13:7               179:14, 182:12
                                                                                  101:16, 104:20,   136:3, 136:12,        apologize          arguing
                                                                                  118:5, 118:25,    136:22, 139:9,        8:17               52:8, 181:3
                                                                                  143:1, 146:24,    141:9, 144:19,        apparel            argument
                                                                                  162:17, 164:15,   154:2, 158:12,        179:13, 180:9      185:9, 192:12
                                                                                  167:9, 170:10,    169:12, 169:15,       apparent           arguments
                                                                                  173:17, 179:14,   176:23, 183:8,        88:22, 89:13,      146:17
                                                                                  221:12            188:7, 188:23,        123:11, 124:19,    arises
                                                                                  answer            193:14, 195:20,       124:22
                                                                                                    196:11, 205:15,                          87:24
                                                                                  18:4, 31:11,                            appear             arms
                                                                                  31:14, 75:5,      207:8, 207:13,        137:15
                                                                                                    208:24, 216:4,                           184:25, 186:11
                                                                                  82:9, 83:3,                             appeared           around
                                                                                  96:13, 138:13,    216:13, 216:15,       129:20
                                                                                                    217:1, 223:9,                            92:22, 110:7,
                                                                                  189:23, 189:25,                         appears            110:12, 110:21,
                                                                                  194:13, 202:17,   223:14, 224:10
                                                                                                    anybody               63:11, 89:14       122:2, 123:3,
                                                                                  218:25                                  appendix           130:25, 150:14,
                                                                                  answered          80:6, 81:12,
                                                                                                    110:16, 112:18,       46:25, 47:3,       154:9, 155:18,
                                                                                  105:25                                  68:3, 195:18,      168:2, 169:3,
                                                                                  answering         191:24, 196:19,
                                                                                                    197:8, 199:16,        200:4, 201:13      169:19, 188:10
                                                                                  91:9, 101:5                             apple              art
                                                                                  answers           223:11
                                                                                                    anymore               24:12              116:17
                                                                                  31:22, 43:23,                           apply              arthur
                                                                                  75:7, 153:20      43:10
                                                                                                    anyone                195:6              16:4
                                                                                  anthropology                            appreciate         article
                                                                                  37:3              65:20, 66:15,
                                                                                                    67:19, 82:4,          112:21, 143:6      45:13, 49:5,
                                                                                  anticipate                              approach           49:6, 71:9,
                                                                                  8:4               95:10, 112:6,
                                                                                                    113:4, 136:5,         48:5, 101:5,       71:14, 71:16,
                                                                                  any                                     204:2, 217:7       71:23, 72:1,
                                                                                  8:8, 8:18,



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          228
                                 ID#: 1863
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 230 of 281 - Page




                                                                                  72:12, 72:14,     91:25                 attested           154:13, 174:7,
                                                                                  73:3, 73:8,       assessment            115:14             191:20, 191:24,
                                                                                  127:11, 127:14    67:12, 188:17         attire             192:13, 192:23,
                                                                                  articles          assigned              97:15              204:15
                                                                                  49:7, 70:8,       199:21                attorney           axis
                                                                                  70:21, 70:24,     assistant             59:6, 61:19,       157:13
                                                                                  71:4, 71:5,       16:3, 49:3            61:24, 188:6                B
                                                                                  72:6, 72:16,      associate             attorneys          back
                                                                                  72:20, 72:22,     180:23                38:24, 57:4        8:8, 17:15,
                                                                                  73:1, 73:7,       associated            attribute          27:9, 34:23,
                                                                                  73:13, 88:14,     73:6                  95:9, 118:13,      47:4, 47:17,
                                                                                  88:18, 127:4,     assume                139:21             52:23, 64:22,
                                                                                  127:8, 128:10,    12:19, 48:13,         attributed         64:23, 67:14,
                                                                                  128:11            138:23, 157:10,       90:14, 115:14      68:6, 73:4,
                                                                                  artificial        190:7, 193:18         attributes         74:19, 74:22,
                                                                                  50:7              assumed               105:1, 170:5,      74:23, 76:6,
                                                                                  arts              125:1, 143:25,        194:18             99:1, 99:16,
                                                                                  16:16             147:4, 148:20,        attributing        108:18, 120:16,
                                                                                  aside             154:3, 163:12         118:3, 141:8       120:21, 123:6,
                                                                                  93:7, 105:4,      assuming              attribution        126:10, 132:14,
                                                                                  173:23, 175:9,    98:20, 151:20,        119:1              136:6, 136:13,
                                                                                  209:8             163:14                attributions       152:12, 152:14,
                                                                                  asked             assumption            89:25              153:25, 157:19,
                                                                                  57:11, 66:9,      124:11, 124:16,       audible            159:13, 159:16,
                                                                                  66:16, 72:21,     147:10, 147:20,       136:12, 136:22     163:17, 165:21,
                                                                                  78:6, 82:9,       181:13, 181:17,       audience           167:1, 168:23,
                                                                                  83:3, 99:22,      181:18, 182:14        118:9              169:3, 170:17,
                                                                                  100:20, 105:21,   assumptions           audio              170:18, 170:25,
                                                                                  121:21, 162:19,   147:6, 147:18,        13:16              171:3, 171:5,
                                                                                  162:25, 210:25    182:25                av                 178:8, 180:2,
                                                                                  asking            atlanta               6:19               180:21, 181:25,
                                                                                  50:2, 86:18,      161:13                available          191:24, 198:13,
                                                                                  86:22, 151:7,     atmosphere            34:10, 112:15,     203:23, 215:3,
                                                                                  204:25, 222:1     92:20, 96:25,         113:2, 215:8       217:7, 220:19,
                                                                                  aspect            97:24, 99:11          avenue             220:24
                                                                                  53:22             attached              10:2               background
                                                                                  aspects           65:14                 average            13:12, 44:16,
                                                                                  29:1, 77:25,      attempts              32:13, 110:18,     87:22, 88:9,
                                                                                  176:14            21:22                 113:11             98:21, 104:11,
                                                                                  assassination     attend                avid               124:21
                                                                                  54:10, 54:20      15:4                  44:5, 44:22        backgrounds
                                                                                  assertion         attending             aware              123:11, 124:20,
                                                                                  132:17            8:3, 55:14            8:7, 121:4,        124:22
                                                                                  assess            attention             121:8, 122:21,     bad
                                                                                  34:1, 198:8,      77:16, 88:24,         124:6, 130:1,      61:13, 99:3,
                                                                                  199:17            145:23, 148:2,        130:6, 130:18      112:2
                                                                                  assessing         148:6, 152:23,        away               badge
                                                                                  38:21, 39:1,      153:4, 155:18         8:9, 93:17,        56:6




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                           229
                                 ID#: 1864
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 231 of 281 - Page




                                                                                  banging           basic                 100:20, 102:3,     before
                                                                                  185:12            38:18, 43:15          103:18, 109:13,    3:22, 8:17,
                                                                                  bank              basically             110:6, 112:13,     12:5, 36:1,
                                                                                  60:22, 60:23,     43:14                 114:4, 124:23,     50:2, 56:15,
                                                                                  60:24, 61:8,      basing                126:13, 130:16,    56:21, 57:9,
                                                                                  61:24             75:7                  131:19, 131:20,    57:13, 65:13,
                                                                                  bantered          basis                 133:4, 134:8,      67:25, 79:10,
                                                                                  188:10            79:6, 79:7,           135:8, 139:7,      86:2, 86:7,
                                                                                  banyamyan         80:2, 101:23,         145:7, 148:10,     88:4, 111:11,
                                                                                  135:1, 159:5      139:8, 153:24,        159:7, 163:10,     124:1, 162:10,
                                                                                  barbara           200:21                165:6, 172:14,     164:18, 166:1,
                                                                                  17:12             bear                  173:16, 174:11,    174:8, 178:14,
                                                                                  barnard           18:12, 26:24,         180:24, 182:15,    209:8, 210:10,
                                                                                  42:11             29:11, 34:19,         191:18, 191:21,    210:25, 217:10,
                                                                                  barrett           38:20, 54:3,          194:19, 196:15,    224:2
                                                                                  1:42, 3:23,       55:18, 56:12,         197:21, 197:25,    beg
                                                                                  11:12, 224:2,     90:19, 95:4,          204:17, 218:9,     126:4, 128:25
                                                                                  224:17            122:3, 126:13,        219:20             began
                                                                                  base              153:22, 189:11,       been               146:15, 155:16
                                                                                  68:18, 70:14,     197:19                11:15, 12:5,       begin
                                                                                  72:18, 79:11,     bearing               16:12, 16:24,      66:18
                                                                                  175:15, 181:18,   31:20, 38:2,          20:18, 23:2,       beginning
                                                                                  190:23, 208:20    79:24, 85:16,         23:5, 24:7,        64:21, 64:22,
                                                                                  baseball          85:23, 86:20,         41:17, 50:1,       99:17, 100:6,
                                                                                  161:13            87:7, 87:25,          53:9, 56:17,       100:24, 117:4,
                                                                                  based             91:7, 91:20           57:8, 57:11,       126:11, 149:17,
                                                                                  30:25, 82:3,      bears                 58:10, 58:14,      150:13, 150:16,
                                                                                  82:4, 83:20,      50:20, 82:22,         58:20, 68:17,      156:17, 156:20,
                                                                                  83:25, 87:9,      94:21, 204:17,        70:3, 70:12,       157:1, 158:19,
                                                                                  120:6, 123:12,    204:24                74:11, 75:5,       158:21, 159:14,
                                                                                  124:16, 124:18,   beating               88:6, 88:13,       159:17, 170:14,
                                                                                  125:19, 128:14,   96:7, 145:22,         100:12, 105:21,    173:10, 173:11
                                                                                  134:20, 137:24,   148:5                 106:5, 110:2,      begins
                                                                                  138:3, 138:5,     beautiful             123:2, 124:10,     8:20
                                                                                  138:21, 144:5,    44:7                  125:1, 125:15,     behalf
                                                                                  147:6, 147:17,    because               128:9, 130:18,     4:3, 4:10,
                                                                                  168:14, 172:25,   13:20, 23:20,         132:2, 132:6,      4:18, 5:1, 5:10,
                                                                                  175:17, 181:13,   30:4, 36:24,          137:18, 140:19,    5:20, 6:1, 6:9,
                                                                                  181:19, 182:25,   37:2, 37:13,          143:20, 152:5,     10:23
                                                                                  188:17, 207:7,    42:21, 44:13,         154:9, 154:25,     behave
                                                                                  208:24, 212:21,   48:23, 50:22,         165:20, 165:22,    122:18, 144:9
                                                                                  217:17, 217:23,   51:16, 53:25,         182:2, 204:1,      behaved
                                                                                  218:9, 218:22,    54:1, 54:20,          204:25, 208:8,     137:20
                                                                                  219:20, 220:11,   59:7, 59:11,          208:9, 208:11,     behavior
                                                                                  220:14, 220:16    59:20, 59:21,         208:12, 208:17,    84:2, 97:16,
                                                                                  bases             75:3, 81:13,          219:2, 219:4,      107:2, 141:4,
                                                                                  68:15, 147:12,    91:8, 94:4,           219:12, 219:17,    141:12, 143:8,
                                                                                  194:23            96:8, 97:17,          219:20, 219:25     143:24, 143:25,




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          230
                                 ID#: 1865
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 232 of 281 - Page




                                                                                  146:15, 147:13,   besides               71:15              195:10, 195:14,
                                                                                  147:21, 153:14,   26:15, 29:13          billed             195:15, 196:4,
                                                                                  180:18, 209:2     best                  221:12             196:9, 197:4
                                                                                  behaviors         8:6, 54:1,            bingham            blockage
                                                                                  212:21, 213:21,   84:13, 102:6,         4:22               215:11
                                                                                  213:22            132:9                 bird               blocked
                                                                                  behest            better                5:24, 10:21        114:7, 117:17,
                                                                                  135:11            13:17, 13:23,         birds              117:18, 117:24,
                                                                                  behind            52:13, 58:18,         122:4              118:1, 118:10,
                                                                                  145:24, 158:1,    193:5                 birth              158:12, 190:18,
                                                                                  170:17, 170:18,   between               110:6              190:21, 192:20,
                                                                                  170:25, 171:2,    18:9, 25:14,          bit                194:15, 204:19,
                                                                                  172:2, 179:6,     31:15, 41:18,         12:8, 17:15,       214:2
                                                                                  182:15, 183:5,    48:14, 50:23,         50:10, 90:25,      blocking
                                                                                  198:13, 215:9,    66:7, 76:1,           120:12, 156:12,    118:18, 166:24,
                                                                                  215:12            81:11, 99:3,          197:16, 203:22     176:12, 176:16,
                                                                                  being             108:19, 121:25,       black              177:5, 177:7,
                                                                                  16:20, 51:6,      123:4, 124:4,         77:13, 122:22,     177:9, 177:20
                                                                                  99:6, 99:7,       124:9, 126:14,        123:14, 123:22,    blue
                                                                                  114:15, 116:19,   139:13, 142:21,       124:3, 124:5,      174:5
                                                                                  124:3, 125:9,     144:22, 148:4,        125:6, 125:19,     bob
                                                                                  172:23, 176:16,   152:22, 155:4,        125:22, 126:16,    73:19
                                                                                  177:10, 185:10,   158:2, 165:2,         129:13, 130:22,    body
                                                                                  194:8, 206:9,     171:20, 172:4,        133:7, 133:9,      92:6, 92:11
                                                                                  207:5             173:3, 175:19,        134:23, 135:10,    boiling
                                                                                  believe           182:6, 189:10         136:6, 136:13,     32:25
                                                                                  56:22, 65:16,     beyond                136:18, 136:23,    book
                                                                                  67:16, 88:12,     33:5, 197:6           139:14, 139:17,    39:13, 112:14
                                                                                  88:17, 100:17,    bhi                   140:18, 141:16,    books
                                                                                  128:8, 128:15,    152:17                141:20, 142:16,    25:12, 39:12,
                                                                                  133:6, 134:18,    bibliographies        147:1, 148:4,      48:9
                                                                                  134:25, 135:11,   119:17                152:17, 152:22,    border
                                                                                  135:25, 138:16,   bibliography          153:4, 157:20,     14:8
                                                                                  139:21, 148:10,   53:7                  182:7, 193:7       bore
                                                                                  149:24, 153:19,   big                   blah               88:2, 113:19
                                                                                  154:10, 156:10,   134:6                 190:7              born
                                                                                  161:16, 176:9,    bigger                blinking           13:13, 13:25,
                                                                                  178:19, 188:10,   112:11, 134:7         96:8               88:15, 109:25,
                                                                                  196:6, 210:2,     bill                  block              110:2, 110:21
                                                                                  222:15            29:16, 29:18,         84:4, 84:8,        both
                                                                                  believed          29:20, 29:21,         89:22, 90:15,      24:8, 31:20,
                                                                                  135:5, 185:10,    29:24, 29:25,         113:20, 115:17,    33:17, 40:12,
                                                                                  213:22            30:1, 30:3,           118:5, 118:6,      40:13, 126:25,
                                                                                  bell              30:4, 30:6,           118:15, 118:20,    136:10
                                                                                  59:14             30:24, 31:6,          118:22, 118:24,    bottom
                                                                                  below             31:10, 31:13,         119:2, 193:2,      54:25, 56:23,
                                                                                  75:8              31:14, 32:7,          193:10, 194:20,    70:14, 117:15,
                                                                                  benzinger         33:12, 33:18,         194:21, 194:25,    119:5
                                                                                  59:2, 62:13



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                           231
                                 ID#: 1866
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 233 of 281 - Page




                                                                                  box               120:10, 120:12,       c-r-a-i-g-e        129:15, 130:9,
                                                                                  125:13            120:22, 175:22,       11:22              134:4, 136:25,
                                                                                  boy               178:2, 178:15,        call               139:21, 160:18,
                                                                                  122:16, 123:8,    192:25, 220:18        22:2, 33:20,       172:3, 172:9,
                                                                                  137:17, 164:16,   brief                 50:21, 51:5,       193:13, 210:21,
                                                                                  175:11, 175:21,   47:5, 47:13,          95:19, 107:23,     211:8, 212:3,
                                                                                  179:14            58:7                  129:24, 133:5,     212:4, 212:17,
                                                                                  boy's             briefly               147:24, 148:23,    214:24, 220:1
                                                                                  139:13, 175:20    53:11, 121:14         151:14, 183:5,     cannot
                                                                                  boys              bring                 222:20             129:22, 133:25,
                                                                                  93:15, 93:21,     18:11, 38:20,         called             166:15, 170:6,
                                                                                  99:1, 126:6,      95:3                  38:6, 39:13,       203:17
                                                                                  127:18, 128:3,    bringing              54:19, 126:3,      cap
                                                                                  129:21, 131:15,   90:18, 197:19         126:5, 130:2,      162:14, 163:4,
                                                                                  131:25, 132:5,    brings                130:7, 152:3,      171:23, 174:5,
                                                                                  132:8, 133:22,    36:20                 162:25             174:12
                                                                                  137:7, 137:8,     broad                 calling            capable
                                                                                  137:10, 137:19,   5:16                  185:2              113:12
                                                                                  139:5, 139:19,    broadcast             calls              capacity
                                                                                  141:3, 141:12,    72:1                  54:16, 67:19,      86:22
                                                                                  141:16, 145:16,   broadcasts            67:23              caplan
                                                                                  146:18, 146:19,   71:3                  came               52:8, 54:14
                                                                                  148:4, 152:16,    broadly               16:13, 67:14,      caption
                                                                                  152:22, 152:23,   40:7                  99:25, 146:13,     2:1, 9:19,
                                                                                  154:18, 154:20,   broke                 148:5, 152:20,     64:24
                                                                                  155:11, 155:16,   76:3                  154:23, 222:16     capture
                                                                                  156:21, 158:4,    brooklyn              camera             37:6, 115:11
                                                                                  158:7, 158:8,     39:16, 39:17          147:3, 151:15,     captured
                                                                                  158:10, 160:14,   brought               151:19, 163:5,     106:4, 106:24,
                                                                                  160:19, 160:21,   34:19, 127:20,        171:25, 218:12,    130:17
                                                                                  166:5, 166:12,    152:3, 154:7          218:15             capturing
                                                                                  166:21, 167:24,   brown                 cameraman          37:8
                                                                                  172:5, 173:3,     5:15, 10:15,          134:24, 135:6,     car
                                                                                  173:22, 174:4,    10:17, 174:6          146:8, 147:1,      197:13, 197:15
                                                                                  174:5, 174:23,    buddies               148:22, 148:23,    card
                                                                                  176:4, 176:7,     164:10                148:25, 150:22,    113:9
                                                                                  179:5, 180:7,     bullet                151:14, 152:2,     careful
                                                                                  180:21, 181:3,                          157:16, 162:6,     27:20, 101:9,
                                                                                  181:22, 182:8,    125:5, 127:2
                                                                                                    bunch                 162:20, 163:1      190:24
                                                                                  182:10, 182:13,                         cameraman's        carefully
                                                                                  192:14, 192:24,   56:16
                                                                                                    buses                 158:6              135:23, 151:9
                                                                                  205:8                                   cameras            carissimo
                                                                                  braids            132:4
                                                                                                    bystander             152:8              71:25
                                                                                  180:13                                  can't              case
                                                                                  brain             122:16
                                                                                                    bystanders            39:16, 60:22,      1:10, 1:20,
                                                                                  111:20                                  61:1, 78:1,        1:33, 2:7, 2:17,
                                                                                  break             83:12, 122:12,
                                                                                                    122:14, 122:20        100:8, 122:15,     2:29, 9:2, 9:3,
                                                                                  12:16, 74:13,                           123:5, 127:12,     9:4, 9:6, 9:10,
                                                                                                             C
                                                                                                    c-r-a
                                                                                                    11:21

                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          232
                                 ID#: 1867
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 234 of 281 - Page




                                                                                  9:13, 9:21,       4:19, 5:1, 5:2,       144:16, 148:6,     circle
                                                                                  18:11, 21:6,      9:6, 11:10,           156:22, 171:23,    129:7, 129:17,
                                                                                  23:15, 38:23,     71:22                 182:4, 182:5       129:19, 129:24,
                                                                                  46:16, 56:15,     cbs's                 chants             129:25, 130:19,
                                                                                  56:21, 56:23,     72:12                 143:22             131:5, 131:10,
                                                                                  56:25, 57:1,      celebratory           chaperones         133:5, 133:13
                                                                                  58:14, 58:20,     185:1, 186:12         83:11              circulating
                                                                                  59:1, 59:2,       center                character          125:17
                                                                                  59:17, 59:18,     6:14, 35:5,           54:10, 54:17,      circumstance
                                                                                  60:14, 60:16,     36:19, 43:1           54:20, 54:21,      94:9, 97:5,
                                                                                  62:19, 62:21,     centuries             101:22, 126:9      117:22, 142:24
                                                                                  64:6, 64:13,      23:3, 37:1            characterization   circumstances
                                                                                  65:8, 66:2,       century               116:16, 116:23,    34:1, 87:14,
                                                                                  82:10, 83:4,      25:10, 52:24          164:11             102:9, 106:4,
                                                                                  86:14, 86:23,     ceremonial            characterize       106:23, 122:2,
                                                                                  91:21, 92:15,     143:24, 144:4,        53:15, 67:4,       144:4
                                                                                  94:25, 95:19,     145:21, 146:23        78:1, 108:10,      cite
                                                                                  97:23, 100:19,    certain               108:11, 141:13,    112:3, 149:7,
                                                                                  105:15, 109:10,   19:19, 23:25,         170:2              149:8, 149:11,
                                                                                  113:5, 115:6,     30:16, 33:4,          characterizing     149:13, 171:6,
                                                                                  118:18, 118:23,   41:13, 53:16,         191:1              176:10
                                                                                  131:20, 137:4,    56:3, 81:21,          characters         cited
                                                                                  143:7, 149:6,     107:16, 110:17,       77:11              127:4, 128:11,
                                                                                  150:11, 188:8,    113:15, 132:3,        check              149:24, 178:12
                                                                                  191:13, 200:17,   164:8, 176:1          113:9              city
                                                                                  221:7, 224:11     certainly             cheer              13:4, 13:10
                                                                                  case's            25:11, 62:1           137:9, 137:18,     civil
                                                                                  59:16             certificate           137:19, 137:20     40:11
                                                                                  cases             224:1                 cheering           claim
                                                                                  39:2, 40:8,       certify               137:11             84:4
                                                                                  40:18, 46:18,     224:4                 chicago            claiming
                                                                                  52:12, 56:16,     challenging           5:7, 14:10         131:9, 156:24,
                                                                                  56:24, 57:25,     109:3, 112:23         child              183:3
                                                                                  58:5, 59:23,      chamber               110:16, 110:18,    claims
                                                                                  62:25, 63:10,     6:14                  111:5              192:8
                                                                                  64:5, 64:19,      changed               children           clarification
                                                                                  75:7, 107:16,                                              13:24
                                                                                  148:17            18:9, 51:15           109:23, 109:25,
                                                                                  category          changes               110:2, 110:21      clarify
                                                                                                    51:2, 51:6            choices            57:20, 58:16,
                                                                                  70:21, 111:8                                               58:17, 69:18
                                                                                  catholic          chant                 98:4
                                                                                                    143:17, 143:22,       chop               clarity
                                                                                  83:11, 99:1,                                               54:7
                                                                                  127:19, 128:4     143:25, 144:23,       161:7, 161:10,
                                                                                  cats              145:1, 145:21         161:19             clasped
                                                                                                    chanted               chose              170:18
                                                                                  116:3                                                      class
                                                                                  caught            129:6, 181:22         197:4
                                                                                  155:17
                                                                                                    chanting              chris              38:6, 40:5,
                                                                                                    129:10, 129:18,       71:14              40:16, 41:14,
                                                                                  cbs               143:14, 144:11,       church             107:19
                                                                                  1:36, 4:18,
                                                                                                                          170:24



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          233
                                 ID#: 1868
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 235 of 281 - Page




                                                                                  classical         cognition             180:24             compiling
                                                                                  21:10             36:22, 42:19          comments           116:10
                                                                                  classwork         cognitive             142:20             complete
                                                                                  15:18             35:8, 36:19,          commercial         15:21, 58:3,
                                                                                  clause            42:16, 42:17,         64:9, 64:10        70:23
                                                                                  190:7             42:25                 commission         completed
                                                                                  clear             colleague             224:18             221:10
                                                                                  97:22, 98:13,     11:9                  commissioned       completely
                                                                                  106:1, 118:19,    collect               222:12             88:22, 89:13,
                                                                                  128:24, 132:24,   21:16                 committees         197:17, 207:16
                                                                                  146:4, 158:14,    collecting            41:25, 43:12       complex
                                                                                  192:19, 195:1     21:12, 116:11         common             18:24, 20:12,
                                                                                  clearest          collections           38:4, 52:21,       23:6, 26:12,
                                                                                  195:23            21:19                 109:13, 111:13,    32:1, 32:3,
                                                                                  clearly           collector             112:21, 180:13     51:3, 51:19,
                                                                                  146:16, 154:6,    16:17                 common-sense       51:20, 197:19
                                                                                  175:7, 181:2      college               111:15, 111:16     complicated
                                                                                  clenched          16:13, 39:17,         commonly           17:25, 208:13
                                                                                  141:18            42:11                 23:22              compose
                                                                                  clicked           collegiate            community          20:12, 26:11
                                                                                  73:9, 73:12       74:4                  42:5, 43:7,        composed
                                                                                  climb             columbus              115:18             27:7
                                                                                  154:5             5:17                  companion          composite
                                                                                  climbed           come                  179:23, 180:1,     218:18
                                                                                  154:2, 154:11     26:20, 26:24,         180:10, 182:15,    computational
                                                                                  climbs            55:18, 56:12,         182:18             37:11
                                                                                  154:8             60:23, 96:21,         companions         computer
                                                                                  clip              127:5, 146:23,        164:3, 164:14,     8:10, 25:24,
                                                                                  68:4, 68:6,       151:12, 157:25,       164:15, 179:13,    37:1, 39:6,
                                                                                  72:9, 73:9,       158:2, 172:12,        183:19             42:23, 50:9,
                                                                                  215:6             179:5, 182:1,         company            108:13, 108:14,
                                                                                  clips             191:17, 191:18,       1:23, 4:12,        108:15
                                                                                  218:17            192:3, 197:25,        6:10, 9:20,        computers
                                                                                  close             220:18                10:10, 11:1,       25:23
                                                                                  13:20, 95:19,     comes                 21:9               concede
                                                                                  96:6, 96:18,      29:11, 44:4,          comparable         150:7
                                                                                  96:21, 125:24,    54:3, 87:18,          195:16, 195:25     conceding
                                                                                  154:18            168:24, 169:3,        compare            213:24
                                                                                  closely           192:20, 194:5         131:5              concentrates
                                                                                  117:20            comfortable           compensation       187:11
                                                                                  closer            96:17                 221:6              concentrating
                                                                                  179:5             coming                competence         189:8
                                                                                  clot              152:21, 157:22        111:17, 111:21     concerned
                                                                                  148:19            command               competent          190:11
                                                                                  co-counsel        106:15, 109:16        115:13, 199:16     conclude
                                                                                  10:21, 10:25      commencing            competition        83:25, 119:6,
                                                                                  cogni-science     8:1                   37:2               123:16
                                                                                  36:20             comment               compile            concluded
                                                                                                    121:21, 166:15,       25:13              201:1, 223:19


                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                        234
                                 ID#: 1869
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 236 of 281 - Page




                                                                                  concluding        congratulating        constitute         26:16, 26:22,
                                                                                  186:8             184:19, 184:20,       194:8, 208:14      27:8, 28:15,
                                                                                  conclusion        185:5                 constituted        28:17, 28:18,
                                                                                  88:19, 204:10     conjecture            99:7               28:21, 28:23,
                                                                                  conclusions       84:5, 84:8,           construable        29:1, 29:7,
                                                                                  189:7             84:12                 87:14              29:11, 29:17,
                                                                                  conclusive        conjoined             construal          30:8, 30:14,
                                                                                  186:10            118:25                80:9, 80:14,       33:1, 33:20,
                                                                                  condition         conjunct              81:1, 81:10,       34:2, 34:12,
                                                                                  55:19, 197:11     118:11, 118:15        87:20, 87:21,      34:18, 41:16,
                                                                                  conditional       connect               114:12             41:19, 50:15,
                                                                                  101:22, 197:24,   8:15                  construal's        50:17, 50:19,
                                                                                  198:4             connecting            81:3               50:20, 50:21,
                                                                                  conditionally     8:16                  construction       50:22, 50:24,
                                                                                  56:8, 62:5        connection            117:25, 172:19     51:2, 51:5,
                                                                                  conditions        57:12, 68:24,         construe           51:11, 51:14,
                                                                                  33:21, 61:18,     70:25, 73:22          87:17              51:15, 51:19,
                                                                                  77:23, 78:10,     connotation           construed          97:18, 104:6,
                                                                                  94:24, 107:6,     95:23                 82:5               109:8, 115:23,
                                                                                  107:23, 107:25,   connotations          consult            118:7, 119:16,
                                                                                  108:3, 108:4,     56:9, 109:5           74:9, 119:22,      133:14, 197:1
                                                                                  108:6, 108:21,    conscious             120:10             context-sensitive
                                                                                  108:22, 108:23,   95:6                  consulted          26:25, 27:1,
                                                                                  109:1, 117:10,    consequence           73:25, 74:6,       29:10, 41:14
                                                                                  119:7, 188:18,    37:22                 111:22, 113:1,     contextual
                                                                                  188:21, 189:3,    conservative          119:20, 200:1,     20:13, 31:5,
                                                                                  190:1, 190:5,     172:23                200:2, 200:23      31:19, 51:21
                                                                                  198:2, 199:15,    consider              contact            continue
                                                                                  199:17, 216:10    18:16, 64:16,         65:21              62:12, 117:2
                                                                                  conduct           81:11, 84:15,         contacted          continued
                                                                                  141:3             161:18, 187:22        65:14, 65:18       2:1, 4:27,
                                                                                  conducted         considerably          contain            5:28, 165:11
                                                                                  2:36, 3:2,        215:9                 58:3               continues
                                                                                  121:16            consideration         contained          68:20
                                                                                  confidence        31:2, 34:17,          216:4              continuing
                                                                                  66:17             38:3, 101:9,          contend            13:22, 67:25,
                                                                                  confront          190:24, 193:17        136:11             119:23, 133:18,
                                                                                  84:3              considered            contending         137:5, 165:3,
                                                                                  confrontation     68:16, 117:6,         136:21             165:17, 165:18,
                                                                                  76:2, 77:18,      119:24, 187:19,       content            179:8
                                                                                  95:13, 95:16,     193:22                44:6, 145:22,
                                                                                                                                             contract
                                                                                  95:17, 95:20,     considering           198:4              63:16, 63:17,
                                                                                  95:21, 98:7,      24:25, 94:2           contention         64:11, 64:14
                                                                                  98:11, 120:1,     consistent            136:15, 165:25
                                                                                                                                             contracts
                                                                                  146:15, 179:12,   84:2, 199:5           contentious        63:12, 64:9
                                                                                  184:7, 213:1,     consists              39:2, 113:20,
                                                                                                                                             contraposition
                                                                                  213:6             21:11                 114:2              50:7
                                                                                  confused          constantly            context            contributing
                                                                                  31:8, 31:24       44:5, 44:18           20:21, 21:24,      99:11



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          235
                                 ID#: 1870
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 237 of 281 - Page




                                                                                  controversial     51:4, 51:7,           129:14, 130:24,    craig
                                                                                  53:1, 53:3,       53:16, 58:17,         146:9, 159:22,     7:12, 11:24,
                                                                                  53:4, 161:13,     76:8, 80:24,          179:11             11:25, 223:6,
                                                                                  161:15            105:4, 119:15,        course             223:17
                                                                                  convention        119:17, 130:14,       21:16, 28:24,      craige
                                                                                  115:9             132:19, 141:15,       36:24, 38:11,      2:35, 3:1, 7:3,
                                                                                  conversation      142:23, 143:6,        38:13, 38:15,      7:9, 8:21,
                                                                                  66:1              147:8, 152:19,        38:16, 38:17,      11:15, 11:20,
                                                                                  conversations     154:11, 161:19,       39:4, 39:9,        11:24, 26:20,
                                                                                  8:12, 101:11      163:16, 167:3,        41:9, 41:11,       47:5
                                                                                  convey            173:2, 174:8,         51:2, 51:22,       crane
                                                                                  17:24, 18:2,      174:15, 175:13,       52:5, 52:17,       117:25, 118:1,
                                                                                  19:20, 91:1,      175:25, 181:25,       53:24, 63:24,      118:2, 118:3
                                                                                  91:3, 91:13,      187:15, 190:6,        76:23, 84:24,      crc
                                                                                  91:14, 91:17,     191:15, 191:16,       92:19, 92:24,      224:17
                                                                                  91:23, 92:5       191:18, 192:4,        116:7, 121:24,     create
                                                                                  conveyed          193:13, 195:5,        138:14, 149:22,    209:24
                                                                                  17:3              195:8, 196:11,        153:18, 172:3,     creole
                                                                                  copy              196:20, 199:19,       181:10, 222:19     16:3, 48:9,
                                                                                  46:4, 46:10,      200:17, 204:21,       courses            48:14, 48:16,
                                                                                  51:8              205:6, 205:10,        35:20, 35:23,      48:20, 49:14
                                                                                  corporation       206:8, 206:10,        43:11              criminal
                                                                                  5:11              206:13, 207:3,        coursework         40:11, 62:19
                                                                                  correctly         207:4, 207:20,        16:1               cross-examining
                                                                                  114:9             208:10, 208:17,       court              61:19
                                                                                  correlated        210:6, 211:19,        1:1, 11:11,        crowd
                                                                                  75:21             213:20, 213:21,       11:14, 12:12,      56:3, 125:17,
                                                                                  correlation       215:10, 215:13,       13:16, 13:23,      139:10, 154:10,
                                                                                                    215:17, 218:2,        13:24, 14:2,       156:6, 158:8,
                                                                                  31:15             218:5, 218:8,
                                                                                  correspond                              58:21, 60:6,       160:13, 160:20,
                                                                                                    218:10, 218:21        83:19, 112:23,     165:10, 166:21,
                                                                                  80:10, 150:10     couldn't
                                                                                  correspondence                          138:15, 138:18,    167:24, 176:4,
                                                                                                    125:18, 145:4,        178:24, 213:15     176:8, 185:17
                                                                                  62:19             154:1, 163:10,
                                                                                  corridor                                courtroom          crowd-sourcing
                                                                                                    186:4, 191:20,        57:17              23:21, 24:5
                                                                                  171:10, 171:20,   191:23, 192:6,
                                                                                  173:16, 174:2,                          covington          crr
                                                                                                    195:2, 209:14         1:3, 83:10,        224:17
                                                                                  175:3, 177:18,    counsel
                                                                                  177:22, 178:16,                         99:1, 122:16,      crucial
                                                                                                    10:4, 113:5,          123:8, 123:18,     107:21, 119:8
                                                                                  178:19, 209:25,   224:9
                                                                                  215:7                                   126:6, 127:19,     crude
                                                                                                    count                 128:4, 129:21,
                                                                                  couched                                                    80:17
                                                                                                    57:23, 130:13,        131:6, 131:15,     csr
                                                                                  107:10            131:19, 132:10,
                                                                                  could                                   137:6, 146:19,     224:17
                                                                                                    132:18, 148:16,       158:7, 164:16,
                                                                                  17:3, 28:18,      148:17, 221:13                           cultural
                                                                                  28:22, 29:16,                           180:7, 181:22,     56:10, 56:12,
                                                                                                    country               182:7, 182:10,
                                                                                  33:15, 33:16,     181:4                                    85:12, 86:4,
                                                                                  33:25, 39:1,                            182:13             86:17, 87:10,
                                                                                                    couple                crackers           97:20, 97:21,
                                                                                  49:13, 49:23,     54:9, 76:24,          126:6



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          236
                                 ID#: 1871
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 238 of 281 - Page




                                                                                  138:7             10:8, 10:9            115:8, 115:13,     116:20
                                                                                  culture           data                  115:17, 120:10,    defines
                                                                                  88:4, 92:10,      19:14, 20:23,         151:12             201:7
                                                                                  104:4, 130:7      21:2, 21:4,           decided            defining
                                                                                  cultures          22:9, 22:11,          59:15, 72:17,      116:18
                                                                                  184:23            22:15, 22:19,         82:15, 101:17,     definitely
                                                                                  current           22:20, 22:25,         102:5, 121:17      145:12
                                                                                  42:7, 116:24      24:25, 25:25,         deciding           definition
                                                                                  currently         27:5, 27:6,           196:16             22:3, 115:24,
                                                                                  13:3, 41:20       27:10, 27:13,         decipher           116:15, 116:16,
                                                                                  curriculum        27:14, 54:3,          86:15, 86:24       116:17, 116:21,
                                                                                  58:7              127:13                decision           116:22, 195:11,
                                                                                  cursor            database              75:18              195:14, 196:14,
                                                                                  150:25            108:17                declined           197:4, 201:6,
                                                                                  cut               date                  191:7, 191:14      201:7, 201:10,
                                                                                  112:25            9:15, 9:22,           deem               201:14, 201:20,
                                                                                  cv                99:19, 221:22,        43:5               201:23, 202:1,
                                                                                  27:18, 47:8,      221:25                deemed             202:2, 202:12,
                                                                                  47:10, 47:13,     dated                 36:3, 59:10,       216:24
                                                                                  47:15, 54:9,      46:12, 65:12,         59:25, 60:2        definitions
                                                                                  56:14, 63:6,      74:25, 222:17         deep               22:2, 113:13,
                                                                                  68:7, 68:9        david                 197:18             115:23, 116:10,
                                                                                  cv--wob-cjs       6:18, 9:24            deeper             116:12, 116:13,
                                                                                  1:11, 1:21,       davis                 17:2               190:24, 193:2,
                                                                                  1:34, 9:2, 9:5,   4:14                  deeply             195:6, 195:19,
                                                                                  9:7, 9:21         day                   43:24              196:3, 196:8,
                                                                                  cycle             45:2, 78:15,          deer               199:25, 200:7,
                                                                                  18:25             85:3, 101:16,         109:25             200:22, 216:4,
                                                                                           D        222:7, 224:14         defamation         216:15
                                                                                                    days                  40:15, 40:19,      definitive
                                                                                  dame                                                       108:25
                                                                                  173:19, 174:9,    67:16, 76:24,         56:15, 56:20,
                                                                                                    100:8                 57:7, 66:3         defrank
                                                                                  174:12, 175:1,                                             4:6, 57:2, 57:9
                                                                                  175:9, 175:12     dc                    defective
                                                                                  dance             4:16, 97:11,          111:20             degrade
                                                                                                    127:5                 defendant          125:24, 126:17
                                                                                  129:20, 129:24,                                            degrading
                                                                                  130:2, 130:7,     dear                  1:13, 1:25,
                                                                                  130:14, 131:6,    46:23                 5:10               126:18
                                                                                  131:10, 133:5,    debate                defendants         degree
                                                                                  133:6, 146:23     28:20, 51:25,         1:37, 2:11,        14:25, 15:1,
                                                                                  danced            52:15, 52:23,         2:23, 2:33,        15:16
                                                                                  129:6             53:12                 4:10, 4:18, 5:1,   dell
                                                                                  dancing           december              5:20, 6:1, 6:9,    76:14
                                                                                  129:10, 129:17,   2:37, 4:2,            11:10              delusionary
                                                                                  129:25, 130:19,   7:14, 9:16,           defense            91:18
                                                                                  133:11            9:23, 222:17,         187:10             demanding
                                                                                  darren            223:7, 224:14         define             38:16
                                                                                  6:12, 10:6,       decide                114:17             denotes
                                                                                                    79:11, 95:2,          defined            203:1
                                                                                                                          28:20, 116:18,



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          237
                                 ID#: 1872
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 239 of 281 - Page




                                                                                  dentons           design                112:3, 112:7,      184:16, 188:25,
                                                                                  4:22, 5:5, 10:2   82:2                  113:1, 113:6,      195:10, 197:19
                                                                                  deny              desire                119:12, 119:13,    difficult
                                                                                  85:11, 218:11     140:20                119:21, 119:22,    32:10, 154:15,
                                                                                  denying           detailed              195:17, 195:20,    201:15
                                                                                  150:3             38:1                  196:4, 199:25,     dinsmore
                                                                                  department        details               200:2, 200:23      60:9
                                                                                  35:14, 36:11,     52:8, 60:16,          dictionary         direct
                                                                                  40:22             75:14, 123:25         16:2, 16:3,        80:3, 126:13,
                                                                                  depends           determination         22:2, 22:3,        153:1, 155:19
                                                                                  18:6, 20:20,      146:1                 22:19, 48:10,      direction
                                                                                  28:18, 49:22,     determine             48:24, 49:1,       51:9, 51:10,
                                                                                  56:6              48:1, 78:19,          49:4, 49:6,        51:17, 152:24,
                                                                                  depicted          101:21, 107:8,        49:9, 49:14,       156:24, 157:7,
                                                                                  163:4             109:6, 109:9,         74:2, 74:4,        166:2, 166:4,
                                                                                  depos             109:19, 113:17,       74:5, 95:17,       166:19, 167:7,
                                                                                  6:19, 9:25        115:23, 119:7,        107:13, 112:10,    167:11, 208:10,
                                                                                  deposed           125:8, 128:6,         113:12, 115:22,    208:14, 208:16,
                                                                                  12:5              129:9, 184:19,        116:10, 190:24,    220:3, 224:8
                                                                                  deposition        187:25, 190:1,        191:5, 193:1,      directions
                                                                                  2:35, 3:1,        190:4, 198:20,        195:4, 195:11,     157:5
                                                                                  7:14, 8:21,       199:2, 199:20,        195:14, 195:15,    directly
                                                                                  8:25, 10:1,       216:8                 196:13, 196:20,    158:7, 168:9,
                                                                                  46:5, 46:9,       determined            196:23, 196:25,    206:13
                                                                                  57:18, 73:20,     120:4, 199:11         201:7, 216:3,      disagreeing
                                                                                  82:10, 82:14,     determining           216:24, 217:2      174:20, 174:25
                                                                                  94:5, 101:10,     107:6                 dictionary's       disambiguate
                                                                                  101:12, 124:1,    deters                24:15              119:2
                                                                                  132:2, 150:11,    59:2, 62:13           difference         discerning
                                                                                  198:1, 210:12,    develop               32:22, 98:3        196:16
                                                                                  223:6, 223:19,    22:1, 101:4,          differences        disclosure
                                                                                  224:3             110:8                 56:10, 56:12,      46:12
                                                                                  depositions       developed             97:20, 97:22,      disclosures
                                                                                  12:24, 79:3       38:6                  98:14, 99:6,       46:11, 64:25
                                                                                  describe          developing            138:7              discourse
                                                                                  80:13, 107:18,    41:17, 110:18         different          26:23, 28:24,
                                                                                  107:25, 108:2,    development           12:8, 12:10,       29:5, 50:15,
                                                                                  121:14, 141:12,   55:11                 18:9, 18:21,       50:17, 50:21,
                                                                                  143:13, 152:15,   device                20:5, 20:18,       50:22
                                                                                  170:1, 180:10     76:12                 21:23, 25:14,      discrepancy
                                                                                  described         dictionaries          29:23, 30:5,       189:10
                                                                                  22:6, 95:13,      16:8, 16:18,          37:7, 51:18,       discuss
                                                                                  152:20, 164:1,    22:8, 22:12,          56:25, 58:22,      48:4, 66:14,
                                                                                  183:19            22:14, 23:12,         97:12, 97:13,      83:9, 96:2,
                                                                                  description       23:13, 25:2,          116:11, 122:10,    107:22, 156:11,
                                                                                  7:7, 114:15,      74:1, 74:2,           123:15, 124:7,     176:20, 187:7,
                                                                                  156:19            74:7, 74:9,           144:25, 148:19,    217:4
                                                                                  descriptive       109:4, 111:22,        148:20, 184:15,    discussed
                                                                                  107:7, 107:11                                              194:21



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          238
                                 ID#: 1873
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 240 of 281 - Page




                                                                                  discussing        doctoral              137:7, 137:11,     124:9, 129:19,
                                                                                  183:24            35:4                  141:17, 152:13,    218:16
                                                                                  discussion        document              152:21, 154:24,    dynamic
                                                                                  20:20, 26:18,     7:12, 64:19           158:2, 158:9,      50:4, 50:15,
                                                                                  26:20, 31:3,      documents             179:5, 192:25,     51:1, 51:5,
                                                                                  31:17, 31:19,     76:15                 204:8, 206:15,     51:19
                                                                                  33:16, 33:23,     dog                   207:24, 217:15,             E
                                                                                  53:10, 53:13,     116:3                 219:7              each
                                                                                  53:15, 55:15,     dogs                  draft              8:17, 17:24,
                                                                                  100:19            116:4                 121:8              29:6, 75:20,
                                                                                  discussion's      doing                 drafting           75:21, 89:15,
                                                                                  53:5              37:9, 67:1,           121:15             89:17, 96:19,
                                                                                  discussions       85:24, 87:1,          draw               96:20, 96:21,
                                                                                  8:9               92:23, 94:18,         23:7, 23:16,       97:14, 98:9,
                                                                                  disney            119:18, 126:25,       25:25, 43:8,       106:3, 111:2,
                                                                                  4:11              130:14, 131:1,        145:23, 148:2,     112:22, 142:22,
                                                                                  displaying        131:2, 132:22,        148:6              208:22
                                                                                  173:13            140:18, 140:19,       drawn              earlier
                                                                                  dispute           140:25, 142:25,       28:25              48:11, 51:24,
                                                                                  87:23             145:20, 148:12,       dressed            85:2, 114:14,
                                                                                  disputing         160:18, 161:7,        122:19, 124:23,    116:9, 122:21,
                                                                                  90:3, 90:5,       184:25, 186:12,       131:24, 146:22     142:19, 157:4,
                                                                                  190:12            186:16, 197:1,        dritz              162:18, 162:24,
                                                                                  disregard         208:23                62:18              170:2, 171:24,
                                                                                  102:4             domain                drive              172:8, 176:21,
                                                                                  dissing           50:3, 50:12,          4:7, 5:6, 6:14     180:2, 188:21,
                                                                                  54:20             91:11                 drives             194:22, 197:25,
                                                                                  distances         done                  197:13             221:15
                                                                                  134:1, 134:4,     24:23, 63:16,         drum               early
                                                                                  134:10, 134:14,   72:19, 85:23,         96:7, 96:8,        25:10, 52:24,
                                                                                  154:16, 172:10,   86:7, 86:21,          143:22, 145:22,    100:11, 132:25
                                                                                  172:11            96:15, 108:5,         146:24, 148:5,     easier
                                                                                  distinct          124:14, 130:6,        185:12             112:11, 112:14,
                                                                                  88:7              142:9, 162:23,        drummed            172:14, 211:24,
                                                                                  distinguish       172:18, 177:3,        181:21             222:22
                                                                                  49:20, 144:22,    191:23, 206:21,       drumming           east
                                                                                  222:23            213:12, 217:20,       146:24, 156:22,    157:9, 157:11,
                                                                                  distort           220:14                182:2, 182:3       158:2, 168:5
                                                                                  80:19             double                drums              eastern
                                                                                  distortion        142:6                 129:7              1:2
                                                                                  105:5             doubt                 due                easy
                                                                                  distorts          81:7, 84:18,          14:9, 52:6         112:16, 113:4,
                                                                                  93:12             93:25, 161:22,        duly               173:25
                                                                                  district          196:12                11:15              edge
                                                                                  1:1, 1:2          down                  dumpty             156:21, 167:23
                                                                                  disturbing        32:25, 48:8,          115:7              edition
                                                                                  96:9              50:3, 50:10,          during             74:5
                                                                                  division          62:18, 123:6,         85:4, 123:3,
                                                                                  1:3



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                           239
                                 ID#: 1874
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 241 of 281 - Page




                                                                                  education         empirical             23:19, 24:1,       escape
                                                                                  15:17             19:19, 52:10          24:8, 24:11,       201:25
                                                                                  edward            employed              25:9, 26:6,        especially
                                                                                  21:8              224:10                32:20, 32:22,      37:23, 75:24,
                                                                                  effect            employment            48:9, 48:14,       87:18, 123:5,
                                                                                  118:2, 188:25     34:24, 43:15          49:18, 52:21,      142:1, 142:13,
                                                                                  eight             empty                 52:22, 65:9,       144:23, 170:23
                                                                                  67:16, 100:7      205:17                74:2, 95:7,        esquire
                                                                                  either            enabled               103:12, 103:15,    4:4, 4:5, 4:13,
                                                                                  45:13, 72:7,      8:13                  106:2, 106:8,      4:21, 5:4, 5:13,
                                                                                  82:18, 100:5,     encode                106:9, 106:12,     5:14, 5:22, 6:4,
                                                                                  100:11, 100:24,   26:21, 37:7           106:14, 106:16,    6:12
                                                                                  107:12, 131:1     encounter             108:13, 108:19,    essays
                                                                                  elicit            66:7, 79:5,           109:16, 111:23,    21:14
                                                                                  26:4              85:4, 98:3,           112:9, 113:23,     essentially
                                                                                  eligible          98:8, 98:9,           143:15, 143:18,    22:7, 33:1,
                                                                                  41:25             98:11, 106:5,         145:5, 184:4,      47:1, 116:11,
                                                                                  ellipses          106:24, 139:6,        184:11, 191:4,     120:3
                                                                                  27:2, 29:13       139:12, 166:17,       195:13, 201:6,     establish
                                                                                  ellipsis          176:2                 216:11             49:11
                                                                                  20:15             encourage             enormous           estimate
                                                                                  else              146:7                 23:5               129:22, 130:9,
                                                                                  25:4, 26:14,      end                   enough             132:10
                                                                                  27:4, 53:2,       66:13, 68:2,          13:20, 60:4,       et
                                                                                  65:20, 66:15,     126:10, 135:2,        102:19, 102:22,    1:36, 2:10,
                                                                                  96:24, 128:14,    166:9, 206:16,        103:16, 110:17,    2:32, 9:1, 9:6,
                                                                                  184:6, 187:17,    223:16                195:1              9:9, 9:10, 9:13,
                                                                                  197:8, 199:8,     endeavored            entailments        9:20
                                                                                  199:16, 207:20,   79:5, 83:22,          26:9               etcetera
                                                                                  215:2, 223:10     88:21                 entered            20:7, 27:3,
                                                                                  else's            endeavoring           147:23             37:25, 45:4,
                                                                                  81:12, 85:12,     83:18                 enthusiastically   59:2, 109:6
                                                                                  86:24, 92:11,     ended                 137:10             ethnic
                                                                                  93:23             63:8                  entire             56:3, 123:11,
                                                                                  em                ends                  133:13, 218:13     124:20, 124:21,
                                                                                  113:9             197:24, 199:12        entirely           124:22
                                                                                  email             enforcement           72:18              europe
                                                                                  62:18, 65:21      38:14                 entitled           99:2, 139:10,
                                                                                  embedded          engaged               7:12, 50:12,       180:22
                                                                                  71:9, 72:5        56:17, 125:24,        186:23             evade
                                                                                  emerita           126:7, 185:10         entourage          212:24
                                                                                  41:21             engagement            148:8, 148:9,      even
                                                                                  emotional         185:13, 221:17,       148:14, 148:15     41:7, 42:5,
                                                                                  56:9, 78:3        222:13                entries            43:9, 43:23,
                                                                                  emphasis          england               195:16, 196:13     59:14, 82:14,
                                                                                  30:5, 30:23,      60:22                 entry              107:19, 111:18,
                                                                                  31:16             english               71:13              118:22, 133:13,
                                                                                  emphasize         16:4, 18:13,          errors             154:24, 181:12,
                                                                                  30:15, 177:25                           110:11



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          240
                                 ID#: 1875
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 242 of 281 - Page




                                                                                  206:11            119:24, 176:22,       except             144:5, 144:7,
                                                                                  event             193:21, 213:3,        77:16, 90:13,      144:9, 207:8
                                                                                  80:9, 80:14,      213:17, 217:6,        95:4, 101:18,      experienced
                                                                                  80:15, 81:21,     217:13, 217:15,       209:5, 218:17      92:17
                                                                                  82:6, 122:11,     218:6                 exchange           experiences
                                                                                  127:4, 137:16,    evident               124:4, 124:9,      84:23, 85:1,
                                                                                  139:9, 139:24,    88:25, 97:15,         126:7, 126:9,      85:2, 85:12,
                                                                                  140:4, 141:4,     99:8, 122:18,         126:14             86:2, 86:3,
                                                                                  141:10, 151:25    207:25, 208:5,        exchanged          86:16, 86:17,
                                                                                  events            208:8, 208:11,        123:22             86:25, 87:9,
                                                                                  46:1, 48:1,       208:17, 209:4,        excluded           92:9
                                                                                  48:6, 78:15,      209:14, 215:5         58:10, 58:12,      expert
                                                                                  139:23, 140:23,   evidently             58:14              7:9, 18:16,
                                                                                  161:14            209:23                excluding          46:4, 56:17,
                                                                                  ever              exact                 106:12, 106:13     57:6, 57:12,
                                                                                  56:15, 56:20,     221:22, 221:25        excuse             57:16, 57:18,
                                                                                  57:8, 57:11,      exactly               58:4               57:21, 58:4,
                                                                                  58:10, 58:14,     54:7, 58:1,           exhibit            58:11, 58:20,
                                                                                  58:19, 58:23,     66:25, 72:3,          7:7, 7:9, 7:12,    59:12, 59:21,
                                                                                  60:2, 88:3,       97:9, 100:8,          46:5, 46:6,        62:22, 63:21,
                                                                                  93:23, 110:12,    100:13, 129:15,       46:9, 46:11,       63:23, 63:25,
                                                                                  136:5             132:24, 135:23,       149:5, 150:12,     66:9, 82:22,
                                                                                  every             172:3, 173:25,        158:18, 158:21,    85:16, 86:23,
                                                                                  37:25, 45:2,      189:3                 158:24, 170:11,    88:5, 88:10,
                                                                                  60:21, 144:25,    examination           179:17, 210:11,    103:2, 105:21,
                                                                                  204:3, 218:15     7:3                   212:7, 214:5,      206:18, 206:21,
                                                                                  everybody         examine               214:6, 214:9,      206:24, 207:13,
                                                                                  11:8, 60:21,      193:9                 222:20, 222:21,    209:2, 209:3
                                                                                  113:24, 197:12,   examining             222:22, 222:24     expertise
                                                                                  197:23            63:17                 exhibits           18:4, 18:10,
                                                                                  everyday          example               150:11, 158:16,    19:10, 45:22,
                                                                                  43:25, 111:12     19:24, 25:22,         222:23             45:25, 51:23,
                                                                                  everyone          29:12, 30:7,          exists             63:23, 79:15,
                                                                                  8:3, 111:18,      30:8, 30:13,          14:15              79:16, 82:23,
                                                                                  120:11, 173:21    37:11, 39:12,         exit               84:19, 88:5,
                                                                                  everything        43:9, 51:7,           176:13, 177:21,    91:8, 91:11,
                                                                                  17:20, 101:18,    52:4, 71:13,          192:9, 192:10,     91:12, 92:3,
                                                                                  187:16, 197:13    77:13, 77:25,         200:18             92:5, 92:16,
                                                                                  evidence          81:3, 104:24,         expect             93:25, 94:21,
                                                                                  18:12, 21:24,     110:12, 116:1,        118:9              96:4, 134:11,
                                                                                  23:7, 27:6,       116:4, 117:11,        expected           134:20, 138:4,
                                                                                  52:10, 76:7,      118:17, 123:21,       119:3, 170:25      138:6, 139:22,
                                                                                  78:16, 79:8,      153:17, 188:16,       expensive          143:11, 144:6,
                                                                                  79:20, 80:3,      198:3, 216:19         16:21              153:22, 153:25,
                                                                                  82:25, 83:19,     examples              experience         161:21, 199:12,
                                                                                  87:19, 90:16,     51:4                  84:16, 87:22,      207:8, 207:12,
                                                                                  95:3, 95:4,       excellent             91:2, 111:13,      207:19, 208:25,
                                                                                  101:25, 102:2,    25:8                  137:25, 138:22,    209:1




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          241
                                 ID#: 1876
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 243 of 281 - Page




                                                                                  experts           155:19, 165:15,       198:8, 199:5       feeling
                                                                                  52:20             165:24, 167:15,       faculty            99:3, 153:16
                                                                                  expires           168:9, 168:24,        43:8               feet
                                                                                  224:18            215:18                fair               133:23, 154:19,
                                                                                  explain           face-to-face          60:4, 87:11,       154:22, 154:25,
                                                                                  32:10, 37:15,     95:18, 96:6,          102:19, 102:22,    172:6, 172:16,
                                                                                  44:4, 79:1,       179:12                114:24, 196:2,     172:20, 172:23,
                                                                                  115:3, 197:22     facebook              212:22             172:24, 174:6,
                                                                                  explanation       45:15                 fall               217:13
                                                                                  32:19, 54:2,      faced                 84:19, 103:25      felicitous
                                                                                  197:21            137:8, 155:18         false              32:23
                                                                                  explanations      faces                 29:17, 30:2,       felicity
                                                                                  187:1, 188:13     157:6, 157:8,         31:23, 33:22,      31:20
                                                                                  exploring         157:9, 157:11,        33:25, 55:20,      fellow
                                                                                  26:4, 26:7        168:2, 169:3          78:2, 104:21,      137:19, 151:2,
                                                                                  expressed         facial                105:7, 106:3,      151:3, 151:4,
                                                                                  89:15, 89:18,     92:6, 92:12           106:18, 106:22,    151:6, 171:22,
                                                                                  90:10, 90:21,     facilities            120:5, 166:24,     180:5
                                                                                  105:15, 105:19    59:3                  188:24, 189:20,    fellowship
                                                                                  expressing        facing                198:9, 199:18      35:2, 35:4
                                                                                  86:1, 87:8,       133:24, 157:3,        falsehood          felt
                                                                                  141:20            157:20, 157:21,       187:2              140:13, 150:5,
                                                                                  expression        167:7, 167:13,        familiar           176:1, 176:5,
                                                                                  38:22, 89:22,     168:5, 208:14,        60:20, 144:12,     202:6, 203:9,
                                                                                  107:8, 109:17,    208:16                161:9, 163:11      203:15
                                                                                  164:12            fact                  family             ferocious
                                                                                  expressions       34:5, 58:24,          12:2               52:22
                                                                                  18:13, 26:25,     82:13, 95:15,         famous             few
                                                                                  27:1, 29:10,      118:23, 176:18,       16:17, 52:6,       63:10, 172:3,
                                                                                  37:24, 41:14,     187:14, 198:10,       54:16              172:7, 217:4
                                                                                  41:19, 92:7,      202:13, 220:4         far                field
                                                                                  92:12, 114:13,    factor                83:14, 99:4,       17:14, 17:18,
                                                                                  114:16, 115:5     31:5, 31:19,          100:1, 104:7,      28:21, 51:25,
                                                                                  extensive         202:11                104:24, 123:5,     52:16, 54:16
                                                                                  43:22             factors               154:13, 155:2,     fields
                                                                                  external          20:1, 20:14,          206:12, 210:6,     36:21, 36:23,
                                                                                  34:6              26:22, 26:24,         215:10, 218:2,     38:14
                                                                                  extremely         197:2, 197:20,        218:4, 218:7,      fight
                                                                                  96:6              197:25                218:10, 218:21     185:10
                                                                                  eyes              facts                 fascinating        figurative
                                                                                  80:25, 87:18,     78:19, 80:10,         60:16, 109:24,     200:16, 200:24,
                                                                                  96:8, 199:16,     83:10, 88:25,         110:22             201:2, 201:8
                                                                                  205:20, 205:22,   121:1, 121:3,         fashion            film
                                                                                  206:2, 206:13     121:9, 121:15,        186:12             134:9, 152:4
                                                                                           F        121:18, 121:20,       faster             filmed
                                                                                  face              149:23, 149:25,       76:18              134:23
                                                                                                    150:6, 187:21,        feel               filming
                                                                                  96:7, 154:9,      188:19, 195:7,        216:6              135:17, 146:8




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          242
                                 ID#: 1877
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 244 of 281 - Page




                                                                                  filter            198:17, 210:25,       104:21, 146:6,     frames
                                                                                  86:3, 86:25       217:8, 221:19,        148:19, 157:25     131:23
                                                                                  final             223:4                 follows            francescani
                                                                                  73:18             fists                 11:16, 182:10      71:15
                                                                                  finally           141:18                foot               frega
                                                                                  137:6             fit                   204:7              52:24
                                                                                  financial         116:18                force              french
                                                                                  224:11            fits                  187:19             16:4, 48:10,
                                                                                  find              111:8                 ford               48:14, 48:16,
                                                                                  23:12, 23:16,     five                  6:12, 10:6,        48:20, 48:22,
                                                                                  23:19, 24:7,      13:10, 125:15,        10:7, 10:9         49:16, 103:12
                                                                                  25:18, 81:5,      142:5, 142:15,        foregoing          friend
                                                                                  157:14, 159:4,    172:19, 175:23,       224:3, 224:4       186:11
                                                                                  189:14            220:18                foreign            friendly
                                                                                  finding           five-minute           49:17              95:24, 96:1,
                                                                                  21:11, 157:15     74:12                 foremost           96:11, 96:25,
                                                                                  fine              fix                   52:20              97:17, 98:12
                                                                                  12:11, 13:1,      202:7, 203:9          form               friends
                                                                                  24:2, 62:11,      flat                  22:14, 22:16,      45:15
                                                                                  178:1, 179:22,    123:7, 154:3,         44:8, 46:22,       front
                                                                                  205:1, 215:3      158:9, 158:11         79:5, 80:1,        69:19, 80:21,
                                                                                  finish            flip                  116:21             81:6, 81:7,
                                                                                  28:1, 30:12,      200:10                formal             81:8, 81:14,
                                                                                  30:20, 72:25,     floor                 18:17, 19:13,      87:18, 125:17,
                                                                                  82:14, 96:12,     5:25, 6:6             37:5, 53:16,       137:7, 154:13,
                                                                                  112:19, 128:24,   flying                63:8, 76:25,       154:17, 154:25,
                                                                                  192:10, 192:14,   122:4                 100:14, 100:22,    155:1, 156:21,
                                                                                  194:12, 202:16    focus                 101:14, 108:11     157:2, 158:3,
                                                                                  finished          38:11, 139:9          formally           158:4, 158:5,
                                                                                  25:5              focused               28:22              166:5, 166:12,
                                                                                  firm              39:25, 40:6,          forming            166:21, 167:23,
                                                                                  186:25, 187:5     52:2, 121:24,         82:8, 83:2,        168:6, 182:6,
                                                                                  first             152:23                129:7, 188:13      187:14, 187:16,
                                                                                  28:2, 35:7,       focuses               forth              199:15, 204:6,
                                                                                  38:17, 48:8,      40:20                 101:13, 146:23     204:14, 205:19
                                                                                  49:2, 49:7,       focusing              forward            frost
                                                                                  60:6, 64:23,      135:10, 147:2,        156:8              5:15, 10:15,
                                                                                  65:14, 76:24,     147:4                 foul               10:17
                                                                                  100:17, 101:10,   folks                 28:6               ft
                                                                                  117:14, 118:14,   196:7                 found              4:8, 6:15, 57:4
                                                                                  121:7, 121:17,    follow                23:8, 192:18       full
                                                                                  125:5, 129:11,    146:13                four               21:18, 21:19,
                                                                                  130:12, 131:18,   followed              73:16, 173:24,     179:10, 195:14
                                                                                  154:12, 155:4,    46:11, 76:3,          222:7, 222:10      fun
                                                                                  157:25, 159:22,   148:12, 187:2         frame              164:10
                                                                                  179:10, 180:12,   following             130:13, 130:14     function
                                                                                  193:11, 193:16,   15:21, 68:18,         frame-by-frame     20:1, 27:7,
                                                                                  196:10, 197:7,    70:13, 75:6,          76:18              33:17, 33:22,




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          243
                                 ID#: 1878
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 245 of 281 - Page




                                                                                  87:22             43:4, 51:4,           120:8, 132:14,     176:18, 178:5,
                                                                                  funny             51:7, 51:8,           141:22, 150:24,    178:8, 179:2,
                                                                                  54:23             53:17, 54:2,          152:12, 152:14,    185:6, 190:16,
                                                                                  further           63:21, 64:1,          158:4, 158:11,     191:8, 191:24,
                                                                                  50:10, 73:10,     66:9, 105:22,         158:13, 163:17,    192:14, 192:16,
                                                                                  150:24, 151:11,   117:11, 119:17,       166:8, 166:16,     192:17, 193:16,
                                                                                  176:18, 203:22,   129:22, 130:9,        166:17, 167:1,     193:24, 194:4,
                                                                                  223:9             197:21, 215:20,       167:17, 170:4,     209:15, 209:22,
                                                                                           G        216:23                171:5, 174:8,      210:11, 220:21,
                                                                                  games             given                 178:22, 180:2,     220:24, 222:20,
                                                                                  44:21, 161:11,    22:5, 33:10,          180:21, 181:25,    223:17
                                                                                  161:14            33:25, 36:2,          182:17, 183:11,    gone
                                                                                  gannett           38:21, 44:16,         189:16, 190:6,     43:15, 43:23,
                                                                                                    54:10, 58:19,         192:5, 192:12,     173:22
                                                                                  2:20, 5:20,                             192:16, 194:4,
                                                                                  5:21, 6:1, 6:2,   69:9, 78:10,                             good
                                                                                                    78:11, 94:24,         196:20, 203:23,    10:6, 10:14,
                                                                                  9:20, 10:21,                            205:5, 208:1,
                                                                                  10:22, 11:1       95:2, 98:24,                             10:18, 11:7,
                                                                                                    101:12, 101:20,       215:3, 215:19,     13:21, 54:6,
                                                                                  gates             105:5, 115:16,        217:15
                                                                                  21:8                                                       61:10, 103:16,
                                                                                                    116:12, 116:20,       go'd               116:17, 132:13,
                                                                                  gather            121:20, 133:15,       110:16             134:10, 154:16,
                                                                                  25:12, 132:3      134:4, 146:15,        goal               172:20, 206:11
                                                                                  gave              146:17, 149:18,       77:19              google
                                                                                  30:7, 62:23,      196:13, 199:17,       god                26:19
                                                                                  63:11, 67:10,     216:10, 222:23,       186:15             gosh
                                                                                  67:11, 76:24,     224:5                 goellner
                                                                                  101:8, 198:3                                               221:11
                                                                                                    gives                 5:14, 10:16        grab
                                                                                  gaze              190:25                goes
                                                                                  152:24, 168:8                                              75:20
                                                                                                    giving                53:8, 68:19,       graduate
                                                                                  general           63:22, 151:16,        108:14, 166:22,    15:2, 15:4,
                                                                                  72:6, 115:22      170:3                 168:9, 169:2
                                                                                  generally                                                  15:13, 15:17,
                                                                                                    glory                 going              16:21, 35:2,
                                                                                  36:22, 75:22,     43:5                  11:23, 33:11,      35:20, 35:23,
                                                                                  196:8             go                    38:13, 46:5,       41:25, 43:12,
                                                                                  generate          10:7, 10:8,           49:14, 52:23,      49:3, 55:9
                                                                                  25:17             13:21, 14:11,         65:4, 74:11,       graduated
                                                                                  generative        23:14, 34:23,         74:16, 74:19,      15:3
                                                                                  23:4, 25:15       43:11, 45:18,         74:23, 75:20,      grammar
                                                                                  gesture           46:3, 46:25,          75:21, 77:12,      18:2, 18:8,
                                                                                  161:13, 167:25,   53:6, 64:21,          105:4, 114:1,      23:4, 25:15,
                                                                                  184:24, 185:1,    64:23, 71:6,          120:13, 120:16,    25:16, 25:19,
                                                                                  186:18            73:4, 73:10,          132:4, 135:15,     107:13, 107:19,
                                                                                  getting           85:6, 86:9,           136:10, 140:11,    111:3, 119:14
                                                                                  27:9, 78:5,       93:8, 93:18,          148:3, 157:4,      grammarians
                                                                                  177:1             94:6, 94:16,          158:5, 163:13,     23:15
                                                                                  give              99:1, 99:16,          166:18, 167:4,     grammars
                                                                                  23:24, 29:12,     105:8, 105:23,        167:8, 168:1,      17:21, 25:7,
                                                                                  30:22, 38:18,     107:4, 108:17,        171:21, 172:4,     25:8, 119:14




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          244
                                 ID#: 1879
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 246 of 281 - Page




                                                                                  grammatical       128:2, 128:7,         155:1, 209:5       197:22
                                                                                  25:17, 26:5,      128:9, 128:14,        guessed            hardest
                                                                                  36:3, 110:19      130:25, 131:3,        134:10             63:24
                                                                                  grandfather       131:13, 131:14,       guy                hat
                                                                                  14:16             131:23, 132:21,       81:4, 114:1,       99:5, 114:2,
                                                                                  grandmother       133:12, 141:15,       114:3, 151:5,      114:3, 151:3,
                                                                                  12:3, 12:4        142:1, 142:13,        162:6, 162:11,     162:6, 165:11,
                                                                                  grandpa           142:15, 142:24,       162:14, 162:15,    173:19, 175:1,
                                                                                  183:25, 184:5,    143:1, 145:15,        180:4, 183:23,     175:9, 175:12,
                                                                                  184:22, 185:3     145:18, 146:5,        183:24, 190:16,    180:11, 180:15,
                                                                                  grandview         146:11, 146:13,       193:25             183:23, 190:17,
                                                                                  4:7               146:17, 146:21,       guy's              194:1
                                                                                  grateful          147:3, 147:4,         54:14, 140:6       haute
                                                                                  186:17            147:13, 151:13,                H         13:14, 14:1,
                                                                                  gray              154:18, 154:20,       hair               14:7, 14:8,
                                                                                  175:20            155:11, 155:15,                          14:12
                                                                                                    157:24, 166:11,       174:6, 180:13
                                                                                  graydon                                 haitian            head
                                                                                  6:13              171:20, 172:5,                           6:13, 12:23
                                                                                                    174:4, 174:6,         16:3, 48:9,
                                                                                  great                                   48:14, 48:16,      healthcare
                                                                                  12:3, 12:4,       180:5, 180:7,                            59:3
                                                                                                    180:8, 181:20,        48:20, 48:22,
                                                                                  13:2, 14:4,                             49:14              hear
                                                                                  14:15, 186:15     181:23, 181:24,                          13:17, 14:1,
                                                                                                    182:9, 182:10,        half
                                                                                  greenbaum                               53:8               49:13, 59:13,
                                                                                  4:22              182:20, 183:5,                           61:10, 125:12,
                                                                                                    184:6, 184:18,        hand
                                                                                  greenberg                               115:7, 224:14      136:5, 136:17,
                                                                                                    185:11, 192:13,                          178:25, 185:18,
                                                                                  6:5, 10:24        192:24                hands
                                                                                  grew                                    170:17, 170:25,    186:4, 205:1,
                                                                                                    groups                                   210:20, 210:23,
                                                                                  14:4, 138:1,      97:11, 122:10,        171:2, 183:25,
                                                                                  138:8                                   198:13             210:24, 211:12,
                                                                                                    122:13, 123:17,                          211:20, 212:13,
                                                                                  grin              142:21, 158:3,        hang
                                                                                  164:5, 164:6,                           167:6              212:16, 214:15,
                                                                                                    182:6                                    214:23, 214:25
                                                                                  164:7, 164:8      grow                  hanging
                                                                                  grinning                                123:2
                                                                                                                                             heard
                                                                                                    13:15, 84:22                             87:19, 117:16,
                                                                                  164:2, 165:11,    growing               happened
                                                                                  165:14, 170:1                                              157:25, 188:9,
                                                                                                    139:8                 67:8, 72:8,        211:24, 212:17
                                                                                  ground            grunting              76:7, 78:19,
                                                                                  155:6, 155:12,                                             hearing
                                                                                                    141:18                78:23, 81:14,
                                                                                  158:10, 158:11,                         83:20, 89:16,      55:25, 59:4
                                                                                  167:25
                                                                                                    grygiel                                  hebrew
                                                                                                    6:4, 10:24            89:19, 95:16,
                                                                                  group                                   131:24, 194:1      77:13, 122:23,
                                                                                  55:1, 55:5,
                                                                                                    guardian                                 123:14, 123:23,
                                                                                                    45:16                 happening
                                                                                  55:7, 55:8,                             80:18, 87:17,      124:3, 124:5,
                                                                                  55:23, 56:2,      guardians                                125:6, 125:19,
                                                                                                    1:8, 1:18,            92:21, 156:19,
                                                                                  56:3, 56:6,                             212:21, 213:18     125:22, 126:16,
                                                                                  104:1, 115:10,    1:31, 2:5, 2:15,                         129:13, 130:22,
                                                                                                    2:27                  happy              133:7, 133:9,
                                                                                  122:1, 122:17,                          120:11, 186:18
                                                                                  123:2, 123:21,    guess                                    133:19, 133:23,
                                                                                                    96:12, 146:7,         hard               134:23, 135:10,
                                                                                  127:3, 127:17,                          110:16, 134:8,



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          245
                                 ID#: 1880
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 247 of 281 - Page




                                                                                  136:6, 136:14,    80:8, 83:20,          220:1, 220:10      however
                                                                                  136:18, 136:23,   85:23, 86:23,         hired              218:18
                                                                                  139:14, 139:17,   91:10, 92:4,          41:6, 41:7,        huber
                                                                                  140:19, 141:16,   93:14, 95:4,          41:9               4:5, 10:12
                                                                                  141:20, 147:1,    104:3, 104:20,        historical         huge
                                                                                  148:4, 152:17,    105:16, 105:20,       18:8, 18:24,       21:19
                                                                                  152:22, 153:4,    119:14, 120:11,       74:3               human
                                                                                  157:2, 157:20,    121:3, 122:9,         historically       25:23, 36:22,
                                                                                  182:7             123:9, 125:14,        18:10              42:19, 49:21,
                                                                                  heckling          127:12, 127:15,       history            49:23, 52:10,
                                                                                  123:22            128:11, 128:13,       17:21, 34:24,      206:9, 206:19,
                                                                                  hedge             129:5, 130:15,        42:21, 43:16,      207:5, 208:22,
                                                                                  115:2             136:25, 137:16,       64:17, 96:3,       209:2
                                                                                  held              157:14, 169:1,        97:3, 97:4, 97:7   humpty
                                                                                  43:19, 141:18,    170:11, 171:6,        hit                115:7
                                                                                  171:25            171:19, 174:1,        174:8              hungry
                                                                                  hello             176:10, 180:1,        hits               20:17
                                                                                  13:17             180:19, 181:4,        198:5              hutchinson
                                                                                  help              188:3, 191:16,        hobby              71:15
                                                                                  8:13, 29:1        197:1, 207:24,        16:21              hypothesis
                                                                                  helpful           215:4, 217:5,         hold               53:25, 54:4
                                                                                  37:10, 54:22      221:22                30:12, 42:7,       hypothetically
                                                                                  hemmer            hereby                174:24, 206:20     197:3, 208:12
                                                                                  4:6, 57:2, 57:8   224:3                 holding
                                                                                                    hereunto                                          I
                                                                                  hence                                   151:15, 151:19,    idea
                                                                                  28:24, 31:23,     224:13                152:8, 163:5
                                                                                                    heritage                                 85:7, 94:8,
                                                                                  84:3, 140:20                            home               132:21, 146:13,
                                                                                  here              74:5, 195:17,         76:11
                                                                                                    195:25, 201:14                           163:15, 182:22,
                                                                                  8:20, 8:24,                             honored            184:17, 205:15
                                                                                  9:19, 11:5,       hernandez             42:3
                                                                                                    6:18, 9:25                               idealized
                                                                                  11:8, 12:8,                             honorific          111:3, 111:4
                                                                                  13:4, 13:9,       high                  184:23
                                                                                                    14:11, 14:13,                            identification
                                                                                  13:21, 16:14,                           hoot               46:7, 222:25
                                                                                  18:7, 26:6,       14:14, 14:17,         185:1
                                                                                  39:6, 39:11,      83:11, 99:1,                             identified
                                                                                                                          horrible           124:24, 128:8,
                                                                                  39:18, 41:15,     102:2, 171:25         172:11
                                                                                  42:24, 43:24,     high-level                               128:9
                                                                                                                          hostile            identifies
                                                                                  46:4, 47:20,      37:13                 143:4
                                                                                  49:8, 57:25,      highbrow                                 99:5
                                                                                                                          hostility          identify
                                                                                  58:2, 59:1,       103:8                 136:10, 141:20
                                                                                  62:13, 62:17,     higher                                   8:13, 8:16,
                                                                                                                          hour               10:4, 163:10
                                                                                  63:4, 64:6,       172:7, 175:21         74:11, 221:7
                                                                                  64:22, 68:17,     higher-up                                idioms
                                                                                                                          hours              116:2
                                                                                  68:24, 69:2,      174:23                77:2, 77:4,
                                                                                  69:11, 69:17,     himself                                  ignore
                                                                                                                          221:9, 222:8,      101:18
                                                                                  70:23, 71:14,     81:6, 81:8,           222:10
                                                                                  72:10, 72:11,     153:1, 177:10,                           ignored
                                                                                                                          houses             126:12
                                                                                  73:2, 73:11,      192:18, 219:18,       172:19



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          246
                                 ID#: 1881
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 248 of 281 - Page




                                                                                  ignoring          implying              incident           15:11, 15:23,
                                                                                  152:16, 152:18    153:3                 70:22, 82:12,      49:3
                                                                                  iii               important             83:6, 83:10,       indianapolis
                                                                                  105:9             29:7, 43:18,          121:4, 218:3,      4:24
                                                                                  illinois          55:10, 58:9,          218:14             indicate
                                                                                  5:7, 14:9         80:1, 116:1,          incidents          132:21, 171:1,
                                                                                  image             153:20, 190:1,        218:17             221:6
                                                                                  179:19, 180:15    202:11, 202:22,       inclined           indicated
                                                                                  imagine           212:25, 213:4,        103:2              63:4
                                                                                  141:23            213:18                include            indicates
                                                                                  immediate         impressed             27:2, 41:15,       65:3
                                                                                  77:17             44:8                  49:7, 195:19       indication
                                                                                  immediately       impression            included           208:1, 208:5,
                                                                                  76:3, 122:2,      134:2, 134:4,         69:16, 152:10,     208:11, 208:18,
                                                                                  137:22, 173:20,   137:17, 137:21,       185:11             209:15, 213:21
                                                                                  174:3, 175:11,    140:3                 includes           indications
                                                                                  175:12, 205:7     improves              51:12              209:4
                                                                                  impact            53:23                 including          indicative
                                                                                  30:14, 33:2,      in-crowd              37:18, 146:8,      95:21
                                                                                  44:1, 92:10       56:5                  167:22, 174:11     indigenous
                                                                                  impacted          in-person             inclusive          127:5, 130:10,
                                                                                  97:24             2:36, 3:2,            184:5              133:11, 146:16,
                                                                                  impasse           67:18                 incorporated       146:20, 161:17,
                                                                                  114:6, 114:7,     in-utterances         9:10               180:14
                                                                                  190:18, 192:18,   32:24                 incorrect          individuals
                                                                                  193:7, 193:10,    inaccuracies          87:20, 159:8,      88:23, 89:7,
                                                                                  194:5, 194:6,     187:11, 189:8         159:11, 159:12,    96:20, 115:7
                                                                                  194:8, 194:24,    inadequate            165:4, 176:13,     infelicitous
                                                                                  196:9, 200:3,     52:13                 177:21             44:12
                                                                                  200:7, 200:14,    inadmissible          independent        infer
                                                                                  200:22, 200:24,   58:24, 59:11,         37:9               94:12
                                                                                  201:4, 201:7,     59:19, 59:25,         indexi             inferring
                                                                                  201:11, 201:15,   60:3                  41:13              94:18
                                                                                  201:20, 202:1,    inanimate             indexical          influence
                                                                                  202:2, 202:5,     117:24                54:17              59:16, 92:12
                                                                                  202:10, 202:12,   inc                   indexicality       influenced
                                                                                  202:21, 202:22,   1:36, 2:10,           41:11, 41:12,      84:17
                                                                                  202:25, 204:18    2:20, 4:10,           52:5, 52:6,        influences
                                                                                  impasse"          4:11, 4:18,           54:15              26:16, 28:15,
                                                                                  115:17, 193:2     4:19, 5:1, 5:2,       indexicals         119:16
                                                                                  impeding          5:20, 6:1, 9:6,       41:13              influential
                                                                                  205:9             9:20, 10:22           indian             53:6, 54:15
                                                                                  implicate         incendiary            144:13             informal
                                                                                  151:17            125:23, 125:25,       indiana            62:23, 79:14,
                                                                                  implications      136:2                 4:24, 13:14,       100:19, 101:11
                                                                                  56:9, 65:11       inch                  14:1, 14:7,        informally
                                                                                  imply             204:12                14:9, 14:19,       100:20, 101:8,
                                                                                  200:15, 203:2     inches                14:23, 15:7,       108:5
                                                                                                    187:14, 187:16



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                           247
                                 ID#: 1882
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 249 of 281 - Page




                                                                                  information       192:8, 192:9,         114:5, 121:24,      50:20, 50:25,
                                                                                  2:21, 5:21,       192:12, 197:5         123:3, 127:18,      51:1, 51:3,
                                                                                  6:2, 10:22,       intending             128:3, 128:15,      51:22, 60:11,
                                                                                  11:1, 19:15,      84:3, 118:16          128:17, 129:3,      62:18, 62:24,
                                                                                  20:24, 25:12,     intent                135:14, 142:20,     63:12, 64:10,
                                                                                  28:23, 28:25,     63:18, 84:17,         148:3               81:12, 81:15,
                                                                                  34:10, 34:13,     86:15, 86:25,         interactive         84:10, 104:25,
                                                                                  34:15, 35:6,      87:19, 90:1,          4:11, 4:19, 5:2     119:16, 155:21,
                                                                                  38:18, 38:20,     90:10, 90:13,         interdisciplinary   155:24, 168:11,
                                                                                  51:12, 51:22,     90:22, 91:1,          42:18, 42:22        168:12, 169:6,
                                                                                  62:23, 64:17,     91:4, 91:13,          interest            170:8, 184:9,
                                                                                  73:6, 108:18      91:14, 92:5,          38:4, 70:22,        215:14
                                                                                  informs           92:14, 93:23,         113:16, 224:11      interpreting
                                                                                  166:23            93:24, 94:3,          interested          34:17, 63:15
                                                                                  initial           94:8, 95:4,           16:9, 16:15,        interrupt
                                                                                  27:10, 66:6,      95:5, 107:1,          16:16, 16:18,       171:24
                                                                                  76:25, 79:14      119:1, 126:16,        16:22, 16:24,       interruptions
                                                                                  initially         177:14, 177:15        17:23, 19:3,        8:19
                                                                                  65:21, 65:25,     intention             37:17, 37:24,       interview
                                                                                  67:9, 154:17,     94:13, 95:9,          38:13, 42:20,       82:17, 83:4
                                                                                  221:16            95:10, 118:3,         52:18, 55:10,       interviews
                                                                                  insane            118:13, 153:1,        80:24, 88:6,        79:3
                                                                                  103:24, 104:18    170:6, 177:9,         100:18, 101:3,      intransitive
                                                                                  insofar           208:8                 135:13, 188:22,     216:19
                                                                                  78:20, 90:13      intentionally         215:7               introduce
                                                                                  instead           192:20, 214:2         interesting         31:6, 31:9,
                                                                                  16:16, 16:20,     intentions            32:12, 39:15,       31:13
                                                                                  107:16, 110:15    81:25, 88:24,         45:17, 59:5         introduced
                                                                                  institutions      94:18, 96:3,          interests           29:16, 29:18,
                                                                                  35:7              105:1, 166:15,        81:13, 142:21       29:20, 29:21,
                                                                                  insult            208:21, 220:4         interface           29:23, 30:1,
                                                                                  125:23, 126:16    inter                 25:24               30:3, 31:7,
                                                                                  insulting         215:11                interjection        31:10, 31:13,
                                                                                  126:7, 126:18,    inter-disciplina-     12:12, 13:16        32:9, 33:12
                                                                                  135:20, 136:17,   ry                    interlocutor        investigative
                                                                                  136:18, 136:23    35:9                  55:25, 119:3        73:18
                                                                                  insurance         interact              interlocutors       investigator
                                                                                  60:17             26:11, 38:3           28:23, 29:3,        101:13
                                                                                  intelligence      interacted            29:5, 34:9,         invitation
                                                                                  111:19            122:10, 123:14,       34:11, 50:23        42:10
                                                                                  intend            126:4                 interpret           invited
                                                                                  28:6, 91:17,      interacting           44:2, 63:18,        42:25
                                                                                  105:14, 143:2     123:1, 124:7          64:13, 80:18,       involved
                                                                                  intended          interaction           81:24, 87:13,       88:23, 89:8,
                                                                                  84:4, 84:8,       34:20, 76:1,          142:25, 211:19      97:25
                                                                                  89:22, 91:23,     76:9, 81:10,          interpretation      involving
                                                                                  109:9, 118:6,     95:24, 96:18,         21:24, 26:16,       66:3
                                                                                  118:8, 148:18,    97:17, 99:9,          28:15, 50:15,       irrationality
                                                                                                                                              103:18



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          248
                                 ID#: 1883
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 250 of 281 - Page




                                                                                  israelites        john                             K       183:6, 183:8,
                                                                                  77:13, 122:23,    20:4, 20:5,           kaplan             186:14, 205:7,
                                                                                  123:14, 123:23,   20:19, 24:12,         5:23, 10:20        205:16
                                                                                  124:4, 124:6,     29:15, 29:17,         keep               knows
                                                                                  125:6, 125:19,    29:20, 29:23,         66:16, 112:8,      98:21, 113:24,
                                                                                  125:22, 126:16,   30:1, 30:3,           209:15, 222:1      181:14, 182:22
                                                                                  129:13, 130:22,   31:7, 31:8,           keeping            krishnan
                                                                                  133:7, 133:9,     31:9, 31:10,          187:21, 189:5      4:13, 10:18,
                                                                                  133:19, 133:23,   31:12, 31:13,         kentucky           10:19
                                                                                  134:24, 135:10,   32:9, 33:12,          1:2, 4:8, 5:26,             L
                                                                                  136:7, 136:14,    39:16                 6:15, 59:8,        lack
                                                                                  136:19, 136:23,   john's                62:16              171:1
                                                                                  139:14, 139:18,   20:6                  kept               landscape
                                                                                  140:19, 141:16,   johnson                                  133:17
                                                                                  141:21, 147:2,                          57:24, 188:13
                                                                                                    5:23, 10:21           kevin              language
                                                                                  148:4, 152:17,    jointly
                                                                                  152:22, 153:4,                          5:13, 10:14        17:18, 18:8,
                                                                                                    145:3                 key                21:21, 23:7,
                                                                                  157:3, 157:20,    joke
                                                                                  182:7                                   203:7              23:9, 23:10,
                                                                                                    54:13                 kind               25:18, 25:22,
                                                                                  issue             joking                                   26:5, 29:10,
                                                                                  40:19, 44:3,                            20:23, 25:24,
                                                                                                    212:23                25:25, 26:2,       35:6, 35:11,
                                                                                  62:19, 64:20,     judge                                    36:2, 36:4,
                                                                                  88:7, 114:9,                            33:15, 44:19,
                                                                                                    58:12, 59:12,         50:8, 50:24,       36:15, 36:22,
                                                                                  184:8, 187:23,    113:5, 133:25,                           36:25, 37:9,
                                                                                  187:24, 193:23,                         103:19, 125:13,
                                                                                                    134:4, 172:9,         137:20, 180:13,    37:18, 37:19,
                                                                                  213:10, 214:1,    172:11, 173:25                           37:21, 38:7,
                                                                                  216:14                                  186:17, 207:8
                                                                                                    judges                kinds              38:25, 39:14,
                                                                                  issued            39:14                                    39:21, 40:1,
                                                                                  59:23                                   19:14, 26:21,
                                                                                                    judging               26:23, 27:10,      40:5, 42:20,
                                                                                  issues            179:13                                   49:17, 49:22,
                                                                                  13:22, 17:2,                            27:13, 27:14,
                                                                                                    judgment              40:8, 50:19,       49:23, 50:5,
                                                                                  17:20, 97:14      188:8                                    50:6, 50:9,
                                                                                  itself                                  97:12, 97:13,
                                                                                                    judgments             110:11, 123:15,    50:21, 50:25,
                                                                                  19:21, 80:12,     23:24, 26:2,                             52:22, 55:16,
                                                                                  220:6, 221:4                            124:7
                                                                                                    26:9                  knew               63:17, 63:25,
                                                                                  iv                julie                                    64:14, 64:19,
                                                                                  68:15, 75:8                             42:24, 59:6,
                                                                                                    1:9, 1:19,            97:19, 100:17,     74:6, 78:11,
                                                                                           J        1:32, 2:6, 2:16,      101:2, 132:1,      91:16, 91:25,
                                                                                  january           2:28                  137:19, 183:4,     92:6, 92:12,
                                                                                  42:12, 69:19,     jump                  205:12, 205:13     103:3, 106:16,
                                                                                  121:4             159:13, 179:18,       knowing            107:9, 108:14,
                                                                                  jessica           185:19                79:15, 190:9       109:16, 109:21,
                                                                                  4:21              jumping               knowledge          109:23, 110:3,
                                                                                  jessie            137:11, 141:17        18:8, 119:13,      110:7, 110:20,
                                                                                  11:9              junior                119:15, 193:6      110:22, 111:4,
                                                                                  job               16:13                 known              115:20, 116:25,
                                                                                  1:40, 151:21      justin                26:17, 161:7,      125:23, 125:25,
                                                                                                    71:24




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          249
                                 ID#: 1884
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 251 of 281 - Page




                                                                                  135:20, 135:21,   laughter              172:6, 172:24,     134:22, 149:4,
                                                                                  143:15, 143:18,   54:24                 173:24, 174:6,     152:12, 152:14,
                                                                                  143:23, 144:1,    laurin                179:4, 189:13      156:11, 156:18,
                                                                                  144:12, 144:25,   4:21                  lecture            157:10, 158:13,
                                                                                  145:8, 145:9,     lavelle               53:17              158:17, 159:13,
                                                                                  168:16, 188:24,   59:2                  led                159:25, 162:17,
                                                                                  197:13            law                   137:8, 143:17      165:5, 167:1,
                                                                                  languages         38:7, 38:14,          left               167:17, 169:18,
                                                                                  17:21, 17:22,     38:23, 39:3,          19:23, 43:16,      171:5, 178:22,
                                                                                  18:10, 18:13,     39:21, 39:23,         43:19, 123:6,      183:11, 186:22,
                                                                                  37:7, 48:18,      40:6, 40:11,          151:4, 154:6,      189:16, 190:6,
                                                                                  49:20, 50:7,      40:16, 57:4,          158:6, 160:23,     190:7, 192:25,
                                                                                  50:8, 50:9,       60:11, 63:24,         165:21, 165:23,    199:24, 203:22,
                                                                                  52:10, 52:11,     63:25, 64:1,          168:20, 171:21,    203:23, 210:9,
                                                                                  108:15, 108:16,   80:21, 109:14,        172:6, 173:3,      210:23, 210:24,
                                                                                  108:20            109:22, 121:19,       173:18, 173:21,    211:11, 212:7,
                                                                                  large             186:23, 187:2,        174:3, 174:15,     215:3, 215:19,
                                                                                  17:18, 53:6,      188:11                175:1, 175:6,      217:4
                                                                                  53:7, 76:14,      lawsuit               175:13, 177:8,     letter
                                                                                  127:3, 129:7,     188:4                 179:2, 204:7,      46:22, 73:18,
                                                                                  129:17, 141:15,   lay                   205:7, 205:16,     222:13
                                                                                  142:14, 154:20    196:6, 197:22,        206:1, 206:5,      letters
                                                                                  larger            199:25                206:14, 209:12,    43:13, 53:22
                                                                                  132:19, 154:18    lead                  216:20, 216:21,    lexicographer
                                                                                  larry             80:19, 103:18         217:14, 218:16     21:8, 21:22,
                                                                                  39:13, 39:14      lead-up               legal              115:11, 196:15
                                                                                  last              75:25, 77:17          58:4, 58:5,        lexicographers
                                                                                  79:1, 83:24,      leader                59:7, 65:10,       22:7, 24:6,
                                                                                  84:1, 100:24,     137:20                68:2               115:19
                                                                                  133:22, 137:5,    leading               legally            lexicographic
                                                                                  171:6, 181:25,    145:15, 145:18,       59:15              21:11
                                                                                  190:14, 190:20,   145:20                legitimacy         lexicography
                                                                                  193:19, 219:11,   leads                 85:11              16:1, 16:6,
                                                                                  219:14, 221:3,    51:20                 legs               16:7, 16:10,
                                                                                  221:21            learn                 175:20             16:23, 21:6,
                                                                                  late              17:24, 110:22,        lend               114:15, 116:10
                                                                                  25:10, 52:24,     111:2                 81:13              library
                                                                                  67:14, 100:5,     learned               less               113:8
                                                                                  100:11            106:14, 110:4         158:7              licensure
                                                                                  later             learning              let's              59:3
                                                                                  67:14, 75:12,     104:14, 110:2,        17:15, 34:23,      licit
                                                                                  78:25, 131:10,    110:5, 110:20,        46:3, 56:14,       25:17, 34:19
                                                                                  154:5, 175:3      197:16                62:7, 64:5,        lie
                                                                                  latter            least                 64:21, 83:23,      19:11
                                                                                  93:18             22:22, 77:1,          90:25, 99:16,      life
                                                                                  laughing          123:1, 127:17,        100:23, 105:23,    43:25, 84:23,
                                                                                  164:2, 164:9,     128:2, 129:20,        107:4, 117:1,      85:1, 86:3,
                                                                                  165:11            134:7, 172:2,         120:19, 120:23,    86:8, 86:16,




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          250
                                 ID#: 1885
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 252 of 281 - Page




                                                                                  86:25, 87:9,      18:23, 18:24,         listening          locking
                                                                                  92:9, 92:18       18:25, 35:14,         34:16              206:2
                                                                                  likely            36:17, 36:23,         listens            logic
                                                                                  44:9, 44:10,      37:2, 37:14,          110:16             50:8
                                                                                  118:8, 118:20,    38:2, 39:19,          listing            logical
                                                                                  145:13            40:22, 41:4,          60:6               37:6, 108:14,
                                                                                  lincoln           52:15, 59:21,         lists              108:16, 108:21
                                                                                  69:19, 125:17,    107:7, 107:17,        69:22, 71:23       logically
                                                                                  133:16, 157:3,    110:23, 111:17,       literal            108:12
                                                                                  157:5, 157:8,     188:2, 195:3,         188:2              logicians
                                                                                  157:20, 166:3,    196:7, 211:8          literally          37:23
                                                                                  191:21, 191:25,   linguists             116:3, 188:1       long
                                                                                  192:15, 208:10    18:3, 19:15,          literature         13:9, 16:11,
                                                                                  line              22:17, 23:2,          21:13              34:8, 39:21,
                                                                                  61:10, 61:11,     24:25, 27:10,         little             41:7, 42:21,
                                                                                  112:10, 112:12,   29:8, 38:3            12:8, 12:10,       67:2, 67:3,
                                                                                  137:5, 168:7,     link                  17:15, 31:24,      91:18, 111:19,
                                                                                  191:19            53:8, 71:7            50:10, 58:18,      119:17, 122:22,
                                                                                  lines             linked                60:22, 68:5,       123:13, 134:7,
                                                                                  189:15, 219:7     71:17, 72:1,          109:25, 110:2,     165:13, 205:11,
                                                                                  linguist          73:6                  120:12, 161:25,    219:9
                                                                                  18:6, 19:5,       links                 163:18, 164:18,    longer
                                                                                  19:6, 19:12,      71:6, 72:3,           164:19, 197:16,    14:15, 111:5
                                                                                  27:15, 27:24,     73:13                 203:22, 207:24     longest
                                                                                  37:11, 43:22,     lips                  live               129:12
                                                                                  63:22, 77:22,     135:25                13:2, 13:4,        look
                                                                                  79:18, 112:20,    lisa                  47:25, 48:6        20:13, 28:19,
                                                                                  113:9, 144:6,     1:42, 3:22,           lived              39:3, 39:5,
                                                                                  144:21, 188:18,   11:12, 224:2,         13:9, 13:10,       44:14, 45:3,
                                                                                  196:23, 197:6     224:17                16:14              45:12, 46:21,
                                                                                  linguistic        list                  living             47:23, 56:14,
                                                                                  17:11, 17:24,     42:13, 47:20,         16:12, 44:17,      61:2, 63:7,
                                                                                  18:15, 23:23,     48:8, 56:16,          134:8              66:20, 67:10,
                                                                                  25:7, 39:1,       56:24, 58:2,          llc                67:24, 72:2,
                                                                                  54:13, 59:12,     58:3, 70:23,          1:12, 2:22,        72:3, 78:5,
                                                                                  62:5, 91:15,      73:16, 73:24,         2:32, 5:10,        78:9, 83:23,
                                                                                  95:5, 101:24,     74:1, 149:17,         5:15, 5:21, 6:2,   84:1, 94:23,
                                                                                  102:6, 111:21,    195:14, 200:3         6:9, 9:2, 9:13,    95:1, 95:16,
                                                                                  121:19, 138:3,    listed                10:11, 10:15,      96:17, 97:10,
                                                                                  138:5, 209:5      8:24, 24:11,          10:17              101:25, 102:7,
                                                                                  linguistically    56:23, 57:25,         llp                109:4, 109:8,
                                                                                  91:15             60:4, 68:24,          4:14, 4:22,        113:17, 113:22,
                                                                                  linguistics       69:2, 69:11,          5:5, 5:24, 6:5,    114:3, 118:11,
                                                                                  15:12, 15:24,     70:8, 70:9,           6:13, 10:2         120:19, 120:23,
                                                                                  16:16, 17:7,      72:13, 73:1,          local              126:4, 128:21,
                                                                                  17:10, 17:16,     75:8, 111:24,         45:16              134:22, 139:4,
                                                                                  17:17, 17:23,     121:6, 189:19         locked             149:2, 151:11,
                                                                                  18:20, 18:22,     listener              205:20, 205:22     159:4, 167:4,
                                                                                                    55:25



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          251
                                 ID#: 1886
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 253 of 281 - Page




                                                                                  170:2, 171:22,    lots                  110:11, 114:11,    149:4, 150:11,
                                                                                  182:4, 186:22,    152:7                 137:15, 145:25,    158:18, 222:24
                                                                                  190:6, 191:4,     loudly                167:25, 200:18,    market
                                                                                  191:5, 193:12,    141:17, 143:14,       215:5              4:23
                                                                                  195:3, 196:20,    143:18, 145:22,       makes              marking
                                                                                  196:25, 197:1,    148:5, 156:22         52:11              46:9
                                                                                  198:18, 199:24,   loudspeaker           making             marks
                                                                                  201:13, 202:13,   125:11                16:2, 25:22,       223:16
                                                                                  207:11, 216:25    louisville            89:25, 125:11,     mary
                                                                                  looked            5:26                  129:3, 136:15,     20:4, 20:5
                                                                                  27:18, 38:23,     loves                 137:10, 147:10,    maryland
                                                                                  40:7, 40:18,      20:4, 20:5            181:12, 181:17,    3:24
                                                                                  52:9, 63:18,      low                   184:24             mass
                                                                                  69:16, 71:8,      111:18                male               17:8
                                                                                  106:20, 113:15,   lunch                 20:19              massachusetts
                                                                                  113:18, 113:21,   120:10, 120:22        man                15:9, 15:20,
                                                                                  114:11, 116:8,    lying                 123:24, 170:23,    17:5, 21:10,
                                                                                  139:7, 140:24,    89:24                 185:2              39:20
                                                                                  141:1, 157:7,              M            manual             master's
                                                                                  194:11, 194:24,                         49:8               15:16, 15:21
                                                                                  204:4, 210:10     made
                                                                                                    23:5, 34:3,
                                                                                                                          many               material
                                                                                  looking                                 23:5, 29:9,        69:8, 72:17,
                                                                                  21:24, 44:6,      62:4, 99:12,
                                                                                                    114:13, 122:22,       43:17, 51:19,      101:8, 130:15,
                                                                                  44:18, 77:2,                            57:15, 57:20,      132:11, 137:4
                                                                                  77:4, 78:4,       124:12, 124:16,
                                                                                                    127:17, 128:3,        75:19, 76:5,       materials
                                                                                  94:19, 96:5,                            77:25, 107:12,     68:16, 68:18,
                                                                                  101:16, 103:7,    128:15, 128:16,
                                                                                                    129:12, 134:9,        115:5, 115:12,     68:22, 68:23,
                                                                                  115:12, 115:22,                         122:24, 123:15,    69:3, 69:9,
                                                                                  132:6, 149:10,    147:18, 180:9,
                                                                                                    201:16                125:18, 129:20,    69:12, 69:15,
                                                                                  157:19, 178:11,                         130:18, 130:21,    70:8, 70:10,
                                                                                  186:13, 196:22,   maga                  132:7, 146:4,
                                                                                                    99:5                                     70:13, 70:17,
                                                                                  198:8, 202:12,                          146:5, 148:11,     73:15, 73:16,
                                                                                  206:4, 206:12,    magistrate            161:17, 167:24,
                                                                                                    59:13, 59:18,                            73:21, 79:14,
                                                                                  206:15, 206:16,                         173:25, 184:22,    101:15, 101:17,
                                                                                  215:17, 216:2,    62:16                 186:13, 219:7,
                                                                                                    magistrate's                             121:5
                                                                                  219:10                                  221:9              maternal
                                                                                  looks             59:4                  march
                                                                                                    main                                     110:6
                                                                                  20:17, 45:17,                           85:3, 127:6,       mathematical
                                                                                  164:15, 166:20,   5:25, 22:20,          130:11
                                                                                                    27:5, 187:19,                            108:16
                                                                                  172:21, 172:22                          mark               matter
                                                                                  loosely           195:19                46:3, 46:5,
                                                                                                    major                                    8:22, 8:25,
                                                                                  28:22                                   150:14, 159:15,    9:5, 9:8, 9:12,
                                                                                  lot               22:22                 160:1, 160:2,
                                                                                                    make                                     9:19, 15:17,
                                                                                  27:16, 39:13,                           160:23, 160:24,    56:1, 62:17,
                                                                                  50:18, 76:21,     13:21, 16:8,          161:25, 162:1,
                                                                                                    23:17, 26:9,                             65:15, 66:14,
                                                                                  99:3, 112:11,                           164:19, 171:11,    81:9, 104:4,
                                                                                  124:4, 137:10,    75:4, 91:17,          171:12, 222:18
                                                                                                    98:6, 106:1,                             104:6, 104:20,
                                                                                  138:1, 172:18                           marked             108:22, 111:12,
                                                                                                                          46:6, 105:16,



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          252
                                 ID#: 1887
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 254 of 281 - Page




                                                                                  111:15, 111:17,   41:23, 43:2,          39:2, 52:25,       90:2, 95:8,
                                                                                  117:9, 138:8,     50:18, 51:1,          54:16, 54:18,      100:21, 127:23,
                                                                                  143:10, 170:8,    53:4, 57:17,          55:17, 55:21,      140:17, 148:1,
                                                                                  177:15, 222:14    57:18, 65:9,          58:12, 59:8,       184:7, 184:10,
                                                                                  matters           80:14, 80:16,         64:3, 66:10,       185:15, 191:18,
                                                                                  8:23, 57:15,      81:1, 87:16,          77:24, 78:1,       192:22
                                                                                  57:21, 104:8      95:7, 95:8,           91:15, 91:22,      measure
                                                                                  matthews          103:1, 103:11,        91:23, 97:4,       187:15
                                                                                  6:19              103:21, 106:18,       101:24, 103:14,    mechanical
                                                                                  mature            106:24, 107:11,       107:8, 109:9,      23:22, 26:3
                                                                                  110:8             107:14, 109:5,        109:11, 109:14,    media
                                                                                  maybe             109:12, 109:14,       109:19, 111:1,     1:12, 5:11,
                                                                                  66:24, 135:12,    109:17, 113:24,       111:12, 114:22,    6:9, 9:1, 10:11
                                                                                  136:9, 154:19,    115:18, 116:22,       114:25, 115:9,     meek
                                                                                  154:22, 159:5,    119:4, 119:11,        115:21, 116:16,    4:21, 11:9,
                                                                                  220:18            145:17, 146:10,       116:24, 118:10,    150:15, 150:18,
                                                                                  mcmurtry          146:12, 146:20,       176:16, 188:2,     158:20, 158:23,
                                                                                  4:4, 11:5,        149:12, 154:23,       188:22, 190:14,    159:16, 159:19,
                                                                                  24:24, 28:1,      156:23, 157:17,       191:1, 195:10,     160:3, 160:6,
                                                                                  28:4, 46:23,      157:18, 164:6,        195:12, 197:24,    160:25, 161:3,
                                                                                  65:19, 65:23,     165:4, 165:18,        198:1, 198:7,      162:2, 162:12,
                                                                                  74:14, 85:6,      167:20, 180:1,        198:20, 199:3,     163:6, 163:20,
                                                                                  85:14, 85:21,     181:23, 182:18,       199:11, 199:21     163:23, 164:20,
                                                                                  86:9, 94:6,       183:21, 187:8,        meanings           164:23, 169:20,
                                                                                  94:16, 96:12,     188:4, 188:6,         20:2, 20:8,        169:23, 171:13,
                                                                                  100:1, 101:11,    188:9, 188:11,        20:11, 20:12,      171:16, 173:12,
                                                                                  102:16, 102:23,   188:15, 188:23,       22:4, 26:8,        183:13, 183:16,
                                                                                  126:23, 128:23,   190:6, 191:12,        26:10, 27:21,      185:21, 185:24,
                                                                                  138:11, 138:17,   191:20, 192:1,        94:19, 94:21,      210:15, 210:17,
                                                                                  141:22, 142:3,    192:4, 192:7,         109:7, 114:13,     211:2, 211:6,
                                                                                  142:6, 142:10,    193:7, 194:20,        114:16, 115:6,     211:14, 211:16,
                                                                                  142:17, 149:20,   196:2, 196:16,        115:14, 196:12,    211:25, 212:11,
                                                                                  158:14, 169:7,    196:17, 202:24,       196:17, 202:4,     214:9, 214:12,
                                                                                  170:4, 175:22,    204:2, 217:8,         216:14             214:19
                                                                                  176:24, 178:3,    218:11                means              meenakshi
                                                                                  182:17, 202:16,   meaning               20:4, 20:17,       4:13, 10:18
                                                                                  205:2, 219:7,     16:24, 17:1,          41:24, 56:8,       meetings
                                                                                  220:20, 221:16,   17:3, 17:11,          62:6, 65:8,        67:18
                                                                                  221:19, 223:11,   17:24, 18:2,          65:10, 66:12,      member
                                                                                  223:15            18:12, 18:19,         98:11, 106:25,     42:5, 43:7,
                                                                                  mcmurtry's        19:2, 19:20,          115:8, 115:17,     122:17, 127:16,
                                                                                  70:18, 187:5      19:25, 20:16,         116:11, 175:20,    128:1, 128:7
                                                                                  mean              20:25, 22:22,         184:3, 184:4,      members
                                                                                  22:21, 23:14,     24:13, 26:5,          184:5, 184:11,     122:1, 146:16
                                                                                  24:3, 24:10,      26:12, 27:7,          190:10, 191:6,     memorial
                                                                                  26:7, 29:4,       29:2, 30:14,          192:22, 211:9,     69:19, 125:18,
                                                                                  32:24, 32:25,     34:19, 37:7,          216:22, 216:23     132:6, 133:16,
                                                                                  33:8, 35:25,      37:8, 38:21,          meant              157:3, 157:6,
                                                                                                                          33:10, 90:1,



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                         Transcript of Craige Roberts, Ph.D.
                                                                                                          Conducted on December 7, 2021                          253
                                 ID#: 1888
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 255 of 281 - Page




                                                                                  157:8, 157:12,      10:20, 10:24          mine               153:17, 161:19,
                                                                                  157:21, 166:3,      michigan              19:11, 52:18       168:20, 169:11,
                                                                                  166:9, 166:14,      36:7, 36:12           minor              169:14, 174:1,
                                                                                  168:1, 191:21,      middle                187:10, 189:8,     178:14, 184:16,
                                                                                  191:25, 192:15,     105:9, 156:16,        189:9, 189:14      186:20, 202:7,
                                                                                  192:18, 208:10      176:3, 176:8,         minute             205:18, 205:23,
                                                                                  memory              179:9, 182:9          47:23, 179:4,      207:3, 212:19,
                                                                                  80:9                midway                210:13, 210:14     213:8, 213:16
                                                                                  men                 50:11, 62:18,         minutes            moments
                                                                                  142:16, 180:14      64:8                  175:23, 178:3,     175:2, 176:1,
                                                                                  mentality           midwest               179:11, 183:17,    203:19
                                                                                  139:20, 140:1,      138:1, 138:8,         211:3, 220:18      money
                                                                                  140:7               139:8                 misconstruing      43:4, 82:16,
                                                                                  mention             might                 175:4              132:12
                                                                                  20:24, 126:2,       16:15, 19:24,         misguided          monitors
                                                                                  131:8, 156:14       22:23, 26:4,          202:20             76:14
                                                                                  mentioned           26:6, 28:25,          misinterpret       month
                                                                                  36:1, 36:18,        38:20, 40:17,         103:19             67:5
                                                                                  48:10, 51:24,       45:15, 58:8,          misrepresent       months
                                                                                  75:24, 161:8,       68:5, 81:13,          80:20              110:9, 110:10
                                                                                  189:13, 194:21      88:13, 92:5,          misrepresented     more
                                                                                  mere                100:12, 104:22,       90:23              9:18, 17:1,
                                                                                  146:6               106:13, 109:5,        mistaken           17:23, 19:2,
                                                                                  merely              109:6, 112:20,        81:22, 81:24,      20:12, 23:20,
                                                                                  84:3                114:9, 116:2,         90:11              26:12, 44:9,
                                                                                  merriam             117:21, 122:3,        misunderstand      44:10, 49:13,
                                                                                  195:16, 195:24,     123:2, 124:10,        81:14              51:19, 69:9,
                                                                                  201:23              125:1, 130:18,        misunderstanding   77:11, 80:24,
                                                                                  merriam-webster     132:6, 135:25,        87:24              90:25, 98:7,
                                                                                  21:9                137:18, 138:9,        misunderstood      98:8, 101:9,
                                                                                  merriam-webster's   141:3, 141:23,        30:19              103:2, 103:8,
                                                                                  74:4                142:22, 142:24,       mitchell           103:10, 117:23,
                                                                                  message             143:6, 143:9,         4:8, 6:15, 57:4    118:7, 118:20,
                                                                                  125:8, 126:22       146:6, 152:5,         mixed              120:12, 156:12,
                                                                                  met                 159:3, 172:22,        177:2              158:7, 167:4,
                                                                                  16:17, 29:25,       172:23, 180:11,       mm-hmm             174:7, 181:4,
                                                                                  30:4, 82:19,        180:15, 182:2,                           190:25, 192:1,
                                                                                                      212:17                47:10, 54:11,
                                                                                  83:14                                     123:9, 127:24,     199:7, 200:14,
                                                                                  methodologically    miles                 147:22, 203:24,    203:2, 208:13
                                                                                  189:6               14:9                  222:7              morning
                                                                                  methodologies       mind                  mocking            10:6, 10:14,
                                                                                  19:19               104:2, 104:3,         161:20             10:18, 11:7,
                                                                                  methodology         111:20, 124:2,        modern             117:4, 222:16
                                                                                  77:21, 101:20,      186:20, 188:13,
                                                                                                                            17:22, 110:23,
                                                                                                                                               most
                                                                                  101:21              188:25, 189:5,                           25:20, 26:17,
                                                                                                      203:12, 220:2         111:23
                                                                                  mic                                       moment             52:21, 54:15,
                                                                                  8:11                minds                                    74:1, 86:6,
                                                                                                      209:23                92:23, 140:2,      96:19, 101:19,
                                                                                  michael                                   141:2, 153:13,
                                                                                  5:22, 6:4,



                                                                                                                   PLANET DEPOS
                                                                                                      888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                           254
                                 ID#: 1889
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 256 of 281 - Page




                                                                                  102:1, 113:19,    77:11, 77:15,         103:3, 103:15,     100:9, 113:8,
                                                                                  113:21, 113:22,   80:23, 131:12,        103:17, 103:25,    115:23, 211:7,
                                                                                  115:24, 150:6,    132:19, 198:1,        104:1, 105:6,      211:10, 221:23
                                                                                  197:14, 200:25    198:2                 105:24, 106:2,     needed
                                                                                  mostly            multiple              106:7, 106:9,      78:8, 216:23
                                                                                  45:3              109:4, 115:5,         106:11, 106:14,    negative
                                                                                  mother            155:3, 167:21         106:20, 107:18,    191:5
                                                                                  110:7             music                 108:15, 109:15,    negotiate
                                                                                  mothers           145:4                 110:5, 114:16,     200:16, 203:3,
                                                                                  110:3             must                  115:1, 115:10,     203:7
                                                                                  motives           77:1, 154:25,         115:13, 115:15,    neither
                                                                                  88:24, 90:7,      218:15                119:3, 122:17,     177:7, 224:9
                                                                                  139:21            mute                  123:18, 124:25,    network
                                                                                  mouth             8:11                  125:2, 126:8,      2:21, 5:21,
                                                                                  140:8, 185:7      myself                129:16, 130:2,     6:2, 10:22, 11:2
                                                                                  move              78:14, 85:8,          130:7, 132:25,     neutral
                                                                                  173:22, 175:6,    113:4, 206:10         133:10, 143:21,    88:22, 89:13,
                                                                                  177:16, 198:13,            N            145:15, 161:17,    98:7, 98:8
                                                                                  203:25, 204:7,                          180:14, 180:25,    never
                                                                                                    name                  186:13, 188:23,
                                                                                  204:12, 210:21,   11:18, 12:2,                             57:24, 82:19,
                                                                                  211:9, 212:17,                          196:11, 200:7,     83:14, 107:19,
                                                                                                    18:16, 54:14,         201:11, 201:20,
                                                                                  213:25            66:8                                     130:12, 131:18,
                                                                                  moved                                   202:2, 202:4       158:11, 166:8,
                                                                                                    names                 natural
                                                                                  42:23, 44:8,      31:8, 126:3,                             190:11, 194:7,
                                                                                  93:6, 93:17,                            1:7, 1:17,         204:7
                                                                                                    177:2                 1:30, 2:4, 2:14,
                                                                                  118:5, 152:24,    natalie                                  new
                                                                                  173:22, 175:13,                         2:26, 25:22,       1:23, 1:24,
                                                                                                    5:4, 10:7             50:4, 50:5,
                                                                                  176:23, 194:7,    nathalie                                 6:7, 6:10, 6:11,
                                                                                  209:20, 209:24,                         50:6, 55:16,       9:4, 10:3,
                                                                                                    11:8                  197:20
                                                                                  217:6, 217:13,    nathan                                   10:10, 13:4,
                                                                                  217:16, 218:15,                         nature             13:8, 16:12,
                                                                                                    11:3                  76:9
                                                                                  220:9             nationwide                               39:18, 45:7,
                                                                                  movement                                nbcuniversal       45:14, 54:3,
                                                                                                    60:17, 60:18,         1:12, 6:9, 9:1
                                                                                  92:6, 144:13,     61:4, 61:6,                              60:22, 60:24,
                                                                                  200:16, 203:4,                          ncbuniversal       61:3
                                                                                                    61:7, 61:19           10:11
                                                                                  220:5             native                                   news
                                                                                  moves                                   near               1:36, 2:10,
                                                                                                    21:21, 23:18,         204:5
                                                                                  174:12, 175:9     23:23, 24:8,                             4:10, 4:11,
                                                                                  moving                                  nearly             4:18, 5:1, 9:6,
                                                                                                    24:9, 32:11,          165:12, 167:19,
                                                                                  90:14, 130:25,    38:19, 49:17,                            9:9, 45:1, 45:2,
                                                                                  153:1, 156:8,                           168:19             45:3, 45:10,
                                                                                                    71:23, 79:17,         necessarily
                                                                                  166:2, 174:19,    84:16, 84:20,                            45:12, 66:5,
                                                                                  177:4, 204:19,                          82:1, 107:19,      66:6, 70:23,
                                                                                                    85:2, 85:20,          143:2, 144:20
                                                                                  209:8, 211:13,    88:3, 91:16,                             71:2, 71:3,
                                                                                  211:20, 212:18                          necessary          71:4, 71:7,
                                                                                                    91:24, 95:6,          216:6, 217:3
                                                                                  much              98:19, 98:23,                            71:9, 72:7,
                                                                                  15:17, 48:24,     99:4, 99:7,
                                                                                                                          need               73:1, 128:11
                                                                                  75:14, 76:20,                           12:16, 52:7,       newspaper
                                                                                                                                             21:14, 45:16,



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                        Transcript of Craige Roberts, Ph.D.
                                                                                                         Conducted on December 7, 2021                          255
                                 ID#: 1890
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 257 of 281 - Page




                                                                                  70:8, 70:21,       notary                210:9              occasion
                                                                                  72:20, 72:22       3:23                  numbers            48:23, 98:22
                                                                                  newspapers         note                  68:7, 132:18,      occur
                                                                                  45:5               80:8, 123:9,          158:15, 169:17     21:25
                                                                                  next               124:19, 170:16,       nyu                occurred
                                                                                  62:11, 62:12,      170:20, 186:25,       40:22, 43:10       78:17, 79:21,
                                                                                  70:21, 71:22,      195:16                         O         80:5, 80:11,
                                                                                  129:5, 139:1,      noted                 oath               82:1, 82:25,
                                                                                  143:13, 143:14,    98:14, 195:24         11:14              83:1, 102:1,
                                                                                  175:23, 200:10     notes                 object             102:3, 106:21,
                                                                                  nicholas           7:14, 39:5,           20:7, 117:24,      107:1, 120:1
                                                                                  1:6, 1:16,         100:9, 100:14,        212:14             occurs
                                                                                  1:29, 2:3, 2:13,   169:17, 222:17,       objection          87:7, 87:25,
                                                                                  2:25, 8:25, 9:1,   223:6                 85:6, 85:14,       107:2
                                                                                  9:3, 9:5, 9:8,     nothing               85:21, 86:9,       october
                                                                                  9:9, 9:12, 9:20,   114:2, 121:13,        94:6, 94:16,       66:24, 67:3,
                                                                                  10:13, 11:6,       136:11, 136:22,       102:16, 126:23,    67:14, 100:4,
                                                                                  65:4               150:3                 138:11, 138:16,    100:5, 100:10,
                                                                                  nick               notice                141:22, 142:3,     100:11, 100:24,
                                                                                  73:19, 73:20,      3:22, 31:12           142:6, 142:7,      126:11, 222:11
                                                                                  202:23, 204:4,     notre                 142:11, 142:17,    odd
                                                                                  213:25, 218:12     173:19, 174:8,        169:7, 170:4,      31:14
                                                                                  nine               174:12, 175:1,        182:17             odds
                                                                                  110:9              175:9, 175:12         objective          142:22
                                                                                  nobody             novel                 83:18, 114:12,     off-the-record
                                                                                  110:12, 172:4      41:18                 190:25             8:9, 74:17
                                                                                  nods               november              objectively        offence
                                                                                  12:23              46:12, 47:4,          83:20, 115:19      78:3
                                                                                  noise              47:15, 65:13,         objects            offensive
                                                                                  137:11             74:25, 99:19,         30:6, 31:16        55:16, 56:5,
                                                                                  non-credit         100:6, 100:11,        observation        161:16, 161:20
                                                                                  55:9               100:12, 100:25,       123:13             offer
                                                                                  non-expert         126:11                observe            52:13, 105:15,
                                                                                  91:5               ns                    130:24             216:15
                                                                                  normal             135:1                 observed           offered
                                                                                  110:18, 207:5,     nuclear               92:1, 115:19,      215:24
                                                                                  207:6, 208:22      19:9                  120:6, 121:18,     offering
                                                                                  north              number                199:6              191:24, 195:9,
                                                                                  152:21, 154:23,    8:20, 9:2, 9:4,       obtain             197:6
                                                                                  157:13, 157:22,    9:7, 9:10, 9:13,      20:10, 113:6       office
                                                                                  157:23, 158:1,     9:21, 17:19,          obvious            70:18, 76:11
                                                                                  158:5, 167:22,     25:1, 52:12,          125:10, 197:23,    officer
                                                                                  168:4, 168:6,      57:24, 58:1,          201:25             224:2
                                                                                  168:22, 172:5      108:25, 122:23,       obviously          official
                                                                                  northern           124:23, 129:23,       43:21, 49:17,      43:10, 151:16
                                                                                  1:3                130:10, 130:13,       89:14, 94:3,       often
                                                                                  northwest          131:5, 131:6,         124:2              44:25, 108:12,
                                                                                  4:15               148:17, 200:3,                           108:20




                                                                                                                  PLANET DEPOS
                                                                                                     888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          256
                                 ID#: 1891
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 258 of 281 - Page




                                                                                  oh                29:24, 30:1,          105:18, 105:22,    92:21, 93:2,
                                                                                  10:9, 32:10,      30:3, 31:7,           153:20             93:5, 93:14,
                                                                                  32:16, 47:8,      31:10, 31:13,         opposed            93:21, 96:8,
                                                                                  50:14, 53:4,      32:9, 33:12,          151:15, 193:10,    96:19, 96:21,
                                                                                  60:2, 61:6,       34:18, 41:8,          195:20             97:15, 98:2,
                                                                                  61:13, 65:1,      66:11, 69:3,          opposing           98:9, 98:24,
                                                                                  68:3, 96:2,       72:5, 73:21,          95:22              98:25, 101:13,
                                                                                  96:14, 103:23,    78:16, 79:20,         order              105:18, 111:2,
                                                                                  145:12, 207:23,   80:3, 80:11,          68:5, 78:8,        111:3, 112:22,
                                                                                  219:14, 221:11    82:3, 82:25,          78:13, 108:1,      115:15, 122:1,
                                                                                  ohio              88:1, 91:5,           108:7, 108:24,     122:19, 136:3,
                                                                                  5:17, 35:13,      93:10, 100:6,         217:14             140:5, 142:22,
                                                                                  35:16, 35:20,     102:2, 106:20,        ordinary           142:25, 143:1,
                                                                                  60:16             114:25, 126:9,        21:20, 22:4,       143:15, 143:18,
                                                                                  old               130:17, 132:22,       25:21, 103:21,     148:17, 156:3,
                                                                                  21:7, 88:11,      143:20, 147:9,        103:23, 104:1,     156:8, 159:4,
                                                                                  103:16            154:10, 166:16,       107:9, 107:18,     161:14, 163:9,
                                                                                  on-line           166:25, 192:4,        109:15, 109:18,    169:12, 169:15,
                                                                                  71:14             193:12, 202:23,       110:18, 111:1,     174:11, 177:21,
                                                                                  once              203:20                122:24             179:5, 182:12,
                                                                                  126:10, 146:15,   open                  organize           185:12, 191:8,
                                                                                  199:11, 205:19,   173:16, 174:2,        21:23              192:4, 193:7,
                                                                                  211:23, 211:24    209:12                organized          193:11, 195:20,
                                                                                  one's             opened                146:12             197:24, 198:10,
                                                                                  87:18, 87:20,     156:9                 original           208:22, 209:7,
                                                                                  87:22, 96:8       opens                 69:8, 69:15        209:18, 209:20,
                                                                                  ones              174:11, 175:8         osu                209:24
                                                                                  62:25, 63:2,      opinion               41:21, 55:1,       other's
                                                                                  63:8, 73:12,      57:21, 62:22,         55:7               96:7
                                                                                  75:3, 75:24,      63:22, 63:23,         other              others
                                                                                  77:16, 113:18,    64:1, 64:2,           17:24, 19:9,       45:8, 86:12,
                                                                                  149:7, 149:8,     66:10, 68:19,         20:7, 22:19,       92:22, 113:20,
                                                                                  156:5, 182:3,     70:14, 76:25,         22:25, 23:10,      115:20, 125:16,
                                                                                  209:6             78:25, 79:6,          23:17, 29:6,       138:23, 141:2,
                                                                                  oneself           90:4, 90:9,           29:11, 30:1,       141:10, 145:23,
                                                                                  99:5              90:20, 91:7,          33:24, 42:7,       151:10, 217:2
                                                                                  online            99:23, 106:8,         43:17, 43:18,      otherwise
                                                                                  45:3, 71:4,       143:11, 166:24,       45:16, 48:18,      12:18, 73:9,
                                                                                  71:5, 71:16,      176:11, 177:19,       49:21, 59:23,      193:19, 224:12
                                                                                  71:22, 71:23,     177:23, 177:24,       62:25, 63:18,      out
                                                                                  71:25, 72:12,     188:14, 195:9         64:16, 69:11,      43:16, 43:19,
                                                                                  73:3, 112:13,     opinions              69:13, 70:7,       44:12, 57:24,
                                                                                  223:12, 223:13    60:14, 62:21,         70:8, 70:9,        58:8, 68:5,
                                                                                  onlookers         68:15, 79:22,         72:22, 73:1,       73:5, 104:2,
                                                                                  146:6             80:2, 82:3,           73:15, 73:16,      113:9, 117:18,
                                                                                  only              82:8, 83:2,           74:9, 75:21,       124:5, 132:6,
                                                                                  25:17, 29:15,     86:18, 102:4,         76:16, 82:11,      154:19, 175:2,
                                                                                  29:17, 29:20,     105:10, 105:14,       83:5, 91:2,        187:15, 190:11,




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                           257
                                 ID#: 1892
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 259 of 281 - Page




                                                                                  199:25, 204:21,   62:15, 67:6,          68:13, 68:19,      187:7, 219:6,
                                                                                  205:24, 209:21,   67:20, 69:7,          68:20, 69:6,       219:9
                                                                                  215:6, 221:3,     72:24, 77:5,          70:12, 70:22,      paragraphs
                                                                                  221:17, 221:19    77:8, 87:2,           71:14, 73:15,      88:21, 187:3,
                                                                                  outcome           87:4, 96:10,          73:24, 73:25,      187:4, 215:24,
                                                                                  59:16, 224:12     97:6, 98:16,          74:24, 74:25,      216:3
                                                                                  outside           112:17, 116:6,        75:3, 78:25,       paraphrase
                                                                                  130:19, 148:3     123:20, 124:13,       79:1, 80:8,        116:17
                                                                                  outsider          128:20, 130:4,        83:23, 83:24,      pardon
                                                                                  56:4              136:16, 142:11,       88:20, 93:1,       126:4, 128:25,
                                                                                  outward           153:11, 155:13,       99:17, 99:20,      211:1
                                                                                  84:2, 212:21,     162:21, 167:10,       105:8, 105:9,      parents
                                                                                  213:21, 213:22    167:12, 167:14,       105:23, 107:4,     1:7, 1:17,
                                                                                  over              174:22, 174:23,       107:5, 107:22,     1:30, 2:4, 2:14,
                                                                                  8:6, 47:21,       176:25, 178:22,       117:1, 117:2,      2:26
                                                                                  67:2, 67:5,       181:13, 186:6,        117:15, 119:5,     part
                                                                                  76:23, 76:25,     186:7, 194:10,        119:23, 120:23,    14:23, 15:13,
                                                                                  112:21, 169:1,    195:22, 199:10,       120:25, 122:9,     15:23, 34:15,
                                                                                  206:17            203:4, 203:11,        125:5, 127:2,      42:25, 61:3,
                                                                                  over-generalize   204:22, 206:19,       133:18, 134:22,    84:6, 87:21,
                                                                                  110:13, 110:19    207:14, 213:7,        135:19, 137:5,     97:18, 104:9,
                                                                                  overall           213:9, 213:11,        137:6, 143:14,     123:7, 125:1,
                                                                                  77:11             219:22                146:3, 149:18,     126:12, 130:17,
                                                                                  overhead          own                   152:14, 156:11,    130:23, 133:12,
                                                                                  122:4             80:7, 80:24,          156:14, 167:1,     158:11, 161:21,
                                                                                  overlap           86:3, 86:16,          167:17, 171:5,     166:23, 166:25,
                                                                                  12:25             92:17, 138:21,        179:9, 187:1,      176:9, 176:19,
                                                                                  overlooked        160:10                188:12, 189:16,    177:23, 177:24,
                                                                                  189:13            oxford                192:9, 200:10,     186:9, 186:18,
                                                                                  overlooking       74:2, 74:3,           200:11, 201:1,     193:17, 194:12,
                                                                                                    112:9, 191:4,         201:14, 201:24,    194:15, 195:19,
                                                                                  189:7                                   203:23, 215:4,
                                                                                  overlooks         195:13, 195:18,                          198:17, 198:22,
                                                                                                    201:6                 215:19, 215:20,    199:1, 199:8,
                                                                                  187:10                                  221:3
                                                                                  overspeaking               P                               216:17, 223:4
                                                                                                    page                  pages              part-time
                                                                                  9:17, 12:9,                             1:41, 58:3,
                                                                                  12:12, 12:21,     7:3, 7:7,                                100:7
                                                                                                    46:21, 46:23,         68:25, 69:3,       parted
                                                                                  18:5, 21:1,                             70:9, 223:3,
                                                                                  22:24, 23:11,     46:25, 47:3,                             93:3, 156:3,
                                                                                                    47:6, 47:7,           223:4              156:6
                                                                                  24:18, 24:20,                           paid
                                                                                  27:22, 28:5,      47:12, 47:15,                            partee
                                                                                                    47:21, 48:8,          88:24, 153:4       17:12
                                                                                  30:9, 30:11,                            pan
                                                                                  31:25, 32:2,      50:2, 50:11,                             participants
                                                                                  32:5, 32:8,       53:7, 54:9,           133:8              83:12, 97:25,
                                                                                  32:15, 32:17,     55:1, 56:14,          paragraph          99:9, 130:10
                                                                                  35:10, 39:8,      56:24, 60:6,          79:1, 83:24,       participating
                                                                                  39:10, 41:2,      64:23, 67:24,         84:1, 133:18,      129:21
                                                                                  41:4, 55:13,      67:25, 68:12,         133:21, 157:2,     particle
                                                                                  56:11, 62:10,                           171:6, 179:10,     19:8




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          258
                                 ID#: 1893
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 260 of 281 - Page




                                                                                  particular        113:19, 117:12,       210:17, 211:16,    performance
                                                                                  17:22, 18:11,     119:9, 121:20,        212:11, 214:12     145:21
                                                                                  18:14, 20:14,     122:3, 188:17,        pay                performing
                                                                                  23:3, 23:25,      198:18, 199:3,        16:20, 77:15       143:21
                                                                                  36:23, 37:4,      199:12, 222:9         pending            perhaps
                                                                                  41:17, 42:20,     passageway            204:23             125:16
                                                                                  45:5, 45:10,      179:2                 penske             period
                                                                                  55:22, 81:25,     passed                5:11               67:2, 67:3
                                                                                  97:5, 98:6,       135:25, 152:21,       penultimate        peripheral
                                                                                  109:1, 115:1,     154:24, 217:6,        88:20              205:14, 205:15,
                                                                                  118:4, 118:18,    217:12                people's           206:1, 206:11,
                                                                                  118:23, 123:2,    passersby             79:22, 102:4,      206:12, 206:24
                                                                                  157:17, 169:14,   123:10, 124:5,        146:16, 146:21,    peripherally
                                                                                  198:10, 204:12,   124:10, 131:23        208:21             207:20
                                                                                  204:16            passing               peoples            permit
                                                                                  particularly      154:24                127:6, 129:17,     133:15, 191:8,
                                                                                  40:17, 121:25,    passive               130:11, 186:14     191:14
                                                                                  131:7             117:23, 118:22        pep                perpendicular
                                                                                  parties           passively             137:12, 137:18,    168:7
                                                                                  224:10            176:16, 177:7,        138:20             person
                                                                                  partly            194:20                perceive           29:24, 32:13,
                                                                                  123:12, 190:23    past                  81:20, 92:11,      34:16, 80:15,
                                                                                  parts             110:13, 155:16,       141:19, 178:15     80:23, 81:20,
                                                                                  22:22, 27:8,      165:12, 167:19,       perceived          86:19, 93:10,
                                                                                  69:10, 132:25,    168:8, 168:19,        84:17, 203:19      94:10, 96:7,
                                                                                  198:17            168:22, 169:2,        perceives          98:20, 103:12,
                                                                                  party             191:6, 206:17         80:15, 80:17,      103:14, 103:21,
                                                                                  29:23             path                  92:13              104:22, 104:24,
                                                                                  pass              214:2, 215:12         perceiving         113:11, 115:16,
                                                                                  49:15, 174:15     patterns              87:10, 212:20,     135:9, 135:13,
                                                                                  passage           18:1, 19:1,           213:17             135:17, 141:15,
                                                                                  78:12, 106:3,     110:4, 110:5,         percent            148:23, 151:15,
                                                                                  109:20, 113:22,   145:1                 218:13             151:19, 158:3,
                                                                                  117:14, 118:4,    pause                 perception         162:25, 163:3,
                                                                                  128:22, 157:14,   158:19, 159:14,       81:21, 81:23,      163:4, 185:12,
                                                                                  179:3, 190:15,    160:24, 161:25,       85:19, 87:9,       191:7, 191:8,
                                                                                  191:2, 192:7,     163:18, 164:19,       87:13, 92:23,      197:23, 221:16
                                                                                  193:16, 193:17,   169:19, 170:13,       175:17, 206:22,    person's
                                                                                  204:20, 215:22,   171:12, 173:11,       207:9, 207:19      86:15, 92:13
                                                                                  215:25, 216:5,    179:18, 183:12,       perceptions        personal
                                                                                  216:8, 216:11     185:20, 222:3         85:13, 86:1        91:6, 124:17,
                                                                                  passages          paused                perceptual         137:24, 138:22,
                                                                                  21:25, 66:10,     150:18, 158:23,       207:15             143:10, 144:6,
                                                                                  67:10, 67:12,     159:19, 160:6,        perfectly          144:8, 168:14,
                                                                                  78:6, 81:5,       161:3, 162:9,         106:14, 150:7,     172:25, 207:7,
                                                                                  100:18, 100:21,   163:23, 164:23,       197:20             218:9, 218:22,
                                                                                  101:3, 101:22,    169:23, 171:16,       perform            219:24
                                                                                  103:7, 113:16,    183:16, 185:24,       199:8              persons
                                                                                                                                             196:6



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          259
                                 ID#: 1894
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 261 of 281 - Page




                                                                                  perspective       pick                  played             pointed
                                                                                  55:24, 205:6      19:23, 205:24         150:17, 151:1,     117:18, 162:13,
                                                                                  pertain           piece                 158:22, 159:18,    175:2, 215:6
                                                                                  106:9, 198:24     127:13                160:5, 161:2,      pointing
                                                                                  pertained         pieces                162:4, 163:22,     51:8, 51:9,
                                                                                  77:17             129:14                164:22, 169:22,    51:10, 51:11,
                                                                                  pertaining        place                 171:15, 183:15,    51:12, 51:13,
                                                                                  59:3, 75:6,       10:1, 16:20,          185:23, 210:16,    51:17, 51:18
                                                                                  79:4              44:12, 50:23,         210:25, 211:4,     points
                                                                                  ph                81:11, 93:19,         211:15, 212:2,     134:23, 217:4
                                                                                  2:35, 3:1, 7:3,   131:3, 155:9,         212:10, 214:11,    political
                                                                                  7:10, 11:15,      158:12, 218:2,        214:21             97:14, 97:22,
                                                                                  15:9, 39:18,      218:19, 219:17        playing            98:13, 98:15,
                                                                                  195:2, 196:7      placement             150:15             98:17, 99:6,
                                                                                  phase             31:21                 pleadings          125:8, 126:22,
                                                                                  46:11, 64:25,     places                188:3, 188:4,      142:21
                                                                                  65:7, 188:8       39:17, 98:2           188:6              politics
                                                                                  philosopher       plain                 please             98:22
                                                                                  52:7              18:12, 23:9,          8:5, 8:7, 8:11,    pond
                                                                                  philosophers      38:21, 59:8,          8:12, 8:16,        133:17, 157:10,
                                                                                  37:17, 37:20,     64:2, 64:19,          10:4, 11:12,       157:11
                                                                                  42:23             78:11, 101:24,        11:18, 12:16,      pool
                                                                                  philosophical     103:14, 107:8,        12:18, 120:24,     132:7
                                                                                  17:2              109:11, 109:14,       163:19, 164:19,    portions
                                                                                  philosophy        109:19, 110:25,       170:14, 210:10,    121:11
                                                                                  36:9, 36:13,      111:12, 114:15,       219:3, 221:3       portraying
                                                                                  36:14, 36:15,     114:25, 116:24,       plenty             92:4
                                                                                  36:16, 36:24,     188:22, 191:1,        173:23             posed
                                                                                  36:25, 37:14      195:12, 196:17,       pll                100:2, 100:23,
                                                                                  phone             198:7, 216:11         62:18              102:17, 102:20,
                                                                                  8:16, 19:21,      plaintiff             plla               188:14
                                                                                  65:22, 65:24      1:10, 1:20,           4:6                position
                                                                                  phonology         1:33, 2:7, 2:17,      poetry             35:13, 42:3,
                                                                                  18:25             2:29, 4:3,            44:7               42:4, 81:8,
                                                                                  photographing     10:13, 11:6           point              89:23, 90:7,
                                                                                  145:24, 172:1     plaintiff's           30:23, 51:16,      153:15, 166:13,
                                                                                  phrase            46:10                 51:17, 54:2,       178:18, 203:10,
                                                                                  102:14, 102:24,   plaintiff’s           61:23, 62:4,       203:12, 206:10
                                                                                  102:25, 109:1,    64:24                 76:7, 98:6,        positioned
                                                                                  109:12, 148:9,    planet                107:21, 110:17,    81:6
                                                                                  218:4, 218:5,     6:19, 9:25            111:11, 125:6,     positions
                                                                                  219:1, 219:19     play                  125:12, 146:5,     42:8, 42:9,
                                                                                  physically        159:14, 160:2,        148:13, 150:24,    43:18, 43:20
                                                                                  167:8             210:10, 210:11,       173:22, 175:7,     possibility
                                                                                  physicist         210:13, 210:22,       175:23, 196:19,    51:21, 59:10
                                                                                  19:8              211:11, 211:23,       198:1, 198:9,      possible
                                                                                  physics           212:7, 214:7,         204:21, 215:8,     21:23, 75:14,
                                                                                  19:8, 19:9        214:18                215:12, 220:3      78:14, 83:18,




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                         260
                                 ID#: 1895
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 262 of 281 - Page




                                                                                  109:7, 116:12,    preliminary           prism              prong
                                                                                  142:23, 145:10,   67:11, 222:8          44:17              23:1
                                                                                  184:15, 200:6,    preparing             private            prongs
                                                                                  201:10, 201:19,   57:7, 66:18           86:19, 94:10       22:22
                                                                                  202:1             prescribe             privy              pronoun
                                                                                  possibly          114:20                193:15             20:14
                                                                                  113:19, 122:25,   prescriptive          probable           pronounced
                                                                                  131:15, 131:17    107:13                118:8              11:24
                                                                                  post              present               probably           pronouns
                                                                                  35:4, 45:7,       6:18, 65:20,          44:9, 57:25,       27:2, 29:13
                                                                                  45:14, 45:15      83:12, 121:17         67:14, 100:4,      prosody
                                                                                  post-doc          presented             100:5, 188:5       110:4
                                                                                  36:19             78:15, 218:7          problems           protest
                                                                                  postdoctoral      press                 32:11              98:19
                                                                                  35:2              74:3                  procedure          protesting
                                                                                  potentially       presumably            21:11, 49:6        98:23, 124:25
                                                                                  28:25, 92:13,     114:4                 procedures         protestors
                                                                                  141:19, 143:5     presume               49:8               98:25
                                                                                  pours             86:10, 122:24,        proceed            protests
                                                                                  158:9             124:8                 200:17             97:12
                                                                                  powwows           pretty                proceeding         proud
                                                                                  144:10            40:7, 48:22,          8:3, 8:8           59:17
                                                                                  pragmatics        101:7, 125:10,        process            provide
                                                                                  28:10, 28:11,     136:1, 173:8,         43:24, 75:18,      99:22, 112:7,
                                                                                  28:13, 28:14,     192:19                121:15             215:21
                                                                                  35:24, 55:1,      prevent               processes          provided
                                                                                  55:7, 55:10,      176:17, 176:23,       101:5              57:15, 57:18,
                                                                                  104:11            177:4                 produced           57:21, 58:19,
                                                                                  prayer            previously            189:1              68:17, 70:13,
                                                                                  186:14            101:2, 211:21         professional       70:17, 70:24,
                                                                                  praying           pride                 55:11, 151:18,     75:7, 75:13,
                                                                                  145:11            56:6                  157:19             106:5, 119:24,
                                                                                  preach            primarily             professor          121:5, 121:11,
                                                                                  125:7, 126:21     19:10, 20:2,          16:4, 21:8,        150:5, 187:1,
                                                                                  precise           89:10                 36:5, 39:15,       187:5, 196:8
                                                                                  53:16             primary               40:22, 41:21       provides
                                                                                  precluding        26:14, 27:14          professors         48:13
                                                                                  174:18            principal             41:5               psychological
                                                                                  predicament       180:18                programs           90:18
                                                                                  201:25, 203:10,   principally           21:15, 21:16,      psychologist
                                                                                  203:16            121:5                 45:10              81:18, 91:10,
                                                                                  predictions       principle             progress           207:15
                                                                                  52:12             43:20                 23:5, 201:16,      psychologists
                                                                                  predicts          principles            205:9              42:22
                                                                                  54:8              74:3                  project            psychology
                                                                                  prejudice         print's               49:4               37:1
                                                                                  105:4             112:11                promoted           public
                                                                                  prejudices        prior                 124:3              3:23, 14:17,
                                                                                  104:23            16:12, 204:1


                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          261
                                 ID#: 1896
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 263 of 281 - Page




                                                                                  209:2, 224:1      93:11, 140:8,         193:1, 193:13,     raised
                                                                                  publication       170:25, 185:6,        193:14, 194:5,     186:11
                                                                                  50:11             206:10, 210:7         194:9, 202:14,     rallies
                                                                                  publications      puts                  202:19, 203:8,     137:25
                                                                                  47:20, 47:22,     20:11                 204:23, 212:18,    rally
                                                                                  48:4              putting               212:24, 213:13,    137:12, 137:18,
                                                                                  publicly          22:7, 36:3,           217:21, 220:14     137:23, 138:20
                                                                                  112:15, 113:2,    173:2, 177:10         question's         rang
                                                                                  207:25, 208:5,             Q            31:18              59:14
                                                                                  208:8, 208:11,    qualified             questioning        range
                                                                                  208:17, 209:3,    199:7                 61:20              17:20, 95:19,
                                                                                  209:14            qualifying            questions          96:18, 109:7,
                                                                                  published         106:8                 12:18, 18:3,       115:13
                                                                                  49:7              quality               50:2, 75:6,        ranging
                                                                                  publisher         102:2                 82:9, 83:3,        174:4
                                                                                  11:2              quantification        99:23, 99:25,      rather
                                                                                  pull              50:4                  100:15, 100:16,    59:13, 135:6
                                                                                  149:4, 158:17,    quantify              100:22, 101:6,     rational
                                                                                  170:13, 171:10,                         101:14, 102:17,    103:3, 103:17,
                                                                                                    76:22                 153:21, 162:19,
                                                                                  179:16, 210:9,    question                                 103:24, 105:7
                                                                                  214:5, 221:2                            162:24, 188:14,    rd
                                                                                                    20:20, 20:23,         204:24, 223:9,
                                                                                  pulls             26:18, 26:19,                            13:7
                                                                                  165:14                                  223:14             re-starting
                                                                                                    27:10, 28:2,          quickly
                                                                                  punch             30:13, 31:2,                             211:2, 211:25
                                                                                  61:10, 61:11                            77:10, 101:17      reach
                                                                                                    31:5, 31:11,          quite
                                                                                  pure              31:15, 31:17,                            134:3, 204:10,
                                                                                  94:9, 153:23      31:22, 32:1,          25:5, 123:23,      221:19
                                                                                  purely            32:4, 33:15,          124:2, 172:3,      reached
                                                                                  107:7, 107:11,    33:23, 40:3,          172:7, 181:2       221:16
                                                                                  153:23            40:4, 40:9,           quote              reaching
                                                                                  purport           49:24, 53:5,          113:16, 125:7,     75:18
                                                                                  18:7              53:9, 53:12,          125:15, 125:23,    read
                                                                                  purporting        53:15, 58:18,         125:25, 127:15,    8:23, 11:14,
                                                                                  80:13             59:9, 72:25,          128:7, 132:23      25:21, 44:1,
                                                                                  purpose           91:9, 93:11,                   R         44:5, 44:6,
                                                                                  125:9, 153:12     102:11, 102:12,       raced              44:25, 45:2,
                                                                                  purposefully      102:20, 102:23,       137:7              45:3, 45:17,
                                                                                  82:3              103:4, 106:10,        races              79:2, 103:6,
                                                                                  purposes          109:3, 111:23,        123:10, 124:19     103:13, 112:12,
                                                                                  8:8               112:1, 112:2,         racist             127:4, 127:25,
                                                                                  pursuant          112:6, 112:19,        135:19, 135:20,    128:10, 132:1,
                                                                                  3:22              115:2, 117:15,        136:1, 136:6,      203:12, 209:22,
                                                                                  put               121:7, 122:11,        136:13             220:1
                                                                                  22:11, 30:5,      142:9, 149:14,        radio              reader
                                                                                  31:4, 31:16,      171:25, 189:18,       21:15              44:5, 44:23,
                                                                                  33:18, 58:22,     189:23, 189:25,       raining            102:10, 102:12,
                                                                                  63:6, 68:5,       190:13, 191:7,        116:2, 116:3       102:15, 102:24,
                                                                                  76:15, 93:9,                                               103:9, 103:11,




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          262
                                 ID#: 1897
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 264 of 281 - Page




                                                                                  103:16, 103:20,   reasons               records            37:19
                                                                                  104:2, 106:7,     83:6, 83:13,          63:7, 66:21,       refrained
                                                                                  111:9, 188:25     130:12, 130:23,       149:2              119:18
                                                                                  readers           131:21, 194:24        recursive          refuse
                                                                                  104:16            recall                25:16              118:13
                                                                                  readily           39:11, 71:20,         red                refused
                                                                                  205:10            72:5, 72:13,          162:6, 162:14,     191:7, 191:12,
                                                                                  reading           72:15, 72:16,         163:4, 171:23,     191:13, 192:21,
                                                                                  43:25, 44:4,      73:2, 73:5,           173:18, 174:5,     214:3
                                                                                  44:7, 44:15,      73:11, 111:25,        183:23             refusing
                                                                                  82:14, 103:21,    133:14, 136:25,       reduced            194:18
                                                                                  106:3, 127:15,    169:15                224:7              regarded
                                                                                  165:8, 187:9,     received              reduction          161:16
                                                                                  208:22, 224:8     42:10                 33:5               regular
                                                                                  real              recent                refer              110:13
                                                                                  200:16            23:20, 24:5           19:4, 19:5,        regularly
                                                                                  realized          recently              89:7, 109:3,       45:11, 145:2
                                                                                  16:25             55:5                  119:14, 123:18,    rejected
                                                                                  really            recess                127:8, 135:19,     58:21
                                                                                  15:16, 20:16,     74:18, 120:15,        139:12, 150:21,    relate
                                                                                  43:6, 44:19,      178:7, 220:23         193:1              36:16, 37:14
                                                                                  61:10, 61:12,     recognize             reference          related
                                                                                  65:10, 100:6,     46:13, 142:20,        86:16, 93:1,       38:14, 51:25,
                                                                                  114:3, 123:7,     161:6                 165:1, 170:10,     117:21, 224:10
                                                                                  129:15, 130:15,   recognized            178:15, 179:15,    relates
                                                                                  130:17, 132:20,   137:22, 138:24        186:5, 188:3       37:22
                                                                                  137:21, 140:9,    recollection          referenced         relation
                                                                                  190:13            66:22                 148:22             218:1
                                                                                  reason            reconstruct           references         relationship
                                                                                  34:10, 62:8,      78:22                 86:4, 87:10        41:18
                                                                                  69:15, 72:16,     reconstructing        referencing        relationships
                                                                                  83:15, 90:24,     46:1                  52:3, 163:4        18:9, 25:13
                                                                                  122:20, 130:21,   record                referring          relative
                                                                                  130:24, 145:19,   11:19, 12:19,         122:14, 126:1,     80:22
                                                                                  148:2, 155:17,    23:13, 74:20,         132:24, 135:16,    relatively
                                                                                  165:23, 168:23,   74:22, 120:9,         135:21, 162:18,    24:5, 111:18
                                                                                  186:10, 193:19,   120:14, 120:17,       162:19, 162:24,    relevance
                                                                                  205:8, 210:4      120:21, 149:5,        165:6, 179:24      131:11
                                                                                  reasonable        150:9, 162:12,        reflect            relevant
                                                                                  102:10, 102:11,   173:12, 178:6,        82:1, 212:25       50:25, 77:6,
                                                                                  102:14, 102:24,   178:9, 220:22,        reflecting         77:9, 80:12,
                                                                                  103:9, 103:20,    220:25, 222:18,       132:7, 133:16,     117:22, 121:19,
                                                                                  104:2, 105:3,     223:2, 223:17,        157:10, 157:11     131:4, 131:19,
                                                                                  105:24, 106:2,    224:5                 reflection         186:23
                                                                                  106:6, 106:7,     recorded              22:3, 31:1         reliable
                                                                                  111:9             25:7                  reflects
                                                                                  reasoning                                                  129:22, 130:9
                                                                                                    recording             31:2, 33:15,       reliably
                                                                                  189:17            8:7, 131:1            33:19, 33:23,      170:6



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          263
                                 ID#: 1898
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 265 of 281 - Page




                                                                                  relied            71:7, 72:7,           89:21, 92:1,       191:10, 191:14,
                                                                                  75:13             112:23, 138:15,       171:1, 184:24,     191:16, 191:20,
                                                                                  religious         138:18, 178:24,       189:18, 193:22,    192:1, 192:2,
                                                                                  125:7, 126:22     213:15                219:1              192:3, 192:22,
                                                                                  rely              reporter-notary       respected          192:23, 194:16,
                                                                                  19:16, 20:16,     224:1                 43:6, 74:1,        194:17, 194:19,
                                                                                  20:24, 27:11,     reporting             111:22             195:1, 198:11,
                                                                                  82:10, 83:5       13:23, 21:14,         respectful         198:15, 214:3
                                                                                  relying           70:21, 121:23,        170:24             review
                                                                                  177:22            190:8                 respects           48:5, 48:6,
                                                                                  remaining         reports               185:2              57:11, 71:2,
                                                                                  93:11             63:8, 66:6,           responding         71:4, 71:25,
                                                                                  remarks           88:13, 88:14,         141:16, 142:5,     72:19, 83:19,
                                                                                  186:9             102:5                 142:14, 142:15     83:21, 83:25,
                                                                                  remember          represent             response           94:4, 124:17,
                                                                                  8:5, 8:11,        10:5, 10:17,          140:18             124:18, 127:10,
                                                                                  36:18, 39:16,     85:8                  responses          128:15, 135:22,
                                                                                  58:6, 58:7,       representation        78:3               137:4, 167:3,
                                                                                  60:15, 60:22,     81:17                 rest               168:14, 199:2,
                                                                                  61:1, 66:8,       represented           133:17             199:19, 204:9,
                                                                                  72:6, 88:13,      78:20, 79:23,         restart            217:5, 217:18,
                                                                                  88:18, 100:8,     81:19, 102:9,         159:25, 160:22,    217:19, 217:23,
                                                                                  100:13, 108:10,   114:10                161:24, 163:18,    218:22, 218:24,
                                                                                  126:8, 127:13,    representing          164:17, 169:18,    219:24, 220:14,
                                                                                  135:23, 136:4,    9:25, 10:10,          173:10             222:9
                                                                                  136:8, 136:20,    10:19, 11:4,          restarting         reviewed
                                                                                  137:3, 180:16,    11:9                  160:3, 160:25,     67:11, 68:23,
                                                                                  182:3, 202:11     represents            163:20, 164:20,    69:3, 70:10,
                                                                                  remembered        84:11                 169:20, 185:21,    70:24, 71:15,
                                                                                  66:5, 82:5        requested             214:19             71:17, 73:3,
                                                                                  reminded          224:9                 results            73:22, 77:10,
                                                                                  66:11             research              25:6               79:13, 101:8,
                                                                                  remote            16:2, 23:23,          resume             120:3, 120:5,
                                                                                  8:2               42:2, 42:5,           35:22              123:25, 181:25,
                                                                                  remotely          42:11, 43:22          retain             204:3, 216:7
                                                                                  8:3               resistance            66:16              reviewing
                                                                                  repeatedly        191:24                retained           77:20, 78:18,
                                                                                  75:23, 126:6      resolve               57:6, 57:8,        122:6, 122:21,
                                                                                  rephrase          29:1                  75:5, 186:25       155:22
                                                                                  58:13, 102:22,    resolving             retire             reviews
                                                                                  203:8             26:24                 41:5               79:14, 126:13
                                                                                  reported          resource              retired            revise
                                                                                  1:42              43:7                  35:17, 40:25,      54:3
                                                                                  reporter          resources             41:24, 42:6        revision
                                                                                  8:13, 11:11,      25:3, 42:1,           retreat            54:5
                                                                                  11:12, 11:14,     63:19, 119:6,         114:8, 117:17,     rhythmically
                                                                                  12:12, 13:16,     119:11                118:12, 190:19,    145:3
                                                                                  13:24, 14:2,      respect               190:22, 191:4,     rich
                                                                                                    42:4, 72:12,                             77:24



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                           264
                                 ID#: 1899
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 266 of 281 - Page




                                                                                  richer            rude                  126:9, 127:21,     206:13, 206:14,
                                                                                  198:1, 198:2      112:24                134:18, 135:8,     215:17
                                                                                  right-wing        rule                  136:12, 136:22,    sang
                                                                                  104:24            64:24                 138:14, 139:16,    129:6
                                                                                  rights            ruled                 141:2, 142:19,     satellite
                                                                                  98:19, 98:24      58:23, 59:18,         156:10, 157:1,     2:21, 5:21,
                                                                                  ritchey           59:20                 157:4, 157:6,      6:2, 10:22, 11:1
                                                                                  6:13              rules                 172:9, 172:11,     satisfied
                                                                                  road              12:7, 12:14,          181:1, 182:24,     108:7
                                                                                  198:5             25:16, 110:19         184:21, 185:18,    saw
                                                                                  roberts           run                   186:4, 186:10,     67:13, 72:4,
                                                                                  2:35, 3:1, 7:3,   8:4                   187:13, 187:17,    88:1, 90:15,
                                                                                  7:10, 7:13,       russell               188:12, 188:21,    96:5, 121:23,
                                                                                  8:21, 11:15,      52:23                 189:10, 189:22,    131:22, 133:5,
                                                                                  11:20, 26:20,     rutgers               191:3, 192:11,     133:12, 138:1,
                                                                                  47:5, 223:6,      42:14, 42:24          194:17, 197:8,     141:13, 147:9,
                                                                                  223:17            ryan                  197:25, 198:12,    147:12, 147:15,
                                                                                  rolling           5:14, 10:16           202:10, 202:22,    148:11, 150:4,
                                                                                  2:32, 5:10,                             202:25, 211:19,    155:10, 155:25,
                                                                                                             S            212:4, 212:20,
                                                                                  9:13, 10:17                                                156:1, 157:24,
                                                                                                    s                     215:2, 224:6       158:12, 159:5,
                                                                                  room              4:1, 5:28, 52:8
                                                                                  19:23, 113:5,                           same               166:8, 166:11,
                                                                                                    said                  33:17, 33:25,      167:21, 176:20,
                                                                                  134:8, 173:5,     13:18, 18:24,
                                                                                  173:23, 177:8                           39:19, 47:12,      179:3, 204:7,
                                                                                                    20:4, 22:21,          50:13, 50:14,      210:1, 210:3,
                                                                                  rooms             26:3, 27:2,
                                                                                  21:19                                   70:4, 72:21,       217:5, 217:13,
                                                                                                    29:9, 30:24,          83:6, 83:13,       217:15, 218:6,
                                                                                  root              34:5, 34:10,
                                                                                  140:20                                  87:15, 90:6,       218:23, 218:24,
                                                                                                    34:17, 37:5,          105:23, 116:19,    220:12, 220:16
                                                                                  rooting           40:25, 42:19,
                                                                                  140:16                                  130:20, 138:20,    saying
                                                                                                    44:22, 50:18,         144:1, 158:15,     13:1, 19:7,
                                                                                  rough             51:16, 56:2,          169:11, 178:19,
                                                                                  134:1, 134:3                                               31:10, 33:1,
                                                                                                    59:21, 60:2,          183:23, 195:3,     43:6, 72:8,
                                                                                  roughly           61:20, 61:21,         199:20, 201:24,
                                                                                  66:3, 167:23,                                              81:22, 93:20,
                                                                                                    62:1, 66:1,           203:14, 205:18,    93:22, 96:16,
                                                                                  168:6             66:11, 67:15,         210:4, 218:25,
                                                                                  round                                                      97:16, 98:25,
                                                                                                    79:10, 82:5,          219:6              103:9, 106:11,
                                                                                  130:2, 130:7,     87:12, 88:12,         sandmann's
                                                                                  133:5                                                      106:14, 110:15,
                                                                                                    88:17, 90:2,          73:20, 82:10,      117:16, 128:13,
                                                                                  rowdy             90:12, 90:13,         84:17, 90:10,
                                                                                  139:2, 139:3,                                              128:16, 129:2,
                                                                                                    91:21, 93:6,          90:21, 164:12,     140:10, 145:5,
                                                                                  139:6, 139:16     94:3, 94:20,          168:7, 170:17,
                                                                                  rowe                                                       145:6, 150:4,
                                                                                                    96:25, 97:3,          172:6, 173:3,      168:18, 174:10,
                                                                                  73:19             97:7, 98:18,          173:17, 173:18,    175:5, 175:10,
                                                                                  rows              102:16, 108:11,       173:21, 174:3,     177:11, 181:9,
                                                                                  155:3             111:11, 114:19,       175:1, 177:13,     184:25, 198:4,
                                                                                  rpr               118:12, 118:18,       179:2, 198:12,     198:14, 205:19,
                                                                                  224:17            122:20, 124:22,       205:6, 206:5,      214:25, 218:20,
                                                                                  rubber
                                                                                  198:5


                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          265
                                 ID#: 1900
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 267 of 281 - Page




                                                                                  219:12            sec                   section            218:2, 218:5,
                                                                                  says              158:19                75:8, 120:25,      218:8, 218:22,
                                                                                  35:22, 42:4,      second                121:6, 121:9,      219:13
                                                                                  47:4, 48:9,       20:22, 23:1,          121:15, 127:5,     seeing
                                                                                  60:5, 68:17,      24:19, 25:24,         186:22, 189:17     80:20, 213:8,
                                                                                  81:4, 102:23,     25:25, 37:13,         see                213:23
                                                                                  113:25, 116:22,   50:3, 59:1,           31:18, 46:23,      seek
                                                                                  137:6, 179:14,    71:13, 75:9,          47:18, 50:10,      73:5
                                                                                  183:22, 183:24,   97:1, 114:19,         50:11, 57:25,      seem
                                                                                  190:10, 192:17,   118:11, 120:9,        58:2, 60:15,       58:8, 139:25,
                                                                                  194:4, 204:20,    120:20, 127:2,        69:11, 70:14,      197:20
                                                                                  215:1             150:14, 150:24,       73:16, 76:6,       seemed
                                                                                  scene             160:2, 160:23,        76:8, 78:9,        44:12, 119:1,
                                                                                  69:19, 130:17,    160:24, 161:25,       80:24, 81:25,      122:12, 123:16,
                                                                                  132:22, 133:9,    162:1, 162:18,        88:25, 93:2,       131:12, 134:7,
                                                                                  138:24, 147:23,   163:5, 165:16,        94:23, 95:1,       135:9, 137:9,
                                                                                  152:20, 180:3,    167:6, 169:19,        102:7, 104:14,     140:11, 140:13,
                                                                                  181:3, 181:16,    171:9, 171:12,        105:5, 105:6,      145:19, 152:25,
                                                                                  182:1             174:24, 176:22,       110:17, 126:5,     186:8, 186:17,
                                                                                  scenes            187:7, 194:12,        130:14, 133:13,    191:23, 205:24
                                                                                  150:5             194:15, 198:21,       135:3, 137:13,     seems
                                                                                  scholar           199:1, 204:20,        148:14, 148:18,    61:14, 84:5,
                                                                                  42:11             205:4, 215:4,         149:13, 150:21,    84:7, 95:2,
                                                                                  school            215:20, 215:21,       151:3, 152:19,     118:20, 127:17,
                                                                                  14:11, 14:13,     216:16, 219:14,       154:1, 154:6,      127:23, 128:2,
                                                                                  14:14, 14:17,     222:3                 154:11, 156:15,    199:4, 199:21,
                                                                                  15:4, 16:21,      secondly              159:1, 159:23,     219:1, 219:4,
                                                                                  39:19, 83:11,     130:16, 131:20,       164:2, 165:5,      219:12, 219:17,
                                                                                  127:19, 128:4,    131:21, 197:10        165:22, 166:16,    219:19, 219:25
                                                                                  137:7, 137:16     seconds               166:18, 167:4,     seen
                                                                                  schoolmates       150:19, 158:24,       167:25, 168:10,    66:5, 72:9,
                                                                                  164:16            159:20, 159:22,       168:13, 168:16,    86:12, 86:13,
                                                                                  science           160:4, 160:7,         169:4, 169:8,      161:11, 161:13,
                                                                                  35:8, 36:19,      160:9, 161:1,         169:16, 171:7,     210:2, 215:13,
                                                                                  37:1, 42:16,      161:4, 162:2,         171:19, 173:2,     215:17
                                                                                  42:17, 42:25,     162:13, 163:21,       173:9, 173:18,     sees
                                                                                  53:24, 54:5,      163:24, 164:21,       174:1, 175:16,     165:9
                                                                                  107:6, 110:24     164:24, 165:2,        175:19, 176:19,    segment
                                                                                  scientific        165:9, 169:19,        176:22, 177:18,    71:16, 72:14
                                                                                  17:17             169:21, 169:24,       177:22, 178:20,    segments
                                                                                  scientists        171:14, 171:17,       179:2, 179:19,     71:3, 75:23,
                                                                                  19:18, 42:23,     173:13, 178:23,       199:15, 200:19,    77:2, 77:6,
                                                                                  53:24             179:1, 179:4,         201:17, 203:20,    77:9, 77:16
                                                                                  scrabble          183:17, 211:3,        204:12, 205:21,    select
                                                                                  44:20             214:10, 214:13,       206:5, 206:8,      195:18
                                                                                  screen            214:20                206:13, 206:15,    selection
                                                                                  76:12, 173:4      secretary             206:16, 207:3,     50:3, 50:12
                                                                                  seated            70:18                 207:4, 207:20,     seller
                                                                                  120:9                                                      16:18



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          266
                                 ID#: 1901
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 268 of 281 - Page




                                                                                  semantic          219:15                shirt              160:13, 174:13
                                                                                  26:2              sentences             137:8, 173:19      sides
                                                                                  semanticist       21:23, 25:18,         shoeboxes          95:22, 97:13
                                                                                  19:13, 37:5,      33:18, 119:8,         21:18, 21:19       siegel
                                                                                  108:11            190:2, 190:5,         shohl              11:3
                                                                                  semantics         190:14, 193:20,       60:9               signature-p1kal
                                                                                  17:11, 18:17,     193:23, 198:23,       shook              224:15
                                                                                  18:18, 18:19,     198:25                5:13, 10:14,       significance
                                                                                  18:21, 19:1,      separate              10:15              150:2, 170:21,
                                                                                  19:6, 19:11,      68:7, 69:14           short              170:22
                                                                                  19:12, 19:16,     september             72:8, 129:14,      signing
                                                                                  24:21, 35:24,     65:16, 65:17,         218:17, 220:17     224:8
                                                                                  50:4              66:21, 67:8,          shorthand          similar
                                                                                  semester          100:18, 221:21,       224:1              131:24
                                                                                  41:8              221:22, 222:5         shot               simple
                                                                                  seminar           serious               133:12, 157:2,     51:7, 77:21,
                                                                                  36:14             214:24                157:18             101:7, 113:23,
                                                                                  seminars          serve                 should             197:20
                                                                                  35:23, 43:11      41:25                 8:9, 34:21,        simply
                                                                                  sense             set                   46:18, 74:12,      96:16, 180:24,
                                                                                  54:4, 58:16,      25:16, 69:9,          107:14, 107:15,    216:7
                                                                                  97:25, 117:23,    105:4, 108:25,        114:22, 116:22,    since
                                                                                  118:5, 118:15,    132:22, 224:14        127:25, 141:10,    23:3, 48:24
                                                                                  118:16, 119:2,    setting               141:11, 153:3,     singing
                                                                                  139:20, 176:4,    92:20                 193:20, 210:24     129:10, 129:17
                                                                                  177:9             seven                 shoulder           single
                                                                                  senses            67:16, 100:7          173:3              51:3, 204:3,
                                                                                  117:21, 195:15    several               shouldn't          218:15
                                                                                  sensible          20:1, 29:22,          67:4, 107:15       sitting
                                                                                  23:18             29:23, 30:4,          show               39:11, 72:11,
                                                                                  sensitive         36:21, 47:20,         107:1, 146:6,      73:2, 73:11,
                                                                                  29:1, 41:16       63:2, 73:25,          147:24, 148:7      127:12, 136:25
                                                                                  sensors           75:3, 108:5,          showed             situation
                                                                                  22:1              123:10, 174:8,        106:25             34:3, 75:15,
                                                                                  sent              174:16, 180:5         shown              75:22, 77:12,
                                                                                  70:19, 72:3       shakes                115:6, 195:7       78:7, 78:9,
                                                                                  sentence          183:25                shows              78:12, 79:19,
                                                                                  19:25, 20:15,     share                 178:19, 218:18     80:10, 80:11,
                                                                                  22:23, 26:5,      28:24, 34:15          shy                81:12, 81:16,
                                                                                  26:8, 26:13,      shared                13:22              81:18, 82:24,
                                                                                  32:18, 33:3,      34:18                 sic                84:11, 90:24,
                                                                                  33:4, 51:3,       sharing               105:3              92:21, 93:12,
                                                                                  51:6, 108:2,      185:2                 side               95:13, 97:10,
                                                                                  118:25, 127:25,   sheet                 13:23, 60:19,      108:1, 108:2,
                                                                                  133:22, 135:1,    127:21, 154:7         60:25, 61:5,       114:10, 119:25,
                                                                                  135:2, 139:1,     shelf                 61:6, 61:7,        135:15, 146:8,
                                                                                  139:4, 190:20,    112:8, 112:10,        61:8, 61:23,       170:24, 192:2,
                                                                                  217:9, 219:11,    112:14                62:2, 148:5,       192:3, 192:10,




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          267
                                 ID#: 1902
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 269 of 281 - Page




                                                                                  192:23, 198:9,    smoothly              191:11, 222:8,     192:10, 192:15
                                                                                  200:15, 201:15,   8:4                   222:16             soon
                                                                                  203:3             snippets              somebody           79:13, 110:1
                                                                                  six               69:13, 70:4           30:15, 86:23,      sophisticated
                                                                                  125:16, 142:5,    soap                  93:22, 132:17,     25:7
                                                                                  142:15, 221:12    125:13                135:12, 136:9,     sorry
                                                                                  sizes             sociology             136:12, 152:3,     9:18, 10:7,
                                                                                  132:22            37:2                  152:6, 187:13,     19:22, 28:3,
                                                                                  skewed            socrates              207:19, 212:18,    28:7, 31:7,
                                                                                  80:6              6:19                  215:1              40:2, 40:10,
                                                                                  sleep             software              someone            47:6, 49:25,
                                                                                  91:19             76:17                 16:17, 63:23,      50:14, 58:1,
                                                                                  slide             solan                 85:12, 86:14,      58:15, 60:5,
                                                                                  216:22, 217:14    39:13, 39:14          86:24, 92:11,      61:1, 62:8,
                                                                                  slided            solely                92:13, 92:22,      63:6, 65:1,
                                                                                  216:20, 216:21    63:17, 64:13,         93:23, 98:23,      66:20, 66:25,
                                                                                  slightly          79:7, 79:12,          104:18, 128:8,     68:10, 72:2,
                                                                                  98:6, 165:13,     79:16, 80:2,          128:14, 142:24,    87:5, 112:2,
                                                                                  168:8, 168:22,    83:20, 88:24,         184:23, 187:14,    112:20, 120:20,
                                                                                  169:2, 186:13     94:13                 195:2, 212:13,     124:15, 127:10,
                                                                                  slogan            some                  212:16             155:14, 162:23,
                                                                                  60:12, 60:18,     16:12, 22:2,          someone's          177:1, 178:24,
                                                                                  60:24, 61:2,      38:18, 38:21,         80:9, 124:21       211:1, 212:3,
                                                                                  61:3              38:23, 45:16,         something          213:15, 214:5,
                                                                                  slot              52:1, 55:17,          20:5, 20:18,       217:22, 219:13,
                                                                                  116:19            63:10, 69:9,          33:24, 43:25,      219:14
                                                                                  slower            69:14, 69:15,         44:9, 45:15,       sort
                                                                                  76:18             77:9, 93:6,           55:7, 58:8,        25:20, 38:24,
                                                                                  slowly            93:8, 93:14,          60:25, 91:15,      44:1, 46:22,
                                                                                  8:5               93:16, 93:20,         91:22, 107:14,     88:20, 125:1,
                                                                                  slur              97:12, 98:2,          115:18, 116:4,     140:1, 140:20,
                                                                                  55:25, 56:5,      98:21, 101:12,        116:15, 122:4,     164:8, 176:12,
                                                                                  56:7              103:10, 111:3,        136:13, 137:22,    177:20
                                                                                  slurs             113:20, 115:6,        138:9, 138:21,     sound
                                                                                  55:1, 55:12,      117:20, 123:23,       183:20, 185:17,    13:23, 18:1,
                                                                                  55:15, 55:18,     123:24, 124:8,        187:13, 198:7,     19:1, 24:2,
                                                                                  55:21, 77:25,     125:1, 126:2,         202:8, 205:5,      110:4, 110:5,
                                                                                  126:19, 135:20,   127:1, 127:21,        212:4, 215:1,      144:22, 144:25
                                                                                  135:23, 198:3     132:5, 136:1,         221:13             sounds
                                                                                  small             146:14, 151:9,        sometimes          19:21, 23:19,
                                                                                  148:18, 181:24,   153:5, 155:6,         23:6, 37:3,        24:1, 26:4,
                                                                                  182:8             155:7, 155:12,        51:4, 56:4,        49:21, 145:2
                                                                                  smaller           155:17, 156:3,        122:17, 129:7,     sources
                                                                                  131:12            158:10, 161:6,        211:23             21:13, 115:12,
                                                                                  smile             165:23, 168:23,       somewhat           128:12
                                                                                  164:8             175:23, 179:5,        218:16             south
                                                                                  smirk             182:1, 184:6,         song               5:6, 14:9,
                                                                                  170:3, 170:5      186:17, 189:9,        144:13, 144:19,    157:13, 158:5,




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          268
                                 ID#: 1903
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 270 of 281 - Page




                                                                                  165:3, 165:11,    50:24, 86:24,         45:22, 45:25,      137:25, 139:6,
                                                                                  165:18, 167:23,   91:3, 110:10,         113:8, 134:20      140:4, 161:11
                                                                                  168:4, 168:6,     181:5                 specialities       springfield
                                                                                  168:22            spears                52:2               21:10
                                                                                  sovereign         5:4, 7:4, 8:23,       specialize         square
                                                                                  60:23, 60:24,     9:18, 10:8,           19:15, 28:11       126:20
                                                                                  61:3, 61:8,       11:7, 11:8,           specialized        st
                                                                                  61:24             11:17, 12:13,         134:13             222:4, 222:6
                                                                                  space             13:19, 14:3,          specific           stairs
                                                                                  156:8, 174:10,    28:8, 46:8,           39:23, 40:6,       171:21, 192:13,
                                                                                  175:2, 175:5,     74:15, 74:21,         54:18, 64:6,       192:23, 200:18,
                                                                                  175:8, 205:17,    85:10, 85:17,         72:15, 73:12,      205:11, 208:2,
                                                                                  206:5, 206:13,    85:25, 86:11,         90:15, 108:6,      208:7
                                                                                  206:14, 209:12    94:11, 95:11,         145:2, 169:15,     stake
                                                                                  sparks            96:14, 96:23,         208:24             80:7
                                                                                  64:5              102:19, 102:21,       specifically       stance
                                                                                  speak             120:8, 120:18,        50:24, 75:23,      52:25
                                                                                  8:5, 48:16,       126:24, 129:1,        127:9, 207:2       standard
                                                                                  48:18, 48:20,     138:12, 138:19,       spectators         38:24
                                                                                  49:16, 103:12,    141:25, 142:4,        139:2, 139:6,      standing
                                                                                  107:14, 111:15    142:8, 142:12,        139:16             61:23, 95:18,
                                                                                  speaker           143:3, 149:21,        speculating        125:16, 130:19,
                                                                                  49:18, 79:17,     150:1, 150:20,        88:23              155:9, 166:2,
                                                                                  91:24, 95:7,      158:17, 158:25,       speculation        173:17, 194:3,
                                                                                  103:3, 103:15,    159:21, 159:25,       94:9               198:12, 204:1,
                                                                                  103:17, 104:1,    160:8, 160:22,        spelled            204:4, 204:6,
                                                                                  105:6, 105:25,    161:5, 161:24,        11:21              204:13, 206:3,
                                                                                  106:2, 106:7,     162:8, 162:16,        spent              206:4, 206:9,
                                                                                  106:12, 106:15,   163:7, 163:17,        76:20, 76:21,      207:5, 207:6
                                                                                  106:20, 109:15,   163:25, 164:17,       77:1, 77:3,        standoff
                                                                                  109:18, 119:3,    164:25, 169:10,       101:16, 197:16     213:1
                                                                                  188:23, 196:11,   169:18, 169:25,       spirit             stanford
                                                                                  200:8, 201:11,    170:7, 171:18,        186:15             35:6, 36:20
                                                                                  201:20, 202:2,    173:10, 173:14,       spoil              start
                                                                                  202:4             175:24, 177:12,                          110:10, 132:16,
                                                                                                    178:1, 178:4,         44:19
                                                                                  speakers                                spoke              150:13, 158:18,
                                                                                  21:21, 23:9,      178:10, 179:7,                           164:18, 171:11,
                                                                                                    182:21, 183:11,       65:23, 144:1
                                                                                  23:18, 23:24,                           spoken             173:15, 190:20,
                                                                                  24:9, 32:11,      183:18, 185:19,                          196:24
                                                                                                    186:1, 202:18,        24:8, 30:14,
                                                                                  38:19, 91:16,                           51:6, 83:15,       started
                                                                                  103:25, 106:9,    203:5, 205:3,
                                                                                                    210:19, 211:22,       110:7, 144:22      55:8, 67:1,
                                                                                  107:9, 111:1,                           sporting           100:13, 114:1,
                                                                                  114:17, 115:1,    212:6, 212:12,
                                                                                                    214:14, 214:22,       137:16, 139:9,     190:16, 192:17,
                                                                                  115:10, 115:13,                         139:23, 140:22,    193:24, 215:1,
                                                                                  115:15            219:11, 221:1,
                                                                                                    223:1, 223:13         141:4, 141:9,      222:11
                                                                                  speaking                                161:14             starting
                                                                                  8:14, 8:17,       special
                                                                                                    18:4, 18:7,           sports             25:9, 25:11,
                                                                                  29:6, 48:11,                            137:9, 137:23,     42:11, 47:21,




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          269
                                 ID#: 1904
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 271 of 281 - Page




                                                                                  150:16, 158:20,   139:11                204:6, 209:17      strike
                                                                                  159:16, 162:2,    stating               sticking           41:20, 68:22,
                                                                                  171:13, 183:13,   12:15, 135:6,         59:8               79:25, 107:3,
                                                                                  210:15, 211:14,   145:17, 163:3,        still              116:9, 137:2,
                                                                                  212:9, 214:9      200:21                17:9, 17:13,       170:16, 189:24,
                                                                                  starts            status                41:25, 42:4,       208:3, 209:19
                                                                                  46:22, 133:19,    41:3                  43:10, 53:1,       strong
                                                                                  179:14, 179:20,   statute               165:14, 173:4,     104:23
                                                                                  182:12            63:15                 210:8              structure
                                                                                  state             statutes              stipulated         20:3, 20:9,
                                                                                  3:23, 6:6,        63:12                 149:6, 150:10      20:25, 23:2,
                                                                                  10:5, 11:18,      statutory             stipulation        23:14, 23:25,
                                                                                  15:23, 35:13,     64:17                 11:14              24:1, 24:16,
                                                                                  35:16, 35:20,     stay                  stone              25:3, 26:11,
                                                                                  75:4, 75:12,      120:9, 194:6          2:32, 5:10,        32:18, 51:20,
                                                                                  80:23, 116:8,     stayed                9:13, 10:17        117:3, 117:7,
                                                                                  116:14, 132:23,   93:9, 93:19,          stood              117:9
                                                                                  133:25, 135:5,    210:7, 219:17         123:22, 154:13,    structures
                                                                                  144:11, 145:14,   staying               190:17, 191:19,    23:6, 24:10,
                                                                                  149:23, 154:1,    194:8                 194:1, 205:19,     25:2, 25:14
                                                                                  171:19, 179:9,    stays                 210:8, 218:2       student
                                                                                  184:18, 185:16,   179:4                 stop               173:17, 174:12,
                                                                                  200:13, 203:23,   stenographically      20:22, 37:12,      175:1, 175:9,
                                                                                  216:12, 217:5     224:6                 44:10, 63:19,      210:21, 211:13,
                                                                                  stated            step                  75:9, 150:13,      213:25, 214:15
                                                                                  150:6, 203:25     154:11, 205:10        162:5, 165:16,     students
                                                                                  statement         steps                 219:13             38:13, 38:16,
                                                                                  73:20, 80:13,     137:7, 152:21,        stopped            43:8, 43:12,
                                                                                  84:7, 95:6,       154:3, 154:8,         76:6, 130:13,      53:21, 55:9,
                                                                                  104:21, 108:21,   154:21, 155:7,        131:18             83:11, 93:2,
                                                                                  126:21, 149:24,   155:20, 157:12,       stopping           93:6, 93:8,
                                                                                  166:24, 176:15,   157:21, 157:23,       176:12, 176:13,    123:18, 131:6,
                                                                                  184:13, 189:19,   158:6, 158:9,         177:20             131:10, 143:8,
                                                                                  193:11, 193:12,   165:10, 166:6,        story              152:10, 154:13,
                                                                                  197:5             166:12, 166:16,       16:11, 45:17       155:4, 156:3,
                                                                                  statements        166:19, 166:21,       straight           156:9, 161:6,
                                                                                  34:3, 48:2,       167:5, 167:8,         194:2, 220:6       171:21, 174:11,
                                                                                  79:3, 79:7,       167:23, 168:2,        straightforward    209:7, 209:18,
                                                                                  79:16, 79:18,     169:1, 172:4,         78:2               209:20, 209:24,
                                                                                  79:22, 79:24,     172:7, 173:24,        stray              212:20, 213:16
                                                                                  81:4, 82:11,      173:25, 174:8,        123:10, 124:10     studied
                                                                                  83:5, 94:20,      174:16, 174:19,       streaming          15:7, 15:10,
                                                                                  94:25, 103:22,    175:6, 175:14,        45:13, 45:18       15:12, 16:1,
                                                                                  120:5, 176:11,    175:19, 175:20,       street             17:7, 21:7,
                                                                                  177:19, 187:22,   175:21, 176:17,       4:15, 4:23,        36:25, 37:21,
                                                                                  187:24, 189:12,   176:18, 177:4,        5:16, 5:25, 6:6,   37:23, 88:3,
                                                                                  212:19, 213:16    179:3, 182:11,        13:7               151:9
                                                                                  states            192:5, 193:25,        strict             studies
                                                                                  1:1, 70:12,                             59:7               19:12, 110:24



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                      Transcript of Craige Roberts, Ph.D.
                                                                                                       Conducted on December 7, 2021                          270
                                 ID#: 1905
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 272 of 281 - Page




                                                                                  study            substantially         58:15, 66:25,      25:8
                                                                                  14:22, 15:11,    187:18, 187:23        68:8, 74:14,       syntax
                                                                                  16:7, 16:25,     substantive           75:4, 93:23,       18:1, 20:11,
                                                                                  17:10, 17:11,    189:14                96:14, 97:9,       23:2, 24:17,
                                                                                  17:17, 17:20,    substitute            103:13, 106:1,     25:6, 35:24,
                                                                                  18:1, 18:15,     85:18                 114:11, 115:4,     35:25, 109:8,
                                                                                  18:19, 19:1,     sue                   117:13, 123:7,     118:17, 196:25
                                                                                  19:2, 19:3,      29:16, 29:18,         125:18, 127:1,     systematic
                                                                                  19:8, 19:20,     29:20, 29:21,         128:23, 129:2,     17:1
                                                                                  20:15, 21:7,     29:25, 30:1,          131:2, 147:7,               T
                                                                                  21:22, 23:5,     30:3, 30:6,           147:9, 147:14,     table
                                                                                  25:6, 26:15,     30:24, 31:6,          149:19, 150:23,    52:20, 206:16
                                                                                  26:21, 28:14,    31:7, 31:9,           159:6, 173:7,      tactic
                                                                                  35:5, 35:8,      31:10, 31:14,         173:8, 175:25,
                                                                                                                         178:4, 181:11,     23:6
                                                                                  35:9, 36:2,      32:9, 33:12,                             take
                                                                                  36:21, 37:5,     33:19                 194:14, 195:5,
                                                                                  42:18, 104:9,                          195:8, 196:5,      22:4, 24:10,
                                                                                                   sufficient                               27:16, 34:16,
                                                                                  110:25, 111:1,   208:19                202:18, 211:18,
                                                                                  115:20                                 211:20, 219:11,    38:3, 47:23,
                                                                                                   suggest                                  49:16, 74:12,
                                                                                  studying         84:25, 124:24         221:13
                                                                                                                         surmise            82:17, 83:9,
                                                                                  21:12, 23:2,     suggested                                95:8, 105:7,
                                                                                  24:7, 24:9,      208:6                 143:20, 153:24
                                                                                                                         surprise           106:3, 106:17,
                                                                                  26:6, 110:20     suggesting                               109:16, 109:21,
                                                                                  stuff            181:5, 181:8          144:15, 144:18     114:12, 114:24,
                                                                                  99:2             suggests              surrounded         117:22, 134:13,
                                                                                  style            196:15                176:1, 176:4,      152:12, 169:17,
                                                                                  180:14           suit                  176:5, 176:7,      175:22, 178:2,
                                                                                  su               57:7                  214:15             178:18, 186:2,
                                                                                  215:1            suitable              suspect            192:11, 192:14,
                                                                                  subfield         115:24                58:6, 153:14       192:22, 193:16,
                                                                                  18:23            suite                 swear              211:7, 220:17
                                                                                  subfields        4:7, 4:16,            11:12              taken
                                                                                  19:10            4:23, 5:6, 6:14       sworn              58:8, 74:18,
                                                                                  subject          summary               11:16              120:15, 132:4,
                                                                                  17:25, 20:6,     105:9, 105:10,        synonymous         133:6, 178:7,
                                                                                  52:15, 55:15,    154:7, 188:8          61:4, 61:9,        220:23, 224:3,
                                                                                  203:1            support               62:5, 62:6         224:6
                                                                                  subscribe        114:12, 148:12        syntactic          takes
                                                                                  45:6, 45:9       supports              20:3, 20:9,        50:23
                                                                                  subsequent       176:11, 177:19        20:25, 23:1,       taking
                                                                                  79:6, 79:22,     suppose               23:14, 24:1,       10:1, 15:25,
                                                                                  126:12           29:22                 24:15, 25:2,       89:23, 90:7,
                                                                                  subsequently     sure                  25:3, 25:14,       91:24, 112:14,
                                                                                  72:20, 77:15,    11:23, 13:6,          26:11, 51:20,      151:19, 158:3,
                                                                                  79:2             13:21, 29:14,         116:19, 117:3,     180:4
                                                                                  substantial      33:9, 40:4,           117:7, 117:9       talk
                                                                                  187:8, 187:11,   40:9, 47:2,           syntacticians      8:6, 25:3,
                                                                                  189:9, 189:12    52:17, 58:13,         23:15, 24:6,




                                                                                                                PLANET DEPOS
                                                                                                   888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          271
                                 ID#: 1906
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 273 of 281 - Page




                                                                                  25:13, 28:9,      teach                 197:9, 210:6,      57:19, 58:23,
                                                                                  38:17, 54:19,     36:13, 40:15,         211:12, 212:3,     59:5, 59:10,
                                                                                  54:25, 64:5,      41:9, 41:10,          212:5, 214:24,     59:13, 59:17,
                                                                                  90:25, 94:4,      109:23                215:10, 218:10     59:19, 59:22,
                                                                                  97:7, 102:10,     teaching              telling            59:24, 63:11,
                                                                                  112:21, 122:4,    42:6, 42:8,           107:13, 137:2,     64:2, 80:22,
                                                                                  146:9, 148:8,     42:9, 43:15,          150:6, 153:23,     82:23, 85:16,
                                                                                  156:11, 156:12,   52:5, 63:24,          180:21             224:5, 224:6
                                                                                  162:17, 171:9,    108:13                tells              texts
                                                                                  188:20, 188:24,   team                  33:20, 80:6        23:8
                                                                                  189:7, 203:22,    139:13, 139:17,       ten                th
                                                                                  213:20            140:5, 140:6,         100:7, 178:3,      25:10, 46:12,
                                                                                  talked            140:14, 140:17,       220:18             52:24, 65:13,
                                                                                  22:9, 25:1,       140:21                tend               69:20, 74:4,
                                                                                  27:12, 62:14,     technical             196:10             75:1, 222:11,
                                                                                  65:13, 70:20,     28:20, 51:25,         tense              224:14
                                                                                  77:24, 82:19,     54:17, 58:15          104:8, 110:13,     thank
                                                                                  86:2, 92:10,      technical-related     110:14, 191:6      8:2, 8:19,
                                                                                  99:10, 106:6,     8:18                  term               12:14, 12:15,
                                                                                  114:14, 116:9,    technician            21:12, 22:5,       24:24, 27:4,
                                                                                  117:2, 117:3,     6:19, 8:2             41:7, 54:18,       28:9, 54:22,
                                                                                  172:9, 178:11,    techniques            56:4, 98:7,        58:18, 73:1,
                                                                                  178:14, 209:8,    119:7                 116:18, 116:19     93:21, 120:19,
                                                                                  212:16, 217:9,    ted                   terms              138:18, 142:17,
                                                                                  221:15            1:8, 1:18,            17:18, 17:19,      152:13, 219:16,
                                                                                  talking           1:31, 2:5, 2:15,      27:4, 55:16,       220:20, 223:11,
                                                                                  20:18, 34:23,     2:27                  59:9, 62:6,        223:14, 223:15
                                                                                  47:6, 47:9,       teenagers             78:1, 81:25,       thanks
                                                                                  50:19, 56:7,      142:2, 142:14,        98:13, 99:11,      53:18, 74:15,
                                                                                  64:2, 68:3,       142:15                121:18, 126:18,    186:15
                                                                                  68:8, 68:10,      telephone             167:6, 188:10,     theater
                                                                                  69:25, 89:8,      19:22, 67:19,         213:4, 216:18      15:1
                                                                                  89:11, 90:12,     67:23                 terre              themself
                                                                                  91:18, 106:15,    television            13:14, 14:1,       10:4
                                                                                  114:4, 114:5,     21:15, 139:9,         14:7, 14:8,        themselves
                                                                                  130:6, 156:13,    173:13                14:11              34:6, 134:19
                                                                                  162:7, 168:19,    tell                  testified          theories
                                                                                  189:2, 189:3,     13:25, 17:15,         11:16, 56:15,      52:14
                                                                                  214:4             19:2, 49:23,          56:20, 59:4,       theorist
                                                                                  talks             53:11, 61:14,         60:6, 61:2,        52:18
                                                                                  54:10             63:7, 83:19,          61:9, 156:1,       theory
                                                                                  tape              108:4, 122:15,        208:3              28:19, 28:21,
                                                                                  122:21, 122:22,   123:5, 124:20,        testify            30:25, 41:18,
                                                                                  123:13            127:11, 127:12,       65:4, 91:5         52:6, 52:11,
                                                                                  taught            129:15, 130:21,       testifying         52:13, 52:19,
                                                                                  35:19, 35:22,     134:8, 149:3,         59:11, 66:13,      53:12, 53:14,
                                                                                  36:14, 38:6,      149:11, 160:18,       80:23              53:23, 54:4,
                                                                                  39:21, 41:11      164:9, 172:15,        testimony          54:6, 54:18,
                                                                                                                          57:12, 57:16,



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          272
                                 ID#: 1907
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 274 of 281 - Page




                                                                                  54:21             thought               17:8, 17:12,       188:21, 200:25,
                                                                                  thereafter        16:15, 37:18,         39:22, 43:11,      221:14
                                                                                  224:7             37:19, 37:22,         49:13, 59:6,       today's
                                                                                  therefore         43:24, 61:22,         67:3, 68:11,       9:15, 9:22
                                                                                  110:25, 192:21    67:12, 96:14,         74:17, 74:20,      todd
                                                                                  they'd            100:20, 102:8,        76:2, 76:20,       4:4, 5:15,
                                                                                  80:6              113:18, 113:21,       76:22, 77:12,      10:15, 10:17,
                                                                                  thing             114:8, 118:7,         80:19, 82:15,      11:5, 65:19,
                                                                                  24:19, 25:20,     131:7, 140:15,        87:11, 87:23,      67:11, 102:20
                                                                                  32:12, 62:12,     151:12, 184:6,        98:22, 99:3,       together
                                                                                  63:24, 87:15,     185:9, 185:14,        110:8, 111:5,      20:11, 22:8,
                                                                                  102:6, 109:24,    192:4, 193:13,        114:1, 120:14,     22:11, 36:3,
                                                                                  110:22, 138:20,   195:1, 195:23,        120:17, 123:23,    36:20, 125:16,
                                                                                  167:7, 167:9,     197:21, 212:25,       132:3, 132:12,     147:16, 182:9
                                                                                  177:25, 180:19,   213:4                 135:24, 140:12,    told
                                                                                  184:21, 192:4,    three                 154:10, 164:12,    16:19, 52:4,
                                                                                  193:13, 197:12,   13:11, 22:22,         167:4, 169:11,     53:4, 54:14,
                                                                                  198:10            74:1, 74:6,           172:16, 178:6,     62:8, 64:18,
                                                                                  things            77:1, 77:4,           178:9, 204:5,      66:2, 66:3,
                                                                                  26:17, 27:2,      97:11, 111:24,        204:13, 211:5,     77:22, 92:15,
                                                                                  27:5, 36:21,      112:3, 117:20,        211:12, 212:21,    101:7, 101:20,
                                                                                  37:18, 42:18,     122:10, 123:17,       213:18, 213:23,    102:4, 132:3,
                                                                                  43:17, 44:2,      131:21, 142:21,       214:23, 215:18,    139:22, 154:15,
                                                                                  44:16, 45:3,      154:21, 172:6,        218:13, 220:22,    188:16, 190:23,
                                                                                  49:24, 55:17,     173:24, 191:15,       220:25, 221:3,     194:25
                                                                                  76:7, 77:14,      197:2                 223:14             tomahawk
                                                                                  78:3, 86:20,      through               timeframe          161:7, 161:9,
                                                                                  92:11, 98:24,     1:7, 1:17,            49:11              161:19
                                                                                  99:8, 102:8,      1:30, 2:4, 2:14,      times              tomorrow
                                                                                  103:19, 105:1,    2:26, 43:15,          1:23, 1:24,        41:16
                                                                                  108:23, 109:5,    43:23, 44:17,         6:10, 6:11, 9:4,   took
                                                                                  110:11, 110:23,   46:1, 64:8,           10:10, 45:7,       15:18, 16:12,
                                                                                  113:25, 114:8,    69:22, 72:18,         45:14, 75:19,      67:16, 68:4,
                                                                                  146:9, 146:18,    75:10, 79:12,         76:5, 107:12,      81:10, 96:20,
                                                                                  150:6, 184:16,    86:3, 86:25,          108:6, 122:19      118:14, 119:8,
                                                                                  193:20, 197:1     92:6, 101:17,         timing             135:9, 137:10,
                                                                                  thinking          111:24, 149:16,       120:10             143:21, 157:18,
                                                                                  85:4, 113:24,     156:8, 156:18,        title              165:13, 194:19
                                                                                  113:25, 184:16,   209:23                151:16             tool
                                                                                  184:17, 186:20,   throughout            titled             24:6, 25:25
                                                                                  190:9, 193:15,    181:2, 218:3,         120:25, 223:5      tools
                                                                                  193:18            218:13, 218:19        today              23:21, 25:23,
                                                                                  third             till                  9:24, 10:16,       37:6, 39:1
                                                                                  26:2, 51:10,      110:8                 10:23, 11:2,       top
                                                                                  51:18, 132:1,     time                  21:15, 72:11,      17:9, 17:13,
                                                                                  133:21            8:17, 9:23,           73:2, 73:11,       73:24, 192:13,
                                                                                  thoroughly        12:16, 15:12,         127:12, 127:21,    223:5
                                                                                  78:14             15:25, 16:13,         137:1, 154:8,      tore
                                                                                                                                             137:8



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          273
                                 ID#: 1908
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 275 of 281 - Page




                                                                                  total             traurig               78:10, 80:12,      217:7, 217:12
                                                                                  77:3, 222:10      6:5, 10:25            87:7, 87:25,       turning
                                                                                  touched           treat                 88:1, 94:24,       168:24
                                                                                  17:1              20:16                 101:21, 107:6,     turns
                                                                                  tourists          tremaine              107:23, 107:25,    154:9, 160:10,
                                                                                  122:25            4:14                  108:3, 108:4,      165:15, 166:22,
                                                                                  toward            trial                 108:6, 108:21,     168:2, 168:9,
                                                                                  141:19, 166:8,    65:4, 197:8           108:22, 109:1,     168:20, 168:21,
                                                                                  166:16, 168:1,    tribe                 117:10, 119:7,     168:23, 169:2,
                                                                                  168:25, 180:6     88:16, 143:23,        122:3, 187:8,      182:12
                                                                                  towards           144:12                187:10, 187:12,    tv
                                                                                  15:15, 54:25,     tried                 188:17, 188:20,    45:20, 71:2
                                                                                  135:24, 141:20,   38:17, 38:25,         189:1, 189:2,      twice
                                                                                  145:16, 160:13,   75:19, 76:6,          189:9, 189:12,     134:7
                                                                                  166:14, 166:22,   77:22, 89:12,         190:1, 190:5,      two
                                                                                  168:1, 193:24     134:6                 197:11, 197:24,    25:2, 29:19,
                                                                                  track             tries                 198:2, 198:4,      32:23, 35:5,
                                                                                  57:24             115:11                199:14, 199:17,    40:18, 66:10,
                                                                                  trademark         triple                216:10             75:6, 76:14,
                                                                                  60:11             142:7, 142:10,        truthfully         77:1, 77:4,
                                                                                  tradition         142:17                108:2              82:9, 83:3,
                                                                                  59:7              true                  try                94:20, 94:25,
                                                                                  trailed           29:16, 29:25,         33:10, 58:16,      95:18, 96:6,
                                                                                  152:6             31:23, 33:16,         58:17, 187:25,     97:11, 98:9,
                                                                                  trailing          33:21, 33:24,         197:22, 209:22     99:23, 108:19,
                                                                                  145:24            34:1, 55:20,          trying             110:10, 117:20,
                                                                                  training          61:25, 62:3,          12:25, 37:15,      130:12, 154:21,
                                                                                  15:14, 15:24,     67:13, 78:2,          40:4, 40:10,       158:3, 165:10,
                                                                                  43:22, 44:1,      78:8, 78:12,          78:5, 78:22,       176:14, 182:6,
                                                                                  44:14, 134:14,    79:18, 79:24,         81:19, 84:25,      187:2, 190:14,
                                                                                  134:16, 211:8     81:7, 82:24,          85:18, 86:15,      193:19, 196:4,
                                                                                  trajectory        84:18, 92:1,          86:24, 94:12,      198:17, 199:3,
                                                                                  208:6             94:25, 95:2,          112:24, 132:20,    200:13, 202:24,
                                                                                  transcript        100:21, 101:23,       141:11, 151:17,    203:1, 215:24,
                                                                                  82:11, 224:4      102:8, 108:8,         153:10, 157:14,    216:2, 223:3,
                                                                                  transcription     108:24, 121:21,       208:7, 212:24,     223:4
                                                                                                    187:17, 187:18,       219:9              type
                                                                                  73:19                                   tuesday
                                                                                  transitive        187:20, 187:23,                          18:15, 21:2,
                                                                                                    188:1, 189:19,        2:37, 4:2          32:14, 76:12,
                                                                                  118:24                                  turk
                                                                                  translate         191:9, 191:12,                           116:20
                                                                                                    198:6, 198:14,        23:22, 26:3        types
                                                                                  108:13, 108:18,                         turn
                                                                                  108:20            199:4, 199:18,                           18:3, 27:12
                                                                                  translating       199:21, 206:2,        154:20, 167:25,    typewriting
                                                                                                    216:9, 224:4          193:24             224:7
                                                                                  108:19                                  turned
                                                                                  translation       truth                                    typical
                                                                                                    33:21, 55:19,         155:18, 165:23,    144:2
                                                                                  108:17                                  167:15, 187:15,
                                                                                  translations      56:8, 61:18,                             typically
                                                                                                    62:5, 77:22,          194:2, 204:15,     86:2, 103:24,
                                                                                  48:13



                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          274
                                 ID#: 1909
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 276 of 281 - Page




                                                                                  115:25, 143:22,   106:10, 107:20,       unrelated          200:24, 200:25,
                                                                                  145:3, 191:6,     118:9, 119:4,         122:12, 123:17     201:4, 218:5,
                                                                                  200:14, 200:22,   119:25, 184:22,       until              219:1, 219:19
                                                                                  203:2             188:4, 188:5,         24:23, 66:24,      useful
                                                                                  typo              191:16, 197:12,       124:14, 130:5,     37:8, 39:1,
                                                                                  127:22, 128:19,   197:18, 198:16,       142:8, 160:2,      108:12
                                                                                  128:21            199:14, 208:21,       162:23, 166:9,     uses
                                                                                  typos             211:8                 166:17, 166:22,    23:16, 55:23,
                                                                                  127:21            understanding         167:15, 168:2,     102:24, 116:13,
                                                                                           U        25:23, 84:13,         172:6, 179:4,      116:14, 197:13
                                                                                  ultimate          85:9, 113:12,         206:20, 213:12,    using
                                                                                  82:3              187:18, 188:7,        217:20, 220:13     91:3, 98:5,
                                                                                  umm               193:6, 197:11         unusually          201:2
                                                                                  45:2, 71:11,      understood            96:18              usually
                                                                                  104:17            12:20, 12:22,         upbringing         76:15, 139:23,
                                                                                  unable            34:22, 38:19,         170:23             145:3
                                                                                  8:15, 200:16,     80:22, 103:6,         updating           utilize
                                                                                  203:3             107:9, 188:18         51:21              76:17
                                                                                  unclear           undertake             usa                utter
                                                                                  133:2             19:16, 27:11          10:23, 11:2        19:25, 20:3,
                                                                                  under             unfriendly            usage              22:23
                                                                                  16:4, 20:20,      99:14                 23:16, 116:23,     utterance
                                                                                  21:21, 26:18,     ungrammatical         198:21             20:10, 20:21,
                                                                                  26:19, 31:1,      44:13                 usages             26:22, 26:25,
                                                                                  31:2, 31:17,      united                21:11, 21:17,      32:23, 33:11,
                                                                                  31:18, 33:16,     1:1, 139:10           21:20, 23:8,       33:13, 34:12,
                                                                                  33:23, 48:9,      universal             24:7, 196:20,      55:19, 91:17,
                                                                                  53:5, 53:9,       55:21                 200:1              198:5, 198:6
                                                                                  53:12, 53:15,     universities          use                utterances
                                                                                  70:20, 73:15,     17:9                  19:19, 21:15,      29:19, 30:23,
                                                                                  102:12, 105:9,    university            22:10, 22:11,      31:22
                                                                                  187:2, 224:7      14:19, 14:23,         22:17, 23:21,      uttered
                                                                                  undergraduate     15:8, 15:11,          24:4, 25:1,        95:5, 145:2
                                                                                  14:24, 14:25,     15:19, 17:4,          26:3, 27:21,                V
                                                                                  15:3, 35:19,      35:6, 35:14,          28:16, 37:6,       vague
                                                                                  35:23, 38:12,     35:16, 36:6,          48:23, 61:4,       98:9, 132:21
                                                                                  49:2              39:20, 42:1,          75:17, 95:14,      valid
                                                                                  underlying        49:3, 74:3            98:3, 102:25,      196:3, 200:6,
                                                                                  25:13             unless                108:17, 109:11,    201:10, 201:19,
                                                                                  understand        44:3, 87:13           109:13, 111:2,     202:1
                                                                                  12:7, 12:17,      unmovable             111:16, 115:10,    variety
                                                                                  13:1, 32:13,      212:14                115:20, 116:24,    18:13, 19:9,
                                                                                  32:19, 33:14,     unmoving              118:24, 139:1,     21:13, 37:18,
                                                                                  40:2, 54:7,       95:18                 139:2, 145:1,      40:8, 42:18,
                                                                                  65:7, 78:11,      unquote               147:25, 148:9,     52:9
                                                                                  79:17, 83:17,     128:7                 164:14, 168:16,    various
                                                                                  85:1, 104:21,     unreasonable          172:16, 172:17,
                                                                                                                          184:23, 200:22,    20:13, 49:24,
                                                                                                    104:16




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                        Transcript of Craige Roberts, Ph.D.
                                                                                                         Conducted on December 7, 2021                          275
                                 ID#: 1910
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 277 of 281 - Page




                                                                                  97:13, 122:11,     videotape             wah                91:6, 93:1,
                                                                                  134:23             8:21                  145:6              102:4, 103:14,
                                                                                  veracity           videotaping           wait               103:15, 103:17,
                                                                                  48:1               135:14                24:22, 120:20,     105:24, 106:1,
                                                                                  verb               view                  124:14, 130:5,     120:9, 126:2,
                                                                                  110:13, 116:20,    90:9, 90:20,          142:8, 162:23,     126:5, 140:8,
                                                                                  116:21, 216:19,    104:22, 138:9,        171:9, 198:14,     140:9, 146:9,
                                                                                  220:4              141:9, 141:10,        206:20, 213:12,    156:12, 165:16,
                                                                                  verbatim           141:11, 218:10,       217:20, 220:13     167:3, 171:10,
                                                                                  187:4, 192:11      220:3                 walk               171:24, 177:25,
                                                                                  version            viewed                110:1, 155:16,     178:1, 204:25,
                                                                                  112:13             72:17, 141:3,         156:18, 180:3,     222:18
                                                                                  versus             142:22, 161:19        220:6              wanted
                                                                                  9:1, 9:3, 9:6,     viewing               walked             17:14, 18:1,
                                                                                  9:9, 9:13, 9:20,   134:19, 138:24        93:7, 155:10,      49:10, 53:17,
                                                                                  20:19, 29:20,      views                 155:11, 155:15,    59:13, 61:3,
                                                                                  30:6, 30:24,       86:19, 88:22,         155:19, 156:5,     101:18, 118:14,
                                                                                  61:7, 131:23,      89:13, 89:15,         160:10, 168:19,    119:15, 125:12,
                                                                                  139:17, 139:19,    89:18, 98:18,         176:8, 194:2,      132:14, 132:15,
                                                                                  139:23, 140:7      124:3, 125:12         204:14, 204:15,    192:5, 205:5,
                                                                                  veteran            viral                 205:10, 209:11     208:1, 209:15,
                                                                                  71:24              71:24                 walking            209:23
                                                                                  via                virtually             152:15, 154:17,    washington
                                                                                  8:16               2:36, 3:2             156:25, 159:2,     4:16, 45:7,
                                                                                  viacomcbs          virtue                159:7, 165:20,     45:14
                                                                                  4:19, 5:2          30:15, 54:6,          165:22, 166:5,     waste
                                                                                  vicinity           198:6                 166:11, 166:14,    82:15
                                                                                  129:16             vis-a-vis             166:20, 167:22,    watch
                                                                                  video-recorded     133:16, 203:10        168:4, 168:5,      44:25, 45:11,
                                                                                  8:24               vision                168:22, 168:25,    45:12, 45:19,
                                                                                  videoed            205:14, 205:16,       169:1, 180:6,      45:20, 76:10,
                                                                                  134:25             206:1, 206:11,        181:22, 182:5,     76:13, 76:18,
                                                                                  videographer       206:25, 207:6         182:9, 182:15,     104:22, 106:19,
                                                                                  6:18, 8:20,        visiting              208:9, 208:15,     169:5, 169:11
                                                                                  9:15, 9:22,        36:5, 40:21           209:16             watched
                                                                                  9:24, 11:11,       visual                walks              71:10, 71:19,
                                                                                  74:16, 74:19,      51:14, 206:18,        110:1, 156:20,     72:14, 73:9,
                                                                                  120:13, 120:16,    206:21, 207:9,        158:8, 165:12,     75:19, 75:23,
                                                                                  122:22, 125:11,    207:19                167:19, 168:8      76:5, 126:10,
                                                                                  129:13, 130:16,    vitae                 walt               135:8, 146:2,
                                                                                  133:6, 147:2,      58:7                  4:11               149:12, 149:23,
                                                                                  148:24, 149:1,                           want               150:8, 169:13,
                                                                                                              W                               215:15
                                                                                  178:5, 178:8,                            13:5, 13:20,
                                                                                                     wacker                35:1, 37:13,       watching
                                                                                  206:17, 207:16,    5:6
                                                                                  220:21, 220:24,                          46:3, 53:19,       71:20, 76:21,
                                                                                  223:16
                                                                                                     waded                 61:10, 61:14,      94:14, 139:20,
                                                                                  videography        176:3                 68:5, 75:4,        139:25, 141:15,
                                                                                  131:1, 134:17
                                                                                                     wading                81:11, 83:16,      144:9, 147:19,
                                                                                                     160:19, 160:20



                                                                                                                  PLANET DEPOS
                                                                                                     888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          276
                                 ID#: 1911
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 278 of 281 - Page




                                                                                  180:3, 183:1      216:16, 220:2,        214:1, 216:8       witnessing
                                                                                  ways              220:3                 white              141:3
                                                                                  19:20, 20:15,     weren't               142:1, 142:14,     womb
                                                                                  26:10, 26:15,     130:21, 151:20,       142:15, 151:3,     110:3
                                                                                  26:21, 29:11,     155:3                 174:5              women
                                                                                  36:2, 37:6,       wessels               whitehead          123:25, 180:5
                                                                                  38:24, 51:20,     4:6, 57:2, 57:9       52:23              won
                                                                                  90:15, 103:10,    west                  whoever            183:20, 183:21,
                                                                                  136:10, 191:15    4:23, 5:16,           157:18             183:24, 183:25,
                                                                                  we'll             5:25, 13:7,           whole              184:6, 184:11,
                                                                                  222:3             157:21, 168:1         33:11, 135:9,      184:21, 184:25,
                                                                                  we're             western               177:25, 198:23,    185:13, 185:15
                                                                                  13:21, 47:12,     14:8                  198:25             wonder
                                                                                  53:25, 56:3,      whatever              wide               151:2
                                                                                  74:22, 103:14,    64:3, 90:24,          21:13, 52:9        word
                                                                                  120:13, 120:21,   94:2, 140:17,         wider              23:25, 30:16,
                                                                                  178:8, 222:20     145:22, 148:2,        172:15             33:2, 33:4,
                                                                                  we've             184:5, 184:7,         wiley              37:24, 37:25,
                                                                                  105:16, 149:4,    222:4                 14:13, 14:15       44:21, 52:21,
                                                                                  158:18, 210:9,    whereof               willing            52:22, 95:14,
                                                                                  217:9             224:13                66:9, 150:7        95:17, 98:3,
                                                                                  wearing           whereupon             within             98:4, 109:5,
                                                                                  99:5, 147:18,     223:19                19:11, 28:21,      109:19, 115:1,
                                                                                  165:10, 180:11    wherever              72:1, 73:13,       115:8, 115:9,
                                                                                  web               133:10                84:19, 103:25      116:12, 135:25,
                                                                                  21:16, 23:21,     whether               without            139:1, 139:2,
                                                                                  23:23, 53:7       23:24, 32:4,          33:12, 87:19,      139:13, 144:22,
                                                                                  webster           32:7, 33:18,          118:2, 118:3,      145:9, 147:25,
                                                                                  195:16, 195:24    53:14, 55:20,         195:2, 196:7       152:16, 164:14,
                                                                                  webster's         67:12, 72:13,         witness            195:10, 195:11,
                                                                                  201:23            73:2, 79:24,          11:13, 28:3,       196:4, 196:14,
                                                                                  week              91:25, 95:2,          28:6, 57:6,        200:14, 200:21,
                                                                                  76:25             100:21, 102:7,        82:23, 85:7,       201:4, 216:13
                                                                                  weigh             114:9, 120:4,         85:15, 85:16,      words
                                                                                  78:7              121:20, 139:10,       85:22, 86:10,      20:2, 20:8,
                                                                                  weird             145:4, 145:6,         94:7, 94:17,       20:11, 20:25,
                                                                                  49:24, 50:2       145:8, 151:12,        96:16, 102:18,     23:10, 26:10,
                                                                                  well-known        153:12, 154:2,        102:20, 128:25,    27:21, 31:16,
                                                                                  60:18             161:18, 163:15,       141:23, 142:19,    33:17, 33:19,
                                                                                  went              181:11, 181:14,       149:22, 162:5,     34:6, 36:3,
                                                                                  14:16, 14:19,     182:22, 184:12,       162:12, 162:14,    38:1, 69:13,
                                                                                  15:8, 15:20,      187:20, 187:22,       169:8, 170:5,      91:3, 92:21,
                                                                                  16:21, 17:4,      187:25, 189:19,       177:1, 179:1,      94:19, 104:7,
                                                                                  19:22, 35:17,     199:3, 199:17,        182:18, 199:13,    111:12, 113:15,
                                                                                  39:20, 72:14,     199:20, 200:17,       202:19, 211:5,     113:17, 114:10,
                                                                                  76:6, 110:15,     202:6, 202:14,        211:18, 212:3,     136:3, 140:8,
                                                                                  111:24, 149:16,   203:9, 203:15,        212:9, 219:8,      144:11, 144:19,
                                                                                  165:23, 215:9,    204:18, 205:25,       224:13             177:21, 185:6,




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                         277
                                 ID#: 1912
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 279 of 281 - Page




                                                                                  188:22, 193:6,    206:2                 61:22, 63:3,       zoom
                                                                                  193:10, 193:11,   wrap                  70:16, 95:25,      55:14, 67:23
                                                                                  195:3, 196:12,    35:1                  102:18, 103:19,             $
                                                                                  196:18, 198:21,   wright                122:5, 147:8,      $300
                                                                                  198:23, 216:4,    4:14                  166:4, 174:3,      221:7
                                                                                  217:1             write                 190:11, 192:14,
                                                                                  work                                    194:25, 198:19,             .
                                                                                                    27:16, 27:20,
                                                                                  12:23, 16:19,     62:22, 64:1,          221:24             .1188
                                                                                  17:14, 21:4,      67:15, 67:17,         year               4:9
                                                                                  26:17, 30:25,     89:12, 121:3,         15:7, 15:10,       .1222
                                                                                  35:3, 44:9,       125:6, 156:19         15:21, 15:22,      5:18
                                                                                  44:11, 53:2,      writing               16:13, 41:8,       .1400
                                                                                  53:5, 53:9,       38:15, 39:25,         55:3, 110:9,       6:8
                                                                                  54:15, 54:19,     43:13, 53:21,         221:21             .3071
                                                                                  56:18, 58:4,      63:8, 161:22          years              6:16
                                                                                  63:16, 67:1,      written               13:10, 35:5,       .4499
                                                                                  68:2, 172:18,     24:8, 27:16,          35:15, 37:20,      4:17
                                                                                  221:9             53:9, 105:15,         197:16             .8000
                                                                                  worked            105:19                yelled             5:8
                                                                                  16:2, 21:9,       wrong                 185:16             .8280
                                                                                  49:1, 100:6,      52:11, 141:6,         yelling            5:27
                                                                                  221:12, 222:7,    159:3, 159:10,        141:17, 146:18,    .8900
                                                                                  222:10            159:24, 163:16,       183:20, 186:3,     4:25
                                                                                  working           165:6, 176:6,         210:21, 211:13,             0
                                                                                  15:15, 42:21,     196:24                214:25             00023
                                                                                  55:8, 100:13,     wrote                 yep                1:21, 9:5
                                                                                  222:11            46:15, 49:5,          151:4, 170:15,     00024
                                                                                  works             63:1, 63:3,           201:18, 210:6      1:34, 9:7
                                                                                  52:1, 197:14,     63:4, 67:7            yesterday          00025
                                                                                  197:15, 197:17             Y            41:15              2:8, 9:11
                                                                                  world             yardstick             yield              00026
                                                                                  17:10, 50:19,     172:15, 173:2         33:24              2:18, 9:21
                                                                                  87:11, 112:22     yardsticks            york               00027
                                                                                  world's                                 1:23, 1:24,        2:30, 9:14
                                                                                                    172:16, 172:17,
                                                                                  52:20             172:19                6:7, 6:10, 6:11,   00056
                                                                                  worth             yeah                  9:4, 10:3,         1:11, 9:2
                                                                                  132:12, 179:21    12:10, 19:24,         10:10, 13:4,       01
                                                                                  wouldn't          22:11, 24:22,         13:8, 16:12,       9:23, 178:7,
                                                                                  18:7, 85:11,      27:8, 28:4,           39:18, 45:7,       178:9
                                                                                  109:22, 114:7,    29:15, 32:16,         45:14              03
                                                                                  117:17, 118:12,   34:25, 40:12,         young              185:22
                                                                                  132:9, 141:6,     40:14, 41:8,          170:23             05
                                                                                  144:21, 145:8,    44:15, 44:24,         yourself
                                                                                  190:18, 190:21,                                            220:23, 220:25
                                                                                                    45:4, 47:14,          8:17, 18:16,       06
                                                                                  191:3, 191:6,     47:24, 51:2,          19:4, 19:5, 92:4
                                                                                  191:10, 194:16,                                            224:18
                                                                                                    55:2, 55:4,                    Z         07
                                                                                  194:17, 194:25,   57:20, 61:9,          zero
                                                                                  198:11, 198:15,                                            185:20, 185:25
                                                                                                                          173:13




                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021                          278
                                 ID#: 1913
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 280 of 281 - Page




                                                                                  09                13                    178:7              224
                                                                                  223:18, 223:19    83:23, 83:24,         20                 1:41
                                                                                           1        192:9, 200:10,        1:21, 1:34,        23
                                                                                  1                 201:1, 203:23         2:8, 2:18, 2:30,   224:18
                                                                                  120:15, 120:17,   1301                  9:5, 9:7, 9:11,    233
                                                                                  179:21, 211:11,   4:15                  9:14, 9:21,        5:6
                                                                                  211:14, 211:16,   14                    13:7, 25:10,       2400
                                                                                  211:25, 212:8,    74:17, 74:18,         52:24, 120:14,     6:14
                                                                                  212:9, 212:11     88:20, 93:1,          120:15, 146:7,     250
                                                                                  10                93:14, 170:11,        148:13, 148:14,    4:7
                                                                                  4:23, 5:16,       215:4, 215:19,        158:24, 160:2,     26
                                                                                  9:23, 46:12,      215:20                160:7, 160:23,     46:10, 64:24
                                                                                  57:25, 65:13,     147                   161:1, 172:20,     27
                                                                                  75:1, 99:19,      179:18                224:18             120:17, 222:11
                                                                                  137:6, 143:14,    16                    200                2700
                                                                                  146:3, 146:7,     47:6, 171:6,          14:9, 37:20        4:23
                                                                                  148:13, 148:14,   171:11, 171:13,       20005              28
                                                                                  149:5, 149:6,     171:15, 171:16,       4:16               178:6, 178:7,
                                                                                  149:9, 149:17,    173:13, 176:10,       2005               210:13, 210:15,
                                                                                  149:24, 150:12,   177:17                38:9               211:3
                                                                                  150:14, 150:15,   17                    2016               29
                                                                                  150:17, 150:18,   214:5, 221:12         35:18, 38:9,       74:18, 74:20,
                                                                                  150:19, 151:1,    18                    40:21              212:8, 212:11
                                                                                  152:14, 156:11,   69:20, 69:23,         2019               2:-cv--wob-cj
                                                                                  156:14, 167:1,    70:1, 70:4,           40:21, 69:20,      9:11
                                                                                  167:17, 171:5     72:9, 72:19,          121:4              2:-cv--wob-cjs
                                                                                  100               75:10, 75:17,         202.973            2:8, 2:18,
                                                                                  218:13            77:7, 79:12,          4:17               2:30, 9:14
                                                                                  10027             121:4, 122:7,         2021                        3
                                                                                  13:8              183:12, 183:14,       2:37, 4:2,
                                                                                                    201:14, 204:11,       7:15, 9:23,        3
                                                                                  11                                                         178:7, 178:9,
                                                                                  74:4, 74:17,      211:11, 211:14,       46:13, 47:4,
                                                                                                    211:25, 217:24        47:15, 75:1,       183:12, 183:14,
                                                                                  74:18, 74:20,                                              185:19, 185:22,
                                                                                  171:12, 171:17,   19                    99:19, 222:17,
                                                                                                    1:11, 9:2,            223:7, 224:14      210:13, 210:14,
                                                                                  179:9, 186:22,                                             210:15, 210:18,
                                                                                  187:1, 224:14     25:10, 52:24          2022
                                                                                                    1950                  42:12              220:22, 220:23
                                                                                  116                                                        3-foot
                                                                                  135:1             23:4, 25:11           2023
                                                                                                    1978                  224:18             171:10, 171:20,
                                                                                  12                                                         174:2, 175:3,
                                                                                  7:4, 120:14,      15:3                  21                 177:18, 178:16
                                                                                  120:15, 188:12,   1979                  65:16, 65:17,      30
                                                                                  189:16            15:22                 165:9, 221:22,
                                                                                                    1981                  222:4, 222:6       2:37, 131:15,
                                                                                  12207                                                      132:18, 133:23,
                                                                                  6:7               48:25                 22                 161:25
                                                                                  1221              1988                  211:11, 211:16,    300
                                                                                  10:2              35:17                 212:8, 212:9
                                                                                                                          223                6:14
                                                                                  123                        2                               312.876
                                                                                  13:7              2                     7:12
                                                                                                                                             5:8
                                                                                                    156:17, 178:6,


                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                       Transcript of Craige Roberts, Ph.D.
                                                                                                        Conducted on December 7, 2021        279
                                 ID#: 1914
Case: 2:20-cv-00024-WOB-CJS Doc #: 72-2 Filed: 02/11/22 Page: 281 of 281 - Page




                                                                                  317.635           169:19, 169:21        78
                                                                                  4:25              48                    49:1
                                                                                  32                179:21                7th
                                                                                  160:24, 161:3,    4th                   9:16, 9:23,
                                                                                  162:2, 163:18,    5:25                  222:17
                                                                                  163:21, 210:14,            5                     8
                                                                                  210:18            50                    8-second
                                                                                  33                132:18, 178:23,       159:15, 160:1
                                                                                  183:12, 183:17,   179:1, 179:4,         80
                                                                                  187:16            220:22, 220:23        15:23, 49:2,
                                                                                  34                500                   52:8
                                                                                  214:7, 214:10,    4:7, 4:16             859.344
                                                                                  214:19            501                   4:9
                                                                                  37                13:7                  859.578
                                                                                  187:14, 214:8,    502.540               6:16
                                                                                  214:12            5:27
                                                                                  39                                               9
                                                                                                    518.689               9
                                                                                  162:13, 163:6,    6:8
                                                                                  163:8, 164:21                           2:37, 8:1
                                                                                                    53
                                                                                           4        185:19
                                                                                  4                 54
                                                                                  185:20, 185:25,   6:6
                                                                                  220:23, 220:25,   58
                                                                                  223:18, 223:19    169:19, 169:24
                                                                                  40                59
                                                                                  131:15, 133:23,   8:1
                                                                                  163:5, 165:21,    5900
                                                                                  187:16, 197:16    5:6
                                                                                  40202                      6
                                                                                  5:26              6-second
                                                                                  41
                                                                                                    171:11
                                                                                  162:1, 163:19,    60
                                                                                  164:18, 165:2
                                                                                  41017             88:14
                                                                                                    60606
                                                                                  4:8, 6:15
                                                                                  416134            5:7
                                                                                  1:40
                                                                                                    615.565
                                                                                  43                5:18
                                                                                  163:24
                                                                                                    6th
                                                                                  43215             6:6
                                                                                  5:17                       7
                                                                                  46                7
                                                                                  164:19, 165:2     68:20
                                                                                  46204             70
                                                                                  4:24              88:14
                                                                                  47                710
                                                                                  7:9, 164:24,      5:25




                                                                                                                 PLANET DEPOS
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